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                      9                         UNITED STATES DISTRICT COURT
                     10                        CENTRAL DISTRICT OF CALIFORNIA
                     11
                     12 SECURITIES AND EXCHANGE               Case No. 2:22-mc-00123
                        COMMISSION,
                     13                                       NOTICE OF APPOINTMENT OF
                                     Plaintiff,               RECEIVER (28 U.S.C. § 754)
                     14
                              vs.
                     15
                        MATTHEW WADE BEASLEY;
                     16 BEASLEY LAW GROUP PC;
                        JEFFREY J. JUDD; CHRISTOPHER R.
                     17 HUMPHRIES; J & J CONSULTING
                        SERVICES, INC., an Alaska
                     18 corporation; J & J CONSULTING
                        SERVICES, INC., a Nevada corporation;
                     19 J AND J PURCHASING, LLC; SHANE
                        M. JAGER; JASON M. JONGEWARD;
                     20 DENNY SEYBERT; and ROLAND
                        TANNER,
                     21
                                     Defendants.
                     22
                     23
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                     25
                     26
                     27
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP
                                                                                NOTICE OF APPOINTMENT
                            4886-5731-3061.1                                               OF RECEIVER
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                      1                Pursuant to 28 U.S.C. section 754, receiver Geoff Winkler, appointed by the
                      2 United States District Court for the District of Nevada in the case entitled SEC v.
                      3 Matthew Wade Beasley, et al., Case No. 2:22-cv-00612-JCM-EJY, hereby files true
                      4 and correct copies of the following in this district:
                      5                Exhibit 1.   Complaint; and
                      6                Exhibit 2.   Order Appointing Receiver.
                      7
                      8 Dated: June 21, 2022                               ALLEN MATKINS LECK GAMBLE
                                                                            MALLORY & NATSIS LLP
                      9
                                                                           By:        /s/Joshua A. Del Castillo
                     10                                                          JOSHUA A. DEL CASTILLO
                                                                                 Attorneys for Court-Appointed
                     11                                                          Receiver GEOFF WINKLER
                     12
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       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP
                                                                                                 NOTICE OF APPOINTMENT
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                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF NEVADA


SECURITIES AND EXCHANGE
COMMISSION,
                                               Case No.:
                 Plaintiff,
Vv.
                                                           COMPLAINT
MATTHEW WADE BEASLEY; BEASLEY
LAW GROUP PC; JEFFREY J. JUDD;
CHRISTOPHER R. HUMPHRIES; J&J
CONSULTING SERVICES, INC., an Alaska
Corporation; J&J CONSULTING
SERVICES, INC., a Nevada Corporation; J
AND J PURCHASING LLC; SHANE M.
JAGER; JASON M. JONGEWARD; DENNY
SEYBERT; and ROLAND TANNER;

                Defendants,

THE JUDD IRREVOCABLE TRUST; PAJ
CONSULTING INC; BJ HOLDINGS LLC;
STIRLING CONSULTING, L.L.C.; CJ
INVESTMENTS, LLC; JL2
INVESTMENTS, LLC; ROCKING HORSE
PROPERTIES, LLC; TRIPLE THREAT
BASKETBALL, LLC; ACAC LLC;
ANTHONY MICHAEL ALBERTO, JR.; and
MONTY CREW LLC;

                 Relief Defendants.




                                                                     Exhibit 1, Page 4
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              Plaintiff, Securities and Exchange Commission (the “Commission”), alleges as follows:

                                                   SUMMARY
              1.      This case concerns a long-running fraudulent offering of securities perpetrated by

      Defendants Matthew Wade Beasley, Esq., his law firm Beasley Law Group PC (“Beasley Law

      Group”), Jeffrey Judd, Christopher Humphries, and three entities that Judd controlled: J&J

      Consulting Services, Inc. (a Nevada corporation), J&J Consulting Services, Inc. (an Alaska
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      corporation), and J and J Purchasing LLC (unless otherwise noted, collectively, the “J&J
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      Entities”), a scheme for which Judd, Humphries, and Defendants Shane M. Jager, Jason M.

      Jongeward, Denny Seybert, Roland Tanner, and others acted as promoters.
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              2.     The scheme worked as follows:       from at least 2017 and continuing through March

      2022, the J&J Entities offered investments in purported settlement contracts with tort plaintiffs

      called “purchase agreements.”    These investments in the so-called “purchase agreements”

      constituted securities under federal law.   Judd, Humphries, and others told investors:

                     a.   that they could purchase interests in insurance tort settlements, and that the

                          invested money was used to make advance payments to tort plaintiffs who had

                          reached settlements with insurance companies for tort claims and who were

                          willing to pay a premium to receive a portion of their settlement in advance

                          rather than wait for payment from the insurance companies;

                     b.   that investors would receive returns on their investments of at least 12.5%

                          every 90 days, for an annualized return of 50%, sometimes more, and that the

                          investment had almost zero risk; and

                     c.   that Beasley and Beasley Law Group managed relationships with numerous

                          personal injury attorneys around the country to maintain a supply of purchase

                          agreements to the J&J Entities and their investors.

              Bl     From at least 2017 to March 2022, over 600 investors invested in the scheme, and

26    it appears that at least $449 million in investor funds flowed into the scheme through Beasley

27 || Law Group’s attorney trust (“IOLTA”) account at Wells Fargo, N.A.         The amount that investors



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       may have been paid in Ponzi payments is as yet unknown.        During that time, Beasley and Judd
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       acted as business partners in the J&J Entities and Beasley purported to act as an attorney for the
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       J&J Entities.

                4.       In fact, the purchase agreements were fictitious, a fact which Beasley, Judd, and
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       Humphries knew or were reckless in not knowing.        Beasley, Beasley Law Group PC, Judd, and

       the J&J Entities did not use investor money to purchase interests in personal injury settlements,

       as Judd, Humphries, Jager, Jongeward, Seybert, and Tanner represented to actual and
 3




       prospective investors.
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                5        Beasley, Judd, and others used a portion of investors’ money to make periodic
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10     payments of fictitious “returns” on the purchase agreements to investors in a Ponzi-like fashion,

11     but used the bulk of investor money to fund lavish lifestyles, including purchasing luxury homes

12     and properties, a private jet, ATVs, boats, and numerous luxury cars for themselves and their

13     relatives.    Each of Judd, Humphries, Jager,   Jongeward, Seybert, and Tanner recruited dozens, if

14     not hundreds, of investors into the scheme and received transaction-based compensation for

15     bringing in additional investors and more money from existing investors, even though none of

16     them was a registered broker or dealer, nor associated with a broker or dealer, registered with the

17     Commission.

18              6.       On March 3, 2022, agents from the Federal Bureau of Investigation (“FBI”)

19     executed search warrants at the homes of Judd, Humphries, and Beasley. When agents arrived at

20     Beasley’s home, Beasley brandished a pistol and the agents shot him twice. Beasley then locked

21     himself inside his home for nearly four hours. During that standoff, Beasley repeatedly confessed

22     to an FBI negotiator that the J&J Entities’ investment scheme was actually a Ponzi scheme that

23     started in 2016 or 2017.

24              7.       The Commission brings this action to halt Defendants’ violations of the federal

25     securities laws, prevent further harm to investors, and to seek disgorgement and civil penalties

26     stemming from Defendants’ wrongdoing, among other remedies.

27


                                                                                        Exhibit 1, Page 6
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                                            JURISDICTION AND VENUE
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                   8.     The Commission brings this action pursuant to Sections 20(b) and 20(d) of the

           Securities Act of 1933 (“Securities Act”) [15 U.S.C. § 77t(b) and (g)] and Sections 21(d) and (e)

           of the Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78u(d) and (e)] to enjoin

           such acts, practices, and courses of business, and to obtain disgorgement, prejudgment interest,
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           civil money penalties, and such other and further relief as this Court may deem just and
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           appropriate.

                   9.     This Court has jurisdiction over this action pursuant to Section 22 of the

           Securities Act [15 U.S.C. § 77v] and Section 27 of the Exchange Act [15 U.S.C. § 78aa].

10                 10.    Venue is proper in this Court pursuant to Section 27 of the Exchange Act [15

11         U.S.C. § 78aa] because Defendants and Relief Defendants are found, inhabit, and/or transacted

12         business in the District of Nevada and because one or more acts or transactions constituting the

13         violations alleged herein occurred in the District of Nevada.

14                 11.    Defendants were, individually and collectively, involved in the offer and sale of

15         the securities, as that term is defined under Section 2(a)(1) of the Securities Act [15 U.S.C.

16         § 77b(a)(1)] and Section 3(a)(10) of the Exchange Act [15 U.S.C. § 78c(a)(10)], issued by

17         Defendants J&J Consulting Services, Inc., a Nevada corporation, J&J Consulting Services, Inc.,

18         an Alaska corporation, and J and J Purchasing LLC.

19                 12.    Defendants, directly or indirectly, made use of the mails or the means or

20         instrumentalities of interstate commerce in connection with the conduct alleged in this

21         Complaint.

22                                                   DEFENDANTS

23                 13.    Matthew Wade Beasley (“Beasley”), age 49, is a resident of Las Vegas, Nevada.

24         Beasley is President, Secretary, Treasurer, and Director of Beasley Law Group PC. Beasley has

25         been licensed to practice law in Nevada since May 2006.

26                 14.    Jeffrey Jason Judd (“Judd”), age 50, is a resident of Henderson, Nevada. Judd is

27         director, president, and treasurer of J & J Consulting Services, Inc. (Nevada) and director,



                                                                                           Exhibit 1, Page 7
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      president, shareholder, and treasurer of J & J Consulting Services, Inc. (Alaska). Judd is a
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      manager of J & J Purchasing, LLC. Judd personally promoted the “purchase agreement”

      investment scheme to multiple investors with false and misleading statements and omissions, an
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      he compensated promoters who in turn found additional investors. On information and belief,

      Judd is a trustee of The Judd Irrevocable Trust.
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                15.    Christopher Ronn Humphries (“Humphries”), age 48, is a resident of

      Henderson, Nevada. He personally promoted the “purchase agreement” investment scheme to
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      multiple investors. He is a managing member of CJ Investments LLC.
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                16.    Beasley Law Group PC (“Beasley Law Group”) is a professional corporation
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10    organized in Nevada in 2011 with its principal place of business in Nevada. Beasley controls this

11    entity.

12              17.     J&J Consulting Services, Inc. is a Nevada corporation formed in 2005 with its

13    principal place of business in Nevada (“J&J Nevada”). Judd controls this entity.

14              18.     J&J Consulting Services, Inc. is also the name of an Alaska corporation,

15    incorporated in 2019, with its principal place of business in Nevada (“J&J Alaska”). Judd

16    controls this entity.

17              19.    J and J Purchasing LLC (“J and J Purchasing”) is a Florida limited liability

18    company formed in October 2021 with its principal place of business in Nevada. Judd controls

19    this entity.

20              20.    Shane Michael Jager (“Jager”), age 47, is a resident of Henderson, Nevada. He

21    personally promoted the Ponzi scheme to multiple investors and also recruited several additional

22    promoters who worked under his supervision. He received compensation for the investments he

23    procured. Jager is the managing member and owner of Stirling Consulting, L.L.C.

24              21.    Jason Myers Jongeward (“Jongeward”), age 50, is a resident of Washington,

25    Utah. Jongeward promoted the “purchase agreement” investment scheme to multiple investors

26    and received compensation for the investments he procured. Jongeward is the governor of JL2

27    Investments LLC.




                                                                                     Exhibit 1, Page 8
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            22.     Roland Tanner (“Tanner”), age 65, is a resident of Henderson, Nevada. He
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     promoted the “purchase agreement” investment scheme to multiple investors and received

     compensation for the investments he procured.

            23.     Denny Seybert (“Seybert”), age 44, is a resident of Henderson, Nevada. He
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     promoted the “purchase agreement” investment scheme to multiple investors and received
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     compensation for the investments he procured. He is the manager of Rocking Horse Properties,
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     LLC.
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                                         RELIEF DEFENDANTS
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            24.     The Judd Irrevocable Trust is a trust of unknown date and domicile, believed to
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     be under the control of Matthew Beasley, Jeffrey Judd, and/or Jennifer Judd. On information and

     belief, Matthew Beasley is a trustee. The Judd Irrevocable Trust received at least $1.4 million in

     transfers from the Beasley Law Group IOLTA account at Wells Fargo, N.A. (“Beasley Law

     Group IOLTA”), which were proceeds from the fraud to which it has no legitimate claim.

            25.      PAJ Consulting Inc (“PAJ”) is a Nevada corporation formed in October 2019.

     Preston Judd, Jeffrey Judd’s 22-year-old son, is the president, secretary, and treasurer. PAJ

     received over $990,000 from J&J Consulting Services, Inc. between June 2020 and February

     2022, which were proceeds of the fraud to which PAJ has no legitimate claim. PAJ also received

     at least $824,500 from the Beasley Law Group PC IOLTA, which were proceeds from the fraud

     to which PAT has no legitimate claim. PAJ’s bank records suggest it has no legitimate business

     operations. It received large distributions of cash from J&J Consulting Services, Inc. and Beasley

     Law Group PC followed by lavish spending on, e.g., travel, gambling, cryptocurrencies,

     shopping, and restaurants.

            26.     BJ Holdings LLC is a Nevada limited liability company formed in March 2021.

     Its managing members are J&J Consulting Services, Inc. and Beasley Law Group, PC. On

     information and belief, BJ Holdings LLC holds assets that were purchased using investor funds,

     including a 2008 Hawker Beechcraft 900XP private jet. It received at least $500,000 in transfers




                                                                                     Exhibit 1, Page 9
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             from the Beasley Law Group IOLTA, which are proceeds from the fraud to which it has no
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             legitimate claim.

                     27.     Stirling Consulting, L.L.C. is a Nevada limited liability company formed in

             April 2018. Its principal place of business is Las Vegas, Nevada. Jager controls this entity.
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             Stirling Consulting, L.L.C. received at least $30 million from the Beasley Law Group IOLTA
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             account. On information and belief, these were proceeds from the fraud to which it has no
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             legitimate claim.
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                     28.     CJ Investments LLC is a Nevada limited liability company formed in November

             2019. Its principal place of business is in Henderson, Nevada. Humphries and Jessica Humphries
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10           are both managing members of CJ Investments LLC. It received at least $25 million from the

11           Beasley Law Group IOLTA account. On information and belief, these were proceeds from the

12           fraud to which it has no legitimate claim.

13                   29.     JL2 Investments, LLC is a Washington limited liability company formed in

14           November 2019. Its principal place of business was initially Cheney, Washington. Upon

15           information and belief, its principal place of business moved to Washington, Utah in 2021.

16           Jongeward controls this entity. On information and belief, JL2 Investments received proceeds

17           from the fraud to which it has no legitimate claim.

18                   30.     Rocking Horse Properties LLC is a Nevada limited liability company formed in

19           January 1997. Its principal place of business is in Nevada. Seybert controls this entity. It received

20           over $690,000 from the Beasley Law Group IOLTA account. On information and belief, these

21           were proceeds from the fraud to which it has no legitimate claim.

22                   31.     Triple Threat Basketball, LLC is a Nevada limited liability company formed in

23           April 2009. Its managers are Warren Rosegreen and Priscilla Rosegreen. It received transfers of

24           over $9 million from the Beasley Law Group IOLTA account. On information and belief, these

25           were proceeds from the fraud to which Triple Threat Basketball, LLC has no legitimate claim.

26                   32.         ACAC LLC is a limited liability company of unknown domicile. A bank account

27           in the name of ACAC LLC received at least $6.5 million from the Beasley Law Group IOLTA



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      account. On information and belief, these were proceeds from the fraud to which it has no
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      legitimate claim.

              33.     Anthony Michael Alberto, Jr. (“Alberto”), age 34, is believed to be a resident of

      Nevada or Pennsylvania. He received nearly $4 million in transfers from the Beasley Law Group
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      IOLTA account. Beasley confessed to an FBI negotiator that Alberto was his bookie and he used
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      investor money to pay gambling debts he owed to Alberto. Alberto has received proceeds from
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      the fraud to which he has no legitimate claim.
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             34,      Monty Crew LLC was a Nevada limited liability company formed in January

      2019. Its principal place of business was in Nevada. It became inactive in September 2021 and
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10    was revoked in February 2022. Its manager was Alberto. It received nearly $3 million in

11    transfers from the Beasley Law Group IOLTA account. As stated in paragraph 33 above, Beasle

12    confessed that the money paid to Alberto was proceeds from the fraud used to pay gambling

13    debts. Money Crew LLC received investor money to which it has no legitimate claim.

14                                                 FACTS

15           Judd, Humphries, and the J&J Entities Raised Money from Investors with False
      [—
      ‘




16           Representations of an Investment in Personal Injury Settlements.

17           35.      Beginning at least as of January 1, 2017 and continuing until March 2022, the J&J

18    Entities, directly and through Judd, Humphries, Jager, Jongeward, Seybert, and Tanner, offered

19    investments in purported personal injury settlement contracts. Judd told investors that he had a

20    litigation financing business with his attorney, Matthew Beasley, whereby Judd invested money

21    in contracts with personal injury plaintiffs while Beasley procured those contracts through his

22    contacts with other attorneys around the country. Judd told investors that Beasley and his law

23    firm Beasley Law Group had relationships with personal injury attorneys whose clients had

24    settlements with insurance companies, and who were willing to pay a premium to receive a

25    portion of their settlement in advance rather than wait for payment from the insurance

26    companies. Judd told investors that the J&J Entities entered into “purchase agreements” with the

27    personal injury plaintiffs whereby the J&J Entities advanced to the personal injury plaintiffs a



                                                                                   Exhibit 1, Page 11
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      portion of their expected insurance settlement payout, and the plaintiffs repaid the J&J Entities
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      plus interest and fees when their insurance payout arrived.

               36.     Judd told investors that the purchase agreements came in amounts of $80,000 or

      $100,000, with a term of 90 days, although he also said he allowed investors to split contracts
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      with him or other investors if they wanted to invest less than $80,000. Judd told different
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      investors that they would receive different returns. Judd told some investors that they would
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      make up to $22,000 within 90 days on an investment of $100,000. Judd told other investors they
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      would receive 12.5% on their investments (50% on an annual basis), for a return of $12,500
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      within 90 days on an investment of $100,000 or $10,000 within 90 days on an investment of
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10    $80,000.

11             37.     Judd told investors that at the end of the 90-day period, the J&J Entities would

12    reinvest the principal in a new purchase agreement with a new tort plaintiff, and the investor

13    could continue to receive his or her promised returns every 90 days. Judd told investors that they

14    could get their principal back rather than reinvesting it at the end of the contract term if they

15    chose.

16             38.     Judd told investors that the tort plaintiffs who entered the purchase agreements

17    paid an administrative fee of $5,000, half of which went to Beasley and Beasley Law Group, and

18    the other half of which went to the tort plaintiff’s attorney.   Judd also told investors that Beasley

19    and Beasley Law Group managed the relationships with the various personal injury attorneys an

20    wrote the agreements with the personal injury plaintiffs, while Judd managed the investment side

21    of the business with assistance from his son Parker Judd. On information and belief, Judd

22    highlighted the fact that attorney Beasley was involved and that investor funds flowed through

23    Beasley Law Group’s IOLTA account.

24               39.   Judd told investors that the risk from investing in the purchase agreements was

25    almost zero. Judd also told some investors that he would make good any investor loss, saying

26    that he and Beasley had a separate fund to make investors whole if a personal injury plaintiff

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                                                                                       Exhibit 1, Page 12
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       failed to pay on a contract. He claimed he had “never had to use” this fund, because “we’ve
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       never had one go bad.”

               40.     Humphries, like Judd, promoted the J&J Entities investment scheme to numerous

       investors. Like Judd, Humphries told investors that the investment involved funding purchase
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       agreements with personal injury plaintiffs who had settlements with insurance companies but
 nm




       wanted to obtain a portion of their money in advance. Humphries told investors that Matthew

       Beasley and his law firm Beasley Law Group managed the relationships with various attorneys
 3




       to supply the purchase agreements to Judd and the J&J Entities. Humphries told investors that
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       the purchase agreements were in amounts of $80,000 or $100,000 and paid returns of 13% every
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10     90 days. Humphries told investors that their capital would be reinvested in a new purchase

11     agreement at the expiration of each prior purchase agreement. Humphries told investors that

12     there was little to no risk on the investment.

13             41.     Humphries received compensation for bringing new investors into the scheme and

14     for raising additional money from existing investors. He told one investor that he received 5% of

15     the investor funds he raised and that he made around $250,000 every three months.

16             42.     Judd and Humphries typically instructed investors to wire their investment money

17     to Beasley Law Group’s IOLTA account at Wells Fargo Bank N.A., but sometimes instructed

18     investors to wire their investment money to other accounts as well, including an account in the

19     name of J&J Consulting Services, Inc. at U.S. Bank, and an account in the name of Humphries’

20     entity CJ Investments LLC.

21     II.     Defendants’ Representations Were Materially False and Misleading

22             43.     The foregoing representations made to investors by Judd, the J&J Entities, and

23     Humphries were materially false and misleading. Judd and the J&J Entities did not invest the

24     investors’ funds in contracts with personal injury plaintiffs. Beasley and Beasley Law Group did

25     not actually procure contracts with personal injury plaintiffs and their attorneys.

26             44.     Beasley confessed on March 3, 2022 to an FBI negotiator that the business was a

27     Ponzi scheme. Beasley and Judd returned a small portion of the invested money to investors in



                                                                                       Exhibit 1, Page 13
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Ponzi-type payments to meet investors’ expectations of the promised percentages of returns

every 90 days. These payments promoted investor confidence in the scheme, encouraged current

investors to invest more money, and allowed Beasley, Judd, and Humphries to continue to find

new victims.   In reality, Beasley, Judd, and Humphries used the majority of investor money for

lavish personal expenses and to pay others to promote the scheme.

       45.     To lend credibility to the scheme, Beasley created fake “purchase agreements”

between J&J Consulting or J and J Purchasing and various purported injured tort plaintiffs and

their attorneys, which were then shared with investors by Judd, Humphries and other promoters.

Beasley often used the names of real attorneys from around the country (and sometimes even

used the names of real personal injury tort plaintiffs) on the fake purchase agreements, but there

were no actual underlying tort settlements and the attorneys whose names appeared on the fake

purchase agreements had no actual connection to Beasley. An example of one of these “purchase

agreements” is attached as Exhibit A.

       46.     Until approximately December 2020, Judd provided investors “Investment

Agreements” or “Buyer Agreements” purporting to memorialize the investor’s investment in a

tort plaintiff’s purchase agreement. The agreements were between the investor, and Judd and J&J

Consulting Services, Inc. An example of one of the “Investment Agreements” is attached as

Exhibit B. An example of one titled a “Buyer Agreement” is attached as Exhibit C. These

agreements were signed by Judd.

       47.     In approximately October 2021, Judd began telling investors that he was making

modifications to the business at the suggestion an attorney who conducted a review of the

business. As part of these purported business modifications, Judd formed J and J Purchasing

LLC in October 2021 and started operating the investment business through J and J Purchasing.

In approximately December 2021, as part of the business modifications, Judd started requiring

investors to sign new documentation with J and J Purchasing: a Confidential Private Placement

Memorandum (“PPM”); a Non-Compete, Non-Disclosure and Non-Solicitation Agreement; a

Mutual Confidentiality and Non-Disclosure Agreement, and a Confidential Subscription


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        Agreement. Judd personally distributed these documents to some investors, and the Promoter
 RAW




        Defendants and other promoters distributed copies to their investors. A copy of the PPM is
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        attached as Exhibit D.

                48.    Judd and Humphries told investors that Beasley managed the relationship with the

        personal injury attorneys and, on information and belief, told investors that they were not
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        allowed to contact the attorneys or plaintiffs whose names appeared on the purchase agreements.
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        This kept investors from learning that the attorneys and plaintiffs on the purchase agreements
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        were not actually parties to the purchase agreements, and that the purchase agreements were
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        fake.
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10              49.    Despite this admonition from Judd and Humphries, some investors contacted the

11      attorneys named in the purchase agreements to inquire whether the purchase agreements were

12      real, only to discover that the attorneys had no such personal injury clients and no relationship

13      with Matthew Beasley or Beasley Law Group.

14      III.    Beasley, Beasley Law Group, Judd, the J&J Entities, and Humphries Acted With

15              Scienter

16              50.    Defendants Beasley, Beasley Law Group, Judd, the Judd Entities, and Humphries

17      knowingly or recklessly engaged in the fraudulent scheme detailed in the paragraphs above.

18              51.    On March 3, 2022, when the FBI attempted to serve a search warrant at his home,

19      Beasley engaged in a standoff for approximately four hours with FBI agents, during which

20      Beasley spoke by telephone with an FBI negotiator. In the recorded calls with the FBI negotiator,

21      Beasley repeatedly confessed that the J&J investment was a Ponzi scheme that he started in 2016

22      or 2017. He confessed that the purchase agreements were fake and he used the names of

23      attorneys he did not know on the purchase agreements.

24              52.    Beasley confessed that investors were promised that their investment money

25      would be given to someone who had settled a personal injury case but had not received their

26      settlement money yet. He confessed that he “got names of attorneys” for the scheme but “I never

27      actually talked to them.” He confessed that as Jeffrey Judd found more investors, “I made up


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      more attorney’s deals and just kept growing it.” Beasley confessed that investors “would give

      their money to me, and I would supposedly send it to a bunch of attorneys” but actually “I kept it
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      and used it to pay, basically pay them back to pay off gambling debts.”

              53.     Judd knew or was reckless in not knowing that the purchase agreements were fake

      and that the investment scheme was a fraud. Judd, as Beasley’s business partner in the scheme
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      for over seven years, either knew that the business was a fraud, or was reckless in not knowing.
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      Judd worked intimately with Beasley throughout the entire scheme. Judd told investors that he
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      and Beasley operated the business together and that Beasley was his attorney. Judd told at least
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      one investor that he saw bank statements and other documentation from Beasley.       Had Judd
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10    reviewed the bank statements of the Beasley IOLTA account—where, on information and belief,

11    he knew investor funds were aggregated—he would have readily seen that the investment

12    scheme was not a legitimate business and that there were very few, if any, proceeds of personal

13    injury tort settlements pursuant to the purchase agreements flowing into the account.

14            54.     Further, the J&J Entities, which Judd controlled, were the counterparties on all th

15    purported purchase agreements and Judd supposedly signed them on behalf of his entities. As of

16    February 24, 2022, Judd boasted that he had $475 million “under management,” was doing 450

17    contracts per week, and had done over 16,000 contracts to date. Judd either knew or was reckless

18    in not knowing that the purported counterparties on those 16,000 contracts did not actually enter

19    the agreements. Judd knew the purchase agreements were never signed by the purported

20    counterparties, or he recklessly disregarded that fact. Had Judd conducted the most basic of due

21    diligence on the fake purchase agreements and the flow of funds to and from Beasley Law

22    Group, it would have revealed the scheme.

23            55.     Upon information and belief, Humphries also knew or was reckless in not

24    knowing that the purchase agreement investment scheme was a fraud.        Upon information and

25    belief, Humphries was at least aware of indicia that the tort settlements at issue in the investment

26    were fictitious and acted to hide that fact from investors.

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                                                        12
                                                                                     Exhibit 1, Page 16
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              56.       Judd and Humphries acted to hide the fraud from investors by telling them that

      they were prohibited from contacting the parties to the purchase agreements.      Over the years,
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      despite being told not to do so, several investors contacted the attorneys listed on the purchase

      agreements and the attorneys denied having such clients or entering the purchase agreements. On

      information and belief, this information made its way back to the promoters, including
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      Humphries, and ultimately to Judd himself. Various investors pushed their promoters, Judd, and
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      the J&J Entities to answer questions about the inability to verify that the purchase agreements

      were real, or asked to see documentation such as bank statements showing actual money flows to
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      the purported counterparties on the purchase agreements. When promoters confronted Judd and
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10    the J&J Entities about the fact that attorneys on the purchase agreements denied that the purchase

11    agreements were legitimate, Judd hid the fraud by stating to investors that the law firms were

12    probably denying the existence of the contracts simply due to client confidentiality concerns.

13            57.       Atleast as early as 2019, Judd started requiring investors to enter non-disclosure

14    agreements as a condition of investing. Judd and his promoters also often required investors to

15    sign a document saying that they were prohibited from contacting any parties related to the

16    personal injury settlement or purchase agreement without the written consent of Jeffrey Judd.

17    Also, the “Investor Agreement” and “Buyer Agreement” documents (Exs. B and C hereto)

18    expressly prohibited investors from contacting the parties on the purchase agreements without

19    Judd’s consent.

20            58.       Ultimately, on or around January 2022, Judd and certain of his promoters decided

21    to stop sending the fake purchase agreements to investors altogether. Judd gave investors the

22    excuse that his “attorneys” had advised him to stop sending the purchase agreements to them.

23            59.       On information and belief, Judd required investors to sign the document

24    prohibiting them from contacting the parties related to the personal injury settlement or purchase

25    agreement, and ultimately stopped disseminating the fake purchase agreements, because he was

26    attempting to hide their fictitious nature from investors.

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                  60.     Despite that they knew or were reckless in not knowing that the Purchase
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          Agreements were fake, Humphries and Judd nonetheless continued to solicit new investors and

          additional investments from existing investors.
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          IV.    Defendants Judd, Humphries, Jager,          Jongeward, Seybert, and Tanner Violated the

                 Federal Securities Laws by Acting as Unregistered Brokers.

                  61.    In addition to Humphries, Judd had several other promoters working underneath
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          him to locate new investors and funnel investment money into the J&J Entities scheme.
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          Defendants Jager, Jongeward, Seybert, and Tanner were among these promoters.

                 62.     Jager, Jongeward, Seybert, and Tanner, like Judd and Humphries, each solicited

10        dozens of investors to invest in the purchase agreements and received transaction-based

11        compensation in return. The investors’ interests in the purchase agreements issued by the J&J

12        Entities—which Judd, Jager, Jongeward, Seybert, and Tanner solicited investors to buy—

13        constituted securities as that term is defined under the federal securities laws.

14               63.     In 2020, Humphries stated to at least one investor that he personally made

15        $250,000 every three months from his investor solicitations and received a 5% commission on

16        investments he solicited.

17               64.       Jongeward also made a percentage on each investment he obtained on behalf of

18        the J&J Entities. In early 2022, Jongeward stated to at least one prospective investor that he

19        personally “managed” over 150 investors and about $52 million in investment funds, that this

20        was his “full-time job,” and that he had been doing it for two years.

21               65.     In early 2022, Jager stated to at least one prospective investor that he had been

22        soliciting investors for the J&J Entities investment for five years, had solicited 250 investors, and

23        that he and Jongeward together had raised over $200 million from investors for the J&J Entities.

24        Jager also stated to at least one prospective investor that Judd had negotiated a rate of payment to

25        Jager and Jongeward on the investments they raised, and that Tanner worked “under Jager”

26        soliciting investments in the purchase agreements. Judd, Jager, Jongeward, Seybert, and Tanner

27        each used means or instrumentalities of interstate commerce to solicit and sell securities as part


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      of their regular business. Judd, Jager, Jongeward, Seybert, and Tanner each used the internet to
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      solicit investors, transferred cash through wire transfers, and used email and telephone to

      negotiate and effect sales transactions.
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              66.      Humphries, Jager,    Jongeward, and Seybert also handled investor funds. While

      investor funds typically (but not always) flowed into Beasley Law Group’s IOLTA account, the
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      payments of purported “returns” to investors whom Humphries, Jager, Jongeward, and Seybert
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      recruited would flow from accounts held by Beasley Law Group or the J&J Entities into bank
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      accounts for entities controlled by Humphries, Jager, Jongeward, and Seybert. From there,
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      Humphries, Jager, Jongeward, and Seybert would distribute purported “returns” to investors they
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10    had solicited.   Sometimes Humphries, Jongeward, and Seybert also instructed investors to wire

11    their investment money directly to the accounts in the names of the entities they controlled rather

12    than to Beasley Law Group’s account.

13            67.      Jager used an account in the name of his entity Stirling Consulting, L.L.C., and

14    possibly others, to receive investor funds and also to distribute purported “returns” to investors.

15    Humphries used an account in the name of CJ Investments LLC and JCH Consulting, L.L.C.,

16    among others, to receive investor funds and also distribute Ponzi payments to his investors.

17    Jongeward used an account in the name of his entity JL2 Investments LLC, and possibly others,

18    to receive investor funds and to distribute Ponzi payments to his investors. Seybert used an

19    account in the name of his entity Rocking Horse Properties, LLC, and possibly others, to receive

20    investor funds and distribute purported returns to his investors. Tanner used an account in the

al    name of Anthem Assets, LLC, and possibly others, to receive investor funds and distribute

22    purported returns to his investors.   On information and belief, Jager, Humphries, Jongeward,

23    Seybert, and Tanner also received commission payments for their investor solicitations in the

24    accounts of those entities that they controlled.

25            68.      Tanner solicited numerous investors for the   J&J Entities scheme over a period of

26    many months or years.     In early 2022, Jager represented to prospective investors that Tanner

27    worked under his supervision to solicit additional investors for the   J&J Entities investment and


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that Tanner had raised over $50 million for the J&J Entities. On information and belief, Tanner

and received transaction-based compensation for the investors and investments he solicited.

         69.   At all relevant times while Judd, Jager, Jongeward, Seybert, and Tanner engaged

in soliciting investors to buy interests in the purchase agreements in exchange for transaction-

based compensation, none of them were registered with the Commission as a broker or dealer,

nor were they associated with a broker or dealer registered with the Commission.

V.       The Securities Offered and Sold Were Not Registered

         70.   The securities offered and sold by Judd, Humphries, Jager, Jongeward, Seybert,

and Tanner were not registered with the Commission.

         71.   J and J Purchasing LLC filed a Form D on December 13, 2021, purporting to give

notice of an exempt offering under Rule 506(b), but the J&J Entities’ offers and sales of

securities were not exempt under Rule 506(b) because, among other things, investors were never

provided with the required disclosures of information under Rule 502(b) [17 CFR § 230.502].          In

addition, the Form D was itself false and misleading in its description of, inter alia, the

investment and the use of investor funds.

                                  FIRST CLAIM FOR RELIEF

      Violations of Section 5(a) and (c) of the Securities Act [15 U.S.C. § 77¢(a) and (¢)]

                                      (Against All Defendants)

         72.   The Commission re-alleges and incorporates by reference each and every

allegation in paragraphs 1-71, inclusive, as if they were fully set forth herein.

         73.   Defendants Beasley, Beasley Law Group, Judd, the J&J Entities, Humphries,

Jager, Jongeward, Seybert, and Tanner, by engaging in the conduct described above, directly or

indirectly,

               a.   made use of means or instruments of transportation or communication in

                    interstate commerce or of the mails to sell securities, as to which no

                    registration statement was in effect, through the use or medium of any

                    prospectus or otherwise;


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                        b.   carried or caused to be carried through the mails or in interstate commerce, by
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                             any means or instrument of transportation, securities as to which no

                             registration statement was in effect, for the purpose of sale or for delivery
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                             after sale; and
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                        c.   made use of any means or instruments of transportation or communications in

                             interstate commerce or of the mails to offer to sell or offer to buy through the
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                             use or medium of any prospectus or otherwise securities as to which no
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                             registration statement had been filed.
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               74.      In regard to the sale of securities described herein, no exemption validly applied
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10     to the registration requirements described above.

11             75.      By reason of the foregoing, Defendants Beasley, Beasley Law Group, Judd, the

12     J&J Entities, Jager, Jongeward, Humphries, Seybert, and Tanner violated, and unless enjoined,

13     will continue to violate, Sections 5(a) and (c) of the Securities Act [15 U.S.C. § 77 e(a) and (c)].

14                                         SECOND CLAIM FOR RELIEF

15                   Violations of Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)(1)]

16             (Against Beasley, Beasley Law Group, Judd, the J&J Entities, and Humphries)

17            76.       The Commission re-alleges and incorporates by reference each and every

18     allegation in paragraphs 1-75, inclusive, as if they were fully set forth herein.

19            77.       By engaging in the conduct described above, Beasley, Beasley Law Group, Judd,

20     the J&J Entities, and Humphries, and each of them, directly or indirectly, individually or in

21     concert with others, in the offer and sale of securities, by use of the means and instruments of

22     transportation and communication in interstate commerce or by use of the mails,

23                      a.   employed devices, schemes, or artifices to defraud;

24                      b.   obtained money or property by means of untrue statements of material fact or

25                           omissions to state material facts necessary in order to make the statements

26                           made, in light of the circumstances under which they were made, not

27                           misleading; and


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                c.   engaged in transactions, practices, or courses of business which operated or

                     would operate as a fraud or deceit.

        78.     With respect to violations of Section 17(a)(1) of the Securities Act, each of

Defendants Beasley, Beasley Law Group, Judd, the J&J Entities, and Humphries engaged in the

above-referenced conduct knowingly or with severe recklessness.

        79.    With respect to violations of Sections 17(a)(2) and (a)(3) of the Securities Act,

each of Defendants Beasley, Beasley Law Group, Judd, the J&J Entities, and Humphries

engaged in the above-referenced conduct was at least negligent in its/his conduct and in making

the untrue and misleading statements alleged herein.

        80.    By reason of the foregoing, Beasley, Beasley Law Group, Judd, the J&J Entities,

and Humphries violated and, unless enjoined, will continue to violate Section 17(a) of the

Securities Act [15 U.S.C. § 77q(a)].

                                   THIRD CLAIM FOR RELIEF

Violations of Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Exchange Act Rule

                                    10b-5 [17 C.F.R. § 240.10b-5]

        (Against Beasley, Beasley Law Group, Judd, the J&J Entities, and Humphries)

        81.    The Commission re-alleges and incorporates by reference each and every

allegation in paragraphs 1-80, inclusive, as if they were fully set forth herein.

        82.    By engaging in the conduct described above, Beasley, Beasley Law Group, Judd,

the J&J Entities, and Humphries, directly or indirectly, individually or in concert with others, in

connection with the purchase or sale of securities, by use of the means and instrumentalities of

interstate commerce or by use of the mails,

               a.    employed devices, schemes, and artifices to defraud;

               b.    made untrue statements of material facts and/or omitted to state material facts

                     necessary in order to make the statements made, in light of the circumstances

                     under which they were made, not misleading; and




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                        c.   engaged in acts, practices, and course of business which operated as a fraud

                             and deceit upon purchasers, prospective purchasers, and other persons.
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              83.       Each of Beasley, Beasley Law Group, Judd, the J&J Entities, and Humphries

      engaged in the above-referenced conduct and made the above-referenced untrue and misleading

      statements knowingly or with severe recklessness.

              84.       By reason of the foregoing, each of Beasley, Beasley Law Group, Judd, the J&J

      Entities, and Humphries have violated and, unless enjoined will continue to violate, Section

      10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Exchange Act Rule 10b-5 [17 C.F.R.

      § 240.10b-5].

                                          FOURTH CLAIM FOR RELIEF

                    Violations of Section 15(a)(1) of the Exchange Act [15 U.S.C. § 780(a)(1)]

                       (Against Judd, Humphries, Jager, Jongeward, Seybert, and Tanner)

              85.       The Commission re-alleges and incorporates by reference each and every

      allegation in paragraphs 1-84, inclusive, as if they were fully set forth herein.

              86.       By engaging in the conduct described above, Judd, Humphries, Jager, Jongeward,

      Seybert, and Tanner, and each of them:

                        a.   engaged in the business of effecting transactions in securities for the account

                             of others; and

                        b.   directly or indirectly, made use of the mails or the means or instrumentalities

                             of interstate commerce to effect transactions in, or to induce or attempt to

                             induce the purchase or sale of, securities without being registered as a broker

                             or dealer with the Commission or associated with a broker or dealer registered

                             with the Commission.

             87.        By reason of the foregoing, Judd, Humphries, Jager,      Jongeward, Seybert, and

      Tanner each violated, and unless enjoined will continue to violate, Section 15(a)(1) of the

      Exchange Act [15 U.S.C. §780(a)(1)].




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                                        FIFTH CLAIM FOR RELIEF
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                                           Equitable Disgorgement

                                        (Against All Relief Defendants)

              88.     The Commission re-alleges and incorporates by reference each and every
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      allegation in paragraphs 1-87, inclusive, as if they were fully set forth herein.
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              89.     Each of the Relief Defendants named in paragraphs 24-34 above obtained money,
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      property, and assets as a result of the violations of the securities laws by Beasley, Beasley Law

      Group, Judd, the J&J Entities, and Humphries, to which they have no legitimate claim.
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              90.     Each of the Relief Defendants should be required to disgorge all ill-gotten gains
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10    which inured to their benefit under the equitable doctrines of disgorgement, unjust enrichment

11    and constructive trust.

12                                         PRAYER FOR RELIEF

13            WHEREFORE, the Commission respectfully requests that this Court enter a final

14    judgment:

15                                                      I

16            Permanently restraining and enjoining all Defendants from, directly or indirectly,

17    engaging in conduct in violation of Section 5 of the Securities Act [15 U.S.C. § 77e(a)(1)];

18                                                      IL.

19            Permanently restraining and enjoining Defendants Beasley, the Beasley Law Group,

20    Judd, the J&J Entities, and Humphries from, directly or indirectly, engaging in conduct in

21    violation of Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)], Section 10(b) of the

22    Exchange Act [15 U.S.C. § 78j(b)], and Exchange Act Rule 10b—5 thereunder [17 C.F.R. §

23    240.10b-5];

24                                                     IIL.

25            Permanently restraining and enjoining Defendants Judd, Humphries, Jager, Jongeward,

26    Seybert, and Tanner from, directly or indirectly, engaging in conduct in violation of Section

27    15(a)(1) of the Exchange Act [15 U.S.C. § 780(a)(1)];


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                                                            Iv.

               Permanently restraining and enjoining each of Defendants Beasley, Beasley Law Group,

       Judd, and the J&J Entities from, directly or indirectly, including, but not limited to, through any

       entity owned or controlled by each, the issuance, purchase, or sale of any security related to
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       settled litigation claims, except for the purchase or sale of securities listed on a national securitie

       exchange by these Defendants for their own personal accounts;

                                                             V.
 a




               Permanently restraining and enjoining each of Defendants Judd, Humphries, Jager,
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       Jongeward, Seybert, and Tanner from, directly or indirectly, including, but not limited to,
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10     through any entity owned or controlled by each, soliciting any person or entity to purchase or sell

11     any security;

12                                                          VL

13             Ordering Defendants and Relief Defendants to disgorge all ill-gotten gains or unjust

14     enrichment derived from the activities set forth in this Complaint, together with prejudgment

15     interest thereon;

16                                                          VIL

17             Ordering all Defendants to pay a civil penalty pursuant to Section 20(d) of the Securities

18     Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)];

19                                                          VIIL

20             Retaining jurisdiction of this action in accordance with the principles of equity and the

21     Federal Rules of Civil Procedure in order to implement and carry out the terms of all orders and

22     decrees that may be entered, or to entertain any suitable application or motion for additional

23     relief within the jurisdiction of this Court; and,

24                                                          IV.

25             Granting such other and further relief as this Court may deem just, equitable, or necessar

26     in connection with the enforcement of the federal securities laws and for the protection of

27     investors.


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  1    Dated:   April 12, 2022.

                                       Respectfully submitted,
[No]




                                       SECURITIES AND EXCHANGE              COMMISSION


                                       /s/ Tracy S. Combs
                                       Tracy S. Combs
                                       Casey R. Fronk
                                       Attorneys for Plaintiff
                                       Securities and Exchange Commission
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                                                                             Exhibit 1, Page 26
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 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
 provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
 I. (a)         PLAINTIFFS                                                                                                       DEFENDANTS

                Securities and Exchange Commission                                                                               Matthew Wade Beasley, et al. (See Attachment)

       (b)      County of Residence of First Listed Plaintiff                                                                    County of Residence of First Listed Defendant                       Clark County
                                        (EXCEPTIN U.S. PLAINTIFF CASES)                                                                                              (IN US. PLAINTIFF CASES ONLY)
                                                                                                                                 NOTE:         IN LAND CONDEMNATION                  CASES, USE THE LOCATION OF
                                                                                                                                               THE TRACT OF LAND INVOLVED.
       (©)     Attomeys (Firm Name, Address, and Teleplone Number)                                                                Attorneys (If Known)
                Tracy S. Combs and Casey R. Fronk, Securities and
                Exchange Commission, 351 S. West Temple, Ste. 6.100,                                                             See Attachment
                Salt Lake Citv. UT 84101: (801) 524-5796
 II.       BASIS        OF    JURISDICTION                   (Place an “X"" in One Box Only)                    III. CITIZENSHIP OF PRINCIPAL                                        PARTIES          (Place an “X"' in One Box for Plaintiff’
                                                                                                                       (For Diversity Cases Only)                                                    and One Box for Defendant)
       1     U.S. Government                   [13       Federal Question                                                                        PTF DEF                                                                   PTF      DEF
                 Plaintiff                                  (U.S. Government Not a Party)                              Citizen of This State             |     1       Il     1    Incorporated or Principal Place         O 4      O 4
                                                                                                                                                                                      of Business In This State

[J2          Us. Govemnment                     [(]4     Diversity                                                     Citizen of Another State          [d2           [J    2     Incorporated and Principal Place         [|     5   1s
                Defendant                                  (Indicate Citizenship of Parties in Item III)                                                                             of Business In Another State

                                                                                                                       Citizen or Subject of a           J     3       O     3     Foreign Nation                          OO      6   | 6
                                                                                                                           Foreign Country

 IV. NATURE OF SUIT (Place an “x in One Box Only)                                                                                                              Click here for: Nature of Suit Code Descriptions.
                CONTRACT                                                        TORTS                                      FORFEITURE/PENALTY                               BANKRUPTCY                         OTHER STATUTES
   110     Insurance                              PERSONAL INJURY                    PERSONAL INJURY              |        ]625 Drug Related Scizure           | |    422 Appeal 28 USC 158              | | 375 False Claims Act
   120     Marine                     | ]         310 Airplane                    O 365 Personal Injury -                       of Property 21 USC 881                423 Withdrawal                     | | 376 Qui Tam (31 USC
   130     Miller Act                  |]         315 Airplane Product                    Product Liability            |   [690 Other                                      28 USC 157                             3729(a))
   140     Negotiable Instrument                      Liability                   || 367 Health Care/                                                                                                    || 400 State Reapportionment
[| 150     Recovery of Overpayment | |            320 Assault, Libel &                   Pharmaceutical                                                         ___PROPERTY RIGHTS                       | | 410 Antitrust
           & Enforcement of Judgment]                  Slander                           Personal Injury                                                           820 Copyrights                        | | 430 Banks and Banking
       151 Medicare Act               | |         330 Federal Employers’                 Product Liability                                                     | | 830 Patent                                450 Commerce
       152 Recovery of Defaulted                      Liability                   O 368 Asbestos Personal                                                          835 Patent - Abbreviated                  460 Deportation
            Student Loans              |]         340 Marine                              Injury Product                                                               New Drug Application                  470 Racketeer Influenced and
            (Excludes Veterans)       | |         345 Marine Product                      Liability                                                                840 Trademark                                 Corrupt Organizations
[J 153 Recovery of Overpayment                          Liability                   PERSONAL PROPERTY                                                                  880 Defend Trade Secrets       | | 480 Consumer Credit
           of Veteran's Benefits               |] 350 Motor Vehicle                     370 Other Fraud                | 710 Fair Labor Standards                           Act of 2016                          (15 USC 1681 or 1692}
]      160 Stockholders’ Suits                | | 355 Motor Vehicle                     371 Truth in Lending                 Act                                                                         |_| 485 Telephone Consumer
[1190 Other Contract                                    Product Liability         [J 380 Other Personal                |   ]720 Labor/Management                                                                  Protection Act
       195 Contract Product Liability      | | 360 Other Personal                        Property Damage                         Relations                             861 HIA (1395ff)                      490 Cable/Sat TV
       196 Franchise                               Injury                         dd 385 Property Damage               |   ]740 Railway Labor Act                      862 Black Lung (923)                  850 Sccuritics/Commodities/
                                            |] 362 Personal Injury -                     Product Liability             |   _|751 Family and Medical                    863 DIWC/DIWW (405(g))                    Exchange
                                                        Medical Malpractice                                                     Leave Act                              864 SSID Title XVI                    890 Other Statutory Actions
             REAL PROPERTY                          CIVIL RIGHTS                 PRISONER PETITIONS                |       ]790 Other Labor Litigation                865 RSI (405(g))                       891 Agricultural Acts
| | 210 Land Condemnation                     | | 440 Other Civil Rights          Habeas Corpus:                       |   ]791 Employee Retirement                                                          893 Environmental Matters
 [1220 Foreclosure                            | ] 441   Voting                    463 Alien Detainee                           Income Sceurity Act                                                           895 Freedom of Information
  230        Rent Lease & Ejectment       |     | 442   Employment                510 Motions to Vacate                                                        []      870 Taxes (U.S, Plaintiff                  Act
  240        Torts to Land                    | | 443   Housing/                       Sentence                                                                            or Defendant)                     896 Arbitration
  245        Tort Product Liability                     Accommodations         |  1530 General                                                                 I]      871 IRS—Third Party                   899 Administrative Procedure
] 290        All Other Real Property          |] 445    Amer. w/Disabilitics |] 535 Death Penalty                                                                           26 USC 7609                          Act/Review or Appeal of
                                                        Employment                Other:                            |      |462 Naturalization Application                                                       Agency Decision
                                              |] 446    Amer. w/Disabilities -| | 540 Mandamus & Other             |       ]465 Other Immigration                                                        | | 950 Constitutionality of
                                                      Other                        || 550 Civil Rights                         Actions                                                                           State Statutes
                                              | ] 448 Education                    || 555 Prison Condition
                                                                                  | | 560 Civil Detainee -
                                                                                            Conditions of
                                                                                            Confinement
 V.        ORIGIN           (Place an “X” in One Box Only)
[x]!
Eq           Original               2   Removed from                        3     Remanded from                | 4 Reinstated or             OJ 5 Transferred from                    6   Multidistrict           O 8 Multidistrict
             Proceeding                 State Court                               Appellate Court                      Reapened                    Another District                       Litigation -                    Litigation -
                                                                                                                                                   (specifi)                              Transfer                        Direct File
                                                     Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                     15 U.S.C. §§ 77e(a) and (c); 77q(a)(1): 77a(a)(2) and (3); 78j(b); § 78j(b); 78o(a)(1); 78t(a); 17 C.F.R. § 240.10b-5(a) and (c); § 240.10b-5(b)
 VI. CAUSE OF ACTION                                 Brief description of cause:
                                                     Offering fraud

 VII.         REQUESTED IN                         [J     CHECK IF THIS IS A CLASS ACTION                                  DEMAND $                                              CHECK YES only if demanded in complaint:
              COMPLAINT:                                  UNDER RULE 23, FR.Cv.P.                                                                                                JURY DEMAND:         yes       [XINo
 VIII.         RELATED             CASE(S)
                                                        (See instructions):
              IF ANY                                                               JUDGE                                                                              DOCKET NUMBER
 DATE                                                                                   SIGNATURE     OF ATTORNEY           OF RECORD

 Apr 12, 2022                                                                           /s/ Tracy S. Combs
 FOR OFFICE             USE ONLY

       RECEIPT #                        AMOUNT                                              APPLYING IFP                                         JUDGE                                     MAG. JUDGE

                                                                                                                                                                                   Exhibit 1, Page 27
1S 44 Reverse    1020) Case
           (Rev.Case                      Document 1Document
                            2:22-cv-00612-JCM-EJY
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                      INSTRUCTIONS                FOR ATTORNEYS               COMPLETING         CIVIL COVER            SHEET FORM           JS 44
                                                                   Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

L(a)        Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
            only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
            the official, giving both name and title.
      (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
            time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
            condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
      ©     Attorneys.   Enter the firm name, address, telephone number, and attorney of record.    If there are several attorneys, list them on an attachment, noting
            in this section "(see attachment)".

II.         Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
            in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
            United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
            United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
            Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
            to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
            precedence, and box 1 or 2 should be marked.
            Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
            citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
            cases.)

II.         Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
            section for each principal party.

Iv.         Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
            that is most applicable. Click here for: Nature of Suit Code Descriptions.

            Origin. Place an "X" in one of the seven boxes.
            Original Proceedings. (1) Cases which originate in the United States district courts.
            Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C. Section 1441.
            Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
            date.
            Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
            Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
            multidistrict litigation transfers.
            Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
            Section 1407.
            Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
            PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
            changes in statue.

            Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
            statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.        Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
            Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
            Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII.       Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
             numbers and the corresponding judge names for such cases.

Date and Attorney Signature.           Date and sign the civil cover sheet.




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ATTACHMENT TO CIVIL COVER SHEET
SEC V. MATTHEW WADE BEASLEY, ET AL.


ATTORNEYS       FOR DEFENDANTS AND RELIEF DEFENDANTS:

Garrett Ogata, Esq.
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Law Office of Kamille Dean P.L.C
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Counsel for Defendant Jeffrey J. Judd and Relief Defendant The Judd Irrevocable Trust

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Christiansen Trial Lawyers
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801.323.2225
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(Nevada), and J and J Purchasing LLC

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(702) 385-3850
Counsel for Defendant Shane M. Jager

Thomas Ericsson, Esq.
Oronez & Ericsson LLC
1050 Indigo Dr, #120
Las Vegas, NV 89145



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702-766-9432
Counsel for Defendant Jason M. Jongeward

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400 S 4th St, Ste 650
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(702) 626-4646
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Dyke Huish, Esq.
Huish Law Firm
26161 Marguerite Pkwy, Ste B
Mission Viejo, CA 92692
949-837-8600
Counsel for Defendant Roland Tanner


DEFENDANTS:

Matthew Wade Beasley;

Beasley Law Group PC;

Jeffrey J. Judd;

Christopher R. Humphries;

J&J Consulting Services, Inc., an Alaska corporation;

J&J Consulting Services, Inc., a Nevada Corporation;

J and J Purchasing LLC;

Shane M. Jager;

Jason M. Jongeward,

Denny Seybert;

Roland Tanner



RELIEF DEFENDANTS:

The Judd Irrevocable Trust;

PAJ Consulting Inc;




                                                                Exhibit 1, Page 30
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BJ Holdings LLC;

Stirling Consulting, L.L.C.;

CJ Investments, LLC;

JL2 Investments, LLC;

Rocking Horse Properties, LLC;

Triple Threat Basketball, LLC;

ACACLLC;

Anthony Michael Alberto, Jr.;

Monty Crew LLC




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                 Securities and Exchange Commission v. Beasley, et al.
                                   Case No.

                                        Complaint

                                   Index of Exhibits


           Description                                                        Date
           Example of Fake Purchase Agreement                                 12.18.2020
           Example of Investor Agreement                                      12.29.2020
           Example of Buyer Agreement                                         10.19.2021
           Confidential Private Placement Memorandum (“PPM”)                  12.02.2021




                                                                     Exhibit 1, Page 32
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                       Exhibit A
         Example of Fake Purchase Agreement




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                             PURCHASE         AGREEMENT

       This is a Purchase Agreement ("Agreement") dated the 18% day of December,
2020. This Agreement is by and between Sheri Burg (“Seller”) who is represented by
Howard Ankin, Esq. of Ankin Law Office, LLC whose address is 10 North Dearborn,
Suite 500, Chicago, Illinois 60602 (“ Attorney”) and J & J] Consulting Services, Inc., an
Alaska corporation (“Buyer”) who is represented by Matthew Beasley, Esq. of the
Beasley Law Group, PC (“Buyer’s Attorney”) whose address is 737 North Main Street,
Las Vegas, Nevada 89101.

A.      Seller has a claim arising from a slip and fall incident which occurred on
February 18, 2019 ("Claim") at Element - Moline which is owned by Moline Promenade
Investors, LLC and operated by C-Two Hotel Group. Seller has hired Attorney to
represent Seller in this Claim. Seller has settled the Claim. The entire amount of the
settlement is $285,250.00 (“Settlement Amount”), less legal fees, superior medical liens
existing on the date of this Agreement, costs and disbursements payable to Attorney
under the existing fee agreement between Seller and Attorney (“Proceeds").

B.      Seller desires to sell and assign to Buyer an interest in the Proceeds. Buyer
desires to purchase the interest in the Proceeds, on the terms and under the conditions
set forth in this Agreement.

BUYER AND SELLER AGREE AS FOLLOWS:

i      PURCHASE OF INTEREST

a.      Seller hereby sells, transfers, conveys and assigns to Buyer a $112,500.00 interest
("Interest") in the Proceeds for a purchase price of $100,000.00 ("Purchase Price"). Seller
acknowledges receipt of the Purchase Price. Seller understands that the amount of
Buyer's Interest, or, in other words, the amount to be paid to Buyer, will increase to
reflect the date the Buyer is paid its Interest in the Proceeds as set forth in the following
Disclosure Table ("Disclosure Table"):




[Intentionally Left Blank]




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                                    DISCLOSURE TABLE

Purchase Price:               $100,000.00

Date of Payment to Buyer
                                                                Amount due to Buyer

On or before March 20, 2021                                      $112,500.00
After March 20, 2021 but on or before April 19, 2021             $119,000.00

*Should Seller not pay Buyer from the Proceeds by April 17, 2021 the Buyer's Interest
will increase by $6,500.00 every thirty (30) days thereafter.

b.      Buyer's Interest will be paid by Attorney out of the Proceeds of the Claim and
will be deducted directly from the Proceeds of the Claim and will be paid to Buyer prior
to any payment to Seller with respect to the Claim. If the Proceeds of the Claim
Amount are not enough to pay the full amount due to Buyer, then Buyer shall be
entitled to receive 100% of the Proceeds of the Claim.   Seller has directed Attorney to,
among other things, (i) place an assignment, consensual lien and security interest in
favor of Buyer against any and all Proceeds due Seller from the Claim (after payment of
any and all legal fees and reimbursable costs) and to protect and satisfy the assignment,
consensual lien and security interest in favor of Buyer up to the full amount of Buyer's
Interest, (ii) notify Buyer of receipt of Settlement Amount, (iii) pay Buyer from the
Proceeds the proper amount due to Seller representing Seller's Interest in the Proceeds
at the time of distribution of the Proceeds prior to any payment to Seller with respect to
the Claim, (iv) respond to requests for information from Buyer and (v) notify Buyer
prior to any disbursements of funds to verify the amount due Buyer. Seller has
provided Buyer with an executed Authorization for Attorney to Pay Buyer from
Proceeds of Claim/ Acknowledgement of Authorization by Seller and Attorney in the
form attached as Exhibit "A" ("Authorization and Acknowledgement ").

C.      The amount Buyer is entitled to may be more than is listed in the Disclosure
Table above if Seller does not honor the obligations in this Agreement. Seller will also
be liable to pay Buyer's Interest, even if there are no Proceeds, if Seller has mislead
Buyer or Attorney concerning Seller’s Claim and will also be liable for Buyer's attorney’
s fees or collection costs, as permitted by law.

d.     If Seller wants to sell an additional Interest, and if Buyer agrees to purchase an
additional Interest, Buyer and Seller will sign an amended Disclosure Table. Seller
understands that Buyer is not required to purchase any additional Interest.




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e.     In the event that the Claim is the subject of more than one lawsuit, claim or cause
arising out of more than one incident/accident/ transaction, or against one or more
defendants, then the amount due Buyer pursuant to this Agreement shall be paid from
the Proceeds of the first lawsuit, claim and/or case against any of the defendants,
including insurance companies and malpractice claims arising out of the Claim, which
results in a monetary recovery. If insufficient funds are available from the first lawsuit,
claim and/or case resulting in a monetary recovery to pay the full amount due Buyer
pursuant to this Agreement, then the balance due Buyer shall be paid from the Proceeds
of the next lawsuit, claim and/or cause, if any.

f.      The amount due Buyer shall be withheld from any money collected as a result of
the Claim and shall immediately be paid to Buyer (after first deducting Attorney's fees
and costs, and any prior liens which exist on the date of this Agreement). Seller agrees
and hereby directs that all Proceeds received in connection with the Claim, are held in
Trust for Buyer until Buyer has been fully paid its Interest. Seller understands that
Seller will not receive any money or payment from the Proceeds of Seller's Claim until
Buyer has been paid Buyer's Interest in full. This shall also apply to any structured
settlements. If Seller receives payments from several sources, Seller will pay Buyer all
monies received from each source until Buyer is paid in full its Interest in the Proceeds
of the Claim. Seller acknowledge that receipt or use of any Proceeds of the Claim prior
to the full payment to Buyer of Buyer's Interest in the Proceeds of the Claim may
constitute an illegal conversion and may be a crime.

2.     GRANT OF SECURITY INTEREST

By signing this Agreement, Seller grants to Buyer a security interest and a lien in the
Settlement Amount and all Proceeds of the Claim ("Collateral"). Buyer shall have all
rights and remedies of a secured party under the Nevada Uniform Commercial Code.
Seller authorizes Buyer to file one or more UCC financing statements regarding Buyer's
security interest and lien in the Collateral and Seller agrees to take all other steps
reasonably required by Buyer to perfect and maintain the perfection of Buyer's security
interest.

 ®     NO TRANSFER OF CLAIM

Seller is not assigning any portion of the Claim to Buyer, and Buyer is not buying any
portion of the Claim under this Agreement. Buyer has no right or obligation to take any
legal action for Seller in connection with the Claim. Buyer has no right or obligation to
advise, direct or instruct Seller or Attorney in how to go forward with Sellers Claim.
Buyer will not be involved in the negotiation of any settlement of Seller's Claim. Buyer
has no obligations or duties concerning the Claim, or the collection of any settlement,
award or verdict from the Claim.




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4.     SELLER'S REPRESENTATIONS AND WARRANTIES

Seller represents and warrants to Buyer that:

a.     Seller is using the funds received from the Purchase Price for Seller's immediate
economic necessities. Seller has been advised that Seller should not sell any portion of
the Proceeds of the Claim if Seller has any other alternative to meet my immediate
economic necessities. Seller understands that due to the various factors involved that
Buyer may make a large profit.

b.      Seller acknowledges that Seller has been advised to seek the services of legal, tax,
accounting and/or financial advisors in the negotiation and signing of this Agreement.
Seller has either received such counsel prior to signing this Agreement or expressly
waived such counsel. Seller understands from speaking to Attorney and/or other
advisors that the amount of Buyer's Interest as set forth in the Disclosure Table is
greater than the Purchase Price Seller is receiving, and that there is a cost to Seller
selling Buyer the Interest. Seller understands that Buyer is relying upon Seller's
representations in deciding to purchase this Interest and Seller represents and warrants
that all statements made by Seller are true and correct as of the date hereof. Seller
understands that if any information provided by Seller changes that Seller has an
obligation to immediately notify Buyer.

C.      Seller is not currently in bankruptcy, there are no pending tax claims or criminal
allegations against Seller, and Seller has complied with all laws in connection with the
Claim. Seller further represent that Seller is not in violation of any obligations
concerning childcare, alimony or support, and Seller has not been convicted of a felony
or other crime involving dishonesty.   Other than the Claim itself, there is no claim, legal
action, lien or any proceeding or order pending or in effect or threatened, against Seller,
or which would in any manner affect or impair Buyer's Interest or Buyer's rights under
this Agreement. Seller has been truthful in all aspects of the Claim and has provided all
information to Attorney in a complete and honest fashion. Seller also confirms that all
documents submitted in connection with the investigation and Buyer's evaluation of
the Claim are true, whether submitted by Attorney or Seller. Seller understands that
Buyer is relying upon these statements in determining whether to enter into this
Agreement.

d.      Seller agrees to not change the fee agreement between Seller and Attorney in any
way that would reduce the amount of Buyer's Interest in the Proceeds of the Claim.
Seller further promises to notify Buyer in writing within 72 hours if Seller terminates
the services of Attorney, or if Attorney determines not to proceed with the Claim. If
new attorneys are retained to represent Seller in the Claim, Seller will notify Buyer
within 72 hours of the new attorneys being retained, and will direct the new attorneys
to comply with the terms of this Agreement by Seller and the new attorney executing a



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new Authorization and Acknowledgement within 14 days after accepting Seller's
representation . Seller will also notify Buyer in writing within 72 hours if Seller moves
from the address listed above.

e.      Seller will not knowingly create or permit any additional liens, charges, security
interests, encumbrances, agreements of any kind or other rights of third parties against
the Proceeds of the Claim without the prior written consent of Buyer. Seller specifically
promises not to sell any additional portion of the Proceeds of the Claim after the date of
this Agreement, unless Buyer has given prior written permission. Seller also confirms
that neither the Claim nor the Proceeds are subject to any liens, charges, security
interests, encumbrances, agreements of any kind or nature (other than this Agreement)
or other rights of third parties except for liens previously provided to Seller's medical
providers. Seller understands that if these statements are not true, it may be considered
as a fraud, as Buyer is relying upon these statements in going forward with this
Agreement.

5.     EVENTS OF DEFAULT

The occurrence of any one or more of the following events shall be an event of default
by Seller under this Agreement (each, an "Event of Default"):

a.      The failure by Seller or Attorney to pay Buyer's Interest in the Proceeds within
thirty (30) days after the Settlement Amount is received by Seller or Attorney; or

b.      Seller’s failure to perform or comply with any of the agreements, conditions,
provisions or promises contained in this Agreement, including but not limited to if
Buyer does not receive a timely response to a request for information from Seller or
Attorney or if Buyer does not receive a new Authorization and Acknowledgement by
Seller and new attorney within fourteen (14) days after accepting representation, and
such failure to perform or comply continues unremedied for a period of ten (10) days
after written notice from Buyer to Seller, unless such default, in Buyer's reasonable
discretion, is not curable, in which event there shall be no grace period; or

C.     If Buyer discovers any material misrepresentation or inaccuracy in any
representation or warranty made by Seller to Buyer in this Agreement.

Upon an Event of Default by Seller under this Agreement, Seller agrees that Buyer may
contact any insurance company, claims adjuster or attorney then handling the Claim on
behalf of any responsible party and advise such insurance company, claims adjuster or
attorney about Buyer's Interest in Seller's Claim and to direct that Buyer be included as
a payee on settlement checks provided further that nothing herein shall prevent Buyer
from exercising any other right or remedy provided under law or equity. If Buyer does




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anything stated in this paragraph, Buyer shall not be liable to Seller for any damages
which Seller may suffer resulting from Buyer's actions described above.

6.    APPLICABLE LAW

This Agreement shall be governed, construed and enforced in accordance with, and all
disputes arising out of or in connection with this Agreement shall be governed by, the
internal laws of the State of Nevada, without regard to the conflict of law rules of
Nevada or any other jurisdiction.

7.    ARBITRATION

BUYER AND SELLER ACKNOWLEDGE AND AGREE THAT ALL DISPUTES,
CLAIMS, DEFENSES OR CONTROVERSIES (WHETHER IN LAW OR IN EQUITY)
ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE RELATIONSHIPS
THAT RESULT FROM THIS AGREEMENT, INCLUDING BUT NOT LIMITED TO
ANY DISPUTES, CLAIMS OR CONTROVERSIES INVOLVING FEDERAL OR STATE
STATUTORY CAUSES OF ACTION OR INJUNCTIVE RELIEF, ANY INVOLVING
FEDERAL OR STATE ADMINISTRATIVE REMEDIES, ANY INVOLVING
CONSUMER FRAUD AND ANY INVOLVING A CHALLENGE TO THE LEGALITY
OF ANY PART OR ALL OF TH IS AGREEMENT ("DISPUTES") SHALL BE RESOLVED
THROUGH FINAL AND BINDING ARBITRATION UNDER THE COMMERCIAL
ARBITRATION RULES ("RULES") OF THE AMERICAN ARBITRATION
ASSOCIATION ("AAA"). THE ARBITRATION SHALL TAKE PLACE BEFORE A
SINGLE ARBITRATOR TO BE CHOSEN BY AGREEMENT OF THE PARTIES, OR
FAILING SUCH, IN ACCORDANCE WITH AAA RULES. THE ARBITRATION
SHALL TAKE PLACE IN THE STATE OF NEVADA, COUNTY OF CLARK UNLESS
THE PARTIES AGREE TO A DIFFERENT LOCATION. THE PARTIES AGREE THAT
THIS ARBITRATION AGREEMENT IS MADE PURSUANT TO A TRANSACTION IN
INTERSTATE COMMERCE AND, EXCEPT AS OTHERWISE EXPRESSLY PROVIDED
HEREIN, SHALL BE GOVERN ED BY THE FEDERAL ARBITRATION ACT, 9 U.S.C.
§1 AND THE SUBSTANTIVE LAWS OF THE STATE OF NEVADA SHALL BE
APPLIED IN ALL EVENTS. JUDGMENT UPON THE AWARD RENDERED MAY BE
ENTERED IN ANY COURT HAVING JURISDICTION. THE PARTIES ALSO AGREE
THAT THE AAA OPTIONAL RULES FOR EMERGENCY MEASURES OF
PROTECTION SHALL APPLY TO THE PROCEEDINGS.

8.    WAIVER OF JURY TRIAL

BUYER AND     SELLER, AFTER CONSULTATION WITH THEIR RESPECTIVE
ATTORNEYS,     EACH HEREBY WAIVE ANY RIGHT WHICH THEY MAY HAVE TO A
JURY TRIAL,   INCLUDING ANY RIGHT VESTED BY FEDERAL, STATE OR LOCAL
STATUTE, IN    CONNECTION WITH ANY DISPUTES OR LEGAL PROCEEDING



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INVOLVING, DIRECTLY OR INDIRECTLY, ANY MATTER COMMENCED BY OR
AGAINST EITHER PARTY IN ANY WAY ARISING OUT OF OR RELATED TO THIS
AGREEMENT OR WITH ANY DOCUMENT EXECUTED IN CONNECTION WITH
THIS AGREEMENT.

9,    WAIVER OF CLASS ACTION CLAIMS

SELLER HEREBY AGREES TO WAIVE ANY AND ALL RIGHTS TO (i) ANY DISPUTE
WITH BUYER BEING HANDLED AS A CLASS ACTION AND (ii) JOINING AS A
PLAINTIFF, CLAIMANT, MEMBER OR PARTICIPANT IN ANY CLASS ACTION
AGAINST BUYER. IT IS AGREED THAT ANY ARBITRATION WILL BE LIMITED TO
THE DISPUTE BETWEEN BUYER AND SELLER, AND BUYER AND SELLER WAIVE
ANY RIGHT TO CONSOLIDATE OR TO HAVE HANDLED AS A CLASS ACTION
ANY PROCEEDING ON ANY DISPUTES WITH ANY PROCEEDING ON DISPUTES,
CLAIMS, OR CONTROVERSIES INVOLVING ANY PERSON OR ENTITY NOT A
PARTY TO THIS AGREEMENT.

10.    RECLASSIFICATION OF TRANSACTION

This Agreement represents an investment by Buyer, and not a loan to Seller. However,
should a court of law determine that the transaction set out in this Agreement is a loan
of money, Seller agrees that interest shall accrue at the maxim um rate permitted by
law. Seller agrees that any fees or expenses paid by Buyer in connection with the Claim
will not be included as interest. This includes any attorney's fees and costs Buyer has
expended to enforce its rights under this Agreement. Seller agrees that these will be
considered as a reimbursement to Buyer, rather than as interest.

11.    MISCELLANEOUS

a.      If any part of this Agreement is deemed invalid or unenforceable, it shall not
affect the validity or enforceability of (i) any other part of this Agreement, and the
Agreement shall be modified to the extent legally possible to legally carry out the intent
of this Agreement and (ii) any agreement between Buyer and any other party. This
Agreement and its exhibit make up the entire and only agreement or understanding
between Buyer and Seller. It may not be changed unless signed in writing by Buyer and
Seller. This Agreement takes precedence over all prior agreements, brochures,
negotiations, commitments and representations, whether oral or written, about Seller's
Claim and Buyer's purchase of its Interest.




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b.      Should Buyer retain the services of an   attorney to enforce the terms of this
Agreement, Seller will be responsible for any    costs or expenses (including reasonable
legal fees and expenses) in enforcing Buyer's    rights under this Agreement and the
amount of Buyer's Interest shall be increased    in an amount equal to Buyer's costs and
expenses.

GC     This Agreement will be binding upon Buyer and Seller, and each of their heirs,
executors, administrators, successors and assigns. Seller understands and agrees that
Seller has no right to assign Sellers rights and obligations under this Agreement. Seller
further understands and agrees that Buyer may assign its rights and obligations under
this Agreement (and Buyer's Interest) to any party without Seller's prior approval,
provided that any such party agrees to be bound by the terms and conditions of this
Agreement. It is agreed that if Buyer assigns this Agreement as provided in the prior
sentence, Buyer shall have no further obligations under this Agreement and Seller must
look solely to the party Buyer assigned the Agreement to for performance under this
Agreement. When requested by Buyer or any assignee, Seller will sign and deliver any
and all reasonably requested documents as Buyer or such assignee may require to
confirm the various rights and obligations of the parties under this Agreement. This
Agreement may be signed in separate counterparts. A facsimile signature shall be
deemed to be an original signature.

12.    RIGHT TO CANCEL

SELLER HAS THE RIGHT TO CANCEL THIS AGREEMENT WITHOUT PENALTY
OR FURTHER OBLIGATION AT ANY TIME PRIOR TO MIDNIGHT OF THE FIFTH
(6TH) BUSINESS DAY FROM THE DATE SELLER RECEIVES FUNDING
HEREUNDER FROM BUYER.

In order for the cancellation to be effective, Seller must return the full amount of
disbursed funds to Attorney within five (5) business day of the disbursement of funds
who will then return the amount to Buyer's Attorney upon the clearance of the funds in
Attorney's Trust Account.

DO NOT SIGN THIS AGREEMENT BEFORE YOU READ IT COMPLETELY OR IF IT
CONTAINS ANY BLANK SPACE. BEFORE YOU SIGN THIS AGREEMENT YOU
SHOULD OBTAIN THE ADVICE OF YOUR ATTORNEY. YOU ARE ENTITLED TO A
COMPLETELY FILLED IN COPY OF THIS AGREEMENT.

SELLER:                                            BUYER:


SHERI BURG                                         LV Capital LLC & J & J] CONSULTING
                                                   SERVICES, INC.



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                                         EXHIBIT A

 AUTHORIZATION FOR ATTORNEY TO PAY J & J] CONSULTING SERVICES, INC.
  FROM PROCEEDS OF CLAIM/ ACKNOWLEDGEMENT OF AUTHORIZATION

Pursuant to that certain Purchase Agreement dated December 18, 2020 between Sheri
Burg (“Seller”) and J & J Consulting Services, Inc. ("Buyer") (the "Agreement"), I, Sheri
Berg hereby irrevocably authorize and direct my attorney, Howard Ankin, Esq.
(“Attorney”), (and any future Attorney representing me in connection with my Claim
to, among other things, (i) place an assignment, consensual lien and security interest in
favor of Buyer against any and all of the Proceeds due Seller from the Claim (after
payment of any and all legal fees, reimbursable costs, statutory liens and liens) and to
protect and satisfy the assignment, consensual lien and security interest in favor of
Buyer up to the full amount of Buyer's Interest, (ii) pay Buyer's Attorney from the
Proceeds the amount due to Buyer representing Buyer's Interest in the Proceeds of the
Claim at the time of distribution of the Proceeds prior to any payment to Seller with
respect to the Claim, (iii) in the event that the Claim is the subject of more than one
lawsuit, claim or cause of action arising out of more than one
incident/accident/ transaction, or against one or more defendants, pay Buyer's Interest
from the Proceeds of the first lawsuit, claim and/or case against any of the defendants,
(iv) notify Buyer's Attorney of discontinuance or ending with respect to Attorney’s
representation, (v) respond to requests for information from Buyer's Attorney and (vi)
call Buyer's Attorney prior to any disbursements of funds to verify the amount of
Buyer's Interest. Such amounts shall be paid directly to Buyer's Attorney to satisfy
Seller's obligations to Buyer under the Purchase Agreement prior to any distribution of
Proceeds to Seller. The amount of Buyer's Interest will increase to reflect the date Buyer
is paid its Interest in the Proceeds as set forth in the Disclosure Table to the Agreement,
as such may be amended from time to time. This Authorization is irrevocable and
binding and may only be amended by the mutual written agreement of Seller and
Buyer.

Dated this 18th day of December, 2020.




SHERI BURG, Seller




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                   ACKNOWLEDGEMENT            OF AUTHORIZATION

I, Howard Ankin, Esq. hereby acknowledge that Ankin Law Office, LLC represents
Sheri Burg, as her attorney, in connection with the Claim described in the Agreement. I
acknowledge that Sheri Burg has irrevocably instructed me to comply with the
Agreement's terms pursuant to the Authorization set forth above (the "Authorization").
I will honor Sheri Burg’s Authorization. I agree to pay Buyer's Attorney Buyer's
Interest from Sheri Burg's Proceeds of the Claim in accordance with the Disclosure
Table set forth in the Agreement, as such may be amended from time to time. I agree
not to distribute any Proceeds of the Claim to Sheri Burg until Buyer's Interest has been
paid in full. In the event of a dispute, I agree that only disbursements for attorney's
fees, reimbursable costs, statutory liens and medical liens that are in existence prior to
the date of the Agreement will be made. All other funds due Sheri Burg shall be held in
my Trust Account until such dispute is resolved. In the event that I am terminated as
Sheri Burg’s attorney with respect to the Claim, I shall give Buyer's Attorney immediate
written notice thereof by certified mail, and state the name, address and telephone
number of Sheri Burg’s new attorney.

All disbursements of funds, including Sheri Burg's share of the Proceeds, will be
through my Trust Account, and Sheri Burg will not receive a settlement check directly
from any defendant or insurance company. I agree to verify the amount of Buyer's
Interest prior to any disbursement of funds. I have no knowledge of Sheri Burg having
previously sold, transferred or assigned any interest in the Claim or in the Proceeds of
the Claim, and understand that Sheri Burg may not further sell, transfer or assign any
additional Interest to any party other than Buyer without Buyer's written permission. I
warrant and covenant that I am authorized to execute this document on behalf of Ankin
Law Office, LLC.

DATED this 18% day of December, 2020.

ANKIN LAW OFFICE, LLC




By: HOWARD ANKIN, ESQ.




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                        Exhibit B
              Example of Investor Agreement




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December 29, 2020


Attn: Crestview Capital


Re: Sanford Investment Agreement between J&J Consulting/Jeffrey Judd and Crestview Capital

J&J Consulting/Jeffrey Judd has a business where he purchases contracts (Purchase Agreements)
for attorney’s clients once a settlement has been reached and an award has been granted. Jeffrey
Judd uses his own money and money from friends and family to purchase these contracts. Jeffrey
Judd uses the services of Matthew Beasley Esq. to assist him in finding these agreements and
also to write the contracts. The Purchase Agreement act as a lien on the client’s settlement.

Crestview Capital (Entity) and TJI LLC will be purchasing part of the      Sanford Purchase
Agreement. This will be a split Purchase Agreement (See Attachment)         for $80,000 and the term
of the contract will be for 90 days. Crestview Capital will be investing   $70,000 and TJI LLC will
be investing $10,000 to equal the said amount. If the agreement closes     within 90 days, the Entity
will receive a return of $8,750. If this agreement extends over 90 days,    the Entity will receive
$3,250 for each additional month the contract goes over the 90 days.


Marshall Gibbs will represent the Entity and be instructed by Shane Jager, representing J&J
Consulting, as to where to wire the funds and other matters.


The Entity and their members are prohibited from contacting any parties related to the injury
settlement or Purchase Agreement, without the written consent of Jeffrey Judd.


Force Majeure. No Party shall be deemed in default of any Purchase Agreement or, unless
otherwise expressly provided therein, any Ancillary Agreement for any delay or failure to fulfill
any obligation hereunder or thereunder so long as and to the extent to which any delay or failure
in the fulfillment of such obligation is prevented, frustrated, hindered or delayed as a
consequence of circumstances of Force Majeure. In the event of any such excused delay, the
time for performance of such obligations shall be extended for a period equal to the time lost by
reason of the delay. A Party claiming the benefit of this provision shall, as soon as reasonably
practicable after the occurrence of any such event, (a) provide written notice to the other Party of
the nature and extent of any such Force Majeure condition; and (b) use commercially reasonable
efforts to remove any such causes and resume performance under this Agreement and the
Ancillary Agreements, as applicable, as soon as reasonably practicable.


Shane Jager, acting through Stirling consulting LLC, will represent the Entity (instructed by
Shane Jager, representing J&J Consulting) limited to such matters as to where to wire incoming



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funds, issuing ACH returns and the return of principal (upon the Entity exit) to the Entity as
provided by J&J Consulting per this Investment Agreement. Shane Jager and Stirling consulting
LLC are hereby indemnified and held harmless in all other matters pertaining to the Purchase
Agreement's and the Investor Agreement's now and in future agreements.




  Qefp Gtr                                         12/29/2020
J effrey Judd                                              Date




Marshall Gibbs                                             Date


                                        Attachment A
                                     Purchase Agreement




                                                                          Exhibit 1, Page 46
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                       Exhibit C
                Example of Buyer Agreement




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          October 19, 2021

          Attn:   Todd Sansom



          Re: Creger Buyer Agreement between J&J Consulting Services, Inc./Jeffrey Judd and MTWE
          Investments LLC.


          J&J Consulting Services, Inc./Jeffrey Judd has a business where he purchases contracts
          (Purchase Agreements) for attorney's clients once a settlement has been reached and an award
          has been granted. Jeffrey Judd uses his own money and money from friends and family to
          purchase these contracts. Jeffrey Judd uses the services of Matthew Beasley Esq. to assist him
          in finding these agreements and also to write the contracts. The Purchase Agreement act as a
          lien on the clients settlement.

          MTWE Investments LLC (Entity) will be purchasing part of the “Creger” Purchase Agreement.
          This Purchase Agreement (See Attachment) will be for $80,000 and the term of the contract will
          be for 90 days. If the agreement closes within 90 days the Entity will receive a return of
          $10,000 and the principle will be rolled over into another Purchase Agreement until such time
          that the Entity desires to receive the principal back. If the Purchase Agreement extends over 90
          days the Entity will receive $5,000 for each additional month the contract goes over the initial
          90 days.

          Force Majeure. No Party shall be deemed in default of any Purchase Agreement or, unless
          otherwise expressly provided therein, any Ancillary Agreement for any delay or failure to fulfill
          any obligation hereunder or thereunder so long as and to the extent to which any delay or
          failure in the fulfillment of such obligation is prevented, frustrated, hindered or delayed as a
          consequence of circumstances of Force Majeure. In the event of any such excused delay, the
          time for performance of such obligations shall be extended for a period equal to the time lost
          by reason of the delay. A Party claiming the benefit of this provision shall, as soon as reasonably
          practicable after the occurrence of any such event, (a) provide written notice to the other Party
          of the nature and extent of any such Force Majeure condition; and (b) use commercially
          reasonable efforts to remove any such causes and resume performance under this Agreement
          and the Ancillary Agreements, as applicable, as soon as reasonably practicable.

          Roland Tanner, acting through Anthem Assets LLC, will represent the Entity (instructed by
          Shane Jager, representing J&J Consulting Services, Inc.) limited to such matters as to where to
          wire incoming funds, issuing ACH returns and the return of principal (upon the Entity exit) to
          the Entity as provided by J&J Consulting Services, Inc. per this Buyer Agreement. Roland Tanner
          and Anthem Assets LLC in addition to Shane Jager are hereby indemnified and held harmless in
          all other matters pertaining to this Purchase Agreement and Buyer Agreement.




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          The Entity and their members are prohibited from contacting any parties related to the injury
          settlement or Purchase Agreement, without the written consent of Jeffrey Judd.



                    DocuSigned by


                  Jeffry wd                         10/19/2021
          Jeffrey Judd                                    date

                    DocuSigned by:

                  Todd     Senso                    10/20/2021

          Todd Sansom       oo                            date




                                                   Attachment A
                                                Purchase Agreement




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                       Exhibit D
  Confidential Private Placement Memorandum
                                 (“PPM”)




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      Exhibit 1, Page 51
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‘ONIYI440 SIHL HIANN ‘ATIVOIHIO3LS /NAN1IYH INIFWLSIANL IHL ONY JTVAIONI-Nd LINFWLSIANI, HIFHL ATTNO Move
JAIFOFH OL L03dX3 AVIN HOLSIAANI FHL “IVIONIYd LINFWLSTANI SHOLSIANI FHL AF FANN LOVHINOD ISVYHOHNd
V JO SIWHAL IHL J3ANN a34N03S SINNIATH ANV S1IH40dd FHL WOH "SAILHVYd AdIHL HONS Ad dT1Id SI LINSMVY]
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TAVIONYNI HO INIJWLSIANI NV SY JAYIS FALLVINISTUdIY ANVANOID ANV AVIA 3SVI ON NI "NIZ¥IH d3NIVINOD
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    EXHIBIT A                   ARTICLES OF ORGANIZATION — CORPORATE DOCUMENTATION
    EXHIBIT B                   COMPANY OPERATING AGREEMENT
    EXHIBIT C                   SAMPLE INSURANCE SETTLEMENT AGREEMENTS ($80,000.00 AND $ 100,000.00)
                                COMPANY'S CODE OF ETHICS AND BUSINESS CONDUCT
    EXHIBIT D                   INVESTOR QUESTIONNAIRE




                                                                                                                                                 Exhibit 1, Page 55
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                               I.        SUMMARY OF THE OFFERING
THE FOLLOWING CONTAINS CERTAIN INFORMATION REGARDING THE OFFERING BUT DOES NOT CONTAIN ALL
THE INFORMATION THAT MAY BE IMPORTANT TO POTENTIAL INVESTORS. POTENTIAL INVESTORS SHOULD
READ THIS ENTIRE DOCUMENT AND EACH EXHIBIT CAREFULLY BEFORE THEY DECIDE TO INVEST UNDER THIS
OFFERING FOR THE PLACEMENT OF THEIR INVESTMENT TO SECURE A PARTIAL BENEFICIAL INTEREST IN
PURCHASE CONTRACTS TIED TO THE FUNDING OF THIRD-PARTY BENEFICIARY INSURANCE SETTLEMENT
AGREEMENTS.
THE COMPANY’S LEGAL OR OTHER COUNSEL DISCLAIM ALL LIABILITY UNDER THIS OFFERING AND ARE NOT
ADVISING THE PROSPECTIVE INVESTORS, NOTING THAT LEGAL OR OTHER COUNSEL HAS NOT PERFORMED
ANY DUE DILIGENCE REGARDING ANY CONTENT IN THIS MEMORANDUM WITH ALL INFORMATION SOLELY
PROVIDED BY COMPANY. ALL POTENTIAL INVESTORS SHOULD SEEK INDEPENDENT TAX, LEGAL, FINANCIAL,
INVESTMENT, ACCOUNTING AND OTHER COUNSEL TO ADVISE THEM WITH RESPECT TO ANY INVESTMENT
UNDER THIS OFFERING.

                    J and J Purchasing, LLC (the “Company”) is a new Florida limited liability company that has no operating
                    history but will hereafter under this Offering: (1) receive, certify, and manage the Investments Proceeds
                    from this Offering as transferred by Investor to the Company's Escrow Account in full compliance with all
                    Subscription Documentation matters hereto and concomitant Due Diligence by Company thereon; (2)
                  | utilize the Investor's Investment Principal as consideration for a Third-Party Beneficiary (owner of claims
                    settled through an existing/expected Insurance Settlement Agreement) to assign certain beneficial interests
                    under such Insurance Settlement Agreement to the Company and through a “Purchase Contract’
                    instrument that is funded by the Investment Principal, and whereby a part of such Third-Party Beneficiary-
 THE COMPANY.    | assigned beneficial interest is retained on behalf of the Investor and will be paid to the Investor as Investor's
   AND THIS        “Partial Beneficial Interest” and which sum is the "Investment Return;” (3) provide Investors a monthly
   OFFERING        statement germane to the activity of their relevant Partial Beneficial Interest(s) under one or more Purchase
  GENERALLY        Contract(s) and pay to Investors their Partial Beneficial Interest (the “Investment Return”) upon the
        i          expiration of the relevant “Placement Period;” and (4) comply with Investor's right to redeem their
                   Investment Principal pursuant to Investor's retained “Right of Redemption” or act consistent with Investor's
                   “Option to Reinvest” as further delimited below.
                   The opportunity to invest in Partial Beneficial Interests is offered by the Company with no commission or
                   other remuneration paid to any person, directly or indirectly, for solicitation of Investors or otherwise for the
                   offering and sale of Partial Beneficial Interests hereunder. Any “Finder” directly or indirectly affiliated with
                   the Company may not serve or act in any way as a financial or investment advisor, any of which act would
                   be prohibited under the Act or any other SEC limitations.

                   The Company, and all relationship permutations as between the Company, the Company's sole owner, or
                   future owners and Managing Member/President (Mr. Jeffrey Judd, hereafter “President”) and the Investors
                   under this Offering is governed by the Company's Operating Agreement, attached hereto as Exhibit B (the
                   “Operating Agreement").
                   Because the Investors join the Operating Agreement only as Investors in Partial Beneficial Interests
                   under Company-negotiated and otherwise secured Purchase Contracts and not as owners or members
                   of the Company, Investors do not, and will not, participate in the management of, nor control the,
                   Company's business, nor transact any business for the Company, nor have any right to any Company
                   Units, stock or other ownership or distribution interest in, or of, Company nor power to bind the Company
                   and will not receive any profit or other distribution germane to any Company revenue or operations,
                   including but not limited to, the beneficial interests that belong solely to the Company (and are strictly
                   retained for the benefit of the Company) under all Purchase Contracts.
 PRESIDENT AND                             )
 OPERATION OF    | The Investor's sole interest and expected potential investment profit under this Offering and
 THE COMPANY     | provided for in the Operating Agreement is the “Investment Return” (as defined in herein and the
                   Operating Agreement) that is retained under a “Purchase Contract’ as the Investor's specific “Partial
                   Beneficial Interest.” Separately, the Investor herein retains the Right of Redemption of the Investor's
                   "Investment Principal.”
                   The Company is Member Managed by Mr. Jeffrey Judd, President of the Company. The sole Company
                   Member is Mr. Judd, owning 100% of the Units in the Company. Mr. Judd’s management activities will
                   include the Company's day-to-day operations and all matters described in this summary of the Offering and
                   where otherwise described including the retention of services relevant to the negotiation and securing of
                   Purchase Contracts. The Operating Agreement sets forth the obligation for President to act on behalf of the
                   Investors germane to Investor's Partial Beneficial Interest, Investment Return lump sum payment, Right of
                   Redemption, and if relevant, Option to Reinvest. The capitalization of the Company is set forth in the
                   Operating Agreement (Exhibit B). The Company's principal place of business will be determined by the
                   President but is currently 9 Sky Arc Court, Henderson, NV 89012.

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               President will apply the Investment Principal to fund a Purchase Contract germane to a Third-Party
               Beneficiary's interest in the proceeds from an Insurance Settlement Agreement. Redacted examples of
               such $ 80,000.000 and $100,000.00 Purchase Contracts are found in Exhibit C. Company states that the
               causes of action, claims, or liability circumstances implicated or relevant to any Insurance Settlement
               Agreement, and the beneficial interest that is secured therein by Company under a Purchase Contract, do
               not involve pending lawsuits or other court proceedings (such controversy is not being prosecuted or
               defended in pending court proceedings with the controversy being settled through the relevant Insurance
               Settlement Agreement by the Third-Party Beneficiary prior to the institution of court action).
               President explicitly discloses that there may exist circumstances where Insurance Settlement Agreements
               that are the basis for a Purchase Contract are depleted in the marketplace or are preferentially secured on
isuBaNE.       behalf of Company or any affiliated individual or Member of same, including the President (See Confiict of
AGREEMENT      Interest and regarding “Conflicted Parties”). In such a case, and as a non-exclusive example, the Investor's
 INTERESTS     Investment will not be applied/converted to any Partial Beneficial Interest, e.g., without limitation, when the
               Investor asks the Company to effectuate an Option to Reinvest or otherwise.
               In the unlikely case where an Investor's Investment is unable to fund the consideration under a Purchase
               Contract or otherwise secure the Investor's Partial Beneficial Interest under a Purchase Contract, then
               President will retum the Investment Principal to the Investor as soon as commercially practicable, generally
               within five (5) business days, and terminate Investor as a Company Investor, without further recourse by
               Investor. No Investment Return will be due to Investor under these types of circumstances noting that the
               Placement Period has not been met with the sole action by Company being to retum to the Investor their
               Investment Principal and after such return, the Investor shall have no other recourse or right germane to
               any Investment Return or continued relationship with the Company in any way subject to the President's
               sole and unrestricted discretion.

               The Company offers pursuant to this Offering the potential to place Investor's Investment Principal as
               consideration for Purchase Contracts and the Investor's retained Partial Beneficial Interest therein of the
               profits from such Purchase Contract. The “Purchase Contract” is an instrument whereby the Company
               becomes the owner of a beneficial interest in the expected sums to be paid to Third Parties for their claims
               through and pursuant to an Insurance Settlement Agreement.

               The Purchase Contract provides that the Third-Party Beneficiary is advanced the sum of $80,000.00 or
               $100,000.00 (the Investor's “Investment Principal”) and such Third-Party Beneficiary assigns to Company
               a sum larger than the Investment Principal when their relevant Insurance Settlement Agreement is funded
               at some time during, or at the conclusion of, the Placement Period. The Company expects to receive all
               the Investment Principal under the Purchase Contract and additional profits and revenues expected
               consistent with the terms of the Purchase Contract. From these additional profits and revenues under the
               Purchase Contract, the Company will only pay the Investor their retained Partial Beneficial Interest
               which sum is specifically the Investment Return.
               The Investor may invest at an Offering price of $100,000.00 or $80,000.00 per Partial Beneficial Interest/the
               Investment Retum. The Minimum Investment Subscription is $ $80,000.00 which funds the potential
               placement of one Purchase Contract and the relevant Investment      Return from the Investor's retained Partial
               Beneficial Interest in such $80,000.00 Purchase Contract. As       to $100,000.00 Purchase Contracts, the
               Minimum Investment Subscription is $ $100,000.00 which funds        the potential placement of one Purchase
TERMS OF THE                                                                      retained Partial Beneficial Interest in such
               Contract and the relevant Investment Retum from the Investor's
 INVESTMENT
               $100,000.00 Purchase Contract.
  OFFERING
               The Company reserves the right to offer Partial Beneficial Interests to Investors in whatever proportion the
               President, in the exercise of his unrestricted discretion so decides, except in relation to an Investment under
               this Offering that does not meet the Minimum Investment Subscription amount. The President reserves
               the right, in President’s sole discretion, to reject any subscription under this Offering.
               The Partial Beneficial Interests are only being offered to Investors who meet certain suitability requirements
               and are satisfactoryto the Company under its Due Diligence standards and otherwise, in its sole discretion,
               for admission as Investor for a (specific to such Investor) Partial Beneficial Interest.
               Investors will not become Members of the Company but only hold a beneficial interest as Investors in
               Company negotiated Partial Beneficial Interests, i.e., for a part of the proceeds from Purchase Contracts
               which sum is equal, and will never exceed, the “Investment Retum.” No fractional Partial Beneficial Interests
               may be subscribed for, except as the President may otherwise decide on a case-by-case basis and in
               President's sole discretion for such subscriptions meeting the Minimum Investment Subscription. Any
               Investment under this Offering will be made by ETF (wire transfer) upon subscription and acceptance of all
               Subscription Documents by President and which investment sums will be transferred to and deposited in
               the Company's Escrow Account at the following financial institution: Well Fargo Bank NA (Nevada)
               Routing Number: 121000248, Account Name, Beasley Law Group IOLTA (noting that, upon the
               Company's acceptance by Company of the Subscription Documents, an authorized Company officer will
               inform the prospective Investor of the Account Number).
                                                                                            Exhibit 1, Page 57
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               Under this Offering, the Company offers Investors an expected twelve and one half (12.5%) Investment
               Retum for each Purchase Contract/Partial Beneficial Interest funded by the Investor's Investment Principal.
               The Investment Principal, as used to fund the consideration of a Purchase Contract of either a $80,000.00
               or $100,000.00 increment, and the Investment Retum sum will be paid to the Investor in a lump sum after
               the expiration of the required 90-day Placement Period if no Event of Default occurs. The Placement
               Period ends when the Purchase Contract Proceeds are received by the Company from the Third-Party
               Beneficiary’s agent/representative.
               When Investor submits their Subscription Documentation and funds their Investment, the President or his
               delegate is expected to execute the relevant Purchase Contract with the Third-Party Beneficiary to the
               Insurance Settlement Agreement (“Third-Party Beneficiary”) and which Purchase Contract consideration
               on the part of the Company will be funded by the Investor's Investment Principal and transferred by wire to
               the relevant Third-party Beneficiary:or their agent/representative. The execution of the Purchase Contract
               by Company and the relevant Third-Party Beneficiary is expected to occur generally within three (3)
               business days after receipt of the Investment Principal by Company into its Escrow Account. The wiring
               of the Investment Principal to the Third-Party Beneficiary will occur after the Purchase Contract is executed.
               When the Investor relevant Purchase Contract is executed by the Company and the Third-Party Beneficiary
               and the wire of the relevant amount is wired to the Third-Party Beneficiary, the ninety-day (90) “Placement
               Period” will begin. During the Placement Period, no Investment Return will be due Investor or paid by the
               Company. At the conclusion of the Placement Period, if the Insurance Settlement Agreement funds the
               Purchase Contract beneficial interest (the “Proceeds of the Purchase Contract”) and under its terms, and
               specifically when there is no Default Event as to either, the Investor can expect to receive the Investment
THE EXPECTED   Return in one lump sum and within five (5) business days after the expiration of the Placement Period/when
INVESTMENT     the Company receives the Proceeds of the Purchase Contract.
   RETURN —
               Under the preceding circumstances, If the Investor-retained Partial Beneficial Interest and Principal
 INVESTMENT
               Investment relate to: (1) an $80,000.00 Purchase Contract, then the lump sum payment of the Investment
   RETURN
  DEFINED
               Retum to the Investor will equal only $10,000.00 of the Proceeds of the Purchase Contract; or (2) a
               $100,000.00 Purchase Contract, then the lump sum payment of the Investment Retum to the Investor will
               equal only $12,500.00 of the Proceeds of the Purchase Contract. Company will issue and forward to each
               Investor a yearly appropriate Tax reporting form setting out all Investment Return amounts paid to Investor
               under any Purchase Contract.
               When the Company wires the Investment Return to the Investor after the expiration of the Placement
               Period, the Investor may inform the Company of the Investor's exercise of their Right of Redemption. If the
               Investor so notifies the Company, the Company will also wire to the Investor their Investment Principal, e.g.,
               either $80,000.00 or $100,000.00 and within five (5) business days of Company's receipt of the Investor's
               notice to redeem. Each Investment Principal and Investment Return transfer may be subject to relevant
               wiring fees and which operating expense may be charged to the Investor and deducted from the Investment
               Principal/Investment Return, noting that Investor's financial organization may also charge the Investor a
               separate wiring fee.
               The opportunity to invest in Partial Beneficial Interests are being offered by the Company with no
               commission or other remuneration paid to any person for solicitation of Investors or for the offering and sale
               of Partial Beneficial Interests. The only individual authorized to communicate with the Potential
               Investor/Subscriber regarding any aspect of this Offering or the Subscription Documents is a Company
               officer; currently, only Mr. Judd is an authorized Company officer and will be able to answer certain matters
               regarding the Offering. Company notes that Mr. Judd, or any other person speaking on the Company's
               behalf, are not financial or investment advisors, and may not act or communicate in any way that is reserved
               to licensed/professional investment or financial advisors. In short, Mr. Judd and anyone authorized to speak
               on Company's behalf are not financial or investment advisors and will never act in such capacity.

               Investors may exercise an absolute Right of Redemption on the Investment Principal Invested under this
               Offering after (or concomitant to) Company's payment to the Investor of their Investment Return after the
               expiration of the Placement Period. The Right of Redemption is exercised by Investor notifying the
               Company's President in writing and President shall refund to Investors their Investment Principal within five
  RIGHT OF     (5) business days from the Investor's Right of Redemption notice. Subject to Investor's instruction to do so,
REDEMPTION     and President's approval and concurrence, the Investor may benefit from the Option to Reinvest the
               Investment Principal invested under this Offering (after Company pays the Investor their Investment Return
 OPTION TO     after the expiration of the Placement Period).
  REINVEST     The Option to Reinvest exists, if at all, only after the Investment Principal is due to Investor and after the
               Investment Retum is paid. Specifically, if the Investor requests that Company fund the purchase of an
               additional and subsequent Purchase Contract, and Company so concurs in its sole discretion, then the
               Company will act accordingly with the Company informing the Investor of when a new Purchase Contract
               is funded and the concomitant start of that Purchase Contract's Placement Period.

                                                                                            Exhibit 1, Page 58
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                  Investors, by their signature to the Subscription Documents, certify their understanding and agreement that,
                  except for their Investments applied to securing/placement/assignment of Partial Beneficial Interests, all
                  profits or revenues realized under the relevant Purchase Contract beyond what is due Investors (under
                  their beneficial interest right to receive the Investment Return) SHALL BE RETAINED BY THE COMPANY
                | AND IS, WITHOUT LIMITATION, OWNED BY COMPANY (OR ITS OWNERS OR PARTNERS) AND
                  WHETHER AS BENEFICIARY INTEREST RECIPIENT OR OTHERWISE; NOTING THAT PORTIONS
                  OF THE BENEFICIAL INTEREST RETAINED UNDER PURCHASE CONTRACTS ARE DUE TO
                  COMPANY THIRD PARTY SERVICES PROVIDERS.
                  In short, except for the right to receive the potential Investment Retum (and their Investment Principal)
                  Company shall retain all and any other profit or revenue that may be associated with their activities
                  under this Offering, whether as profit beyond the due the Investment Return to Investors or as may be
                  otherwise realized by Company, and whether as part of their services agreements, any Purchase Contract,
                  or their, or their owners, managers or affiliated individuals’ investments which may or will be treated as
                | preferential to the placement of any Investment for Partial Beneficial Interests on behalf of the Investors any
                  of which activities of Company, or its owner, or President may so choose.
                  An Investment under this Offering can only be understood to be for potential placement by Company, but
                  not assured to be so placed. As Company is, and will be self-funded (i.e., separate from any Investment
                  made under this Offering which are potentially designated to fund Investment in Partial Beneficial Interests
CONFLICTS OF      on behalf of the Investor), Company, and its owner, President and/or partners (collectively, “Conflicted
  INTEREST        Parties”) may invest on their own behalf and preferentially secure interests germane to Insurance
                  Settlement Agreement interests available in the marketplace with their own funds, except that at no time
  COMPANY
 CONFLICTED       will any Investment Principal or Investment Return hereunder be effectively comingled with or used by the
   PARTIES      | Conflicted Parties to secure any such personally amenable interests in purchase contract beneficial
                  interests.

                 In short, Company, its President, and certain other partners do not have to preferentially secure Partial
                 Beneficiary Interests on behalf of Investors beyond any time other than the specific Placement Period that
                 applies to their specific Investment Principal applied to their specific Purchase Contract. Company has no
                 duty, without limitation, to accept any Investor requested Option to Reinvest. Other than payment of the
                 Investment Retum and refund of the Investment Principal, the Company and all affiliated individuals and
                 entities have not duty to continue the Investor's Investment relationship to Company or as applicable to any
                 additional Purchase Contract relationship or otherwise.
                 What the Investor can expect is that their Investment Principal will be utilized to secure the specific Partial
                 Beneficial Interests at the discretion of President which does not guarantee that President will at any time
                 preferentially place the Investors Investment ahead of the Conflicted Parties’ securing/placement/
                 assignment/purchase of the very Partial Beneficial Interest that could be secured on behalf of an Investor.
                 The Conflicted Parties are not restricted to fulfil their separate business or investment goals (except that the
                 Conflicted Parties shall never utilize investment funds realized under this Offering to secure a beneficial
                 interest under Purchase Contracts for themselves or on their own account).
                 President disclaims any fiduciary or other duty to place Investor's Investment Principal ahead of Company
                 or President's or their owners’ or partner's personal funds to securing/placement/assignment/purchase
                 beneficial interests in Purchase Contracts for, as relevant, their individual benefit and ahead of Investors.
                 Nonetheless, President certifies that at no time will any Investment under this Offering be applied to any
                 such individual benefit in securing/placement/assignment of Purchase Contracts.

                 President has secured that all Investments received hereunder will be held in a trust account before any
   TRUST         disbursement is made from such Trust Account to place/secure a Partial Beneficial Interest germane to any
  ACCOUNT        Investor. If no Purchase Contract/Partial Beneficial Interest is secured on behalf of the Invest, the
                 Investment Principal will remain in the Trust Account until returned as otherwise described in this Offering.

                 The subscription period begins on the effective date of this Memorandum and closes at 5:00 p.m. Central
PERIOD OF THE    Standard Time on December 31, 2022 (the “Closing Date”) unless completed or terminated sooner or
   PRIVATE       extended in the sole discretion of the Company. The Closing Date may not be extended except by the
  OFFERING       terms in this Memorandum and applicable law. Subscribers may submit their Subscription Agreement at
                 any time before the Closing Date.

THE COMPANY'S    The Company retains the right, in its sole discretion and for any reason whatsoever, to:
    RIGHT TO     (1) modify, amend, and/or withdraw all or a portion of the Offering, (2) accept or reject, in whole or in part,
     AMEND,      any prospective investment in the Partial Beneficial Interests or to allot to any prospective investor less than
    ACCEPT,      the number of Investor Partial Beneficial Interests such investor desires to secure, and/or (3) to close the
     REJECT,     Offering regardless of the number of Investor Partial Beneficial Interests subscribed hereunder.
 AND/OR CLOSE
                 The Company      will have no liability   whatsoever to any offeree and/or subscriber if any of the foregoing|
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                   occurs, noting that if no Investment has been placed and the Placement Period has not begun as to any
                   such amounts, then no Investment Return will accrue or be due Investor with the Investment Principal being
                   retuned to Investor if any such transfer of funds has occurred.

                 The proceeds from Investments under this Offering are to be solely allocated to the negotiated Purchase
               | Contracts germane to Third-Party Beneficiary Insurance Settlement Agreement interests (that will yield the
                 Investor's Partial Beneficial Interest’s Investment Retum) by the Company and not to any other Company
               |   expense.

                 COMPANY EXPLICITLY DISCLAIMS TO AND WARNS INVESTORS THAT THE INVESTOR'S
                 PRINCIPAL INVESTMENT AND INVESTMENT RETURN ARE NOT INSURED IN ANY WAY.
                 PURSUANT TO ANY EVENT WHEREBY THE RELEVANT PURCHASE CONTRACT DEFAULTS —
               | AND WHETHER SUCH DEFAULT OF THE PURCHASE CONTRACT OBLIGATIONS IS DUE TO A
  USE OF         CONCOMITANT DEFAULT OF THE APPLICABLE INSURANCE SETTLEMENT AGREEMENT OR
 PROCEEDS      | OTHERWISE — THE INVESTOR'S INVESTMENT PRINCIPAL MAY BE LOST IN ITS ENTIRETY AS
  EVENT OF       WELL AS THE EXPECTANCY AND RIGHT TO RECEIVE THE INVESTMENT RETURN.
  DEFAULT      | The investment in Partial Beneficiary Interests in Purchase Contracts, which beneficial interest payout is
                 tied to the payout of the source Third-Party Beneficiary Insurance Settlement Agreement at the end of the
                 Placement Period, could fail and which circumstance will constitute an Event of Default. Investors must
                 understand that, if the source Third-Party Beneficiary Insurance Settlement Agreement fails to fund for
                 whatever reason, then this circumstance will generally present with a Default Event as to its relevant
                 Purchase Contract. In such an Event of Default, then the entire Investment Principal will be lost in addition
                 to the Investment Return. While not expected, any such Event of Default is not possible to predict, and its
                 occurrence will result in the Investor losing the Investment Principal and Investment Return. If such Event
                 of Default occurs, it may also lead to the Company not being able to continue to operate.

                   All submitted Subscription Documentation (Subscription Agreement, Investor Questionnaire, etc.) and
                    Investment Principal funds may, in the sole discretion of the President, be returned to the putative subscriber
                   and without interest and deductions and within five (5) business days. Any subscriptions for Partial
                   Beneficial Interests may not be withdrawn by subscribers once submitted. Each investor will be required to
                   fill out and sign an Investor Questionnaire to affirm that subscriber meets the requirements of being an
                   Accredited Investor and that they have such sufficient business and investment experience to evaluate the
                   advantages and disadvantages of an investment in the Partial Beneficial Interests, and further, that the
                   subscriber meets all Due Diligence matters for being included as an Investor under this offering and in all
                   cases is otherwise financially able to bear the risk of loss of such Investment.
                   In order to subscribe for Partial Beneficial Interests, a prospective investor must provide the following to the
                   Company at the address below at or before 5:00 p.m. Central Standard Time on December 31, 2022 (the
                   “Closing Date”): (i) completed, signed and notarized (where applicable) Subscription Agreement, Investor
                   Questionnaire, and Power of Attomey attached hereto as Exhibit D to this Memorandum; (ji) a joinder to
                   the Company Operating Agreement in the form attached as Exhibit B to this Memorandum; and (iii) an ETF
                   wire for the benefit of J and J Purchasing, LLC in the amount equal to the number of Partial Beneficial
                   Interests being subscribed for multiplied by the applicable price ($80,000.00 or $100,000.00). The
                   documents may be sent either as the President requests or in the altemative, foregoing items may be
                   delivered to: J and J Purchasing, LLC c/o Mr. Jeffrey Judd - 9 Sky Arc Court, Henderson, NV 89012.

SUBSCRIPTION       Subscribers may submit their subscriptions at any time before the Closing Date and the President may
                   accept or reject such subscriptions prior to the Closing Date. The date or dates of the acceptance prior to
                   the Closing Date of any such subscriptions is referred to herein as “Interim Closing Date.” The Company
                   retains the right, in its sole discretion and for any reason whatsoever to: (1) modify, amend, and/or withdraw
                   all or a portion of the Offering; (2) accept or reject, in whole or in part, any. prospective investment in the
                   Partial Beneficial Interests or to allot to any prospective investor less than the number of Partial Beneficial
                   Interests such investor desires to invest in; (3) to close the Offering with fewer than the potential number of
                   Partial Beneficial Interests offered and whether same be consistent or inconsistent with the Aggregate
                   Offering Amount; (4) extend the Offering period and the Closing Date; or (5) have multiple Interim Closing
                   Dates. The Company will have no liability whatsoever to any offeree and/or subscriber if any of the foregoing
                   OCCUrs.
                   After the Closing of the Offering, or throughout Company's and Investor's relationship under this Offering,
                   each Investor whose subscription has been accepted by the Company, may or will be required to execute
                   any other documents as presented to the Investor by the Company in accordance with this Memorandum,
                   noting that such documentation will generally relate to Due Diligence and Compliance Certifications
                   matters. The opportunity to invest in Partial Beneficial Interests is being offered by the Company with no
                   commission or other remuneration paid to any person for solicitation of investors or for the offering and sale
                   of Partial Beneficial Interests.
                   No sales literature has been authorized for use in connection with the offering of Partial Beneficial Interests
                   except this Memorandum. The Company is delivering this Memorandum to each individual who is, or is
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                 anticipated to be, a direct or indirect investor in the Company, and urges each individual to closely review ]
                 this Memorandum and the attachments in their entirety so that each individual can decide whether he or
                 she wishes to invest directly or indirectly in the Partial Beneficial Interests offered hereby.

                 The Company's affairs will be conducted in the manner described in the Operating Agreement, a copy of
                 which is attached as Exhibit B, hereto. Section 1 of the Operating Agreement contains definitions of some
                 of the capitalized terms used in this Memorandum.
                 The Operating Agreement governs, restricts, and controls the President's actions on behalf of Investors
                 under this Offering and any Member's ownership interest in the Company. It is important that prospective
                 investors carefully read and understand its provisions as they are required to join the Company Agreement
THE INVESTORS    as Investors but not Members.
  JOIN THE
 OPERATIN
 AGREEMENT
          G      The distribution of available cash flow and proceeds and the allocation of taxable income or loss as
                 germane to the Company's Members are governed by the Operating Agreement. Prospective Investors
 BUT NOT AS      should read and become familiar with the Operating Agreement in its entirety, as they will be subject to the
  MEMBERS        provisions set forth in the Operating Agreement if they invest in the Company pursuant to its Offering
                 considering that they will not become members in the Company, owners of Units, or otherwise will
                 have no ownership or other voting power in any Company matter or any expectancy of Company
                 profits or liabilities other than the Investor's Investment Return and Right of Redemption.
                 The Investor's sole retained interest hereunder and thereunder will be that Investor's specific Partial
                 Beneficial Interest/Investment Return in that Investor's specific Purchase Contract attributable to that
                 Investor's specific Investment Principal so invested by Investor under this Offering.

NO ADDITIONAL    The Company does not require any or additional capital contributions from the Investors under this Offering.
   CAPITAL       Only the Company's Members may be looked at for additional capital not the subject of Partial Beneficial
CONTRIBUTIONS    Interest securing/placement/assignment/purchase. The Company's profits and losses are not matters
    FROM         inuring to Investors except as may be related to any Event of Default germane to any Purchase Contract
  INVESTORS      or Insurance Settlement Agreement.

                 Explicitly, Investors understand that they are not owners/Members of the Company. For their part, each
  NO VOTING      Member is entitled to one vote per share or a fraction of one vote per fraction of a Unit, as applicable.
  RIGHTS OR      Investors do not have any voting rights. Nonetheless, Member Jeffrey Judd may be the Trustee in the future
   COMPANY       regarding a Voting Trust Agreement for some Members and, as such, Mr. Judd may have the discretion to
OWNERSHIP BY     vote more Units than his then existing holding — noting that the Operating Agreement defines Majority in
  INVESTORS      Interest as the “Member who hold more than 50% of the aggregate Units held by all Members.”

                 In general, Investors understand that they are not, and will never be, owners/Members of the Company.
   PROFITS,      The President, as sole Company Member, and any other further Company Member, will share in the
 LOSSES, AND     Company's profits, losses and distributable cash pro rata based upon the number of Units owned by that
                 Member and the percentage of total issued Units that those Units represent.
 INVESTMENT
 RETURN PER      The allocation of Profits and Losses will be done subject to US Internal Revenue Code rules and regulations
 SHARE FOR       applicable to entities taxed as so designated, and as further outlined in the Company Operating Agreement.
  MEMBERS        Prospective Investors are advised to read the Company Operating Agreement and discuss with their tax
                 and legal advisors to determine all tax implications involved in their Investor Partial Beneficial Interest(s).

                 The general economic, financial, and regulatory risks of securing Purchase Contracts germane to
                 Insurance Settlement Agreement Third-Party Beneficiary Interests are (and are deemed fo be considered)
                 substantial and such risks could adversely affect the ability of the Company to ensure Investment Return
                 or Investment Principal to Investors.
RISK FACTORS
                 An investment for the potential securing/placement/assignment/purchase of Partial Beneficial Interests
                 under a Purchase Contract involves a high degree of risk. Many of the factors which may affect the
                 Company are subject to change or are not within the control of, without limitation, the Company, or its
                 President. See “Risk Factors and Other Disclosures.”

                 The Company has not sought and will not seek a ruling from the Intemal Revenue Service (the “IRS” or the
 TAX RULINGS     “Service") with respect to its tax classification or other tax matters whether germane to the Company, or
                 any Investor.

                | Terms with capitalized first letters have the same definitions as set out in the Company Operating
 DEFINITIONS
                  Agreement attached hereto as Exhibit B and/or the Company's Code of Ethics and Business Conduct



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                                I.       REQUIREMENTS FOR INVESTORS
PROSPECTIVE INVESTORS FOR THE INVESTMENT AND INVESTMENT RETURN UNDER THIS
OFFERING SHOULD GIVE CAREFUL CONSIDERATION TO VARIOUS RISK FACTORS DESCRIBED
UNDER THE “RISK FACTORS AND OTHER DISCLOSURES” SECTION OF THIS MEMORANDUM AND
ESPECIALLY TO THE SPECULATIVE NATURE OF THIS INVESTMENT AND THE LIMITATIONS
DESCRIBED UNDER THAT CAPTION WITH RESPECT TO THE LACK OF A READILY AVAILABLE
MARKET FOR THE INTEREST SECURING/PLACEMENT/ASSIGNMENT/PURCHASE HEREUNDER AND
THE RESULTING 3 MONTH PLACEMENT PERIOD TERM OF ANY INVESTMENT IN THE COMPANY, OR
AS RESTRICTED BY COMPANY'S OR ITS PRESIDENT’S, PARTNER OR OWNER'S PREFERENTIAL
INDEPENDENT INVESTMENT IN INSURANCE SETTLEMENT AGREEMENT INTERESTS AHEAD OF
INVESTOR. THIS OFFERING IS AVAILABLE ONLY TO SUITABLE ACCREDITED INVESTORS, HAVING
ADEQUATE MEANS TO ASSUME SUCH RISKS AND OF OTHERWISE PROVIDING FOR THEIR
CURRENT NEEDS AND CONTINGENCIES. ACCREDITED INVESTORS SHOULD CONSIDER THEIR
INVESTMENT THROUGH THIS OFFERING FOR THE PLACEMENT OF PARTIAL BENEFICIAL
INTEREST(S) IN PURCHASE CONTRACT(S) TO REQUIRE THE FOLLOWING:
A. GENERAL SUITABILITY STANDARDS. The investment in Partial Beneficial Interests will not be afforded to any
prospective Investor unless the Subscriber or Subscriber's duly authorized representative represents in writing to the
Company in a Subscription Agreement that:
    (1) The prospective purchaser has adequate means of providing for his or her current needs and personal
contingencies and has no need for liquidity in the investment, subject to their Redemption Rights under this Offering.
     (2) The prospective purchasers overall commitment to investments which are not readily marketable is not
disproportionate to Subscriber's net worth and the investment through this Offering will not cause such overall commitment
to become excessive.
     (3) The prospective purchaser is an “Accredited Investor” (as defined below) suitable for investment under this
Offering.
     (4) Each person acquiring a Partial Beneficial Interest in Partial Beneficial Interests hereunder will be required to
represent that such person is investing for his, her, or its own account for investment purposes and not with a view to resale
or transfer.
B. ACCREDITED INVESTORS. The Company will conduct the Offering in such a manner that the Partial Beneficial Interest
may be sold to “Accredited Investors as that term is defined in Rule 501(a) of Regulation D promulgated under the Securities
Act of 1933 (the “Securities Act’).
      In summary, a prospective investor will qualify as an “Accredited Investor” if the prospective investor meets the following
criteria as further described in the Subscription Documents:
    (1) Any natural person whose individual net worth, or joint net worth with that person's spouse, at the time of this
purchase, exceeds $1,000,0000 excluding the value of the primary residence of such natural person;
      (2) Any natural person who had an individual income in excess of $200,000 in each of the two most recent years or
joint income with that person's spouse in excess of $300,000 in each of those years and who has a reasonable expectation
of reaching the same income level in the current year; and
    (3)   Any entity in which all the equity owners are Accredited Investors.
C. OTHER REQUIREMENTS. No subscription for the Partial Beneficial Interests will be accepted from any investors unless
the investor is acquiring the Partial Beneficial Interests for his/her own account (or accounts as too which he/she has sole
investment discretion), for investment and without any view to sale, distribution, or disposition thereof. Each prospective
investor in the Partial Beneficial Interests may be required to furnish such information as the Company may need to determine
whether any person or entity so investing is an Accredited Investor and any other certifications required of the Investor under
the Company's compliance program.




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                             ll.      FORWARD-LOOKING STATEMENTS
This Memorandum contains certain forward-looking statements, as defined in the private Securities Litigation Reform Act of
1995, including or related to the Company's future results (including certain future projections), including but not limited to
those pro forma projections, if any, set forth in Section IX hereto. (See, “Financial Projections”).
These and other statements are based largely on current expectations, beliefs, estimates, projections, and assumptions of
the Company and are subject to a number of risks and uncertainties that could cause actual results to differ materially from
those contemplated by such forward-looking statements. These risks and uncertainties include, among others, those
described in Section Ill, “Risk Factors and other Disclosures.”
Assumptions relating to forward-looking statements involve judgments with respect to future economic, competitive and
market conditions and future business decisions, all of which are difficult or impossible to predict accurately and subject to
the Conflict of Interest disclosures in this Memorandum. Although the Company believes that assumptions underlying any
forward-looking statements are reasonable, any of the assumptions could prove to be inaccurate and there can therefore be
no assurance that the results contemplated in the forward-looking information will be realized. In light of the significant
uncertainties inherent in the forward-looking information herein, the inclusion of such information should not be regarded as
the Company’s representation that any business objectives will be achieved.
These along with other risks, which are described under “Risk Factors and Other Disclosures” may be described in future
communications with Investor. The Company makes no representation and undertakes no obligation to update the forward
looking statements to reflect actual results or changes in assumptions or other factors that could affect those statements.




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                                                   IV.       THE BUSINESS
Executive Summary
The Company operates as the Florida Limited Liability Company “J and J Purchasing, LLC." The Company's Management
structure is set out in the Company's Operating Agreement, to which all Investors and separately the Company Members are bound.
The Company will engage in the business of: (1) receiving, certifying and managing the Investments Proceeds from this Offering
for Partial Beneficial Interests; (2) effectuate the potential securing/placement/assignment/purchase of Insurance settlement
Agreement interests from the Investment Proceeds of this Offering, (3) provide Investors a monthly statement germane fo their
relevant Partial Beneficial Interests and pay to Investors the Investment Return for placed Investments, and (4) Comply with
Investor's right to redeem their Investment Principal pursuant to Investor's retained Right of Redemption.
The Company offers Investors a 12.5% Investment Return for each Partial Beneficial Interest placed by their Investment in a
Purchase Contract. When Investor submits their Investment Documentation and funds their Investment, the President will place the
Investment to fund the securing/placement/assignment/purchase of potentially and at least one $80,000.00 or $100,000.00
Purchase Contract from which the Investor retains a Partial Beneficial Interest which is equal to the Investment Return
and their Investment Principal and no more. All other revenue, profit or realized revenue germane to any Purchased Purchase
Contract will belong solely to the Company.
The time period between the receipt of the Investor's Investment and such assignment/purchase of a Purchase Contract germane
to an Insurance Settlement Agreement is expected to range from 24 to 72 hours after the Investment Principal is transferred. On the
expiration of the 90-Day Placement Period the Investor is expected to receive a lump sum payment of the Investment Retum. In
the unexpected case that the Investor's Investment is not placed pursuant to a Purchase Contract, such Investment Principal
transferred to Company will be retumed to the Investor. During the Placement Period, no interest will accrue or issue.
At the expiration of the Placement Period, each Partial Beneficial Interest will, if no Event of Default occurs, eam the Investment
Return, which specifically means that each $ 80,000.00 Investment/each Partial Beneficial Interest is expected to secure $10,000.00
paid to Investor within five (5) business days after the expiration of the Placement Period or for each $100,000.00 Investment/each
Partial Beneficial Interest is expected to secure $12,500.00 paid to Investor within five (5) business days after the expiration of the
Placement Period. Company will issue and forward to each Investor a yearly 1099 Tax reporting form setting out amounts paid to
Investor.
For purposes of establishing the exact date the Investor can expect to receive Investment Return, and for example, if an Investor's
Investment is made on January 1, 2022, and such Investment is immediately placed, then the Investment Retum will be due and
paid on the expiration of five (5) business days after 90 days after January 1, 2022.
Similarly, and for example, if the same Investor exercises their Right of Redemption after the Placement Period and on April 1,
2022, and the President effectuates the Right of Redemption — pursuant to be determined procedures and consistent with the
refunding, terminating or other terms germane to any Insurance Settlement Agreement/any Partial Beneficial Interest so funded, the
Investment Retum (along with the Investment Principal) will be paid to Investor within five (5) business days after the expiration of
the Placement Period.
Investors may exercise an absolute Right of Redemption on the Investment Principal invested under this Offering but only after
the expiration of the Placement Period. The Right of Redemption is exercised by Investor notifying President in writing and
President shall refund fo Investors their Investment Principal within five (5) business days from the Investor's Right of Redemption
notice.
Subject to the disclosures in this Offering, Company's President or services provider will negotiate and secure a Purchase Contract
tied to the Investment Principal in the form generally as is found in Exhibit C.
Company's President explicitly discloses that there may exist circumstances where Third-Party Beneficiary Insurance Settlement
Agreements are depleted in the marketplace. In such a case: (a) Investor's Investment Principal may not be applied/converted to
any Partial Beneficial Interest under a Purchase; in effect, the Placement Period will not begin. Accordingly, if Investor's Investment
Principal is unable to be converted to a Partial Beneficial Interest, then President will return the Investment Principal to the Investor
as soon as commercially practicable and terminate Investor as a Company Investor, without further recourse by Investor. No
Investment Retum will be due under this circumstance noting that the Placement Period has not been met; or (b) In cases where
the one or more Investment Principal have been converted to Partial Beneficial Interests under this Offering, the President retains
sole discretion to exercise the President's right to return part or all of Investor's Investment along with any partially earned Investment
Return, as determined in the President's sole discretion and if any, and terminate Investor's Partial Beneficial Interest(s) without
further recourse by Investor. Without limitation, the preceding may relate to Company Due Diligence efforts at any time, which efforts
may reveal information regarding Investor that establishes a violation of the Company's compliance program.
The Company's operations will be consistent with applicable State and Federal law and this Memorandum and the Company's
Operating Agreement (See, this Memorandum, “Risk Factors and Related Disclosures). The Company expects to encounter
competition in the form of similar businesses existing within the same market. The Company cannot forecast the level of competition
the Company will have to manage or endure.




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                        V.        RISKFACTORS AND OTHER DISCLOSURES
INVESTMENT IN A PARTIAL BENEFICIAL INTERESTS OFFERED UNDER THIS OFFERING INVOLVES
SIGNIFICANT RISKS DESCRIBED BELOW. PROSPECTIVE INVESTORS SHOULD CONSIDER CAREFULLY THE
FOLLOWING RISK FACTORS — TOGETHER WITH ALL OTHER INFORMATION SET FORTH IN THIS
MEMORANDUM — PRIOR TO INVESTING FOR THE PARTIAL BENEFICIAL INTERESTS OFFERED HEREBY. THE
COMPANY CAN MAKE NO ASSURANCE THAT ITS FINANCIAL CONDITION WILL NOT BE ADVERSELY
AFFECTED IN THE FUTURE BY ONE OR MORE OF THE RISK FACTORS OR OTHER RISK FACTORS NOT
ENUMERATED.
A.    RISKS RELATED TO THE COMPANY.
      1. The Company Has No Operating History. The Company can provide no assurances that the Company will be
able to place the Investor's Investment Principal under the Offering. Generally, the President anticipates that the Company
will initially generate cash deficits, which may or may not be overcome. For example, the Company may fail to: (i) generate
sufficient business, (ii) meet contractual relationships with third party entities or individuals, and/or (iii) negotiate for the
securing/placement/assignment/purchase of Purchase Contracts tied to Insurance Settlement Agreements and the
associated Partial Beneficial Interest on behalf of the Investor.
      2. Events of Default. The investment in Partial Beneficiary Interests in Purchase Contracts — which beneficial interest
payout is tied to the payout of the source Third-Party Beneficiary Insurance Settlement Agreement at the end of the
Placement Period — could fail and may constitute an Event of Default. In short, if the source Third-Party Beneficiary Insurance
Settlement Agreement fails to fund, which in turn would cause a Default Event as to its relevant Purchase Contract, then the
entire Investment Principal may be lost in addition to the Investment Retum. While not expected, any such Event of Default
is not possible to predict, and its occurrence will result in the Investor losing the Investment Principal and Investment Return.
If such Event of Default occurs, it may also lead to the Company not being able to continue to operate. Additional Event of
Default circumstances include Referral Source or Third Party Beneficiary of Insurance Settlement Agreement
misrepresentation, and as to any, whether negligent, reckless, knowing or willful fraud. Additionally, any claim so settled in a
Third party Beneficiary Insurance Settlement Agreement may be breached or withdrawn by such Third Parties for a variety
of reasons, including but not limited to, fraud in the inducement of the Insurance Settlement Agreement, bankruptcy of the
insurance payor, or other circumstances whereby an Insurance Settlement Agreement fails to fund, including recission by
any Third Parties.
      3. No Assurance of Insurance Settlement Agreement Marketplace Availability. The success of the Company's
Investor operations will depend in part upon availability in the marketplace of Third-Party Beneficiary Insurance Settlement
Agreements. Indeed, any Company Investment Retum may be adversely affected by the market pressures in or regarding
the geographic area the Company serves and furthermore, such cost and other factors over which the Company has or may
have no control. Moreover, the Company's ability to pay Investment Retums will result from the number and kinds of Purchase
Contracts it can negotiate and secure and the types and amounts of Third-Party Beneficiary Insurance Settlement Agreement
interests it can identify. The identification and availability of Third-Party Beneficiary Insurance Settlement Agreements is not
secured. Such identification and availability are subject to market pressures, Third Party relationships, marketing and sales
activities, local laws and regulations, among others. If an Investor's Investment Principal is not placed with a Purchase
Contract, the Investor will not be entitled to any Investment Return, only to the retum of the Investment Principal.
     4. Presentand Future Competitors. There is no assurance that competitors will not, presently or in the future, provide
similar investment opportunities in competition with the Company and which competition is explicitly disclosed to Investors
separately and significantly by the Conflicted Parties as to their own and superior activities to secure for themselves any
beneficial marketplace interest in Partial Beneficial Interests (i.e., ahead of Investors).
      Nonetheless, any such future competition could lead to a decrease in Company profitability any of which, including
Events of Default, could lead to Company not being able to continue operations. Moreover, there is no guarantee that the
target market, whether as a source of Third-Party Beneficiary Insurance Settlement Agreements or otherwise, will not prefer
Purchase Contract relationships with present or future competitors who may or do offer, whether to such Third-Party
Beneficiaries or other Third Parties, more cost-effective investment opportunities or Purchase Contract terms and conditions
than those to be potentially acceded to or negotiated or provided by the Company. Accordingly, some potential outcomes
include that Third-Party Beneficiaries may prefer other Third Parties with which to execute Purchase Contracts or similar
undertakings; in short, the Company could lose business to these competitors and/or the Conflicted Parties. Many of the
Company's existing and potential competitors may have greater financial and other resources than the Company and there
can be no assurance that the Company will be able to compete successfully against those competitors.
         At all times, the Conflicted Parties are deemed in no way limited to invest on their own account and secure beneficial
interests in Purchase Contracts ahead of Investors (the Conflicted Parties can invest their own funds to secure Purchase
Contracts on their own account). Company, President, or their owners, partners or affiliated individuals have no fiduciary or
other duty to Investors to preferentially place Investor's Investments ahead of their own investment activities.
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    5.   The Company May        Incur Losses and Negative Cash Flow. The Company may incur negative cash flow. There
can be no assurance that the     Company will eventually operate profitably. The marketplace cannot assure the provision of
Investment Returns. Investors    must remember that they are not and will never be Company Members or own any part of the
Company and therefore have      no Voting Rights in Company.
      6.   The Availability of Additional Working Capital Is Uncertain. The Company believes that the proceeds from the
Offering will allow the Company to implement its proposed business plan and to satisfy expected Investment Returns cash
requirements. However, the Company's continued operations thereafter will be dependent on the availability of revenue from
its operations. In the event there is insufficient cash flow from operations, the Company may be required to obtain additional
financing. There can be no assurance that such financing will be available or, if available, that the financing will be on terms
satisfactory to the Company. If financing is needed, but is not available, the Company may not be able to operate successfully
and any investment made may be lost, for example, concomitant an Event of Default.
     7.   The Company May Undertake Leverage in Order to Fund its Operations. With the approval of the Majority in
Interest (as defined in the Company Operating Agreement), the Company may incur indebtedness. While the Company
anticipates that cash generated from operations will enable the Company to repay any indebtedness in accordance with its
terms, lower-than-anticipated revenues, greater-than-anticipated expenses, or delays in commencing operations could result
in the Company failing to make payments of Investment Principal or Investment Return when due under indebtedness
circumstances. In such events and/or concomitant an Event of Default, the Investor could lose their entire investment.
      8. Competition - Projected Profits of the Company Are Based upon Assumptions that May Be Incorrect.
Section IX (Financial Projections), if any, sets out the potential financial status from the Company's operations. If any, such
projections are based upon a great number of variables, estimates, and judgments on matters over which the Company will
have no control including, without limitation: (i) the market for the Company's proposed business operations, (ii) economic
conditions generally, (iii) insurance costs, (iv) the effects of competition, and (v) the legal and regulatory environment. Such
projections are principally intended for use as objectives and are not intended, and should not be taken, as assurance that
the Company will accomplish such projections. Nonetheless, the Company will encounter direct competition in the form of
similar businesses existing within the same market. Indeed, some of these competitors may be well capitalized and may
presently control a significant market share. Moreover, such competitors may enjoy long established and better market
relationships. Accordingly, the Company cannot forecast the level of competition the Company will have to manage or endure.
As a result of this competition, the Company cannot guarantee that it will achieve be able to grow, establish or maintain
market share or become profitable. Concomitant any Event of Default, the Company may have to stop operations altogether.
     9. Conflicts of Interest. The activities of the Company will give rise to numerous immediate and potential conflicts of
interest between the Company and certain of the Investors or their affiliates, some of which may be partially owned by such
Investor or Member owners (See, Conflicts of Interests, Section F, below). As disclosed herein and as established in the
Company Operating Agreement, President will have significant authority to manage the Company's business and decisions
may be taken by President contrary to desires of Investor. Thus, the President may make decisions with which the other
Investor may disagree.
     10. Contract Negotiations. As part of the Company's operations, it will be necessary for the Company to negotiate and
maintain services contracts with Third Parties. The Company will not be able to guarantee the continuation or quality of such
relationships. The Company's failure to maintain any such relationships means that the Company cannot guarantee that
relationships may be even established. Accordingly, the potential inability of the Company to negotiate and maintain
agreements on favorable terms could reduce its revenues and adversely affect its operations.
     11. Lack of Diversification. Because the Company may only provide, or may continue to provide, a limited number of
investment opportunities, the Company may not be competitive in the target market. Moreover, due to a lack of diversification,
the Company is or may be subject to a greater risk than would be the case with a more diversified business.
     12. No Participation in Management. The Company Operating Agreement provides that its President maintains
unhindered and broad day-to-day and discretionary management over Company activities. Investors are not Members of the
Company and retain solely the right to receive the Investment Return and maintain their Right of Redemption if no Event of
Default occurs.
     13. Participation in the Management of the Company by Investor Is Non Existent. As set forth in the Company
Operating Agreement, the powers of the Company will be exercised by — and under the authority and direction of — the
President. Neither the President nor the Company's employees are required to devote their full time to the Company's affairs.
The President intends to devote time and effort in organizing and operating other businesses or ventures throughout the
United States that may be similar to the Company. Nonetheless, the President will devote such time to the Company's
business and affairs as deemed necessary and appropriate in the exercise of reasonable judgment but unforeseen
circumstances may require the President to devote more time to other activities to the detriment of the Company and may
include President's activities as a Conflicted Party.

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      14. Member Liability. Generally, because the Company is a Limited Liability Company, a Member is not individually
liable for the Company's debts or negligence in the course of Company business arising from the acts or omissions of another
Member of the Company (including agents or employees) who is not working under the supervision or direction of the
President. A Member may be individually liable if the Member: (i) was directly involved in the specific activity in which the
errors, omissions, negligence, incompetence, or malfeasance were committed by the other Member or representative; or ii)
had notice or knowledge of the errors, omissions, negligence, incompetence, or malfeasance by the other Member or
representative at the time of occurrence and then failed to take reasonable steps to prevent or cure the errors, omissions,
negligence, incompetence or malfeasance.
     15. Business Sources. The Company's operations will depend upon establishing and maintaining relationships with
Third Parties including individuals and entities any of which may be Referral Sources. Such Third-Party business may depend
on the Company being perceived as providing, among others, reasonable, convenient, cost effective or quality Third-Party
Insurance Settlement Agreement benefits as secured under Purchase Contracts. The Company foresees that a significant
amount of business will have to be sourced from Insurance Settlement Agreement germane professionals and industry
ventures in the target market area. Should the Company's business sources decline or if the Company fails to manage such
relationships, the Company could be significantly and adversely affected. The Company makes no guarantee that any federal
or state laws or any regulatory, whether professional licensing or otherwise, may make or limit the availability of Settlement
Insurance Agreements or Company's negotiation of same via Purchase Contracts.
       16. The Company May Be Affected by Operating Risks Beyond its Control. The costs of operating the Company
may be affected by factors beyond the Company's control including Events of Default and other environmental problems,
fire, strikes, energy shortages, inflation, adverse weather conditions (including Acts of God, such as tornadoes, hail, flooding,
and other risks), and other unknown contingencies. Moreover, income may be adversely affected by various changing local
factors such as an increase in local unemployment, a change in the characteristics or demographics of the target market,
governmental regulations, various uninsurable risks, and unforeseen changes in the Insurance Settlement Agreement
industry. Indeed, there can be no assurance that the Company will generate sufficient revenues whether tied directly to the
revenues under Purchase Contracts or otherwise, for example, concomitant Events of Default. In addition, the Company will
have normal business risks including disruptions from malfeasance or embezzlement by the Company's employees or
contractors, malfeasance or embezzlements, or lawsuits brought by Third Parties against the Company and/or any agent,
employee, contractor, or person acting on behalf of the Company. The Company will have general liability risks in that any of
those types of disruptions could cause material change in the Company's ability to operate and any of which may place the
Investor's Investment Principal and Investment Retumn in peril of complete loss.
     17. The Company May Be Sold. The Company and other affiliates companies may be sold in the future. There is no
guarantee, however, that such an event will generate a net profit for the Company or its Members, but in any case, such
event shall NOT result in any benefit germane to or for any existing Investor noting that Investors do not and shall not hold
any ownership interest in the Company or its Units. In particular, Jeffrey Judd may sell any or all of his Units in the Company
without prior consent or notice of Members or Investors (who have no voting rights or ownership rights in the Company) or
any distribution of any profits from such sale fo Members or Investors. Any future Members in addition to Mr. Judd may be
compelled to sell some or all of their Units upon the occurrence of various events as described in the Company Operating
Agreement.
     18. The Company may be Subject to Leasehold Risks. The Company may be subject to all of the risks inherent in
being a tenant under a lease of real property, including risks of additional costs, delays, and possible complete loss of
investment due to matters such as compliance with governmental laws and regulations, new or increased fees or charges
imposed on leasehold improvements or ownership, termination of the leasehold interest following a casualty or
condemnation, new or increased real estate taxes, restrictive governmental rules or actions, and outside forces, such as flood
or earthquakes, which may result in irreparable damage or insured losses and termination of a lease. The occurrence of any
such events could have a material adverse effect on the Company.
      19. No Transferability and lliquidity of Investments. Transferability of the Partial Beneficial Interests is explicitly
proscribed during the Placement Period by the Company Operating Agreement and the Subscription Agreement executed
by the Subscriber. No public market for the Partial Beneficial Interests exists and none is expected to develop even if President
so approves. The Company will be under no obligation to allow the transfer of Partial Beneficial Interests or otherwise take
any action that would enable, without limitation, the assignment or transfer of any Partial Beneficial Interests. Thus, an Investor
will not be able to liquidate an investment in the Partial Beneficial Interests during the Placement Period in the event of an
emergency or otherwise and the Partial Beneficial Interests may not be pledged, without limitation, as collateral for loans or
otherwise. Accordingly, the placement of Partial Beneficial Interests must be considered a term and illiquid investment during
the Placement Period. Additionally, Investors may not pledge, hypothecate, assign, sell, or use their Partial Beneficial
Interest/Investment Principal refund/or Investment Return and may not transfer any Partial Beneficial Interests except as
permitted by the Company Operating Agreement.

      20. Therels No Prior Public Market for Partial Beneficial Interests in the Company. There has been no prior market
for the any Partial Beneficial Interests and no such transfer is allowed under the Operating Agreement. The Company
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does not expect that a trading market will develop in the foreseeable future and transfer, or resale of the Partial Beneficial
Interests is severely restricted under the Company Operating Agreement. There can be no assurance that any such trading
market will develop, or if such trading market develops, that it will be sustained or allowed to be accessed by the President.
      21. The Failure to Retain Key Management Personnel Could Adversely Impact the Company. The President may
elect, appoint, or hire officers to manage the Company and perform certain operational duties on behalf of the Company. The
Company may be largely dependent upon the resources and efforts of such individuals to provide governance of the
Company. Such individuals may have limited experience in managing business such as that of the Company. The inability
or failure of such individuals to adequately perform those duties could have a material effect on the Company and any
investment in Partial Beneficial Interests.
     Similarly, the President may contract with Third Party services providers to perform certain operational duties on behalf
of the Company. The Company may be largely dependent upon the resources and efforts of such Third Party services
providers to, without limitation, secure business opportunities on behalf of the Company. Such Third Party services providers
may fail to secure business opportunities. The inability or failure of such Third Party services providers to adequately perform
those duties could have a material effect on the Company or any investment in Partial Beneficial Interests.
     22. The Company’s Cash Flow and Operating Results Could Be Adversely Affected by Legal Actions.
Companies providing services germane to the Insurance Settlement Agreement marketplace/industry can be subject to legal
actions. The Company may be named as a defendant in any cause of action arising from, without limitation, alleged, or actual
tortuous interference, breach of contract, and fraud, which actions may be brought by competitors or other Third Parties or
Governments. These actions may involve large monetary claims and significant defense costs. Additionally, there can be no
assurance that insurance maintained by the Company, if any, will adequately cover any liabilities that may occur.
     23. The Company Has Not Provided Advice Regarding Tax and Legal Risks Related to Investing in the Partial
Beneficial Interests. The Company and its legal or other advisors have not advised potential Investors with respect to any
tax or legal risk or consequences of an investment in beneficial interests in Partial Beneficial Interests. The Company has not
advised potential investors with respect to any legal risks or consequences of an investment in beneficial interests germane
to Partial Beneficial Interests. Accordingly, potential Investors are encouraged and expected to consult with their own legal,
tax, financial, investment, and other counsel regarding potential legal issues.
      24. The Terms of this Offering May Be Amended or Withdrawn by the Company. The Company reserves the right,
in its sole discretion and for any reason whatsoever, to modify, amend, and/or withdraw all or a portion of the Offering and/or
to accept or reject in whole or in part any prospective investment or to allot to any prospective Investor less than the number
of investment that such Investor desires to purchase.
      25. Conflicts of Interest by Investors and Cross-Ownership of Other Ventures. Investors are expected to avoid
conflicts of interest, to secure and maintain the integrity and confidentiality of Company operations, Investment Return, and
management in full consideration and awareness of their respective beneficial interest and deemed accompanied duties of
loyalty and care, under, without limitation, the Investor's and Company's non-disclosure obligations.
      Accordingly, the Company Operating Agreement explicitly states that Investors, are barred from directly or indirectly,
alone or with others, to develop, own, manage, operate, license, control, or serve as a partner, employee, principal, agent,
consultant or otherwise contract with, or have any financial interest (in any manner including but not limited to equity, debt, or
bond financing) that offers or provides any of the investment services offered by the Company (See, the Confidentiality
Agreement and Company Operating Agreement). A breach by an Investor of the Company Operating Agreement will cause,
at its discretion, to retumn such Investor's Investment Principal and institution of legal action against the Investor.
B.    LEGAL - REGULATION.
     (1) Introduction. The matters set out in this Memorandum represents the President's and Company's current
understanding of the legality of its business model. Nonetheless, in light of the complexity, unpredictability, and ever evolving
nature of businesses and applicable rules, no statement herein may be construed as a representation or guarantee as to any
present or future legal position(s) that the federal or a state Government, regulators or any other adjudicative, ethical, or other
body might take in relation to the Company, its President, its business, Investors, if any, or the investments set out herein. All
explanations herein are subject to and may be limited by future legislation, case law, and enforcement of either. Accordingly,
the statements are limited to the matters stated herein, and no opinion is implied or may be inferred beyond the matters
expressly stated.
      (12) The Company Could Become Involved in a Proceeding. At any time, the Company, its President or its officer or
affiliates may be subject to litigation, regulatory or enforcement actions, or other proceedings (a “Proceeding”) any of which
may brought by varied individuals or entities including, but not limited to, federal, state, or local Governments, potential or
actual competitors, or Investors. Any such Proceeding could delay the commencement of or suspend the operations of the
Company temporarily or indefinitely regardless of the Proceeding’s merit. If such a Proceeding is successful, the Company
or its President, officers or affiliates could be permanently prevented from operating the business as described in this
Memorandum or the Company Operating Agreement or lack the financial means to commence or continue operations.
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Nonetheless, each Investor certifies — in their Subscription and Company Operating Agreement — their agreement to
support the Company in such Proceeding, (i) either when holding a Partial Beneficial Interest or after termination of same, or
(ii) during the existence, or after the dissolution, of the Company.
     (13) If the Company Fails to Comply with Applicable Laws and Regulations, the Company Could Suffer
Sanctions and Be Required to Dissolve or Make Significant Changes to its Operations. While Investors will not manage
or otherwise be involved as owners/Member of the Company the Company nonetheless notes that Company's operations
are subject to Government regulation. As such, the ability of the Company to operate legally and be profitable may be
adversely affected by changes in governmental regulations on a federal, state, and municipal level. Any Government law or
regulation may adversely affect the economic viability of the Company. These laws are broad in scope, and interpretations
by courts have been limited, inconsistent, and tailored to specific facts that may vary from case to case. Implementation of
these laws or regulations could subject the Company, its President, its officers, any affiliate and the Investor to Government
scrutiny and/or prosecution and punishment.
C.    INSURANCE.
      (1) Liability. The Company may purchase and maintain insurance, at its expense, to protect itself and any person who
is or may be entitled to indemnification against any expense, liability, or loss, whether or not the Company would have the
ability to indemnify such person.
      (2) The Company's Liability Insurance May Not Be Sufficient to Cover All Potential Liability. The Company may
be liable for damages to persons or property for activities that occur in the Company's offices or on the Company's premises.
Although the Company may attempt to obtain and maintain adequate insurance coverage for personal injury, property
damage, general and professional liability, officer and director insurance, workers compensation insurance, the Company
will not be able to obtain coverage in amounts sufficient to cover all potential liability. Since most insurance policies contain
various exclusions, the Company will not be insured against all possible occurrences.
     (3) No Insurance to Protect Investors from Events of Default of any Purchase Contract or otherwise. A Purchase
Contract may default and the Company and Investor will not receive any revenue for same. THE COMPANY WILL NOT
SECURE INSURANCE COVERAGE FOR ANY PURCHASE CONTRACT OR THIRD-PARTY BENEFICIARY
INSURANCE SETTLEMENT AGREEMENT EVENT OF DEFAULT. THE POTENTIAL OF ANY EVENT OF DEFAULT
WILL NOT BE INSURED BY THE COMPANY AND IF SUCH EVENT OF DEFAULT OCCURS, THE INVESTOR'S
ENTIRE INVESTMENT PRINCIPAL AND INVESTMENT RETURN MAY BE LOST
D.    BACKGROUND OF COMPANY PRESIDENT - MR. JEFFREY JUDD
     Mr. Jeffrey Judd is the current Managing Member and President of J and J Purchasing, LLC. Prior to serving as
Company President, Jeffrey worked in various industries.       His first job out of college was with Bristol Myers as a
Pharmaceutical Sales Representative. Jeffrey held this same position with Schering Plough. In the early 2000's the real
estate sector was the place to be for someone like Jeffrey who excelled at sales, so he left the Pharmaceutical Industry and
took a position with Countrywide Home Loans. When the bubble burst in 2009, Jeffrey took an ownership position in Partell
Specialty Pharmacy serving as Vice - President of Sales and Marketing.
      Jeffrey was born and raised in Las Vegas, Nevada. He received a Bachelor of Science from the University of Nevada
Las Vegas in 1998, where he met his wife of 27 years, Jennifer Rowland Judd, also bom and raised in Las Vegas. Jeffrey
and Jennifer have 4 children and one daughter in law — Parker an insurance agent, Preston a professional soccer player in
LA Galaxy system, Rachel Utley Judd, Preston's wife, who is studying to be a nurse, Kennedy an esthetician and the baby
of the family Khloe who is a fantastic singer and performer.
E.    ACTUAL OR POTENTIAL CONFLICTS OF INTEREST.
     (1) Transactions with the Company. In his discretion, the President may cause the Company to enter into agreements
with companies and service entities that may be totally or partially controlled by Members of the Company or President of the
Company (the “President or Member Affiliated Entity(ies)”). President or Member affiliated entities or Members and their
owners, affiliates, or representatives may: (i) provide operational support to the Company and may engage its affiliates fo
perform certain services, (ii) be paid or reimbursed by the Company the out-of-pocket costs (including, but not limited to, legal
or other professional expenses) incurred with respect to establishing the Company or its operations; (iii) have interests in
other programs, organizations, or ventures that may compete with the Company, (iv) be involved in other operations of
ventures, including entities that have the exact same or similar business operating plan and operate exactly or similarly as
the Company, and may continue to develop additional beneficial interests offers germane to Insurance Settlement
Agreements ventures in the future. When the Company or President enter such arrangements, the President is not required
to assure they are consistent with arrangements that would be obtainable from unaffiliated Third Parties. Prospective
Investors who have questions concerning the duties of the President should consult with their own counsel.


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     (2) Investors under this Offering Invest only for the potential Investment Return and Right of Redemption and
will receive no other benefit. ALL PROFITS OR REVENUE BY COMPANY OR OTHERWISE REALIZED BEYOND
WHAT IS DUE INVESTORS UNDER THEIR RIGHT TO RECEIVE THE POTENTIAL INVESTMENT RETURN, IS
RESERVED TO AND OWNED BY COMPANY (AND ITS OWNERS OR PARTNERS) AND WHETHER AS
BENEFICIARY INTEREST RECIPIENT UNDER A PURCHASE CONTRACT OR OTHERWISE. THIS MEANS THAT
ANY PROFIT OR REVENUE REALIZED AT ANY TIME BEYOND WHAT IS DUE INVESTORS (THEIR INVESTMENT
RETURN) SHALL NEVER BE DUE INVESTORS AND SHALL BE RETAINED FOR THE BENEFIT OF COMPANY AND
THEIR MEMBERS OR PARTNERS.
      Company retains all other profit or revenue that may be associated with a Purchase Contract funded by Investor under
this Offering. Specifically, this means that any profit or revenue beyond the Investment Return and Right of Redemption due
to Investors is owned by Company and Investor has no right to such profits or revenues. Moreover, any additional profits or
revenues realized by Company (and whether as part of any services agreement, or the President's, Member's, or affiliated
individuals’ or entity's separate investments in Third-Party Beneficiary Insurance Settlement Agreements) will never be due
to Investors. Any of the preceding-sentence-described activities or purchases or activities may or will be treated as preferential
to the placement of any Partial Beneficial Interests so secured on behalf of Investor any of which activities of Company, or as
to either their owners, partners or officers may so choose and are unrestricted to so pursue. In short, when an Investor's
Partial Beneficiary Interest is negotiated and funded by the Investor's Investment Principal, the Investor retains no expectancy
in the future as to any other Purchase Contract not funded by Investor, but nonetheless subject to any Event of Default.
     An Investment under this Offering can only be understood to be potentially placed by Company, but not assured to be
so placed. As Company is and remain be self-funded (i.e., separate from any Investment made under this Offering which are
potentially designated to fund the potential Partial Beneficial Interest on behalf of the Investor) Company, and its owners,
managers, and/or partners (collectively, “Conflicted Parties”) may invest on their own behalf with their own funds and
negotiate and secure beneficial interests in Third-Party Beneficiary Insurance Settlement Agreement on their own account
and for their own benefit except that at no time will any Investment Principal hereunder be comingled with or used by the
Conflicted Parties to secure any such personal beneficial interests.
     What the Investor can expect is that their Investment Principal will be utilized to negotiate and secure one or more Partial
Beneficial Interests in one or more Purchase Contracts in and at the discretion of President (and as may be consistent with
the availability of same in the marketplace and the amount of the Investment Principal Subscribed under this Offering), which
does not guarantee that President will at any time preferentially place the Investor's Investment ahead of the Conflicted
Parties’ interest in securing a beneficial interest under a Purchase Contract of the very Insurance Settlement Agreement
interest that Investor may otherwise want to Invest in and that could be secured on behalf of an Investor.
     The Conflicted Parties are not restricted to fulfil their individual and separate business or investment goals (except that
the Conflicted Parties shall never utilize any Investor's Investment Principal or Investment Retumn realized under this Offering
to secure Insurance Settlement Agreement beneficial interests for themselves or under their own account).
    THE PRESIDENT DISCLAIMS ANY FIDUCIARY OR OTHER DUTY TO PLACE INVESTOR'S INVESTMENT
PRINCIPAL AHEAD OF COMPANY, OR PRESIDENT'S OR THEIR OWNERS’ PERSONAL FUNDS TO
SECURING/PLACEMENT/ASSIGNMENT/PURCHASE OF PURCHASE CONTRACTS GERMANE TO INSURANCE
SETTLEMENT AGREEMENT INTERESTS FOR, AS RELEVANT, THEIR INDIVIDUAL BENEFIT AND AHEAD OF
INVESTORS. COMPANY AND PRESIDENT CERTIFY THAT AT NO TIME WILL ANY INVESTMENT PRINCIPAL
UNDER THIS OFFERING BE APPLIED TO ANY SUCH INDIVIDUAL OR SEPARATE ACTIVITY.
      (3) Competition With the Company. Company's President, Members, Investors, and owners of Members or Investors
(whether directly or indirectly or individually or through entity held interests), officers, directors and affiliates of the Company
or the Member or Investor, will provide or may provide services or products to, and intend in the future to continue to own or
provide services or products to other businesses or operating entities, some of which may have the same or similar
investment objectives or business activities as the Company or otherwise may compete with the Company and Investors’
interest in having their Investment Principal placed. The Company Operating Agreement does not prohibit these activities
and does not impose any duty or obligation on President or any entity Member or his its officers, directors, investor or affiliates
or the President to disclose or offer to the Company or the Members or Investor any venture, opportunity, activity, or interest
therein, including the acquisition, financing, operation, or sale of other competing businesses or Partial Beneficial
Interests/Personal interests. The President, Jeffrey Judd and certain other Investors or other Third Parties may engage in
activities of any nature or description. Accordingly, the Company may be in competition with other entities formed or managed
by Jeffrey Judd or his affiliates.




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F. PRO FORMA CAPITALIZATION TABLE. The following capitalization table summarizes, on a pro forma basis as of
November 1, 2021, the capitalization of the Company.




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                                      VI.      COMPANY              STRUCTURE
Capitalized terms not otherwise defined herein will have the same meaning that is set forth in the Company Operating
Agreement or the Code of Ethics and Business Conduct. The Company is a Florida limited liability company that is owned
by its President with an ownership interest, in isolation or in the aggregate, of one hundred (100%) percent of all the
outstanding Units of the Company.
A. Management. The Company Operating Agreement sets forth the obligations, rights, and powers of the President as to
the Company and, among other things, regarding the Investment Return to the Investors. Jeffrey Judd is the sole Member
and is the President of the Company.
B. Determination of Offering Investment Amounts.              There is no public market for the Partial Beneficiary Interest
investments made herein, The Partial Beneficial Interest is    established arbitrarily by the President without any arms-length
negotiations or appraisal. Further, any Investment through     this Offering does not bear any relationship to the Company's
assets (tangible or intangible), book value, net worth or      expected or eamings. The Third-Party Beneficiary Insurance
Settlement Agreement Partial Beneficiary Interest assigned    with the Investment Principal under this Offering only entitles the
Investor to the potential of Investment Return and a Right     of Redemption, subject to any Event of Default.
C. The Partial Beneficial Interest affords Investors only a straight debt germane Partial Beneficiary Interest and its
concomitant Investment Return and a Right of Redemption. An Investor's Offering Investment of a minimum $80,000.00
is expected to fund one (1) $80,000.00 Purchase Contract germane to an Insurance Settlement Agreement and Partial
Beneficial Interest or if the Investment Principal is $100,000.00 then it will fund one (1) $100,000.00 Purchase Contract
germane to an Insurance Settlement Agreement interest. Once each $80,000.00 or $100,000 Investment Principal
increment is placed with a Purchase Contract germane to an Insurance Settlement Agreement, then the Investment Retum
may be expected to be due at the expiration of the Placement Period on behalf of the Investor.
At the expiration of the Placement Period, Investors will be expected to receive from Company, as their Investment Return,
a minimum of the distributed 12.5% ($12,500 per 100K contract or $10,000 per 80K contract) germane fo the relevant Partial
Beneficial Interest so invested. Also, for each $100,000.00 or $80,000.00 tranche so invested that funds the relevant
Purchase Contract as to a particular Insurance Settlement Agreement. Investors retain an absolute right to call back
(‘Redeem” through a “Right of Redemption") their Investment Principal in Partial Beneficial Interests any time after the
expiration of the 90-day Placement Period through this Offering. Any redemption will be made and settled no later than
five (5) business days after Investor informs Company in writing of their exercise of their Right of Redemption.
D. Capital Contributions-Contributed Assets - The capital contributions/contributed assets made by Jeffrey Judd
includes intellectual property contributions and expenses as incurred by such Member President on behalf of the Company.
For example, such Member President has or may contribute, among others: (i) business management expertise in Company,
Insurance Settlement Agreement placed/secured/assigned/purchased, manages and attendant operations; (ii) the formation
and structural guidance for the Company's management operations; or (iii) an understanding of best practices.


             THE PRECEDING CONSTITUTES A PARTIAL AND GENERAL DESCRIPTION OF THE COMPANY
                      AND SOME OF THE TERMS OF THE COMPANY OPERATING AGREEMENT
               INVESTORS MUST CAREFULLY REVIEW THE COMPANY'S OPERATING AGREEMENT IN ITS
            ENTIRETY PRIOR TO SUBMITTING THEIR DECLARATIONS AND SUBSCRIPTION AGREEMENT TO
                 INVEST AND IN CONJUCTION Leta THEIR LEGAL, BANC nl AND TAX ADVISOR.
                                                ‘      kK      by TR




                                   ACKNOWLEDGMENT OF LEGAL RISK
 EACH POTENTIAL AND ACTUAL INVESTOR OF THE COMPANY PURSUANT TO THIS MEMORANDUM AND
 THROUGH THEIR EXECUTED DECLARATIONS AND SUBSCRIPTION AGREEMENT ACKNOWLEDGES AND
 CERTIFIES THAT HE OR SHE WILL RELIES SOLELY ON THEIR OWN LEGAL, FINANCIAL AND TAX ADVISORS TO
 ASSESS AND EVALUATE THE ALL RISKS AND LAWFULNESS ASSOCIATED WITH THE INVESTMENT AND ALL ASPECTS
 OF THE INVESTOR'S RELATIONSHIP TO THE COMPANY UNDER ALL APPLICABLE FEDERAL AND FLORIDA STATE
 OR ANY OTHER STATE'S LAWS (OR STATE LAW SERVING AS AN EQUIVALENT TO A FEDERAL LAW).




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                                                  VI.       TAX STATUS
An investor's basis is expected to be his or her Investment Principal and noting that the Partial Beneficial Interests will equal
the amount paid for that Partial Beneficial Interest. Investors may or will recognize a taxable event on the revenue germane
to the Investor Partial Beneficial Interests equal to the difference between the investor's basis in the Investor Partial Beneficial
Interests and the amount the investor realizes on the revenue of those Investor Partial Beneficial Interests, if any. An investor
is advised to seek tax counsel! from either its attorney or certified public accountant before investing in the Investor Partial
Beneficial Interests in order to fully understand the ramifications of investing in the Investor Partial Beneficial Interests. The
Company is not providing any tax advice to any Investor as part of this Offering.




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                                             Vill.     USE OF PROCEEDS

The following paragraph discloses the Company's proposed sources and uses of the capital Investment raised pursuant to
this Offering. Varying circumstances may dictate other uses of the Investment Proceeds different from those set forth
below. The President, in his sole discretion, may determine the use of the Investment Proceeds, which may be different
than is set forth in the following paragraph.
The Company plans to use the proceeds from Investment to placed/secured/assigned/purchased Insurance Settlement
Agreement beneficial interests. The Company will be self-funded to settle its other Offering Expenses and Operational
Expenses. The portion of the Investment that has been allocated to settle Company's Offering Expenses and Operational
Expenses: $ 0.
Any wiring fee germane to the delivery of any Investment Return or Investment Principal may be deducted from the
Investment Return.
The purpose of this Offering is for capitalization and financial flexibility for the placement of Partial Beneficial Interests germane
to Third-Party Beneficiary Insurance Settlement Agreements. As of the date of this Memorandum, the President cannot
specify with certainty all particular uses it will have for the Investment Proceeds except that they are deposited in the Escrow
Accounts and earmarked solely for the placement of Partial Beneficial Interests. Accordingly, the President does not retain
broad discretion in the allocation and use of the proceeds from this Offering. The President will commence Company
operations in his sole discretion and may cancel this Offering if an insufficient number of Subscriptions are achieved pursuant
this Offering.
Offering Expenses, include, but are not limited to: (i) Legal Costs; (ii) Licensing Costs; (iii) Filing Expenses; (iv) Form Fees;
(v) Accounting Fees; (vi) Equipment; (vii) Computers; (viii) Small Equipment;
Operating Expenses, include, but are not limited to: (i) Staff; (ii) Office leases; (iii) Office Supplies; (iv) Shipping Expenses;
(v) Compliance Costs; (vi) Marketing Expenses; (vii) Banking Costs and Fees; (vii) Communications Costs such as
Telephone and Internet; or (x) Taxes;




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  IX.       NO FINANCIAL PROJECTIONS FOR COMPANY OR ANY INVESTMENT
                                 OPERATIONS
As an offering for Partial Beneficial Interests in Purchase Contracts and relevant to the operations of a newly formed
Company, See Exhibit A, the Company does not provide for any audited or unaudited financial statements or financial
projections. Company reiterates that it is a newly formed entity without any prior business operations. In all cases, there is no
assurance that the placement of investments in this offering for Partial Beneficial Interests in Purchase Contracts will be
achieved.




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                     X.        FEDERAL AND STATE INCOME TAX ASPECTS

A.     INTRODUCTION.
      The federal income or other tax aspects of limited   liability companies are complex and this    disclosure is set out germane
to the tax considerations relating to the Company and        its Members. Generally, any matter set    out below summary is based
upon the Code, the Regulations, current published          administrative positions of the Internal    Revenue Service (the “IRS")
contained in Revenue Rulings, Revenue Procedures,           Private Letter Rulings, Technical Advice    Memorandums, and existing
judicial decisions.
      Assurance cannot be given that there will not be legislative or administrative changes or court decisions that would
significantly modify the statements in this summary. Bills may have been introduced in past sessions and may be introduced
in the future that, if enacted, could materially alter the tax consequences of any investment, which changes may or may not
be retroactive. Furthermore, numerous provisions in the Code that were enacted during the last several years have not yet
been the subject of significant administrative or judicial interpretation or clarification as of the date of this Memorandum.
      Nonetheless, a prospective Investor should be advised that this discussion is necessarily general and the applicability or
effect of the matters discussed may vary, depending on an Investor's individual circumstances and must be discussed with
their own tax advisors. The following summary does not include any discussion of general principles of taxation or of the
sections of the Code and the Regulations that implement those principles. In addition, the availability, timing, and amount of
deductions taken by an Investor regarding any aspect of this Offering depends not only on the tax aspects generally set out
below, but also upon various determinations relating to each Investor and the activities of the Company, all of which are
subject to potential challenge by the IRS on factual or other grounds.
    Therefore, there can be no assurance that the anticipated treatment of tax items with respect to an Investment may not
be challenged or otherwise categorized by the IRS. Finally, this disclosure does not discuss any foreign, state, or local tax
considerations related to an investment through the Company.
B.     TAX ASPECTS OF THE OFFERING.

THE TAX CONSIDERATIONS RELATING TO FOR INVESTORS ACQUIRING THE PARTIAL                                               BENEFICIAL
INTERESTS MAY BE SIGNIFICANT. IT IS IMPOSSIBLE FOR ANY MEMORANDUM SUCH                                               AS THIS TO
ADDRESS ALL OF THE TAX CONSIDERATIONS THAT MAY BE RELEVANT TO PARTIAL                                                BENEFICIAL
INTEREST HOLDERS IN LIGHT OF THEIR PARTICULAR CIRCUMSTANCES OR TO PARTIAL                                            BENEFICIAL
INTEREST HOLDERS SUBJECT TO SPECIAL RULES UNDER U.S. FEDERAL INCOME OR                                               OTHER TAX
LAWS.

THEREFORE, ALL PROSPECTIVE INVESTORS ARE URGED TO CONSULT THEIR INDIVIDUAL TAX
ADVISORS WITH RESPECT TO THE TAX RAMIFICATIONS OF ANY INVESTMENT IN, OR HOLDING OF, ANY
INVESTMENT RETURN OR PARTIAL BENEFICIAL INTEREST OR OTHERWISE AS TO THIS OFFERING.

AS REQUIRED BY U.S. TREASURY REGULATIONS GOVERNING TAX PRACTICE, YOU ARE HEREBY
ADVISED THAT ANY WRITTEN TAX MATTER CONTAINED HEREIN WAS NOT WRITTEN OR INTENDED TO
BE USED (AND CANNOT BE USED) BY ANY TAXPAYER FOR THE PURPOSE OF AVOIDING PENALTIES
THAT MAY BE IMPOSED UNDER THE INTERNAL REVENUE CODE OR U.S. FEDERAL, STATE, AND LOCAL
INCOME TAX CONSEQUENCES IN THE PARTICULAR SITUATIONS OF THE PURCHASE, OWNERSHIP, AND
DISPOSITION OF INTERESTS, AS WELL AS ANY CONSEQUENCES UNDER THE LAWS OF ANY OTHER
TAXING JURISDICTION.



     THE FOREGOING INFORMATION OF CERTAIN OF THE FEDERAL INCOME TAX CONSIDERATIONS APPLICABLE TO AN
     INVESTMENT IS NOT INTENDED TO BE A SUBSTITUTE FOR FEDERAL OR STATE TAX PLANNING, WHICH FOR EVERY INVESTOR
     MUST BE SOUGHT OUT INDEPENDENTLY BY EACH INVESTOR. NOTHING IN THIS MEMORANDUM MAY BE CONSTRUED BY
     INVESTORS {OR ANYONE) TO CONSTITUTE INVESTMENT, FINANCIAL OR TAX ADVICE.
     ANY PERSON OR ENTITY CONTEMPLATING AN INVESTMENT IN THIS OFFERING IS URGED AND REQUIRED TO CONSULT THEIR
     FINANCIAL, LEGAL AND TAX ADVISORS, PARTICULARLY WITH RESPECT TO THEIR OWN TAX SITUATIONS. NO STATEMENT IN
     THIS MEMORANDUM IS INTENDED TO BE, NOR SHOULD ANY STATEMENT BE CONSTRUED AS, "WRITTEN TAX ADVICE" WITHIN
     THE MEANING OF CIRCULAR 230 {ENTITLED “REGULATIONS GOVERNING THE PRACTICE OF ATTORNEYS, CERTIFIED PUBLIC
     ACCOUNTANTS, ENROLLED AGENTS, ENROLLED ACTUARIES, Abe SRPRASERS pnts THE INTERNAL REVENUE SERVISEN.
     OF LVESHENT: OF EC, ADVICE.                                                    :                     A                    29:3)
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                                       Xl.       ADDITIONAL INFORMATION
Attached hereto for review by Prospective Investors and their representatives are the Exhibits containing the Company's
Articles of Organization, Company Operating Agreement, its Code of Ethics and Business Conduct, Sample Purchase
Contracts germane to Insurance Settlement Agreements, and Subscription Documents. The information in the Exhibits, as
well as the information in this Memorandum, and any supplements or addenda thereto or to the Exhibit — is strictly
CONFIDENTIAL and subject to Subscriber's and Company's prior executed Non-Disclosure Agreement.
Prospective investors may not rely on any representations or statements relating to the offering other than the information set
forth in this Memorandum.




                                                                                               Exhibit 1, Page 77
J AND J PURCHASING, LLC — PRIVATE PLACEMENT   MEMORANDUM                                                                   27
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                      EXHIBIT A
              CORPORATE DOCUMENTS
              J AND J PURCHASING, LLC




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                       WL.
                 Electronic     .
                            Articles           atl
                                     of Organization                                 L21000447754
                                                                                     EILED 8:00 AM
                                        For                                                     y
                  Florida Limited Liability Company                                    So0%%'di312021
                                                                                     bcoates
                                  Article I
The name of the Limited Liability Company is:
     J AND J PURCHASING, LLC



                                  Article 11
The street address of the principal office of the Limited Liability Company is:
     7901 4TH ST N STE 300
     ST. PETERSBURG, FL. US          33702

The mailing address of the Limited Liability Company is:
     7901 4TH ST N STE 300
     ST. PETERSBURG, FL. US          33702

                                  Article ITI
The name and Florida street address of the registered agent is:
     NORTHWEST REGISTERED AGENT LLC
     7901 4TH ST N STE 300
     ST. PETERSBURG, FL. 33702

Having been named as registered agent and to accept service of process for the. above stated limited
liability company at the place designated in this certificate, I hereby accept the appointment as registered
agent and agree to act in this capacity. I further agree to comply with the provisions of all statutes
relating to the proper and complete performance of my duties, and I am familiar with and accept the
obligations of my position as registered agent.
Registered Agent Signature: TOM GLOVER




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                           Article IV                                               L21000447754
The name and address of person(s) authorized to manage LLC:                         Eno: 93 2%21
     Title: AMBR                                                                    Sec, Of State
     JEFFREY JUDD                                                                   bcoates
     9 SKY ARC COURT
     HENDERSON, NV.          89012 US
Signature of member or an authorized representative
Electronic Signature; MORGAN NOBLE
I am the member or authorized representative submitting these Articles of Organization and affirm that the
facts stated herein are true. I am aware that false information submitted in a document to the Department
of State constitutes a third degree felony as provided for in 8.817.155, F.S. I understand the requirement to
file an annual report between January 1st and May 1st in the calendar year following formation of the LLC
and every year   thereafter to maintain "active" status.




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                        EXHIBIT B
                 OPERATING AGREEMENT
                J AND J PURCHASING, LLC




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             AMENDED AND RESTATED LIMITED LIABILITY COMPANY OPERATING AGREEMENT
                                              J AND J PURCHASING, LLC
THIS AMENDED AND RESTATED LIMITED LIABILITY COMPANY OPERATING AGREEMENT OF J AND J
PURCHASING, LLC (the “Operating Agreement” or “Agreement”) made effective as of November 1, 2021, is adopted,
executed, and agreed to, for good and valuable consideration, by the Members (as defined below).
                                                       ARTICLE 1
                                                      DEFINITIONS
Capitalized words and phrases used and not otherwise defined elsewhere in this Agreement will have the following
meanings:
1.1.    “Act” means the Florida Revised Limited Liability Company Act or, from and after the date any successor statute
becomes, by its terms, applicable to the Company, such successor statute, in each case as amended at such time by
amendments that are then applicable to the Company (to the extent the provisions of the Act are not modified by the
Articles of Organization or this Agreement “Certificate”). All references to sections of the Act include any corresponding
provision(s)of any such successor statute.
1.2.   “Additional Capital Contributions” means any Capital Contributions required by the Company other than the Initial
Capital Contributions described in this Agreement.
1.3.  “Adjusted Capital Account” means, with respect to any Member, the balance, if any, in such Member's Capital
Account as of the end of the relevant fiscal year, after: (a) adding to such Capital Account the amount that such Member
is deemed to be obligated to restore pursuant to Regulations Sections 1.704-2(g)(1) and 1.704-2(i)(5); and (b) subtracting
from such Capital Account such Member's share of the items described in Regulations Sections 1.704 1(b)(2)(ii)(d)(4), (5)
and (6).
14.    “Affiliate” means, with reference to a specified Person: A Person that, directly or indirectly, through one or more
intermediaries, Controls, is Controlled by or is under common Control with, the specified Person.
1.5.   “Agreement” means this Operating Agreement.
1.6.  “Applicable Law” or “Applicable Laws” means all laws and regulations applicable to the Members            and/or the
Company.
1.7.   “Board of Members” “Members” or “Shareholders” means every Member of the Company acting collectively as a
whale.
1.8.    "Business Day" means any day other than a Saturday, a Sunday,            or a holiday on which national banking
associations in the State of Florida are closed.
1.9.    “Capital Account’ means a capital account established and maintained for each Member with respect to the
Company in which the Member has an interest in accordance with the following provisions: (1) To the Member's Capital
Account there will be added (i) such Member's Capital Contributions fo the Company and (ji) such Member's allocable
share of Net Profits and any items in the nature of income or gain to the Company that are allocated to such Member; (2)
From each Member's Capital Account there will be subtracted by the Company (i) the amount of (1) cash and (2) the
Gross Asset Value of any assets distributed from the Company to such Member pursuant to any provision of this
Agreement (net of liabilities encumbering the distributed assets that such Member is considered to assume or take subject
to under Code Section 752), (ii) such Member's allocable share of Net Losses and any other items in the nature of
expenses or losses that are allocated from or with respect fo the Company to such Member and (iii) liabilities of such
Member assumed by the Company or which are secured by any property contributed by such Member to the Company,
calculated by reference to Code Section 752. With respect to distributions of assets from the Company, the Capital
Accounts of the Members of the Company will first be adjusted to reflect the manner in which the unrealized income, gain,
loss and deduction inherent in such property (that has not been previously reflected in Capital Accounts) would be
allocated to the Members of the Company if there were a taxable disposition of such property for its fair market value
(taking Code Section 7701(g) into account) on the date of distribution; (3) the Managing Member may cause an increase
or decrease to the Capital Accounts of the Members to reflect a revaluation of assets on the books and records of the
Company. Any such adjustments will be made in accordance with Regulations Section 1.704-1(b)(2)(iv)(g); (4) Additional
adjustments will be made to the Members’ Capital Accounts as required by Regulations Sections 1.704-1(b) and 1.704-2
or, as permitted but not required, in the reasonable discretion of the Managing Member; (5) Adjustments to Capital
Accounts in respect to the Company income, gain, loss, deduction and non-deductible expenditures (or any item thereof)
will be made with reference to the federal tax treatment of such items (and, in the case of book items, with reference to
federal tax treatment of the corresponding tax items) at the Company level, without regard to any requisite or elective tax
treatment of such items at the Member level; (6) The foregoing provisions and the other provisions of this Agreement
relating to the maintenance of Capital Accounts are intended to comply with Regulations Sections 1.704-1(b) and 1.704-

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2 and will be interpreted and applied in a manner consistent with such Regulations, as reasonably determined by the
Managing Member.
1.10. “Capital Contributions” means, with respect to any Member, the total amount of money and the fair market value of
property (other than money) contributed to the capital of the Company by such Member, whether as an Initial Capital
Contribution or as an Additional Capital Contribution.
1.11. “Cash Available for Distribution” means, all the Company cash receipts (excluding the proceeds from any
Terminating Capital Transaction), after deducting payments for Operating Cash Expenses and payments required to be
made in connection with any loan to the Company or any other loan secured by a lien on any Company Assets, capital
expenditures, and any other amounts set aside for the restoration, increase, or creation of reasonable Reserves.
1.12. “Certificate” means the relevant incorporation document(s) and supplements and amendments thereto of the
Company filed in the Office of the Secretary of the State of Florida for the purpose of forming the Company as a Florida
limited liability company, and any duly authorized, executed and filed amendments or restatements thereof.
1.13. “Code” means the Internal Revenue Code of 1986, as amended from time to time (or any corresponding provisions
of succeeding law).
1.14.   “Company” or “J&J” means J and J Purchasing, LLC.
1.15. “Company Assets” means all direct and indirect interests in real and personal property owned by the Company
from time to time and will include both tangible and intangible property (including cash).
1.16. “Control,” “Controlled,” or “Controlling” means (a) with respect to any corporation or other entity having, whether
directly or through another corporation or entity, voting shares or the equivalent, the ownership or power to vote equal to
or greater than fifty-one percent (51%) of the outstanding shares or the equivalent; or, (b) with respect to any partnership,
limited liability company, professional association, non-profit corporation, joint venture or other entity, directly or through
another entity, the power to elect, appoint, or approve of fifty-one percent (51%) or more of the directors, Members, or
Persons performing similar functions or the ability to direct its business and affairs.
1.17. “Delinquent Member’ means a Member who does not contribute by the required date all of a Capital Contribution
that the Member is required to make as provided in this Agreement.
1.18. “Economic Interest” means a Person's: (i) right to share in the Net Profits, Net Losses, or similar items of, and to
receive distributions from, the Company in proportion to the Member's Percentage Interest, and (ii) obligation to make any
required Additional Capital Contributions, but does not include any other rights of a Member including, without limitation,
the right to vote or to participate in the management of the Company or, except as specifically provided in this Agreement
or required under applicable state law, any right to information conceming the business and affairs of the Company.
1.19. “Economic Interest Holder” means any Person (a) to whom a Member Transfers all or any part of its interest in the
Company, and (b) which has not been admitted to the Company as a Substitute Member pursuant to this Agreement. An
Economic Interest Holder only has an Economic Interest in the Company.
1.20. “General Interest Rate” means a rate per annum equal to the lesser of (a) the prime rate, as quoted in the money
rates section of The Wall Street Jounal, plus one percent or (b) the maximum rate permitted by applicable law.
1.21. “Gross Asset Value” means, with respect to any Company Asset, Company Asset's adjusted basis for federal
income tax purposes, except as follows:
      1.21.1 The initial Gross Asset Value of any asset contributed by a Member to the Company will be the gross fair
market value of such asset, as provided herein.
         1.21.2 Except as otherwise provided in this Agreement, the Gross Asset Values of all assets immediately prior to
the occurrence of any event described in subsections (a), (b), (c), or (d) of this Section 1.21.2 will be adjusted to equal
their respective gross fair market values, as of the following times: (a) the acquisition of an additional interest in the
Company; (b) the distribution by the Company to a Member of more than a de minimis amount of assets as consideration
for an Interest in the Company; (c) the liquidation of the Company within the meaning of Regulations Section 1.704-
1(b)(2)(ii}(g); and (d) at such times as the Company may determine as necessary or advisable in order to comply with
Regulations Sections 1.704-1(b) and 1.704-2.
      1.21.3 The Gross Asset Value of any Company Asset distributed to a Member will be the gross fair market value of
such Company Asset on the date of distribution.
        1.21.4 The Gross Asset Values of the assets of the Company will be increased (or decreased) to reflect any
adjustments to the adjusted basis of such assets pursuant to Code Section 734(b) or Code Section 743(b), but only to the
extent that such adjustments are considered in determining Capital Accounts pursuant to Regulations Section 1.704-
1(b)(2)(iv)(m). If the Gross Asset Value of a Company Asset has been determined or adjusted pursuant to Section 1.21.1,
1.21.2 or 1.21.4 above, such Gross Asset Value will thereafter be adjusted by the depreciation taken into account with
respect to such Company Asset for purposes of computing Net Profits and Net Losses.
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1.22.   “Interest” means a Member's Membership Interest and/or a Person’s Economic Interest.
1.23. “Investor” means an Investor pursuant to Company's Private Placement Memorandum which investment is
managed by Company. An Investor is not a Member of and owns no Units in Company. An Investor is not a Person and
is such individual Investor in Company negotiated Purchase Contracts and which Investor does not have any form or
ownership or other right or expectancy in or otherwise relevant to Company, nor its profits or revenues, except that such
Investor has a right to the Investment Return which is their retained Partial Beneficial Interest in Purchase Contracts and
retained Right of Redemption, subject to any Event of Default. Investors have no voting right or ownership in or related to
this Operating Agreement or otherwise.
1.24. “Investment Return” means and encompasses the following: pursuant to the Company's Private Placement
Memorandum and investment Offering for the investment in Purchase Contract(s), the Company has offered Investors
an expected 12.5% or $12,500 for a $100,000 Purchase Contract's Retum or 12.5% or $10,000 for an $80,000 Purchase
Contracts Investment Return (i.e., the specific sum constituting the Investor's Partial Beneficial Interest in the relevant
Purchase Contract due to be paid in a lump sum subsequent the expiration of the Placement Period in addition to the
refundable Investment Principal pursuant to the Investor's retained Right of Redemption). The $100,000.00 or $ 80,000.00
consideration/price for the Purchase Contract is funded by the Investor's Investment Principal under the Offering and as
so attributed/placed by Company. When Investor submits their Investment Documentation and funds their Investment
Principal, the President will place the Investment Principal to fund the assignment/purchase of the relevant $100,000.00
or $80,000.00 Purchase Contract. The time period between the receipt of the Investor's Investment by Company and
such assignment/purchase may vary, but generally will be less than three business days. The ninety-day “Placement
Period" begins on the day the Purchase Contract is signed. At the end of the Placement Period, the Investor is expected
to receive a lump sum payment of the relevant Investment Return (i.e., depending on whether the Purchase Contract is
for $100,000 or $ 80,0000), subject to any Event of Default and described or defined in the Private Placement
Memorandum. Manager will issue and forward to each Investor a yearly 1099 Tax reporting form setting out amounts paid
to Investor.
1.25. “Majority of Interest’ means 51% or more of the Membership Interests in Company and a “Super Majority Vote”
means 70% or more of the Membership Interests in Company.
1.26. “Managing Member” means each Person elected as the Managing Member of the Company in accordance with
this Agreement, but only for so long as each such Person remains a Managing Member of the Company in accordance
with this Agreement. References to Manager/President in this Agreement means Managing Member.
1.27. “Member” or “Shareholder” means any Person named in the relevant Certificate as an initial Member of the
Company and any Person hereafter elected or appointed as a Member of the Company as provided in this Agreement
but does not include any Person who has ceased to be a Member of the Company.
1.28. “Membership Interest” means the entire ownership interest of a Member in the Company at any particular time and
any and all rights hereunder.
1.29. “Net Profits” or “Net Losses” means, with respect to the Company, for each fiscal year or other period, an amount
equal to the taxable income or loss of the Company for such year or period determined in accordance with Code Section
703(a) (for this purpose, all items of income, gain, loss or deduction required to be stated separately pursuant to Code
Section 703(a)(1) will be included in taxable income or loss), with the following adjustments: (a) any income that is exempt
from federal income tax and not otherwise taken into account in computing Net Profits or Net Losses pursuant to this
Section 1.27 will be added to such taxable income or loss; (b) Any expenditure described in Code Section 705(a)(2)(B) or
treated as Code Section 705(a)(2)}(B) expenditures pursuant to Regulations Section 1.704-1(b)(2)(iv)(i), and not otherwise
taken into account in computing Net Profits or Net Losses pursuant to this Section, will be subtracted from such taxable
income or loss; (c) Gain or loss resulting from any disposition of assets where such gain or loss is recognized for federal
income tax purposes will be computed by reference to the Gross Asset Value of the assets disposed of, notwithstanding
that the adjusted tax basis of such assets differs from its Gross Asset Value; (d) To the extent an adjustment to the adjusted
tax basis of any Company Asset pursuant to Code Section 734(b) or Code Section 743(b) is required pursuant to
Regulations Section 1.704-1(b)(2)(iv)(m){4) to be taken into account in determining Capital Accounts as a result of a
distribution other than in liquidation of a Member's Membership Interest, the amount of such adjustment will be treated as
an item of gain (if the adjustment increases the basis of Company Asset) or loss (if the adjustment decreases the basis of
Company Asset) from the disposition of Company Asset and will be taken into account for the purposes of computing Net
Profits and Net Losses; (e) If the Gross Asset Value of any Company Asset is adjusted in accordance with the terms of
this Agreement, the amount of such adjustment will be taken into account in the taxable year of such adjustment as gain
or loss from the disposition of such Company Asset for purposes of computing Net Profits or Net Losses.
1.30. “Operating Cash Expenses” means, with respect to any fiscal period, the amount of cash disbursed in the ordinary
course of business during the period to pay the expenses of the Company including, without limitation, all cash expenses,
such as advertising, promotion, property management, insurance premiums, taxes, utilities, repair, maintenance, legal,
accounting, bookkeeping, computing, equipment use, travel on the Company business, telephone expenses, and
salaries, and direct expenses of the Company employees and agents while engaged in the Company business. Operating
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Cash Expenses will include the actual cost of goods, materials and administrative services used for or by the Company
in performing functions set forth in this Agreement reasonably requiring the use of such goods, materials, or administrative
services. Operating Cash Expenses will not include expenditures paid from Reserves (as defined below). Operating
Cash Expenses will be calculated in accordance with generally accepted accounting principles.
1.31. Partial Beneficial Interest” means an Investor's Partial Beneficial Interest that through their investment pursuant to
Company's Private Placement Memorandum subscription gives rise to their interest in Investment Return under a
Purchase Contract and subject to any Event of Default as defined or described in the Company's Private Placement
Memorandum.
1.32. Person” means and includes an individual, a corporation, a company, a limited liability company, a trust, an
unincorporated organization, a government or any department or agency thereof, or any entity similar to any of the
foregoing that holds or is owner of Units in Company, but not Investor.
1.33. “Regulations” means proposed, temporary, and final Treasury Regulations promulgated under the Code, as such
regulations may be amended from time to time (including corresponding provisions of succeeding Treasury Regulations).
1.34. “Reserves” means funds set aside or amounts allocated to reserves that will be maintained in amounts deemed
sufficient by the Managing Member for working capital, to pay taxes, insurance, debt service, and other costs or expenses
incident to the conduct of business by the Company as contemplated hereunder
1.35. “Terminating Capital Transaction” means any sale or other disposition of all or substantially all of the assets of the
Company or a related series of transactions that, taken together, result in the sale or other disposition of all or substantially
all of the assets of the Company.
1.36. “Transfer” means, with respect to any interest in the Company, a sale, conveyance, exchange, assignment, pledge,
encumbrance, gift, bequest, hypothecation, or other transfer or disposition by any other means, whether for value or no
value and whether voluntary or involuntary or directly or indirectly (including, without limitation, by operation of law), or an
agreement to do any of the foregoing; provided howevet, (i) the pledge of Membership Interests or assets of the Company
to a third party as collateral for the financing of the purchase of real estate or other property owned by the Company, and
(ii) the assignment by a Memberto (a) an entity that is wholly-owned by such Member, or (b) a trust for which such Member
is a beneficiary (provided that Control of such trust remains with such Member), will not be construed as a “transfer” as
that term is used herein. Used as a verb, the term will mean effecting any of the foregoing.
1.37.   “Units” means Membership Units.
                                                       ARTICLE 2
                                               ORGANIZATIONAL MATTERS
21      FORMATION. The Company was formed under Florida law and will be governed by such law for the purposes
and upon the terms and conditions set forth in this Agreement. The rights, duties, powers and liabilities of the Members
will be as provided in the relevant Florida State statutes, except as otherwise expressly provided in this Agreement. In the
event of any inconsistency between any provision contained in this Agreement and any non-mandatory provision of
Florida State law, the provision contained in this Agreement will govern.
2.2     NAME.   The name of the Company is “J and J Purchasing, LLC.
2.3  PRINCIPAL PLACE OF BUSINESS; OTHER PLACES OF BUSINESS. The principal place of business of the
Company is located at 9 Sky Arc Court, Henderson, NV 89012, or such other place within or outside the State of Florida as
the Manager may from time to time designate.
24      BUSINESS PURPOSE.         The Company is formed to conduct lawful business.
25     FILINGS. The Managing Member may execute and file any duly authorized amendments to the Certificate of
Formation of the Company (the “Certificate”) from time to time in a form prescribed by Florida State law. The Managing
Member will also cause to be made, on behalf of the Company, such additional filings as the Managing Member will deem
necessary or advisable.
26      DESIGNATED AGENT FOR SERVICE OF PROCESS. The Company will continuously maintain a registered
office in the State of Florida at its principal place of business. Until the Managing Member decides otherwise, the
designated and duly qualified agent for service of process on the Company in Florida will be the Managing Member of the
Company.
2.7     COMPANY PROPERTY. All Company assets will be held and owned, and conveyance made, in the Company's
name. Instruments and documents providing for the acquisition, mortgage, or disposition of any Company asset will be
valid and binding upon the Company if executed by the Person authorized by the Managing Member.
28     BANK ACCOUNT.          All funds of the Company will be deposited in one or more accounts with one or more
recognized financial institutions in the name of the Company at such locations as determined by the Managing Member

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from time to time. Withdrawal from such accounts will require the approval/signature of the Managing Member or the
Person designated by the Managing Member.
29     TERM. The Company commenced upon the filing of the Certificate with the Secretary of State of the State of
Florida and will continue perpetually until duly terminated.
2.10 WARRANTIES. The Company and current Members represent and warrant as part of Member's Unit purchase
the following: (a) Company and all subsidiaries are duly and legally formed and in good standing in their state of
incorporation or will be within five (5) business days from executing this Agreement; (b) There are no liabilities other than
those disclosed in the balance sheet at closing; (c) All related party transactions shall be scheduled at closing; (d) There
are no threatened or filed legal actions against the Company by governmental agencies or other plaintiffs.
                                                 ARTICLE 3
                                   MANAGING MEMBER AND BOARD OF MEMBERS
3.1    MANAGING MEMBER. Broadly, Company's daily operations shall be managed solely by its Manager/President
and not by its Members. The Manager/President is Mr. Jeffrey Judd. Daily operations include all services and affairs that
do not require approval by the Board of Members as outlined in this Agreement. Unless the action of the Members is
otherwise required by this Agreement, the Company's Certificate or the Act, the powers of the Company shall be exercised
by or under the authority of, and the business and affairs of the Company shall be solely managed under the direction,
supervision, and responsibility of the Manager/President. Subject to the limitations contained in Section 3.2, the Manager
shall make all decisions and may take all actions for, or on behalf of, the Company in furtherance of its business and affairs
as he may deem necessary or appropriate. The Members approve the appointment of Mr. Judd as President, the
Manager and Attorney-in-Fact of the Company.
        Mr. Judd’s authority shall include but is not limited to: (i) entering into and performing contracts, agreements, and
other undertakings binding the Company that may be necessary to further the Company's purposes in the sole discretion
of Manager; (ii) opening and maintaining bank and investment accounts and arrangements, drawing checks and other
orders of the payment of money, and designating individuals with authority to sign or give instructions with respect to those
accounts and arrangements; (iii) maintaining the Company's Assets; (iv) collecting sums due the Company; (v) paying the
Company's debts and obligations; (vi) borrowing money or opening a line of credit either in an amount deemed necessary
by Manager and voluntary prepayment or debt extensions of same for Company purposes and to secure the repayment
by pledging Company Assets; (vii) selecting removing and changing the authority and responsibility of lawyers,
accountants and other advisers and consultants; (viii) obtaining insurance for the Company and as germane to its
operations; (ix) determining method(s) for and amounts regarding the distribution of Company cash; (x) hiring of personnel,
staff or professionals and leasing, purchasing or otherwise retaining the use or title for equipment, furniture and other
property; (xi) establishing, amending or extending credit relationships in amounts and with terms in the sole discretion
Manager, (xii) setting of the date and time for the annual, quarterly, or other meeting of Members; (xiii) managing the
negotiation of Purchase Contracts tied to Third-Party Beneficiary Insurance Settlement Agreements matters germane to
the private investment of relevant Investors, issuing monthly statements and Investment Returns pursuant to the Offering;
(xiv) waiving of requirements regarding waivable matters set forth in this Agreement; (xiv) approving of annual, quarterly
or monthly budgets; (xv) commencing, amending or terminating relationships with insurance providers or other products
or services provider in Manager's sole discretion; (xvi) terminating any employment, independent contractor, or other
agreement and secure that all taxes, payments, compensation to any is compliant with all laws and regulations; (xvii)
distributing Assets; (xviii) determining and implementing a formula or methodology to determine distributions of Investment
Returns germane to Partial Beneficial Interests to Investors or compensation to Members; (xx) approving the
commencement of any lawsuit or legal proceeding that Manager considers necessary and in the best interest of Company;
(xxi) determining method(s) for and regarding dilution of Units; (xxii) settle or resolve of any dispute of any claim made
against the Company; (xxiii) create or propose amendments to this Agreement; (xxiv) cause Company to engage in
additional business activities or streams; (xxv) instituting, managing, auditing and ensuring ongoing adherence to a
Company compliance program regarding Applicable Laws (and further, all industry laws regulations) governing or relevant
to the Company’s operations and all Company policies and procedures; and, (xxvi) delegating an authorized agent of the
Company to take any of the actions referred to in the foregoing clauses. In general, Mr. Judd shall have a broad right to
manage the day-to-day operations of the Company.
3.3.   BOARD OF MEMBERS. The Board of Members consists of all Shareholders of Company. By Majority of Interest,
the Board of Members retain the right to decide on fundamental and structural changes to Company, specifically, (1)
amendments to this Agreement, (2) the sale/liquidation of Company, and (3) appointment of a Managing Member. In the
event a deadlock on a matter requiring a Majority of Interest vote occurs and is not resolved within thirty (30) days from
the date of the initial vote, then the vote of Managing Member shall decide, with binding force, over the affair/matter.
      3.3.1 PLACE AND MANNER OF MEETING. All Member meetings will be held at the time and place                  stated in the
meeting notice or in an executed waiver of the meeting notice. Participation in a meeting will constitute        a Member's
presence at the meeting, except when the Member attends the meeting for the express purpose of stating that       the meeting
is not lawfully called or convened. The Members may participate in a meeting by means of telephone, video         conference,
electronic (for example, GoToMeeting) or similar communications equipment by means of which all persons          participating
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in the meeting can hear each other. Such participation in a meeting will constitute presence in person at the meeting. If
all Members are participating by conference telephone or similar communications equipment, the meeting will be deemed
to be held at the principal place of business of the Company.
     3.3.2 CONDUCT OF MEETINGS. All Member meetings will be presided over by the President. The President, in
the President's discretion, may determine the order of business and procedure at the meeting, including regulating of the
voting manner and the discussion conduct. If the President is unavailable for a meeting, the President's designee will
preside over the Member meeting.
    3.3.3 ANNUAL MEETING. The Members shall meet at least once a year at a time and place to be determined by
the Managing Member. Failure to hold the annual meeting at the designated time will not result in a dissolution of the
Company.
     3.3.4 SPECIAL MEETINGS. Special meetings may be called at any time by the President, Managing Member, or
by the written request of holders of at least twenty-five percent (25%) of the Membership Units. The request must state
the meeting purposes and the matters proposed to be acted on at the meeting.
     3.3.5 NOTICE. Notice of the meeting must be in writing and state the meeting's place, day and hour, and, in case
of a special meeting, the purposes for which the meeting is called. The notice must be delivered not less than ten (10) or
more than sixty (60) days before the meeting date either personally, by first class mail, by facsimile, or by electronic mail
to each Member. Notice may be waived as provided in this Agreement. If mailed, the notice will be deemed to be delivered
when deposited, postage prepaid, in the United States mail addressed to the Member at the Member's address as it
appears on the Company's records.
    3.3.6 QUORUM OF MEMBERS. Unless otherwise provided in the Certificate, the holders of at least fifty-one percent
(51%) of the Membership Units represented in person or by conference telephone or similar communications as described
above will constitute a quorum at a Members meeting.
    3.3.7 MAJORITY VOTE; WITHDRAWAL OF QUORUM. When there is                      a quorum, the holders of a majority of all of
the Membership Units present at the meeting or participating in the meeting       will decide the matters brought before the
meeting unless a different vote is required by the Certificate, this Agreement,   or Florida law. The Members present at a
meeting may not continue to transact business if a quorum is not present or is     no longer present.
     3.3.8 VOTING OF MEMBERSHIP UNITS. Each Member entitled to vote is entitled to one (1) vote per Membership
Unit or a fraction of one (1) vote per fraction of a Membership Unit on each matter submitted to a vote at a Member meeting
on which that Member is entitled to vote. A Member may vote in person, by electronic mail, by facsimile, or other written
means. A Member may not vote by proxy.
      3.3.9 CONSENT FOR ACTION WITHOUT MEETING. Any action required to be taken or that may be taken at a
Member meeting, may be taken without a meeting, without prior notice, and without a vote, if a consent or consents in
writing, setting forth the action so taken, has been signed by not fewer than the minimum number of holders of Membership
Units that would be necessary to take the action at a meeting at which the holders of all Membership Units entitled to vote
with respect to that action were present and voted. Within ten (10) days after such authorization, notice of the taking of
any action by the Members without a meeting by less than unanimous consent will be given to the Company and those
Members who did not consent in writing to the action or who are not entitled to vote on the action.
     3.3.10REQUIREMENTS FOR WRITTEN CONSENT. Each written consent must be signed, dated and delivered
by the Member. The consent will become effective at the time and remain effective for the period specified in the consent.
A telegram, telex, cablegram, or similar transmission by a Member, or a photographic, electronic, facsimile, or similar
reproduction of a writing signed by a Member, will be regarded as signed by the Member.
34       WARRANTIES. Each Member agrees to the following clauses: (a) Only one class of stock (Units) is authorized;
(b) Each Shareholder of Company is guaranteed a right to participate in future equity offerings pro-rated to their
Membership Interest at the time of the offering; (c) Distributions and dividends will be pro-rata to stock ownership and
subject to Managing Member's approval; (d) Each Shareholder agrees to accept and follow any transaction approved by
a Majority of Interest. Each Shareholder’s right to sell Units shall be pursuant Article 7; (e) In the event a Shareholder
desires to sell Units in the Company or transfer Units as part of a divorce proceeding, each Shareholder and their spouses
who join this Agreement agrees to a right of first refusal for the Company or existing Shareholders to repurchase the Units
at Book Value. Such purchase may be funded by the Company over time rather than through an immediate cash
payment. Nonetheless, by their execution of a joinder to this Agreement, each Shareholder spouse acknowledges and
accepts the Company's or existing Shareholders’ right of first refusal described herein in favor of the relevant Shareholder.
Each Shareholder spouse agrees and recognizes that should any provision of this Agreement or joinder to this Agreement
by a Member spouse for any reason be held to be invalid, unenforceable, or contrary to public policy or law, the right of
first refusal set out herein shall remain inviolate; (f) A Majority In Interest may decide to dilute the Units of Shareholders
provided that (i) such dilution was made in good faith and in the best interest of Company, (ii) Company had no intent to
harm minority Shareholders, (iii) is justified by a viable business reason, (iv) Company received a fair market value for the
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stock, and (v) the dilution does not violate a preemptive right. An increase of distribution in the aftermath of six months
from the time of the dilution may serve as a non-rebuttable justification for the decision in favor of dilution.
3.5     RECORDS AND REPORTS. Managing Member will cause to be kept at the principal place of business of the
Company, or at such other location as the Managing Member will reasonably deem appropriate, full and proper ledgers,
other books of account, and records of all receipts and disbursements, other financial activities, and the internal affairs of
the Company for at least the current and past four (4) fiscal years. All Members will be granted access to the books and
records of the Company at reasonable times. Managing Member will cause to be sent to each Member the following: (a)
following the end of each fiscal year of the Company, a report that will include all necessary information required by the
Members for preparation of their federal, state, and local income or franchise tax or information returns, including each
Member's pro rata share of Net Profits, Net Losses, and any other items of income, gain, loss, and deduction for such
fiscal year; and (b) a copy of the Company's federal, state, and local income tax or information returns for each fiscal year,
concurrent with the filing of such returns, and (c) an annual unaudited financial report for the activities of the Company.
3.6       REIMBURSEMENTS; COMPENSATION.                    If any, the Company will reimburse the Members, and their duly
authorized representatives, for all ordinary and necessary out-of-pocket expenses incurred by them on behalf of the
Company, in accordance with policies established by the Managing Member. Such reimbursement will be treated as an
expense of the Company that will be deducted in computing the Operating Cash Expenses and will not be deemed to
constitute a distributive share of Profits or a distribution or retumn of capital to any Member. Each Board of Members (the
Members) that provide services to the Company, if any, may be reasonably compensated for services rendered to the
Company upon approval of the Members and the Managing Member. This compensation will be a guaranteed payment
pursuant to Code Section 707(c). The Members may adjust the compensation based upon performance and dedication
of time to the Company's business. Reasonable compensation must comply with Code Section 704(e), if applicable, and
will be measured by (i) the time required in the Company's administration; (ii) the value of property under administration;
and (iii) the responsibilities assumed in the discharge of duties of office.
3.7    COMPLIANCE.        The Company will be managed and operated in a manner that complies with all laws and
                                                                                    with Section 3.1 and otherwise.
regulations all germane to which the Members rely on the Managing Member as consistent
                                                    ARTICLE 4
                                       MEMBER CAPITAL, LOANS, AND LIABILITY
4.1    CAPITALIZATION AND INITIAL CAPITAL CONTRIBUTIONS OF MEMBERS. The name and address of the
Capital Contributions made by, and the Percentage Interest of each Member are set forth on Exhibit 4.1 attached hereto
and made a part hereof. All Members acknowledge and agree that “Initial Capital Contributions” represents the amount
of cash initially contributed by the Members.
42      ADDITIONAL CAPITAL CONTRIBUTIONS BY MEMBERS. Except as otherwise provided in this Agreement, no
Member will be required to make any Additional Capital Contributions to the Company. Nonetheless, equity offerings
shall be offered to all Members according to their pro-rated interest in Company as approved by the Managing Member.
43      CAPITAL ACCOUNTS. A Capital Account will be established and maintained for each Member in accordance
with the terms of this Agreement.
44     MEMBER CAPITALAND PERCENTAGE INTERESTS. Except as otherwise provided in this Agreement or except
as approved in writing by the Managing Member: (a) no Member will be entitled to receive a return of, or interest on, the
Member's Capital Contributions or Capital Account; (b) no Member will withdraw any portion of the Member's Capital
Contributions or receive any distributions from the Company as a retum of capital on account of such Capital Contributions;
and (c) the Company will not redeem or repurchase the Interest of any Member without first offering the interest to other
Members pro-rata. Upon any withdrawal of capital by a Member, the Percentage Interests of all Members will be adjusted
so that each remaining Member has a Percentage Interest proportionate to the remaining Member's total Capital
Contributions (minus any capital withdrawals) relative to the total of all Capital Contributions (minus capital withdrawals)
made to the Company.
45     MEMBER LOANS. No Member will be required or permitted to make any loans or otherwise lend any funds to the
Company, without first obtaining the prior written consent of the Managing Member. In addition, any Member will be
permitted (but not required) to make loans to the Company only to the extent the Managing Member reasonably
determines that such loans are necessary or advisable for the business of the Company, pursuant to terms that are
consistent with fair market value, and subject to interest accruing at the General Interest Rate from the loan date until the
date on which such loan is repaid. No loans made by any Member to the Company will have any effect on such Member's
Percentage Interest. Such loans will represent a debt of the Company payable or collectible solely from the assets of the
Company in accordance with the terms and conditions upon which such loans were made.
46      LIABILITY OF MEMBERS. Except as otherwise required by any non-waivable provision of Florida state law or
other Applicable Law: (a) no Member will be personally liable in any manner whatsoever for any debt, liability, or other
obligation of the Company, whether such debt, liability, or other obligation arises in contract, tort, or otherwise; and (b) no
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Member will in any event have any liability whatsoever in excess of (i) the amount of its Capital Contributions, (ii) its share
of any assets and undistributed profits of the Company, (iii) the amount of any unconditional obligation of such Member to
make additional Capital Contributions to the Company pursuant to this Agreement, and (iv) the amount of any wrongful
distribution to such Member, unless, and only to the extent, such Member has actual knowledge (at the time of the
distribution) that such distribution is made in violation of Florida state law.
                                                        ARTICLE 5
                                                      DISTRIBUTIONS
51      DISTRIBUTIONS OF CASH AVAILABLE FOR DISTRIBUTION. The income, gains, losses, deductions and
credits of the Company (the “Net Profits” and “Net Losses”) shall be determined for each Fiscal Year in accordance with
generally accepted accounting principles as promulgated in the United States pursuant to the accounting method followed
by the Company, regardless of the accounting method used for federal income tax purposes.
52      DISTRIBUTIONS. Cash will be distributed according to the Membership Interest based on cash available for
distribution allowing the Company to keep necessary reserves for future expenses and liabilities. Cash distribution will not
be equal to net income and in fact could vary substantially from net income. It is anticipated that Company will strive to
make cash distributions that at a minimum are adequate to fund Shareholder tax liability arising from the taxable eamings
of the Company. Distributions made in conjunction with the final liquidation of the Company, including, without limitation,
the net proceeds of a Terminating Capital Transaction, will be applied or distributed as provided in this Agreement.
53     WITHHOLDING. The Managing Member may withhold distributions or portions thereof if the Company is required
to do so by any applicable rule, regulation, or law, and each Member hereby authorizes the Managing Member to withhold
from or pay on behalf of or with respect to such Member any amount of federal, state, local, or foreign taxes that the
Managing Member determines that the Company is required to withhold or pay with respect to any amount distributable
or allocable to such Member pursuant to this Agreement. Any amount paid or withheld on behalf of or with respect to a
Member pursuant to this Section will be treated as having been distributed to the Member.
54      DISTRIBUTIONS IN KIND. No right is given to any Member to demand or receive property other than cash as
provided in this Agreement. The Managing Member may determine in his sole discretion to make a distribution in kind of
Company Assets to a Member or the Members, which the Members will accept, and such Company Assets will be
distributed in such a fashion as to ensure that the fair market value thereof is distributed and allocated in accordance with
this Agreement.
55     LIMITATIONS ON DISTRIBUTIONS. Notwithstanding any provision to the contrary contained in this Agreement,
the Company will not knowingly make a distribution to any Member on account of its Membership Interest in the Company
(as applicable) in violation of Florida state laws.
56     INVESTMENT RETURN AS TO INVESTORS. As to Investors, the Manager will effectuate the Investment Return
as consistent with the Investor's Subscription Agreement and relevant Investment Principal and consistent with the
conclusion of the Placement Period subject to any Event of Default.
                                                 ARTICLE 6
                                 ALLOCATIONS OF NET PROFITS AND NET LOSSES
6.1     GENERAL ALLOCATION OF NET PROFITS AND LOSSES. Subject to this Agreement, Net Profits, Net Losses
and any other items of income, gain, loss and deduction of the Company for any fiscal year will be allocated, for purposes
of adjusting the Capital Accounts of the Members, as follows:
       6.1.1  The Net Losses of the Company will be allocated as follows: (i) First, to the Members with positive Adjusted
Capital Account Balances, in proportion to and to the extent thereof; (ii) Second, to the Members who are allocated a
share of the Company's indebtedness pursuant to Code Section 752, in proportion to and to the extent of each such
Member's share of the indebtedness that funded the Net Losses being allocated pursuant to this Agreement (determined
by assuming that, once no Member's Adjusted Capital Account is positive, the Net Losses of the Company are funded in
inverse order of, and to the extent of, the Company's creditors’ claims to the assets of the Company); and (ji) Thereafter,
to the Members in proportion to their Percentage Interests in the Company.
      8.1.2   The Net Profits will be allocated as follows: (i) First, to the Members in proportion to and to the extent of the
Net Losses as outlined in this Agreement; (ii) Then, to the Members in the proportion and to the extent of the Net Losses
as outlined in this Agreement; (iii) Then, to the Members in proportion to their respective Percentage Interest in the
Company.
6.2    SPECIAL    ALLOCATIONS.
     6.2.1     Tax items with respect to an asset contributed to the Company with a Gross Asset Value that varies from its
basis in the hands of the contributing Member immediately preceding the date of contribution will be allocated among the
Members for income tax purposes pursuant to Regulations promulgated under Code Section 704(c) so as to consider
such variation. The Company will account for such variation under any method approved under Code Section 704(c) and
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the applicable Regulations, including the so-called “remedial method,” as selected by the Managing Member, in its sole
discretion. If the Gross Asset Value of any Company Asset is adjusted pursuant to Section 1.21.2 hereof or a similar
adjustment is made pursuant to Section 1.21.2 hereof, subsequent allocations of income, gain, loss and deduction with
respect to such asset will take account of any variation between the adjusted basis of such Company Asset for federal
income tax purposes and its Gross Asset Value in the same manner as under Code Section 704(c) and the Regulations
promulgated thereunder. Allocations pursuant to this Agreement are solely for purposes of federal, state, and local taxes
and will not affect, or in any way be considered in computing, any Member's Capital Account or share of Net Profits, Net
Losses, and any other items or distributions pursuant to any provision of this Agreement.
     6.2.2     [If any Member unexpectedly receives an adjustment, allocation, or distribution of the type contemplated by
Regulations Section 1.704-1(b)(2)(ii)(d)(4), (5) or (6) that causes or increases a deficit Adjusted Capital Account (for this
purpose, combining all Capital Accounts of such Member), items of income and gain will be allocated to all such Members
(in proportion to the amounts of such deficit Adjusted Capital Accounts) in an amount and manner sufficient to eliminate
the deficit balances in such Members’ Adjusted Capital Accounts as quickly as possible as of the end of the Company's
taxable year to which adjustment, allocation or distribution relates. It is intended that this Section 6.2.2 qualify and be
construed as a “qualified income offset” within the meaning of Regulations Section 1.704-1(b)(2)(ii)(d).
     6.2.3    To the extent that an adjustment to the adjusted tax basis of any asset pursuant to Code Section 734(b) or
Code Section 743(b) is required, pursuant to Regulations Section 1.704-1(b)(2)(iv)(m)(2) or Regulations Section 1.704-
1(b)(2)(iv)(m)4), to be taken into account in determining Capital Accounts as the result of a distribution to a Member in
complete liquidation of such Member's Membership Interest, the amount of such adjustment to the Capital Accounts will
be treated as an item of gain (if the adjustment increases the basis of Company Asset) or loss (if the adjustment decreases
such basis), and such gain or loss will be specially allocated to the Members in the event that Regulations Section 1.704-
1(b)(2)iv)(m)(2) applies, or to the Members to whom such distribution was made in the event that Regulations Section
1.704-1(b)(2)(iv)(m)(4) applies.
     6.24      The allocations set forth in Section 6.2.2 and Section 6.2.3 (the “Regulatory Allocations”) are intended to
comply   with certain requirements of Regulations Sections 1.704-1(b) and 1.704-2(i). The Regulatory Allocations may not
be consistent with the manner in which the Members intend to distribute the assets of the Company or allocate income or
loss from the Company. Accordingly, the Managing Member is hereby authorized to cause the allocation of Net Profits,
Net Losses and other items of income, gains, loss and deductions of the Company not to distort the manner in which
distributions will be divided among the Members and, further, to ensure that the allocations set forth herein meet the
requirements of the Code and the Regulations.
     6.2.5      For any fiscal year during which any part of a Membership Interest is Transferred between the Members, the
portion of the Net Profits, Net Losses, and other tax items that are allocable with respect to such part of a Membership
Interest will be apportioned between the transferor and the transferee under any method allowed pursuant to Code Section
706 as determined by the Managing Member.
     6.2.6     Inthe event that the Code requires allocations of tax items different from those set forth in this Agreement,
the Managing Member is hereby authorized to make new allocations in reliance on the Code. Specifically, the Managing
Member is authorized to take such steps as the Managing Member deems necessary or advisable in orderto comply with
the rules under Regulations §§1.704-1 and 1.704-2 dealing with “substantial economic effect” as it affects the allocation
of income and loss. No such new allocation will be grounds for any claim or cause of action by any Member. The
Members will be bound by the provisions of this Agreement in reporting their Units of Net Profits, Net Losses, and other
tax items for federal, state, and local income tax purposes.
     6.2.7  The Members acknowledge and are aware of the income tax consequences of the allocations made by this
Agreement and hereby agree to be bound by the provisions of this Agreement in reporting their Units of Net Profits, Net
Losses, and other items of income, gain, loss, deduction, and credit for federal, state, and local income tax purposes.
                                                         ARTICLE 7
                             PRICE & TRANSFER OF UNITS, RIGHT OF FIRST REFUSAL
7.1     PURCHASE PRICE AND TERMS OF PURCHASE. (i) In case of any divorce or bankruptcy that may be in any
way related to or affect the Membership Units, the Company retains its right of first refusal to buy back the relevant Units
at Book Value; (ii) In case of death or judicially determined incapacity of a Member, the Company retains its right of first
refusal but not an obligation to buy back the relevant Units at Fair Market Value. The Company and Shareholder shall
endeavor to designate a mutually acceptable appraiser to determine such value. If the parties have not agreed on an
appraiser within forty days after the Company's exercise of the option, each party shall appoint its own appraiser within
thirty days thereafter. The two appraisers shall determine the value of the Units within sixty days after their appointment.
If the higher of the two appraisals is less than 110% of the lower appraisal, the value of the Units shall be the average of
such values. If the higher of the two appraisals is 110% or more of the lower appraisal, the appraisers shall within twenty
days appoint a third appraiser. If the two appraisers fail to appoint or agree upon a third appraiser within such period, a
third appraiser shall be appointed by the parties if they so agree within further period of twenty days. If an appraiser is not
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appointed or agreed upon with the time herein provided, either party may apply to an appropriate court of competent
jurisdiction for the appointment of such appraiser. The third appraiser shall determine the value of the Units pursuant to
the provisions of this Article within thirty days after such appraiser's appointment and the value so determined shall be
determinative as to the value of the Units unless it is higher than the higher, or lower than the lower, of the two original
appraisals, in which case such previous high and previous low determination shall be averaged and shall establish the
value.
7.2 If a person appointed as      an appraiser by or on behalf of either party fails or ceases to act for any reason, and the
party by or on behalf of whom     such appraiser was appointed fails to appoint a substitute or successor appraiser within ten
days after being requested to      do so by the other party, the appraiser in question shall be appointed by an appropriate
court of competent jurisdiction    upon application of either party.
7.3 Each appraiser shall execute such agreements as the Company reasonably requests whereby the appraiser agrees
to treat as confidential any proprietary information of the Company obtained by the appraiser in connection with the
appraisal. The Company will fully cooperate to effectuate the appraisal. For purposes of the preceding sentence, the
Company shall be deemed to be a Florida corporation and Shareholder shall be deemed to own such number of Units of
the Company's stock as to the enable Shareholder to inspect and review the Company's books and records under Florida
law. Each party shall bear one-half of the cost of a mutually appointed appraiser. If there is no mutual agreement, each
party shall bear and pay the cost of the appraiser appointed by (or for) such party, and the cost of any third appraiser shall
be borne equally by the parties. Both parties shall be given reasonable advance notice of the time and place of any
appraisal proceedings and shall have the right to be present, heard, and represented by counsel.
7.4 Shareholder shall retain and the Company grants a security interest in the Units purchased by the Company to secure
the Company's obligation to pay the purchase price for the Units. In such regard, Shareholder shall have all the rights and
remedies of a secured party now or hereafter under Florida and any other applicable laws for the collection of the
Company's obligation and the enforcement of the security interest. Unless and until Shareholder disposes of the Units
pursuant to Shareholders enforcement of the security interest after the Company's default in the payment of the purchase
price, the Units shall be treasury Units of the Company.           Upon Shareholders disposition of the Units pursuant to
Shareholder’s enforcement of the security interest, the Units shall be deemed to be validly issued and outstanding and
fully paid and non-assessable. At the closing, the Company shall deliver possession of the certificate evidencing the Units,
shall execute such financing statements relating to the Units and shall perform such other acts as Shareholder requests
so that Shareholder’s security interest in the Units is perfected as a first lien on the Units. Shareholders resort as a secured
party to any remedy provided by law shall not prevent the concurrent or subsequent employment of any other appropriate
remedy.
7.5 The closing of the sale and purchase of Units pursuant to the exercise of the Company's option shall occur within
thirty days after the value of the Units is determined. The closing shall occur at the Company's principal office in Florida.
At the closing, Shareholder shall convey ownership of the Units to the Company free of any lien, claim or encumbrance,
except for Shareholder's retained security interest. If Shareholder fails to convey the Units to the Company at the closing,
the Company may obtain ownership thereof by tendering the purchase price to Shareholder whereupon the Units shall
be registered in the Company's name on the Company's books. All obligations of each party under this Agreement shall
survive the closing.
7.6 Each Shareholder in the Company agrees to this Agreements following clauses: (a) Only one class of stock is
authorized; (b) Each Shareholder of Company is guaranteed a right to participate in future equity offerings and will not be
diluted; (c) Distributions and dividends will be pro rata to stock ownership and subject to Board of Director's approval; (d)
Each Shareholder agrees to accept and follow any transaction approved by a Majority of Interest; (e) Each Shareholder
will agree to a right of first refusal for the Company or existing Shareholders to repurchase stock at fair market value as
determined by a formula and the terms of this Agreement. Such purchase may be funded by the Company or
Shareholders over time rather than through an immediate cash payment. By their execution of a joinder herein, each
Shareholder’s spouse acknowledges and agrees that the expected shareholder agreement will contain the Company's
or existing Shareholders right of first refusal described herein and the Shareholders spouse shall further execute such
agreement. Each Shareholder spouse further agrees and recognizes that should any provision of the shareholder
agreement or any Joinder by a spouse of a Member for any reason be held to be invalid, unenforceable, or contrary to
public policy or law, the right of first refusal set out herein shall remain inviolate.
7.7 Any attempted assignment or other transfer of Units in breach of this Agreement shall be void and of no effect. This
Agreement shall be specifically enforceable and upon the breach or attempted breach of this Agreement by a party, the
other party shall be entitled to injunctive relief against such breach or attempted breach in addition to any other remedy at
law or in equity, including the recovery of damages. In addition, the prevailing party in any suit brought to enforce or
interpret this Agreement shall be entitled to recover reasonable attorneys’ fees and necessary disbursements in addition
to all other relief awarded.

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7.8 Except as permitted under this Agreement, neither the Units nor any interest therein may be transferred, whether
voluntarily or involuntarily, by operation of law or otherwise, whether through a sale, gift, partition, pledge, or otherwise,
without the advance written consent of the Company. The Company may grant or withhold its consent to a fransfer as to
which its consent is required in its sole and uncontrolled discretion.
7.9 Units held by Shareholders may be transferred without the consent of the Company: (a) to the personal
representatives, heirs and distributees of the estate of Shareholder following the death of Shareholder; (b) to the guardian
of the estate of Shareholder following the judicially- determined incapacity of Shareholder; or (c) in or by virtue of an
involuntary proceeding involving Shareholder (An involuntary proceeding means a proceeding or event by which Units or
an interest therein are transferred by or subject to a charging order, attachment, execution, bankruptcy, receivership,
foreclosure or other proceeding similar to the foregoing).
Provided, however that this Clause 7.9 shall not affect or diminish the Company's right of first refusal and option to
purchase the Units from the transferee as provided for in this Agreement. Upon a permitted transfer of Units, the transferee
shall be included within the term “Shareholder” for all purposes of this Agreement and the transferred Share shall continue
to be subject to this Agreement.
7.10       No purported transfer of Units shall be permitted or effective, and any purported transfer of Units shall be void:
(a) if the transferee’s ownership of the Units would disrupt the status of the Company as an S corporation if the Company
is an S corporation at the time of the proposed transfer; or (b) if Shareholder or the transferee of the Units (or any spouse
of transferee fails to execute such documents as the Company designates (and in the form and substance designated by
the Company) to further evidence the applicability of this Agreement to the transferee (and the transferee’s spouse) and
to the Units transferred to the transferee, including the applicability of the Company's option to purchase the Units as
provided in this Agreement.
7.11     This Agreement shall apply to the interest, if any, which the spouse of Shareholder owns or may acquire in the
Units held by Shareholder, including any interest of the spouse arising by the virtue of community property laws in the
case that the Partition Agreement evidenced by a Joinder or otherwise to this Agreement is held to be unenforceable by
a Court of competent jurisdiction. If pursuant to the terms of this Agreement, Shareholder is obligated to sell any Units held
by Shareholder, all interest held or claimed in such Units by the spouse of Shareholder shall be included therewith and
acquired by the purchaser of such Units; provided, however, that such spouse's interest shall continue in the proceeds of
the sale of the Units.
7.12      The restrictions imposed by this Article shall terminate upon a Public Offering. A “Public Offering” means the first
date, if any, that Units of the Company's capital stock are publicly traded on an established securities market or are
admitted to quotation on the National Association of Securities Dealers Automated Quotation System.
7.13      This Agreement shall be binding upon the personal representatives, heirs, successors and permitted assigns of
a Shareholder and shall inure to the benefit of the Company's successors and assigns. Upon the death or the judicially-
determined incapacity of a Shareholder, the surviving spouse or any other person the deceased has declared to be his
successor-in-law shall receive and continue to represent the interests and the ownership interest of the deceased or
incapacitated Shareholder. This personal representative of Shareholder (if Shareholder is decreased) or to the guardian
of the estate of Shareholder (if Shareholder is decreased) or to the guardian of the estate of Shareholder (if Shareholder
is incapacitated) shall have no voting rights and shall have no veto rights in Company. Company shall have the option to
purchase all, but not less than all, of the Units held by the personal representative of the decreased or incapacitated
Shareholder. The option shall be exercisable by notice to the personal representative of Shareholder (if Shareholder is
decreased) or to the guardian of the estate of Shareholder (if Shareholder is decreased) or to the guardian of the estate
of Shareholder (if Shareholder is incapacitated) during the period beginning on the date of Shareholder's death or date of
determination of incapacity, as applicable and ending one hundred twenty days after the Company receives a request to
transfer the Units as the result of the death or determination of incapacity of Shareholder.
7.15      Upon the transfer of any Units in or by virtue of an involuntary proceeding involving Shareholder, the Company
shall have the option to purchase all or any portion of the transferred Units at any time thereafter. The option shall be
exercisable by notice to the transferee at any time after the Company receives a request to transfer the Units as the result
of the involuntary proceedings.
7.16      If Shareholder receives a bona fide offer for all or a portion of the Units held by Shareholder and Shareholder
desires to sell pursuant to such offer, Shareholder shall notify the Company of the identity of the offeror (the “offeror”), the
amount and method of payment of the purchase price and all other terms and conditions of the offer (the “Third Party
Offer”). The Company shall thereupon have the option, exercisable for period of thirty days after the date the notice is
given, to purchase the Units covered by the Third Party Offer at the price and on the terms set forth therein, except that
the Company shall have not less than ninety days after the date the notice is given to close the purchase of the Units after
the Company's exercise of the option and the closing shall occur at the Company's principal office in Florida.
7.17      If the Company does not exercise such option, Shareholder shall be free to sell the Units covered by the Third
Party Offer if such sale is made to the Offeror and at the price and in accordance with all other terms of the Third Party
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Offer, except that in all events the sale must be closed not later than ninety days of the notice of the Third Party Offer is
given by Shareholder.
7.18 Notwithstanding the restrictions set out in this Article, in the event that a Majority of Interest approves a sale
transaction regarding Company Units (to a “Drag-Along Right Holder"), whether such sale is in one transaction or a series
of related transactions, to an third party purchaser (or group of related purchasers) or whether directly or indirectly or by
way of sale, merger, statutory share exchange, recapitalization, reclassification, consolidation, or other business
combination transaction or purchase of beneficial ownership (a “Sale Transaction”), the Drag-Along Right Holder may
send written notice (the “Drag-Along Notice”) to the Company and the remaining Members (the “Drag-Along Sellers”)
notifying them of such proposed Sale Transaction and of their obligations pursuant to the Sale Transaction. In a case of
a Drag-Along Right Holder's entering into a Sale Transaction, such Sale Transaction’s monetary terms and conditions will
be the same for both the Drag-Along Sellers and for the Drag-Along Right Holder.
      (a) The Drag-Along Sellers shall have the right to receive from the Drag-Along Right Holder either (i) the most recent
purchase agreement, and related documents, pursuant to which the Sale Transaction will occur or (ii) a brief summary of
the material terms and conditions of such purchase agreement and related documents. Upon receipt of a Drag-Along
Notice, each Drag-Along Seller receiving such notice shall be obligated to (i) sell their Units through the Sale Transaction
(including a sale or merger) contemplated by the Drag-Along Notice on the terms and conditions of such notice, and (ii)
otherwise take all necessary action to cause the consummation of such transaction, including voting all of its Units in favor
of such Sale Transaction and not exercising any appraisal or dissenters rights in connection therewith all of which rights
the Members hereby explicitly waive. Each Drag-Along Seller further agrees to (A) take all actions (including executing
documents) in connection with the consummation of the proposed Sale Transaction as may reasonably be requested of
him, her or it by the Drag-Along Right Holder and (B) appoint the Drag-Along Right Holder, as its attorney-in-fact to do the
same on its behalf. In connection with any Sale Transaction, no Drag-Along Seller shall be required to (1) make any
representations or warranties (except as they relate to such Drag-Along Seller's ownership of and authority to sell its
Units), (2) agree to any noncompetition or non-solicitation covenants beyond such already entered into, or (3) provide any
indemnity.
      (b) Each Member covenants and agrees to this Section and that the Member shall not raise any objections against
any Sale Transaction that has been approved by a Majority of Interest. Moreover, all Members shall fully cooperate with
and take all necessary and desirable actions in connection with the consummation of such Sale Transaction, without
limitation, executing and delivering any document consenting to the sale or for exchange of Units, as applicable. As such,
the Members acknowledge and agree that no dissenter’s rights of any kind are granted to the Members and that no part
of this Agreement shall be deemed to establish any right under the Act regarding dissenter’s rights or as a dissenting
shareholder or owner or regarding any fundamental business transaction.
                                                  ARTICLE 8
                        DISSOLUTION, LIQUIDATION, AND TERMINATION OF THE COMPANY
8.1     LIMITATIONS. The Company may be dissolved, liquidated, and/or terminated only pursuant to the provisions of
this Agreement, and the Members do hereby irrevocably waive any and all other rights they may have to cause a
dissolution of the Company or a sale or partition of any or all of the Company's assets.
8.2    EXCLUSIVE CAUSES. Notwithstanding Florida state law, the following and only the following events singly or in
concert will cause the Company to be dissolved, liquidated, and/or terminated: (i) The occurrence of a Terminating Capital
Transaction; (ii) By the vote of at least a Majority in Interest pursuant to this Agreement; (iii) Applicable Law dissolution as
provided in Section 8.6; or, (iv) Judicial dissolution.
8.3    EFFECT OF DISSOLUTION. The dissolution of the Company will be effective on the day on which the event
occurs giving rise to the dissolution, but the Company will not terminate until it has been wound up and its assets have
been distributed as provided in Section 8.5 of this Agreement. During the dissolution of the Company, prior to the
termination of the Company, the business of the Company and the affairs of the Members, as such, will continue to be
governed by this Agreement.
84      NO CAPITAL CONTRIBUTION UPON DISSOLUTION.                        Each Member will look solely to the assets of the
Company for all distributions with respect to the Company, its Capital Contribution thereto, its Capital Account and its
share of Net Profits or Net Losses and will have no recourse therefore (upon dissolution or otherwise) against any other
Member. Accordingly, if any Member has a deficit balance in its Capital Account (after giving effect to all contributions,
distributions and allocations for all taxable years, including the year during which the liquidation occurs), then such Member
will have no obligation to make any Capital Contribution with respect to such deficit, and such deficit will not be considered
a debt owed to the Company or to any other person for any purpose whatsoever.
8.5 LIQUIDATION.
     8.5.1 Upon dissolution of the Company, the Board of Members will liquidate the assets of the Company, and after
allocating all income, gain, loss and deductions resulting therefrom, will apply and distribute the proceeds thereof as
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follows: First, to the payment of the obligations of the Company, to the expenses of liquidation, and to the setting up of any
Reserves for contingencies which the Board of Members may consider necessary. Thereafter, to the Members in
proportion to the positive balances in the Members’ respective Capital Accounts, determined after considering all Capital
Account adjustments for the Company taxable year during which such liquidation occurs by the end of the taxable year in
which such liquidation occurs or, if later, within ninety (90) days after the date of the liquidation.
      8.5.2 Notwithstanding Section 8.5.1, in    the event that the Board of Members determines that an immediate sale of
all or any portion of Company Assets would       cause undue loss to the Members, the Board of Members, in order to avoid
such loss to the extent not then prohibited by   Florida state law, may either defer liquidation of and withhold from distribution
for a reasonable time any Company Assets         except those necessary to satisfy the Company's debts and obligations, or
distribute Company Assets to the Members in kind.
8.6    MODIFICATION       OR DISSOLUTION          TO COMPLY       WITH APPLICABLE          LAWS.     The Managing     Member is
authorized and required by this Agreement to undertake all acts or amendment without consulting any Member in order
to ensure that the Company operates at all times in a manner consistent with Applicable Laws. Written notice of such act
or amendment will promptly be given to the Members. If the Managing Member determines in good faith that compliance
with Applicable Laws is impossible or infeasible, the Managing Member must delegate the authority to the Board of
Members and the Board of Members may cause the Company to dissolve and liquidate pursuant to this Section 8.6.
                                                           ARTICLE 9
                                                 LIABILITY; INDEMNIFICATION
9.1       LIABILITY OF MEMBERS. Except as otherwise required by any non-waivable provision of Florida state law or
other Applicable Law: (a) no Member or Managing Member will be personally liable in any manner whatsoever for any
debt, liability or other obligation of the Company, whether such debt, liability or other obligation arises in contract, tort, or
otherwise; and (b) no Member will in any event have any liability whatsoever in excess of (i) the amount of its Capital
Contributions, (ii) its share of any assets and undistributed profits of the Company, (iii) the amount of any unconditional
obligation of such Member to make Additional Capital Contributions to the Company pursuant to this Agreement, and (iv)
the amount of any wrongful distribution to such Member, if, and only to the extent, such Member has actual knowledge
(at the time of the distribution) that such distribution is made in violation of Florida state law. The debts, obligations, and
liabilities of the Company, whether arising in contract, tort or otherwise, will be solely the debts, obligations and liabilities
of the Company.
9.2    INDEMNIFICATION.          Except and otherwise resolved by the members, the Company will indemnify and hold
harmless each member that is a Managing Member, and each Member of the Board of Members all other officers of the
Company, if any, (each, a “Covered Person”), to the full extent permitted by law from and against any and all losses,
claims, demands, costs, damages, liabilities, joint and several, expenses of any nature (including attorneys’ fees and
disbursements), judgments, fines, settlements and other amounts arising from any and all claims, demands, actions, suits
or proceedings, civil, criminal, administrative or investigative, in which the Covered Person may be involved, or threatened
to be involved as a party or otherwise, relating to the performance or nonperformance of any act concerning the activities
of the Company, if (i) the Covered Person's conduct did not constitute bad faith, willful or intentional misconduct, or a
knowing violation of the law; (ii) the relevant transaction was not one from which the Covered Person derived an improper
personal benefit; (iii) no improper distribution circumstances are germane to the Covered Person; and, (iv) the Covered
Person has not breached duties or obligations under the standard of conduct for the Covered Person as Member or
Managing Member under state law. The termination of an action, suit or proceeding by judgment, order, settlement, or
upon a plea of nolo contendere or its equivalent, will not, in and of itself, create a presumption or otherwise constitute
evidence that the Covered Person acted in a manner contrary to that specified in clauses (i) - (iv) above. This Section will
not be deemed to create any rights for the benefit of any other Person.
9.3     EXPENSES. To the fullest extent permitted by Applicable Law, expenses (including legal fees) incurred by a
Covered Person in defending any claim, demand, action, suit or proceeding will, from time to time, be advanced by the
Company prior to the final disposition of such claim, demand, action, suit or proceeding upon receipt by the Company of
a written undertaking by or on behalf of the Covered Person to repay such amount if it will be determined that the Covered
Person is not entitled to be indemnified as authorized in Section 9.3.
                                                         ARTICLE 10
                                                      CONFIDENTIALITY
10.1 The Members acknowledge that they will have access to confidential information relating to the Company including
this Agreement, business plans, financial information, patient treatment information, trade secrets, statistical data,
diagrams, drawings, specifications or other proprietary information relating thereto, together with all analyses,
compilations, studies or other documents, records or data prepared by the Managing Member or his duly authorized
representatives which contain or otherwise reflect or are generated from such information (“Confidential Information”).
The term “Confidential Information” includes the business plans and financial information relating to the Company provided
by the Members. The term “Confidential Information” does not include information received by Members in connection
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with the transactions contemplated by this Agreement which (i) is or becomes generally available to the public other than
as a result of a disclosure by such Member or its duly authorized representatives, (ii) was within such Member's
possession prior to its being furnished to such Member in connection with the transactions contemplated by this
Agreement or (iii) becomes available to such Member on a non-confidential basis from a source other than the other
Members or any of their respective duly authorized representatives. For purposes of this Agreement, Confidential
Information will not include, and no Member's obligations under this Agreement will extend to, (i) information that is
generally available to the public or within the industry, and (ii) information obtained by such Member from Persons not
under agreement to maintain the confidentiality of the same.
10.2 The Members will treat all Confidential Information as confidential, preserve the confidentiality of such Confidential
Information and not disclose any Confidential Information to any person or entity, except to their respective duly authorized
representatives who need to know such Confidential Information in connection with the transactions contemplated by this
Agreement or in connection with the Member's exercise of rights under this Agreement. The Members will use all
reasonable efforts fo cause their respective duly authorized representatives fo treat all Confidential Information as
confidential, preserve the confidentiality of such Confidential Information and not disclose any Confidential Information.
Each Member will be responsible for any breach of this Agreement by any of their respective duly authorized
representatives. If Confidential Information is disclosed, the Member responsible for such disclosure will immediately
notify the Managing Member in writing and take all reasonable steps required to prevent further disclosure.
10.3 Following the date upon which any Member no longer owns any Membership Interests in the Company, and as
soon as possible after the Company's written request, such Member will retum to the Company all written Confidential
Information of the Company that has been provided to such Member, and such Member will destroy all copies of any
analyses, compilations studies or other documents containing or reflecting any Confidential Information of the Company.
Each Member will, upon written request of the Company and within five (5) Business Days of the receipt of such request,
deliver to the Company a notarized document certifying that such written Confidential Information of the Company have
been retumed or destroyed in accordance with this Agreement.
10.4 If a Member or any of its respective duly authorized representatives are requested or required (by oral questions,
interrogatories, requests for information or documents in legal proceedings, subpoena, civil investigative demand or other
similar process) or are required by operation of law to disclose any Confidential Information, the Member requested or
required to disclose such Confidential Information will provide the Managing Member with prompt written notice of such
request or requirement, which notice will, if practicable, be at least forty-eight (48) hours prior to making such disclosure,
so that the Managing Member may seek a protective order or other appropriate remedy and/or waive compliance with the
provisions of this Agreement. If, in the absence of a protective order or other remedy or the receipt of such a waiver, the
Member requested or required to disclose Confidential Information or any of its duly authorized representatives are
nonetheless, in the opinion of counsel, legally compelled to disclose Confidential Information, then the Member requested
or required to disclose Confidential Information may disclose that portion of the Confidential Information which such
counsel advises is legally required to be disclosed, provided that the Member requested or required to disclose
Confidential Information use their reasonable efforts to preserve the confidentiality of the Confidential Information,
whereupon such disclosure will not constitute a breach of this Agreement.
                                                      ARTICLE 11
                                                RESTRICTIVE COVENANT
11.1    COVENANT NOT TO COMPETE. In consideration of the mutual promises contained herein and the Company's
obligation to provide access to information and Confidential Information herein, the Members agree that, for as long as
the Members own, directly or indirectly, any Membership Interest in the Company and for a period of two (2) years after
the date of termination of a Member's ownership of Membership Units, a Member will not, either directly or indirectly, own
a beneficial interest in a Company competitive with PTLT as of the effective date of termination: (A) provide competitive
services (as defined below), nor (B) Control, have any beneficial or ownership interest in (excluding ownership of less than
five percent (5%) of the equity of any publicly-traded entity), develop, manage, operate, or be employed by, or provide any
administrative services to any company competitive to PTLT. The Members and the Company agree that a reasonable
price for a Member to buy-out of this restrictive covenant is Five Hundred Thousand Dollars ($500,000) (“Buy-Out
Amount”) payable in cash or by cashier's check to the Company. Upon full payment of the Buy-Out Amount by the
Member to the Company, the foregoing restrictive covenant will no longer be applicable.
11.2      INJUNCTIVE RELIEF. The Members acknowledge and agree that (j) the covenants and restrictions contained in
this Agreement are necessary, fundamental, and required for the protection of legitimate business interests of the
Company; (ii) such covenants and restrictions relate to matters that are of a special, unique, and extraordinary character;
and, (iii) a breach of any such covenants or restrictions will result in irreparable harm and damages to the Company that
cannot be adequately compensated by a monetary award. Accordingly, the Members expressly agree that in the event of
an actual or threatened breach by a Member of the covenants contained this Agreement, the Company will be entitled to
a temporary restraining order or an injunction (or both} to specifically enforce the provisions of this Agreement. Further,
nothing herein will be construed as prohibiting compensation to the Company for such breach or threatened breach,
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including (but not necessarily limited to) recovery of damages from the Member and for reasonable attorney's fees. The
provisions of this Section 11.2 will survive termination of this Agreement.
11.3    CHANGE IN LAW. In the event that, subsequent to the Effective Date of this Agreement, there is a change in
Florida law governing covenants not to compete that renders all or a portion of the provisions of Sections 11.1 or 11.2
hereof unenforceable or if such provisions are deemed by a court of competent jurisdiction to be unenforceable, then the
provisions of this Agreement will be modified by the parties within thirty (30) days or, if the parties are unable to agree to
such modification within such thirty-day period, by a court of competent jurisdiction, to the extent necessary to bring the
provisions of Sections 11.1 or 11.2 within the scope of such applicable law and such modification will be in a manner that,
as closely as possible, enforces the intent of Sections 11.1 or 11.2 as set forth herein and the parties hereto will comply
with such provisions as modified. The provisions of this Section 11.3 will survive termination of this Agreement.
11.4 SECURITIES LAWS. The term “Securities Laws” means that the Securities Act of 1933, as amended (the "Act”)
and applicable state securities laws. Shareholder acknowledges that (a) the Units have not been registered under the
Securities Laws and that the Units have been issued pursuant to exemptions from such laws; (b) the Units have not been
filed with or reviewed by any federal or state securities administrators. Shareholder represents that Shareholder acquired
the Units for Shareholders own account and for investment purposes only, and without the intention of reselling or
redistributing the Units. If any person holding or claiming an interest in the Units desires to have the Company recognize
a transfer of the Units, the Units will not be transferred unless and until the Company determines that the proposed transfer
is exempt from the registration provisions of the Securities Laws. If requested by the Company, Shareholder shall furnish
the Company with a written opinion of legal counsel satisfactory to the Company, which opinion shall be satisfactory in
form and substance to the Company's counsel, that the proposed transfer is exempt from the registration provisions of
the Securities Laws.
                                                       ARTICLE 12
                                                     MISCELLANEOUS
12.1 ACCOUNTING AND FISCAL YEAR. Subject to Code Section 448, the books of the Company will be kept on such
method of accounting for tax and financial reporting purposes as may be determined by the Managing Member. The
fiscal year of the Company will end on December 31% of each year, or on such other date permitted under the Code as
the Managing Member will determine.
12.2 AMENDMENTS. Subject to the right of the Managing Member pursuant to Section 8.6 hereof to unilaterally amend
this Agreement to comply with Applicable Law, this Agreement may be altered, amended, or repealed only with approval
of a Majority in Interest.
12.3    JOINDER OF SPOUSES. When Membership Interests or Units are owned by individual Persons, such Members’
spouses will join in the execution and delivery of this Agreement for the express purpose of recognizing the Company's
or Shareholders’ right of first refusal described in this Agreement. By their signature of to a Joinder to this Agreement the
relevant Members’ spouses acknowledge that they are fully aware of, understand, and fully consent and agree to the
provisions of this Agreement and its effect upon any property interest they may now or hereafter own. Nonetheless, per
each Member spouse's joinder and partition germane to the Units, the Members’ spouses release, assign and partition
any property interest that they now or may ever have in a Membership Interest or Unit in favor of their spouse and which
release, assignment and partition further evidences the Member's spouse's acknowledgement that the Company's or
Shareholder’s right of first refusal to repurchase stock shall remain inviolate.
124 CAPTIONS; PRONOUNS. Any titles or captions contained in this Agreement are for convenience only and will not
be deemed part of the text of this Agreement. All pronouns and any variations thereof will be deemed to refer to the
masculine, feminine, neuter, singular or plural as appropriate.
12.5   CONSTRUCTION.         This Agreement will be construed as if all Members prepared this Agreement.
12.6 COUNTERPARTS. This Agreement may be executed in any number of multiple counterparts, each of which will
be deemed to be an original copy and all of which will constitute one agreement, binding on all Members hereto.
12.7 NOTICE TO MEMBERS OF PROVISIONS OF THIS AGREEMENT. By executing this Agreement, each Member
acknowledges that the Member has actual notice of all of the provisions of this Agreement and all provisions of the
Certificate.
12.8 DISPUTE RESOLUTION.              Except for material deadlocks as specifically addressed in this Agreement any
controversy or dispute related to or arising out of this Agreement, the management and operations of the Company, or
the management and operations of an Affiliate of the Company, the Members agree to meet and confer in good faith to
attempt to resolve the controversy or dispute without an adversary proceeding. Ifthe controversy or dispute is not resolved
to the mutual satisfaction of the Members within ten (10) Business Days of notice of the controversy or dispute, then such
dispute will be resolved in accordance with the following dispute resolution procedures:


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       1. DISPUTES. This Policy is intended to be applied to disputes or claims between or among the Members and
Members that arise out of or relate to their relationship as Members of the Company Any dispute to which this Policy
applies is called a “Dispute” and any person, corporation, or entity that is subject to this Policy is called a “Party.”
       2. MEDIATION. Disputes will be subject to mediation conducted as follows: (a) Any Party wishing to commence
mediation will send a written notice of intent to mediate to the other Party, specifying in detail the nature of the Dispute and
proposing a resolution thereof. Within fiteen (15) calendar days after such notice is received by the other Party, if the
parties cannot agree on a proposed mediator, one will be appointed by the executive director or functional equivalent of
the American Arbitration Association (AAA) or its successor from a list provided by AAA. Each Party will designate no
more than three (3) representatives who will meet with the mediator to mediate the dispute. Mediation will be commenced
as soon as the mediator can be scheduled after the other Party receives such notice. The mediator will be a person
having no conflict of interest relationship with a Party; (b) The mediation will be non-binding. Any non-binding mediation
conducted under the terms of this Section will be confidential. The cost of the mediation will be borne equally by the
Parties; (c) Should a Party disagree with the decision rendered by the mediators; the Parties will have the right to proceed
with arbitration proceedings as set forth below.
        3. ARBITRATION. Mediation will be a prerequisite to invoking arbitration. If unsuccessful in resolving an issue
submitted to mediation as outlined above, such Dispute must be resolved by binding arbitration be conducted in Florida.
The Party wishing to commence arbitration will send a written notice of intent to arbitrate to the other Parties. Arbitration
will be commenced as soon as the arbitrators can be scheduled after such notice is received by the other Party, using a
single arbitrator if the Parties can agree upon one within such thirty (30) day period. Otherwise, each Party will appoint
one neutral arbitrator within the thirty (30) day period and the arbitrators so appointed will together appoint a third-party
arbitrator for the arbitration between the parties.
        4.  ltis expressly understood by each signatory to this Agreement that during the term of this Agreement, in case
of any dispute under this Agreement, and after the term of this Agreement, Company's counsel, by virtue of his or her
professional responsibilities, is barred from advising individual Members/shareholders and may only represent Company's
interests.  In particular, all shareholders understand that the attomey-client privilege does not extend to individual
shareholders, officers, directors, or employees of Company, but only covers the Company as one separate, independent
entity.
12.9 ENTIRE AGREEMENT. This Agreement constitutes the entire agreement between the Members hereto pertaining
to the subject matter hereof and fully supersedes any and all prior or contemporaneous agreements or understandings
between the Members hereto pertaining to the subject matter hereof.
12.10 EFFECT OF WAIVER OR CONSENT. The Managing Member may give an express or implied waiver or consent
to a specific breach or default by a Person of that Person's obligation to the Company. Any specific waiver or consent is
not; however, a consent or waiver to any other breach or default in the Person’s performance of the Person's same or
other obligations to the Company. A Person’s failure to complain of any Person’s acts or to declare any Person in default
with respect to the Company does not waive that Person's rights with respect to that default until the applicable statute-of-
limitations period has run.
12.11 GENERAL COMPLIANCE. The Members enter into this Agreement with the intent of conducting the relationship
in full compliance with Applicable Laws. Notwithstanding any unanticipated effect of any of the provisions of this
Agreement, no Member or any Managing Member or other Person acting on behalf of the Company will intentionally
conduct himself or itself under the terms of this Agreement in a manner that would constitute a violation of Applicable
Laws. The Members will perform their obligations under this Agreement in accordance with the terms hereof. Any
agreements between the Company and any Member or direct or indirect owner of a Member will be in writing, and the
parties to any such agreement will perform their obligations under such agreement only in accordance with the terms
thereof.
12.12 FURTHER ASSURANCES. Each of the Members hereto does hereby covenant and agree on behalf of itself, its
successors, and its assigns, without further consideration, to prepare, execute, acknowledge, file, record, publish, and
deliver such other instruments, documents and statements, and to take such other action as may be required by law or
reasonably necessary to effectively carry out the purposes of this Agreement.
12.13 GOVERNING        LAW; CERTAIN       WAIVERS.     This Agreement, including its existence, validity, construction, and
operating effect, and the rights of each of the parties hereto, will be governed by and construed in accordance with the
laws of the State of Florida without regard to otherwise governing principles of conflicts of law. The Members waive any
and all rights they may have to punitive, special, exemplary, or consequential damages, in respect of any dispute based
on this Agreement.
12.14 SEVERABILITY. In the event that any provision of this Agreement as applied to any party or to any circumstance,
will be adjudged by a court to be void, unenforceable, or inoperative as a matter of law, then the same will in no way affect
any other provision in this Agreement, the application of such provision in any other circumstance or with respect to any
other party, or the validity or enforceability of the Agreement as a whole.
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12.15 NO REGISTRATION STATEMENT. Each Member represents, warrants, acknowledges, and agrees that: (a) No
Registration. No registration statement is currently on file with the Securities and Exchange Commission with respect to
any Membership Units and the Company has no obligation or current intention to register any Membership Units under
the Federal Securities Act of 1933 or Florida securities law; (b) Company Reliance upon Exception. The Membership
Units have not been registered under the Federal Securities Act of 1933 as the Company has issued such Membership
Units in reliance upon the exceptions and/or exemptions from registration requirements of the Federal Securities Act of
1933 providing for issuance of securities not involving a public offering, together with any corresponding exemptions from
state securities regulations; (c) Held Solely for Investment. The Company has relied upon the Members’ representations
that the Membership Units are to be held by the Members solely for investment purposes and not with a view toward
distribution; (d) View Toward Distribution. The exceptions and/or exemptions from registration under the Federal
Securities Act of 1933 would be unavailable if the Membership Units were acquired by a Member with a view toward
distribution; and (e) Sophisticated Investor. The Member acquired Membership Units in the Company based upon a
diligent review and investigation by the Member of material information from the Company and the Member's
determination that such acquisition is a suitable investment for the Member based upon such information as well as the
Member's investment background and history. The Member is a sophisticated investor possessing an expertise in
analyzing the benefits and risks associated with entities that are similar to the Company.
12.16 TAX MATTERS PARTNER. The Managing Member of the Company will be the “Tax Matters Partner” of the
Company in accordance with Code Section 6231(a)(7) (referring to the “tax matters partner”). The Tax Matters Partner
must take the action necessary to cause each other Member to become a “notice partner” within the meaning of Code
Section 6223. The Tax Matters Partner must give prompt notice to all Members of significant matters or communications
the Tax Matters Partner may receive. The Tax Matters Partner may not take any action contemplated by Code Sections
6222 through 6232 without the consent of the holders of at least sixty percent (60%) of the Membership Units.
IN WITNESS WHEREOF, the Members have caused this Agreement to be executed as of the date set forth below their
respective signatures.
MEMBER(S):
           PRINTED NAME OF MANAGING MEMBER, PRESIDENT AND MEMBER: JEFFREY JUDDD




                                     SIGNATURE:
                                                  BY: JEFFREY JUDD
                                         DATE:




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                                          EXHIBIT A
      NAMES OF COMPANY MEMBERS AND PERCENTAGE INTERESTS

                                  UNITS      SHARING          CAPITAL CONTRIBUTION
                                              RATIO




     JEFFREY JUDD                  100        100.00%   $1000.00 plus In-Kind/Contributed Assets




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                                        EXHIBIT B
           JOINDER OF INVESTOR TO THE PODCRATING AGREEMENT
 BY HIS OR HER SIGNATURE BELOW [NAME OF THEIf     OR                 |    | ACKNOWLEDGES
 THAT HE OR SHE HAS FULLY READ, UNDERSTANDS, AND HAS NO QUESTIONS ABOUT THE COMPANY'S
 OPERATING AGREEMENT AND AGREES TO AND JOINS THE EXECUTION AND DELIVERY OF THE
 AGREEMENT IN THE CAPACITY OF INVESTOR AND BENEFICIARY OF THE INVESTMENT RETURN IN PARTIAL
 BENEFICIARY INTERESTS AND NOT AS A MEMBER, OWNER, OR OTHER CAPACITY GERMANE TO THE
 COMPANY, FINANCIAL OR OTHERWISE, AND AGREES TO BE BOUND BY THE OPERATING AGREEMENT'S
 TERMS.




           JOINDER OF SPOUSES 0 THE OPERATING AGREEMENT
 BY HIS OR HER SIGNATURE BELOW, {NAME OF THE SPOUSE:               _ |ACKNOWLEDGES THAT
 HE OR SHE    HAS FULLY  READ, UNDERSTANDS,  AN  HAS NO QUESTIONS   ABOUT THE COMPANY'S
 OPERATING AGREEMENT AND AGREES TO AND JOINS THE EXECUTION AND DELIVERY OF THE
 AGREEMENT. NONETHELESS, MR. OR MRS.                          VOLUNTARILY AND EXPRESSLY
 WAIVES ANY RIGHT TO DISCLOSURE OF HIS OR HER SPOUSE'S PROPERTY OR FINANCIAL OBLIGATIONS
 BEYOND ANY DISCLOSURE PROVIDED TO DATE REGARDING THE AGREEMENT, OR UNITS, OR OTHERWISE.




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                 EXHIBIT C
    SAMPLE PURCHASE CONTRACTS 100K
           AND 80K (REDACTED)
      COMPANY’S CODE OF ETHICS AND
            BUSINESS CONDUCT




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                              PURCHASE AGREEMENT

        This is a Purchase Agreement ("Agreement") dated the 3rd day of December,
 2021. This Agreement is by and between                (“Seller”) who is represented by
                                                   whose address is
                                 (“Attorney”) and
        corporation (“Buyer”) who is represented by
                         (“Buyer's Attorney”) whose address is


A.      Seller has a claim arising from a slip and fall incident which occurred on
February 8, 2020 ("Claim") at                                                   which is
owned and operated by                          . Seller has hired Attorney to represent Seller
in this Claim. Seller has settled the Claim. The entire amount of the settlement is
ye         | (“Settlement Amount”), less legal fees, superior medical liens existing on
the date of this Agreement, costs and disbursements payable to Attorney under the
existing fee agreement between Seller and Attorney (“Proceeds").

 B.      Seller desires to sell and assign to Buyer an interest in the Proceeds. Buyer
 desires to purchase the interest in the Proceeds, on the terms and under the conditions
 set forth in this Agreement.

 BUYER AND SELLER AGREE AS FOLLOWS:

 1.     PURCHASE OF INTEREST

a.      Seller hereby sells, transfers, conveys and assigns to Buyer a $100,000.00 interest
("Interest") in the Proceeds for a purchase price of $80,000.00 ("Purchase Price"). Seller
acknowledges receipt of the Purchase Price. Seller understands that the amount of
Buyer's Interest, or, in other words, the amount to be paid to Buyer, will increase to
reflect the date the Buyer is paid its Interest in the Proceeds as set forth in the following
Disclosure Table ("Disclosure Table"):




 [Intentionally Left Blank]




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                                  DISCLOSURE TABLE

Purchase Price:             $80,000.00
Administration Fee:         $5,000.00

Date of Payment to Buyer                                        Amount due to Buyer

On or before March 3, 2022                                              $105,000.00
After March 3, 2022 but on or before April 2, 2022                      $115,000.00


*Should Seller not pay Buyer from the Proceeds by April 2, 2022 the Buyer's Interest
will increase by $10,000.00 every thirty (30) days thereafter.

b.      Buyer's Interest will be paid by Attorney out of the Proceeds of the Claim and
will be deducted directly from the Proceeds of the Claim and will be paid to Buyer prior
to any payment to Seller with respect to the Claim. If the Proceeds of the Claim
Amount are not enough to pay the full amount due to Buyer, then Buyer shall be
entitled to receive 100% of the Proceeds of the Claim. Seller has directed Attorney to,
among other things,(i) place an assignment, consensual lien and security interest in
favor of Buyer against any and all Proceeds due Seller from the Claim (after payment of
any and all legal fees and reimbursable costs) and to protect and satisfy the assignment,
consensual lien and security interest in favor of Buyer up to the full amount of Buyer's
Interest, (ii) notify Buyer of receipt of Settlement Amount, (iii) pay Buyer from the
Proceeds the proper amount due to Seller representing Seller's Interest in the Proceeds
at the time of distribution of the Proceeds prior to any payment to Seller with respect to
the Claim, (iv) respond to requests for information from Buyer and (v) notify Buyer
prior to any disbursements of funds to verify the amount due Buyer. Seller has
provided Buyer with an executed Authorization for Attorney to Pay Buyer from
Proceeds of Claim/ Acknowledgement of Authorization by Seller and Attorney in the
form attached as Exhibit "A" ("Authorization and Acknowledgement ").

C.      The amount Buyer is entitled to may be more than is listed in the Disclosure
Table above if Seller does not honor the obligations in this Agreement. Seller will also
be liable to pay Buyer's Interest, even if there are no Proceeds, if Seller has mislead
Buyer or Attorney concerning Seller's Claim and will also be liable for Buyer's attorney
s fees or collection costs, as permitted by law.

d.     If Seller wants to sell an additional Interest, and if Buyer agrees to purchase an
additional Interest, Buyer and Seller will sign an amended Disclosure Table. Seller
understands that Buyer is not required to purchase any additional Interest.




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e.     In the event that the Claim is the subject of more than one lawsuit, claim or cause
arising out of more than one incident/accident/ transaction, or against one or more
defendants, then the amount due Buyer pursuant to this Agreement shall be paid from
the Proceeds of the first lawsuit, claim and/or case against any of the defendants,
including insurance companies and malpractice claims arising out of the Claim, which
results in a monetary recovery. If insufficient funds are available from the first lawsuit,
claim and/or case resulting in a monetary recovery to pay the full amount due Buyer
pursuant to this Agreement, then the balance due Buyer shall be paid from the Proceeds
of the next lawsuit, claim and/or cause, if any.

f.      The amount due Buyer shall be withheld from any money collected as a result of
the Claim and shall immediately be paid to Buyer (after first deducting Attorney's fees
and costs, and any prior liens which exist on the date of this Agreement). Seller agrees
and hereby directs that all Proceeds received in connection with the Claim, are held in
Trust for Buyer until Buyer has been fully paid its Interest. Seller understands that
Seller will not receive any money or payment from the Proceeds of Seller's Claim until
Buyer has been paid Buyer's Interest in full. This shall also apply to any structured
settlements. If Seller receives payments from several sources, Seller will pay Buyer all
monies received from each source until Buyer is paid in full its Interest in the Proceeds
of the Claim. Seller acknowledge that receipt or use of any Proceeds of the Claim prior
to the full payment to Buyer of Buyer's Interest in the Proceeds of the Claim may
constitute an illegal conversion and may be a crime.

2.     GRANT OF SECURITY INTEREST

By signing this Agreement, Seller grants to Buyer a security interest and a lien in the
Settlement Amount and all Proceeds of the Claim ("Collateral"). Buyer shall have all
rights and remedies of a secured party under the Nevada Uniform Commercial Code.
Seller authorizes Buyer to file one or more UCC financing statements regarding Buyer's
security interest and lien in the Collateral and Seller agrees to take all other steps
reasonably required by Buyer to perfect and maintain the perfection of Buyer's security
interest.

3.     NO TRANSFER OF CLAIM

Seller is not assigning any portion of the Claim to Buyer, and Buyer is not buying any
portion of the Claim under this Agreement. Buyer has no right or obligation to take any
legal action for Seller in connection with the Claim. Buyer has no right or obligation to
advise, direct or instruct Seller or Attorney in how to go forward with Seller's Claim.
Buyer will not be involved in the negotiation of any settlement of Seller's Claim. Buyer
has no obligations or duties concerning the Claim, or the collection of any settlement,
award or verdict from the Claim.




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4,     SELLER'S REPRESENTATIONS AND WARRANTIES

Seller represents and warrants to Buyer that:

a.     Seller is using the funds received from the Purchase Price for Seller's immediate
economic necessities. Seller has been advised that Seller should not sell any portion of
the Proceeds of the Claim if Seller has any other alternative to meet my immediate
economic necessities. Seller understands that due to the various factors involved that
Buyer may make a large profit.

b.      Seller acknowledges that Seller has been advised to seek the services of legal, tax,
accounting and/or financial advisors in the negotiation and signing of this Agreement.
Seller has either received such counsel prior to signing this Agreement or expressly
waived such counsel. Seller understands from speaking to Attorney and/or other
advisors that the amount of Buyer's Interest as set forth in the Disclosure Table is
greater than the Purchase Price Seller is receiving, and that there is a cost to Seller
selling Buyer the Interest. Seller understands that Buyer is relying upon Seller's
representations in deciding to purchase this Interest and Seller represents and warrants
that all statements made by Seller are true and correct as of the date hereof. Seller
understands that if any information provided by Seller changes that Seller has an
obligation to immediately notify Buyer.

Cc.      Seller is not currently in bankruptcy, there are no pending tax claims or criminal
 allegations against Seller, and Seller has complied with all laws in connection with the
 Claim. Seller further represent that Seller is not in violation of any obligations
 concerning childcare, alimony or support, and Seller has not been convicted of a felony
or other crime involving dishonesty.   Other than the Claim itself, there is no claim, legal
action, lien or any proceeding or order pending or in effect or threatened, against Seller,
or which would in any manner affect or impair Buyer's Interest or Buyer's rights under
this Agreement. Seller has been truthful in all aspects of the Claim and has provided all
information to Attorney in a complete and honest fashion. Seller also confirms that all
documents submitted in connection with the investigation and Buyer's evaluation of
the Claim are true, whether submitted by Attorney or Seller.     Seller understands that
Buyer is relying upon these statements in determining whether to enter into this
Agreement.

d.      Seller agrees to not change the fee agreement between Seller and Attorney in any
way that would reduce the amount of Buyer's Interest in the Proceeds of the Claim.
Seller further promises to notify Buyer in writing within 72 hours if Seller terminates
the services of Attorney, or if Attorney determines not to proceed with the Claim. If
new attorneys are retained to represent Seller in the Claim, Seller will notify Buyer
within 72 hours of the new attorneys being retained, and will direct the new attorneys
to comply with the terms of this Agreement by Seller and the new attorney executing a



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new Authorization and Acknowledgement within 14 days after accepting Seller's
representation . Seller will also notify Buyer in writing within 72 hours if Seller moves
from the address listed above.

e.      Seller will not knowingly create or permit any additional liens, charges, security
interests, encumbrances, agreements of any kind or other rights of third parties against
the Proceeds of the Claim without the prior written consent of Buyer. Seller specifically
promises not to sell any additional portion of the Proceeds of the Claim after the date of
this Agreement, unless Buyer has given prior written permission. Seller also confirms
that neither the Claim nor the Proceeds are subject to any liens, charges, security
interests, encumbrances, agreements of any kind or nature (other than this Agreement)
or other rights of third parties except for liens previously provided to Seller's medical
providers. Seller understands that if these statements are not true, it may be considered
as a fraud, as Buyer is relying upon these statements in going forward with this
Agreement.

5.     EVENTS OF DEFAULT

The occurrence of any one or more of the following events shall be an event of default
by Seller under this Agreement (each, an "Event of Default"):

a.      The failure by Seller or Attorney to pay Buyer's Interest in the Proceeds within
thirty (30) days after the Settlement Amount is received by Seller or Attorney; or

b.      Seller's failure to perform or comply with any of the agreements, conditions,
provisions or promises contained in this Agreement, including but not limited to if
Buyer does not receive a timely response to a request for information from Seller or
Attorney or if Buyer does not receive a new Authorization and Acknowledgement by
Seller and new attorney within fourteen (14) days after accepting representation, and
such failure to perform or comply continues unremedied for a period of ten (10) days
after written notice from Buyer to Seller, unless such default, in Buyer's reasonable
discretion, is not curable, in which event there shall be no grace period; or

C.     If Buyer discovers any material misrepresentation or inaccuracy in any
representation or warranty made by Seller to Buyer in this Agreement.

Upon an Event of Default by Seller under this Agreement, Seller agrees that Buyer may
contact any insurance company, claims adjuster or attorney then handling the Claim on
behalf of any responsible party and advise such insurance company, claims adjuster or
attorney about Buyer's Interest in Seller's Claim and to direct that Buyer be included as
a payee on settlement checks provided further that nothing herein shall prevent Buyer
from exercising any other right or remedy provided under law or equity. If Buyer does




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anything stated in this paragraph, Buyer shall not be liable to Seller for any damages
which Seller may suffer resulting from Buyer's actions described above.

6.     APPLICABLE LAW

This Agreement shall be governed, construed and enforced in accordance with, and all
disputes arising out of or in connection with this Agreement shall be governed by, the
internal laws of the State of Nevada, without regard to the conflict of law rules of
Nevada or any other jurisdiction.

7.     ARBITRATION

BUYER AND SELLER ACKNOWLEDGE AND AGREE THAT ALL DISPUTES,
CLAIMS, DEFENSES OR CONTROVERSIES (WHETHER IN LAW OR IN EQUITY)
ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE RELATIONSHIPS
THAT RESULT FROM THIS AGREEMENT, INCLUDING BUT NOT LIMITED TO
ANY DISPUTES, CLAIMS OR CONTROVERSIES INVOLVING FEDERAL OR STATE
STATUTORY CAUSES OF ACTION OR INJUNCTIVE RELIEF, ANY INVOLVING
FEDERAL OR STATE ADMINISTRATIVE REMEDIES, ANY INVOLVING
CONSUMER FRAUD AND ANY INVOLVING A CHALLENGE TO THE LEGALITY
OF ANY PART OR ALL OF TH IS AGREEMENT ("DISPUTES") SHALL BE RESOLVED
THROUGH FINAL AND BINDING ARBITRATION UNDER THE COMMERCIAL
ARBITRATION RULES ("RULES") OF THE AMERICAN ARBITRATION
ASSOCIATION ("AAA"). THE ARBITRATION SHALL TAKE PLACE BEFORE A
SINGLE ARBITRATOR TO BE CHOSEN BY AGREEMENT OF THE PARTIES, OR
FAILING SUCH, IN ACCORDANCE WITH AAA RULES. THE ARBITRATION
SHALL TAKE PLACE IN THE STATE OF NEVADA, COUNTY OF CLARK UNLESS
THE PARTIES AGREE TO A DIFFERENT LOCATION. THE PARTIES AGREE THAT
THIS ARBITRATION AGREEMENT IS MADE PURSUANT TO A TRANSACTION IN
INTERSTATE COMMERCE AND, EXCEPT AS OTHERWISE EXPRESSLY PROVIDED
HEREIN, SHALL BE GOVERN ED BY THE FEDERAL ARBITRATION ACT, 9 U.S.C.
§1 AND THE SUBSTANTIVE LAWS OF THE STATE OF NEVADA SHALL BE
APPLIED IN ALL EVENTS. JUDGMENT UPON THE AWARD RENDERED MAY BE
ENTERED IN ANY COURT HAVING JURISDICTION. THE PARTIES ALSO AGREE
THAT THE AAA OPTIONAL RULES FOR EMERGENCY MEASURES OF
PROTECTION SHALL APPLY TO THE PROCEEDINGS.

8.     WAIVER OF JURY TRIAL

BUYER AND     SELLER, AFTER CONSULTATION WITH THEIR RESPECTIVE
ATTORNEYS,     EACH HEREBY WAIVE ANY RIGHT WHICH THEY MAY HAVE TO A
JURY TRIAL,   INCLUDING ANY RIGHT VESTED BY FEDERAL, STATE OR LOCAL
STATUTE, IN    CONNECTION WITH ANY DISPUTES OR LEGAL PROCEEDING



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INVOLVING, DIRECTLY OR INDIRECTLY, ANY MATTER COMMENCED BY OR
AGAINST EITHER PARTY IN ANY WAY ARISING OUT OF OR RELATED TO THIS
AGREEMENT OR WITH ANY DOCUMENT EXECUTED IN CONNECTION WITH
THIS AGREEMENT.

9      WAIVER OF CLASS ACTION CLAIMS

SELLER HEREBY AGREES TO WAIVE ANY AND ALL RIGHTS TO (i) ANY DISPUTE
WITH BUYER BEING HANDLED AS A CLASS ACTION AND (ii) JOINING AS A
PLAINTIFF, CLAIMANT, MEMBER OR PARTICIPANT IN ANY CLASS ACTION
AGAINST BUYER. IT IS AGREED THAT ANY ARBITRATION WILL BE LIMITED TO
THE DISPUTE BETWEEN BUYER AND SELLER, AND BUYER AND SELLER WAIVE
ANY RIGHT TO CONSOLIDATE OR TO HAVE HANDLED AS A CLASS ACTION
ANY PROCEEDING ON ANY DISPUTES WITH ANY PROCEEDING ON DISPUTES,
CLAIMS, OR CONTROVERSIES INVOLVING ANY PERSON OR ENTITY NOT A
PARTY TO THIS AGREEMENT.

10.    RECLASSIFICATION OF TRANSACTION

This Agreement represents an investment by Buyer, and not a loan to Seller. However,
should a court of law determine that the transaction set out in this Agreement is a loan
of money, Seller agrees that interest shall accrue at the maxim um rate permitted by
law. Seller agrees that any fees or expenses paid by Buyer in connection with the Claim
will not be included as interest. This includes any attorney's fees and costs Buyer has
expended to enforce its rights under this Agreement. Seller agrees that these will be
considered as a reimbursement to Buyer, rather than as interest.

11.    MISCELLANEOUS

a.      If any part of this Agreement is deemed invalid or unenforceable, it shall not
affect the validity or enforceability of (i) any other part of this Agreement, and the
Agreement shall be modified to the extent legally possible to legally carry out the intent
of this Agreement and (ii) any agreement between Buyer and any other party. This
Agreement and its exhibit make up the entire and only agreement or understanding
between Buyer and Seller. It may not be changed unless signed in writing by Buyer and
Seller. This Agreement takes precedence over all prior agreements, brochures,
negotiations, commitments and representations, whether oral or written, about Seller's
 Claim and Buyer's purchase of its Interest.




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b.      Should Buyer retain the services of an   attorney to enforce the terms of this
Agreement, Seller will be responsible for any    costs or expenses (including reasonable
legal fees and expenses) in enforcing Buyer's    rights under this Agreement and the
amount of Buyer's Interest shall be increased    in an amount equal to Buyer's costs and
expenses.

C.      This Agreement will be binding upon Buyer and Seller, and each of their heirs,
executors, administrators, successors and assigns. Seller understands and agrees that
Seller has no right to assign Seller's rights and obligations under this Agreement. Seller
further understands and agrees that Buyer may assign its rights and obligations under
this Agreement (and Buyer's Interest) to any party without Seller's prior approval,
provided that any such party agrees to be bound by the terms and conditions of this
Agreement. Itis agreed that if Buyer assigns this Agreement as provided in the prior
sentence, Buyer shall have no further obligations under this Agreement and Seller must
look solely to the party Buyer assigned the Agreement to for performance under this
Agreement. When requested by Buyer or any assignee, Seller will sign and deliver any
and all reasonably requested documents as Buyer or such assignee may require to
confirm the various rights and obligations of the parties under this Agreement. This
Agreement may be signed in separate counterparts. A facsimile signature shall be
deemed to be an original signature.

12.    RIGHT TO CANCEL

SELLER HAS THE RIGHT TO CANCEL THIS AGREEMENT WITHOUT PENALTY
OR FURTHER OBLIGATION AT ANY TIME PRIOR TO MIDNIGHT OF THE FIFTH
(5TH) BUSINESS DAY FROM THE DATE SELLER RECEIVES FUNDING
HEREUNDER FROM BUYER.

In order for the cancellation to be effective, Seller must return the full amount of
disbursed funds to Attorney within five (5) business day of the disbursement of funds
who will then return the amount to Buyer's Attorney upon the clearance of the funds in
Attorney's Trust Account.

DO NOT SIGN THIS AGREEMENT BEFORE YOU READ IT COMPLETELY OR IF IT
CONTAINS ANY BLANK SPACE. BEFORE YOU SIGN THIS AGREEMENT YOU
SHOULD OBTAIN THE ADVICE OF YOUR ATTORNEY. YOU ARE ENTITLED TO A
COMPLETELY FILLED IN COPY OF THIS AGREEMENT.

SELLER:                                            BUYER:




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                                        EXHIBIT A

  AUTHORIZATION FOR ATTORNEY TO PAY
   FROM PROCEEDS OF CLAIM/ ACKNOWLEDGEMENT                      OF AUTHORIZATION

Pursuant to that certain Purchase Agreement dated December 3, 2021 between         [JJ
         (“Seller”) wo        ET                         ("Buyer") (the "Agreement"), |
                  hereby irrevocably authorize and direct my attorney, RT.
Esq. (“Attorney”), (and any future Attorney representing me in connection with my
Claim to, among other things, (i) place an assignment, consensual lien and security
interest in favor of Buyer against any and all of the Proceeds due Seller from the Claim
(after payment of any and all legal fees, reimbursable costs, statutory liens and liens)
and to protect and satisfy the assignment, consensual lien and security interest in favor
of Buyer up to the full amount of Buyer's Interest, (ii) pay Buyer's Attorney from the
Proceeds the amount due to Buyer representing Buyer's Interest in the Proceeds of the
Claim at the time of distribution of the Proceeds prior to any payment to Seller with
respect to the Claim, (iii) in the event that the Claim is the subject of more than one
lawsuit, claim or cause of action arising out of more than one
incident/accident/ transaction, or against one or more defendants, pay Buyer's Interest
from the Proceeds of the first lawsuit, claim and/or case against any of the defendants,
(iv) notify Buyer's Attorney of discontinuance or ending with respect to Attorney's
representation, (v) respond to requests for information from Buyer's Attorney and (vi)
call Buyer's Attorney prior to any disbursements of funds to verify the amount of
Buyer's Interest. Such amounts shall be paid directly to Buyer's Attorney to satisfy
Seller's obligations to Buyer under the Purchase Agreement prior to any distribution of
Proceeds to Seller. The amount of Buyer's Interest will increase to reflect the date Buyer
is paid its Interest in the Proceeds as set forth in the Disclosure Table to the Agreement,
as such may be amended from time to time. This Authorization is irrevocable and
binding and may only be amended by the mutual written agreement of Seller and
Buyer.

Dated this 3rd day of December, 2021.




EE



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                     ACKNOWLEDGEMENT              OF AUTHORIZATION

 I,                  , Esq. hereby acknowledge that                                represents
                , as his attorney, in connection with the Claim described in the
 Agreement. I acknowledge that                 has irrevocably instructed me to comply
 with the Agreement's terms pursuant to the Authorization set forth above (the
 "Authorization"). Iwill honor                Authorization. I agree to pay Buyer's
 Attorney Buyer's Interest from                Proceeds of the Claim in accordance
 with the Disclosure Table set forth in the Agreement, as such may be amended from
 time to time. I agree not to distribute any Proceeds of the Claim to FEE                until
 Buyer's Interest has been paid in full. In the event of a dispute, I agree that only
 disbursements for attorney's fees, reimbursable costs, statutory liens and medical liens
 that are in existence prior to the date of the Agreement will be made. All other funds
 due =      Lan | shall be held in my Trust Account until such dispute is resolved. In
 the event that I am terminated as RT|                 attorney with respect to the Claim, I
 shall give Buyer's Attorney immediate      written notice thereof by certified mail, and state
 the name, address and telephone number =                         new attorney.

 All disbursements of funds, includin                       share of the Proceeds, will be
 through my Trust Account, and                   will not receive a settlement check
 directly from any defendant or insurance company. I agree to verify the amount of
 Buyer's Interest prior to any disbursement of funds. Ihave no knowledge of
         having previously sold, transferred or assigned any interest in the Claim or in
 the Proceeds of the Claim, and understand tht                      may not further sell,
transfer or assign any additional Interest to any party other than Buyer without Buyer's
written permission. I warrant and covenant that I am authorized to execute this
document on behalf of

 DATED this 3rd day of December, 2021.




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                             PURCHASE AGREEMENT

This is a Purchase Agreement ("Agreement") dated the 3rd day of December, 2021. This
Agreement is by and between                  (“Seller”) who is represented by
                                         whose address is
                        (“Attorney”) and
corporation (“Buyer”) who is represented by
lag                   Attorney”) whose address is


A.     Seller has a claim arising from a slip and fall incident which occurred on
December 21, 2019 ("Claim") at                                  which is owned by [FIN
                          and operated by                                 . Seller has hired
Attorney to represent Seller in this Claim. Seller has settled the Claim. The entire
amount of the settlement is               (“Settlement Amount”), less legal fees, superior
medical liens existing on the date of this Agreement, costs and disbursements payable
to Attorney under the existing fee agreement between Seller and Attorney (“Proceeds”).

B.     Seller desires to sell and assign to Buyer an interest in the Proceeds. Buyer
desires to purchase the interest in the Proceeds, on the terms and under the conditions
set forth in this Agreement.

BUYER AND SELLER AGREE AS FOLLOWS:

1.     PURCHASE OF INTEREST

a.     Seller hereby sells, transfers, conveys and assigns to Buyer a $125,000.00 interest
("Interest") in the Proceeds for a purchase price of $100,000.00 ("Purchase Price"). Seller
acknowledges receipt of the Purchase Price. Seller understands that the amount of
Buyer's Interest, or, in other words, the amount to be paid to Buyer, will increase to
reflect the date the Buyer is paid its Interest in the Proceeds as set forth in the following
Disclosure Table ("Disclosure Table"):




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                                  DISCLOSURE      TABLE

Purchase Price:             $100,000.00
Administration Fee:         $5,000.00

Date of Payment to Buyer                                         Amount due to Buyer

On or before March 3, 2022                                             $130,000.00
After March 3, 2022 but on or before April 2, 2022                     $142,500.00

*Should Seller not pay Buyer from the Proceeds by April 2, 2022 the Buyer's Interest
will increase by $12,500.00 every thirty (30) days thereafter.

b.      Buyer's Interest will be paid by Attorney out of the Proceeds of the Claim and
will be deducted directly from the Proceeds of the Claim and will be paid to Buyer prior
to any payment to Seller with respect to the Claim. If the Proceeds of the Claim
Amount are not enough to pay the full amount due to Buyer, then Buyer shall be
entitled to receive 100% of the Proceeds of the Claim. Seller has directed Attorney to,
among other things,(i) place an assignment, consensual lien and security interest in
favor of Buyer against any and all Proceeds due Seller from the Claim (after payment of
any and all legal fees and reimbursable costs) and to protect and satisfy the assignment,
consensual lien and security interest in favor of Buyer up to the full amount of Buyer's
Interest, (ii) notify Buyer of receipt of Settlement Amount, (iii) pay Buyer from the
Proceeds the proper amount due to Buyer representing Buyer's Interest in the Proceeds
at the time of distribution of the Proceeds prior to any payment to Seller with respect to
the Claim, (iv) respond to requests for information from Buyer and (v) notify Buyer
prior to any disbursements of funds to verify the amount due Buyer. Seller has
provided Buyer with an executed Authorization for Attorney to Pay Buyer from
Proceeds of Claim/ Acknowledgement of Authorization by Seller and Attorney in the
form attached as Exhibit "A" ("Authorization and Acknowledgement ").

C.      The amount Buyer is entitled to may be more than is listed in the Disclosure
Table above if Seller does not honor the obligations in this Agreement. Seller will also
be liable to pay Buyer's Interest, even if there are no Proceeds, if Seller has mislead
Buyer or Attorney concerning Seller's Claim and will also be liable for Buyer's attorney’
s fees or collection costs, as permitted by law.

d.     If Seller wants to sell an additional Interest, and if Buyer agrees to purchase an
additional Interest, Buyer and Seller will sign an amended Disclosure Table. Seller
understands that Buyer is not required to purchase any additional Interest.




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e.     In the event that the Claim is the subject of more than one lawsuit, claim or cause
arising out of more than one incident/accident/ transaction, or against one or more
defendants, then the amount due Buyer pursuant to this Agreement shall be paid from
the Proceeds of the first lawsuit, claim and/or case against any of the defendants,
including insurance companies and malpractice claims arising out of the Claim, which
results in a monetary recovery. If insufficient funds are available from the first lawsuit,
claim and/or case resulting in a monetary recovery to pay the full amount due Buyer
pursuant to this Agreement, then the balance due Buyer shall be paid from the Proceeds
of the next lawsuit, claim and/or cause, if any.

f.      The amount due Buyer shall be withheld from any money collected as a result of
the Claim and shall immediately be paid to Buyer (after first deducting Attorney's fees
and costs, and any prior liens which exist on the date of this Agreement). Seller agrees
and hereby directs that all Proceeds received in connection with the Claim, are held in
Trust for Buyer until Buyer has been fully paid its Interest. Seller understands that
Seller will not receive any money or payment from the Proceeds of Seller's Claim until
Buyer has been paid Buyer's Interest in full. This shall also apply to any structured
settlements. If Seller receives payments from several sources, Seller will pay Buyer all
monies received from each source until Buyer is paid in full its Interest in the Proceeds
of the Claim. Seller acknowledge that receipt or use of any Proceeds of the Claim prior
to the full payment to Buyer of Buyer's Interest in the Proceeds of the Claim may
constitute an illegal conversion and may be a crime.

2.     GRANT OF SECURITY INTEREST

By signing this Agreement, Seller grants to Buyer a security interest and a lien in the
Settlement Amount and all Proceeds of the Claim ("Collateral"). Buyer shall have all
rights and remedies of a secured party under the Nevada Uniform Commercial Code.
Seller authorizes Buyer to file one or more UCC financing statements regarding Buyer's
security interest and lien in the Collateral and Seller agrees to take all other steps
reasonably required by Buyer to perfect and maintain the perfection of Buyer's security
interest.

3      NO TRANSFER OF CLAIM

Seller is not assigning any portion of the Claim to Buyer, and Buyer is not buying any
portion of the Claim under this Agreement. Buyer has no right or obligation to take any
legal action for Seller in connection with the Claim. Buyer has no right or obligation to
advise, direct or instruct Seller or Attorney in how to go forward with Seller's Claim.
Buyer will not be involved in the negotiation of any settlement of Seller's Claim. Buyer
has no obligations or duties concerning the Claim, or the collection of any settlement,
award or verdict from the Claim.




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4.     SELLER'S REPRESENTATIONS AND WARRANTIES

Seller represents and warrants to Buyer that:

a.     Seller is using the funds received from the Purchase Price for Seller's immediate
economic necessities. Seller has been advised that Seller should not sell any portion of
the Proceeds of the Claim if Seller has any other alternative to meet my immediate
economic necessities. Seller understands that due to the various factors involved that
Buyer may make a large profit.

b.     Seller acknowledges that Seller has been advised to seek the services of legal, tax,
accounting and/or financial advisors in the negotiation and signing of this Agreement.
Seller has either received such counsel prior to signing this Agreement or expressly
waived such counsel. Seller understands from speaking to Attorney and/or other
advisors that the amount of Buyer's Interest as set forth in the Disclosure Table is
greater than the Purchase Price Seller is receiving, and that there is a cost to Seller
selling Buyer the Interest. Seller understands that Buyer is relying upon Seller's
representations in deciding to purchase this Interest and Seller represents and warrants
that all statements made by Seller are true and correct as of the date hereof. Seller
understands that if any information provided by Seller changes that Seller has an
obligation to immediately notify Buyer.

C.      Seller is not currently in bankruptcy, there are no pending tax claims or criminal
allegations against Seller, and Seller has complied with all laws in connection with the
Claim. Seller further represent that Seller is not in violation of any obligations
concerning childcare, alimony or support, and Seller has not been convicted of a felony
or other crime involving dishonesty. Other than the Claim itself, there is no claim, legal
action, lien or any proceeding or order pending or in effect or threatened, against Seller,
or which would in any manner affect or impair Buyer's Interest or Buyer's rights under
this Agreement. Seller has been truthful in all aspects of the Claim and has provided all
information to Attorney in a complete and honest fashion. Seller also confirms that all
documents submitted in connection with the investigation and Buyer's evaluation of
the Claim are true, whether submitted by Attorney or Seller. Seller understands that
Buyer is relying upon these statements in determining whether to enter into this
Agreement.

d.      Seller agrees to not change the fee agreement between Seller and Attorney in any
way that would reduce the amount of Buyer's Interest in the Proceeds of the Claim.
Seller further promises to notify Buyer in writing within 72 hours if Seller terminates
the services of Attorney, or if Attorney determines not to proceed with the Claim. If
new attorneys are retained to represent Seller in the Claim, Seller will notify Buyer
within 72 hours of the new attorneys being retained, and will direct the new attorneys
to comply with the terms of this Agreement by Seller and the new attorney executing a



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new Authorization and Acknowledgement within 14 days after accepting Seller's
representation . Seller will also notify Buyer in writing within 72 hours if Seller moves
from the address listed above.

e.      Seller will not knowingly create or permit any additional liens, charges, security
interests, encumbrances, agreements of any kind or other rights of third parties against
the Proceeds of the Claim without the prior written consent of Buyer. Seller specifically
promises not to sell any additional portion of the Proceeds of the Claim after the date of
this Agreement, unless Buyer has given prior written permission. Seller also confirms
that neither the Claim nor the Proceeds are subject to any liens, charges, security
interests, encumbrances, agreements of any kind or nature (other than this Agreement)
or other rights of third parties except for liens previously provided to Seller's medical
providers. Seller understands that if these statements are not true, it may be considered
as a fraud, as Buyer is relying upon these statements in going forward with this
Agreement.

3!     EVENTS OF DEFAULT

The occurrence of any one or more of the following events shall be an event of default
by Seller under this Agreement (each, an "Event of Default"):

a.      The failure by Seller or Attorney to pay Buyer's Interest in the Proceeds within
thirty (30) days after the Settlement Amount is received by Seller or Attorney; or

b.      Seller’s failure to perform or comply with any of the agreements, conditions,
provisions or promises contained in this Agreement, including but not limited to if
Buyer does not receive a timely response to a request for information from Seller or
Attorney or if Buyer does not receive a new Authorization and Acknowledgement by
Seller and new attorney within fourteen (14) days after accepting representation, and
such failure to perform or comply continues unremedied for a period of ten (10) days
after written notice from Buyer to Seller, unless such default, in Buyer's reasonable
discretion, is not curable, in which event there shall be no grace period; or

C.     If Buyer discovers any material misrepresentation or inaccuracy in any
representation or warranty made by Seller to Buyer in this Agreement.

Upon an Event of Default by Seller under this Agreement, Seller agrees that Buyer may
contact any insurance company, claims adjuster or attorney then handling the Claim on
behalf of any responsible party and advise such insurance company, claims adjuster or
attorney about Buyer's Interest in Seller's Claim and to direct that Buyer be included as
a payee on settlement checks provided further that nothing herein shall prevent Buyer
from exercising any other right or remedy provided under law or equity. If Buyer does




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 anything stated in this paragraph, Buyer shall not be liable to Seller for any damages
 which Seller may suffer resulting from Buyer's actions described above.

 6.    APPLICABLE LAW

 This Agreement shall be governed, construed and enforced in accordance with, and all
 disputes arising out of or in connection with this Agreement shall be governed by, the
 internal laws of the State of Nevada, without regard to the conflict of law rules of
 Nevada or any other jurisdiction.

 7.    ARBITRATION

 BUYER AND SELLER ACKNOWLEDGE AND AGREE THAT ALL DISPUTES,
 CLAIMS, DEFENSES OR CONTROVERSIES (WHETHER IN LAW OR IN EQUITY)
 ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE RELATIONSHIPS
 THAT RESULT FROM THIS AGREEMENT, INCLUDING BUT NOT LIMITED TO
 ANY DISPUTES, CLAIMS OR CONTROVERSIES INVOLVING FEDERAL OR STATE
 STATUTORY CAUSES OF ACTION OR INJUNCTIVE RELIEF, ANY INVOLVING
 FEDERAL OR STATE ADMINISTRATIVE REMEDIES, ANY INVOLVING
 CONSUMER FRAUD AND ANY INVOLVING A CHALLENGE TO THE LEGALITY
 OF ANY PART OR ALL OF TH IS AGREEMENT ("DISPUTES") SHALL BE RESOLVED
 THROUGH FINAL AND BINDING ARBITRATION UNDER THE COMMERCIAL
 ARBITRATION RULES ("RULES") OF THE AMERICAN ARBITRATION
 ASSOCIATION ("AAA"). THE ARBITRATION SHALL TAKE PLACE BEFORE A
 SINGLE ARBITRATOR TO BE CHOSEN BY AGREEMENT OF THE PARTIES, OR
 FAILING SUCH, IN ACCORDANCE WITH AAA RULES. THE ARBITRATION
 SHALL TAKE PLACE IN THE STATE OF NEVADA, COUNTY OF CLARK UNLESS
 THE PARTIES AGREE TO A DIFFERENT LOCATION. THE PARTIES AGREE THAT
 THIS ARBITRATION AGREEMENT IS MADE PURSUANT TO A TRANSACTION IN
 INTERSTATE COMMERCE AND, EXCEPT AS OTHERWISE EXPRESSLY PROVIDED
 HEREIN, SHALL BE GOVERN ED BY THE FEDERAL ARBITRATION ACT, 9 U.S.C.
 §1 AND THE SUBSTANTIVE LAWS OF THE STATE OF NEVADA SHALL BE
 APPLIED IN ALL EVENTS. JUDGMENT UPON THE AWARD RENDERED MAY BE
 ENTERED IN ANY COURT HAVING JURISDICTION. THE PARTIES ALSO AGREE
 THAT THE AAA OPTIONAL RULES FOR EMERGENCY MEASURES OF
 PROTECTION SHALL APPLY TO THE PROCEEDINGS.

 8.    WAIVER OF JURY TRIAL

BUYER AND      SELLER, AFTER CONSULTATION WITH THEIR RESPECTIVE
ATTORNEYS,      EACH HEREBY WAIVE ANY RIGHT WHICH THEY MAY HAVETO A
JURY TRIAL,    INCLUDING ANY RIGHT VESTED BY FEDERAL, STATE OR LOCAL
STATUTE, IN     CONNECTION WITH ANY DISPUTES OR LEGAL PROCEEDING



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INVOLVING, DIRECTLY OR INDIRECTLY, ANY MATTER COMMENCED BY OR
AGAINST EITHER PARTY IN ANY WAY ARISING OUT OF OR RELATED TO THIS
AGREEMENT OR WITH ANY DOCUMENT EXECUTED IN CONNECTION WITH
THIS AGREEMENT.

9.    WAIVER OF CLASS ACTION CLAIMS

SELLER HEREBY AGREES TO WAIVE ANY AND ALL RIGHTS TO (i) ANY DISPUTE
WITH BUYER BEING HANDLED AS A CLASS ACTION AND (ii) JOINING AS A
PLAINTIFF, CLAIMANT, MEMBER OR PARTICIPANT IN ANY CLASS ACTION
AGAINST BUYER. IT IS AGREED THAT ANY ARBITRATION WILL BE LIMITED TO
THE DISPUTE BETWEEN BUYER AND SELLER, AND BUYER AND SELLER WAIVE
ANY RIGHT TO CONSOLIDATE OR TO HAVE HANDLED AS A CLASS ACTION
ANY PROCEEDING ON ANY DISPUTES WITH ANY PROCEEDING ON DISPUTES,
CLAIMS, OR CONTROVERSIES INVOLVING ANY PERSON OR ENTITY NOT A
PARTY TO THIS AGREEMENT.

10.   RECLASSIFICATION OF TRANSACTION

This Agreement represents an investment by Buyer, and not a loan to Seller. However,
should a court of law determine that the transaction set out in this Agreement is a loan
of money, Seller agrees that interest shall accrue at the maxim um rate permitted by
law. Seller agrees that any fees or expenses paid by Buyer in connection with the Claim
will not be included as interest. This includes any attorney's fees and costs Buyer has
expended to enforce its rights under this Agreement. Seller agrees that these will be
considered as a reimbursement to Buyer, rather than as interest.

11.   MISCELLANEOUS

a.      If any part of this Agreement is deemed invalid or unenforceable, it shall not
affect the validity or enforceability of (i) any other part of this Agreement, and the
Agreement shall be modified to the extent legally possible to legally carry out the intent
of this Agreement and (ii) any agreement between Buyer and any other party. This
Agreement and its exhibit make up the entire and only agreement or understanding
between Buyer and Seller. It may not be changed unless signed in writing by Buyer and
Seller. This Agreement takes precedence over all prior agreements, brochures,
negotiations, commitments and representations, whether oral or written, about Seller's
Claim and Buyer's purchase of its Interest.




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b.      Should Buyer retain the services of an   attorney to enforce the terms of this
Agreement, Seller will be responsible for any    costs or expenses (including reasonable
legal fees and expenses) in enforcing Buyer's    rights under this Agreement and the
amount of Buyer's Interest shall be increased    in an amount equal to Buyer's costs and
expenses.

c.     This Agreement will be binding upon Buyer and Seller, and each of their heirs,
executors, administrators, successors and assigns. Seller understands and agrees that
Seller has no right to assign Seller's rights and obligations under this Agreement. Seller
further understands and agrees that Buyer may assign its rights and obligations under
this Agreement (and Buyer's Interest) to any party without Sellers prior approval,
provided that any such party agrees to be bound by the terms and conditions of this
Agreement. Itis agreed that if Buyer assigns this Agreement as provided in the prior
sentence, Buyer shall have no further obligations under this Agreement and Seller must
look solely to the party Buyer assigned the Agreement to for performance under this
Agreement. When requested by Buyer or any assignee, Seller will sign and deliver any
and all reasonably requested documents as Buyer or such assignee may require to
confirm the various rights and obligations of the parties under this Agreement. This
Agreement may be signed in separate counterparts. A facsimile signature shall be
deemed to be an original signature.

12.    RIGHT TO CANCEL

SELLER HAS THE RIGHT TO CANCEL THIS AGREEMENT WITHOUT PENALTY
OR FURTHER OBLIGATION AT ANY TIME PRIOR TO MIDNIGHT OF THE FIFTH
(5TH) BUSINESS DAY FROM THE DATE SELLER RECEIVES FUNDING
HEREUNDER FROM BUYER.

In order for the cancellation to be effective, Seller must return the full amount of
disbursed funds to Attorney within five (5) business day of the disbursement of funds
who will then return the amount to Buyer's Attorney upon the clearance of the funds in
Attorney's Trust Account.

DO NOT SIGN THIS AGREEMENT BEFORE YOU READ IT COMPLETELY OR IF IT
CONTAINS ANY BLANK SPACE. BEFORE YOU SIGN THIS AGREEMENT YOU
SHOULD OBTAIN THE ADVICE OF YOUR ATTORNEY. YOU ARE ENTITLED TO A
COMPLETELY FILLED IN COPY OF THIS AGREEMENT.

SELLER:                                            BUYER:




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                                         EXHIBIT A

  AUTHORIZATION FOR ATTORNEY TO PAY
   FROM PROCEEDS OF CLAIM/ ACKNOWLEDGEMENT OF AUTHORIZATION

 Pursuant to that certain Purchase Agreement dated December 3, 2021 between         ||
          (“Seller”) RE      Sa          a     aay ("Buyer") (the "Agreement"), I,
                    hereby irrevocably authorize and direct my attorney, EO.       DEN
       , Esq. (“Attorney”), (and any future Attorney representing me in connection with
 my Claim to, among other things, (i) place an assignment, consensual lien and security
 interest in favor of Buyer against any and all of the Proceeds due Seller from the Claim
 (after payment of any and all legal fees, reimbursable costs, statutory liens and liens)
 and to protect and satisfy the assignment, consensual lien and security interest in favor
 of Buyer up to the full amount of Buyer's Interest, (ii) pay Buyer's Attorney from the
 Proceeds the amount due to Buyer representing Buyer's Interest in the Proceeds of the
 Claim at the time of distribution of the Proceeds prior to any payment to Seller with
 respect to the Claim, (iii) in the event that the Claim is the subject of more than one
 lawsuit, claim or cause of action arising out of more than one
 incident/accident/ transaction, or against one or more defendants, pay Buyer's Interest
 from the Proceeds of the first lawsuit, claim and/or case against any of the defendants,
 (iv) notify Buyer's Attorney of discontinuance or ending with respect to Attorney’s
 representation, (v) respond to requests for information from Buyer's Attorney and (vi)
 call Buyer's Attorney prior to any disbursements of funds to verify the amount of
 Buyer's Interest. Such amounts shall be paid directly to Buyer's Attorney to satisfy
 Seller's obligations to Buyer under the Purchase Agreement prior to any distribution of
 Proceeds to Seller. The amount of Buyer's Interest will increase to reflect the date Buyer
 is paid its Interest in the Proceeds as set forth in the Disclosure Table to the Agreement,
 as such may be amended from time to time. This Authorization is irrevocable and
 binding and may only be amended by the mutual written agreement of Seller and
 Buyer.


 Dated this 3rd day of December, 2021.




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                   ACKNOWLEDGEMENT                OF AUTHORIZATION

I,                      , Esq., hereby acknowledge that                     represents
                , as her attorney, in connection with the Claim described in the
Agreement. I acknowledge that                         has irrevocably instructed me to comply
with the Agreement's terms pursuant        to the Authorization set forth above (the
"Authorization"). Iwill honor                        Authorization. I agree to pay Buyer's
Attorney Buyer's Interest from                        Proceeds of the Claim in accordance
with the Disclosure Table set forth in    the Agreement, as such may be amended from
time to time. I agree not to distribute   any Proceeds of the Claim to a                 until
Buyer's Interest has been paid in full.    In the event of a dispute, I agree that only
disbursements for attorney's fees, reimbursable costs, statutory liens and medical liens
that are in existence prior to the date of the Agreement will be made. All other funds
due EEE               shall be held in my Trust Account until such dispute is resolved. In
the  event that I am terminated   as tye             attorney with respect to the Claim, I
shall give Buyer's Attorney immediate written notice thereof by certified mail, and state
the name, address and telephone number of                       new attorney.

All disbursements of funds, includin                        share of the Proceeds, will be
through my Trust Account, and                    will not receive a settlement check
directly from any defendant or insurance company. I agree to verify the amount of
Buyer's Interest prior to any disbursement of funds. I have no knowledge of        EN
       having previously sold, transferred or assigned any interest in the Claim or in the
Proceeds of the Claim, and understand oo:                        may not further sell, transfer
or assign any additional Interest to any party other than Buyer without Buyer's written
permission. I warrant and covenant that I am authorized to execute this document on
behalf of the
DATED this 3vd day of December, 2021.




by: I,                         50




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JAND J PURCHASING, LLC
CODE OF ETHICS AND BUSINESS CONDUCT




October 15, 2021




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 DEAR COLLEAGUES:
 At J and J Purchasing, LLC (“J&J" or “Company”), our mission is to operate consistent with the highest ethical
 business conduct both as to our relationships amongst each other, and as it relates to our Investors and all Third
 Parties. This is our commitment to our Investors and ultimately the marketplace.

To meet our commitment to each other and the Company, we must also safeguard our reputation. As the Laws
that govern our operations become increasingly complex, discerning right from wrong is not always evident. In many
cases, failing to do the “right thing” can also be a violation of Laws.

 While ethical missteps may have significant implication under Laws, any Misconduct only serves to knock down our
 reputation. Misconduct keeps us from meeting our commitment to our Investors and the marketplace. Because our
 success is inextricably tied to our reputation, it is up to all of us to bolster and protect it, act with the upmost of care,
 and always do the right thing.

At J&J, we conduct all aspects of our business according to our Code, its Core Values, Laws, and our Policies - our
“Compliance Mandate.” We hope that you are inspired to join us in always using sound judgment when deciding
the proper course of action. If we always act in compliance with our Compliance Mandate, we succeed in the
marketplace, we meet our commitments, and we safeguard our reputation.

This Code is intended to help you address compliance, ethics, integrity, and Laws issues by providing information,
tools, and resources necessary to make good decisions. Our Management fully supports the Code and its Core
Values — they constitute crucial components of our Corporate Compliance Program and our ongoing effort to
 ensure that our people fully commit to our Core Values, comply with all Laws, and in all things act with integrity and
 ethically.

Through our Code, and by leading by example, we want to make our Core Values understood and followed by
everyone of our employees, agents, and contractors. Since no Code or Policy can anticipate every situation that may
arise, everyone that works with us is encouraged to bring questions or concerns that may implicate Laws, the Code,
or our Policies to our HR or Compliance Function, or myself.

The Code is incorporated into and complements our employee policies (“HR Policies”) and Compliance Program and
 its Policies. Our Compliance Program is designed to assist our Company and our employees, agents and contractors
 in developing effective internal controls that promote adherence to Laws and ethics throughout our operations. For
 example, we always promote open communication and strive to inspire in everyone the importance speaking up.
 Whether it is about a question, concern, complaint, or Misconduct.

After carefully reading the Code, if you have any questions or concerns, please consult with your Manager or our HR
or Compliance Function. Please remember that Capitalized Terms (sometimes in bold font) have a specific meaning
and may be more expansively defined in the Code’s Glossary or our HR Policies or another Company Official Record.

With your help, we are confident that J&J will exceed our commitment to the marketplace, we will continue to
deserve the trust that our Investors have in us, and our reputation for integrity and our success will endure. Thank
you for your continued dedication to J&J, for joining us in this effort, and for incorporating this Code and its Core
Values into all aspects of your work.

JEFFREY JUDD
 FOUNDER
 PRESIDENT/MANAGER



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              CODE OF ETHICS AND BUSINESS CONDUCT
 |. CORE VALUE — WE SEEK COMPLIANCE AND QUALITY IN EVERYTHING WE DO:
     We are a dedicated team committed to our operations and Investors. In so doing, our focus is to find Third-Party
Beneficiary Insurance Settlement Agreement opportunities and compliant results through the innovation we bring
to the marketplace. To achieve our mission to improve our operations, we implement organization-wide solutions
based on a variety of qualitative and quantitative measures. We are proud of our work and we take this great
responsibility as a privilege. For these reasons and more, we endeavor to maintain only the highest level of
compliancy throughout our business and all our activities. We always do the right thing. We commit to compliancy
by competing ethically and all as consistent with Laws, our Code, and our Policies (our “Compliance Mandate”).

     To be “compliant” means that our behavior and business operations are consistent with Laws, our Code, and our
Policies — all of which we expect our Personnel, agents, contractors to strictly honor. Indeed, this is a fundamental
expectation and condition of employment by, or association with, our Company. Moreover, our Company supports
the establishment of a Corporate Compliance Program. Our Compliance Program is implemented to meet regulatory
requirements that our business and operations should meet.

    To promote our Compliance Mandate, we expect to develop and update Policies that provide guidance for
complying with the number of Laws governing our business and operations. Our Policies enable us to detect, correct
and prevent non-compliant activities, operations, and Misconduct. Among others, Policies have been or will be
implemented in the areas of Investment documentation, financial due diligence, Third-Party relationships, Official
Records, among other regulatory areas, and Company Information (including, Trade Secrets, Confidential
Information, Intellectual Property, Know-How, and Proprietary Information).

     Moreover, to promote our Compliance Mandate, J&J will institute training, education, and awareness programs
for our Personnel, agents and contractors. These programs may take the form of online learning modules, live training
sessions, and periodic communications; for example, required compliance training (general, newly hired, and annual
courses) for J&J Personnel, agents and contractors and specialized training for high-risk compliance topics for certain
Personnel. “Independent Contractors” are required to complete specified compliance training.

     Generally, our Compliance Program is supported by our Compliance Function which is committed to ensuring
that the Compliance Program’s key components are consistently made available to everyone and followed
throughout our operations. Our Compliance Function serves as a contact for our Personnel and all Third Parties
(including Investors, Vendors, Governments, and the public) on issues relating to the implementation, management
and oversight of the Compliance Program and its key components. Generally, our Compliance Function supports our
workforce and business partners to promote the integrity of the Company's operations. This ultimately supports
Company-wide compliance with Laws and our Policies. Nevertheless, it is our Compliance Function that is ultimately
responsible for the Compliance Program and our Compliance Mandate.

     By following our Compliance Mandate, we also promote consistent satisfaction on the part of Investors and Third
Parties. Our Compliance Mandate means that we do not just react, but we are proactive in our compliancy.
Nonetheless, to foster our business relationships, we all must ensure that we operate consistent with our contractual
requirements and also our Company's Policies and Laws. If you have a concern about any business or Third Party
relationship or satisfaction issue, make sure to discuss the situation with your Manager right away.

vay.    NOTE: Our Code is an important (but not the only) component of our Company’s Compliance Program. Our
 “Program's other key components include the HR Policies, Policies, Compliance Training and Education,
 Personnel and Operations Communications, and Compliance Monitoring, Auditing, Risk Analysis, Risk Assessments,
 Periodic Compliance Bulletins, Compliance Certifications, and Contingency Planning. Each of the preceding address,
 oversee, and support J&J's Compliance Mandate in its vigilance of, among others: (A) Documentation and Official
 Records, (B) Accounting and Financial practices; (C) Marketing practices; and (D) Relationships with Investors and
Referral Sources.
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 ll.       CORE VALUE — WE CONDUCT OUR BUSINESS ETHICALLY:
           The Code reflects our belief that long-term, trusting business relationships are built by honesty, openness, and
 fairness. It is a resource you can rely on in many circumstances to determine whether something is appropriate or
 compliant. In short, our Core Values direct you to act with integrity in the workplace and everywhere you represent
 the Company.

                                                     OUR CODE PROMOTES:
 ©                (1) HONEST, ETHICAL AND LAWFUL CONDUCT AND BUSINESS PRACTICES BY ALL OF US; (2) COMPLIANCE
                  WITH LAWS; (3) PROMPT REPORTING, ACCOUNTABILITY, AND CORRECTIVE ACTION FOR LAWS, CODE, OR
                  POLICY VIOLATIONS OR MISCONDUCT; (4) CLEAR, ACCURATE, COMPLETE, AND TIMELY THIRD-PARTY
       x          COMMUNICATIONS (E.G., INVESTORS, VENDORS, AND GOVERNMENTS); AND (5) STRICT SECURITY OF
                  COMPANY AND THIRD-PARTY PRIVATE OR CONFIDENTIAL INFORMATION.
      As a J&) employee, agent or contractor, you are required to read, understand, and abide by the Code. No one
 has the authority to make you violate the Code and any attempt to do so is unacceptable. You also have the
 responsibility to watch for potential Code violations and to report them — whether they occur inside our Company
 or through external dealings with, but not limited to, Investors, Third Parties, or any Government.

      Moreover, if you are a     Manager, you have a leadership role at our Company. This means that you are responsible
 for setting a good example      for your Personnel and for any contractor that you oversee. In addition, it means that you
 must encourage open and          honest communication and act when Misconduct, ethical issues, questions, concerns, or
 complaints are brought to       your attention.

     Nonetheless, as a Manager, you must work to ensure that anyone who reports to you understands the Code’s
 requirements and support any Personnel or contractor who, in good faith, raises questions or concerns. You are
 responsible for acting to address conduct that violates the Code and to seek help from corporate Management if the
 proper course of action is not clear. The Code is intended for use as a guideline. It does not address every situation
 you may possibly face during your workday. In any case, our Personnel and every agent and contractor must exercise
 good judgment in decision-making and seek help with questions or concerns that are not addressed in the Code.

     We are all tasked with strictly avoiding any activity that may diminish or appear to diminish confidence in the
 compliancy of the Company or its competence, impartiality, judgment, or operational integrity.

  (E)         COMPLIANCE CERTIFICATIONS?: The Code applies to all Personnel, contractors and business           operations.
 -            It is monitored by our Compliance Function and is affirmed by everyone through our
             hl
                                                                                                                Compliance
              Certification procedure under our Performance Management Program. Our HR Function and             Compliance
 Function will instruct you on the various Compliance Certifications that apply to your job and                 Duties and
 Responsibilities and that you will be expected to acknowledge and fulfill.

             QI BELIEVE THAT | CANNOT SIGN MY COMPLIANCE CERTIFICATION TO THE CODE OR ANOTHER POLICY OR
   &      OFFICIALRECORD? (e.g., as a new hire or during annual certification)? A: Even if you do not sign a Compliance
 Certification, you are still obligated to follow our Compliance Mandate. If you are uncertain as to how this expectation
 works or have any issues with affirming that you will follow the Code or any other standard, you should discuss your
 concerns with Management.

 yn          Q    IF   COMPLY WITH   LOCAL LAWS,    IS THIS ENOUGH    TO   ENSURE   MY COMPLIANCE     WITH THE CODE OF
   ETHICS? A: Our Code of Ethics may impose standards more rigorous than those imposed under local Laws.
 Under such circumstances, and provided that the Code of Ethics does not conflict with local Laws, comply with Code
 of Ethics and discuss your concerns with Management.

     Our Company's Compliance Function and Management will monitor Laws as they apply to our operations.
 Nonetheless, we trust our Personnel, agents, and contractors to follow the letter and spirit of all Laws and act ethically
 even when Laws may not be specific. When in doubt ask for guidance.

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 [Il. CORE VALUE — WE COMMUNICATE WITH INTEGRITY AND CONSISTENT WITH LAWS:
      Our Company’s Personnel, agents, and contractors must always — through their words and their actions —
 accurately represent our Company and its operations. Accordingly, Company statements made in, without limitation,
 marketing and advertising materials (and in whatever medium) will not be deceptive or unfair, must be evidence-
 based, and contain appropriate Disclosures.

     Moreover, only the officers of the Company may communicate with Investors germane to matters set out in our
Investment documentation. No one at our Company, including our officers, is a licensed investment or financial
advisors; accordingly, no Company Personnel may ever act, or in any way communicate with anyone, in a manner
reserved solely to licensed professional investment or financial counselors. As to the preceding and also, no one at
our Company may ever instruct or allow any Third Party to act in such a manner. Any direct or indirect act or
communication which violates the preceding compliance standard is considered Misconduct and will lead to
corrective action including up to termination of employment or association.

     Nonetheless, and whether online or otherwise, our Personnel, agents, and contractors are expected to act
consistent with all advertising and consumer protection Laws. This means that we compete in the marketplace free
of deception and unfair practices. In short, we do not communicate in a manner that confuses Third Parties, including
Investors. Everyone that works with us may only publish truthful communications and incorporate Clearly and
Conspicuously such Disclosures, including qualifiers and limitations, that may be required or advisable.

vay.   NOTE: Our verbal and written communications: (A) are truthful, complete, fair and not misleading, and (B)
 “F"    substantiate “express” or “implied” claims. Moreover, if a “Disclosure” is ever necessary to make a Company
communication accurate, it will be portrayed “Clearly and Conspicuously.”

     All public statements made      by J&J, or by anyone on its behalf, including in connection with advertising,
promotional materials, warranties     or guarantees, must always be truthful and have a reasonable basis in fact and in
no way deviate from the contents       of J&J's, without limitation, Investment documentation and Official Records. No
one may disseminate any written       or verbal communication or material, whether relevant to our Company or our
operations or otherwise, which is    false, misleading or deceptive or not in compliance with applicable Laws or our
Policies.

 IV. CORE VALUE — WE SPEAK UP AND SEEK HELP:
     It is important to be competent about compliance. Being consciously competent allows you to recognize when
you should seek advice from Management, our HR Function or our Compliance Function. As part of your Duties and
Responsibilities, you are expected to earnestly study our Core Values and Policies so that you become competent
about compliance.

     When the best path forward is not obvious to you, take the Integrity Quick Test and answer its questions to help
guide your decision-making process and your responses to uncertain circumstances. Remember that in all matters,
you are expected to understand the Code and Laws, use good judgment, and avoid even the appearance of
Misconduct.

             INTEGRITY QUICK TEST:

  rh            If you ever have doubt about a course of action or are unfamiliar with the effect of a particular
                circumstance, ask yourselfthe following questions: (1) Is it consistent with the Code? Is it ethical or legal?
(2) Is it consistent with all other Company Policies? (3) Will the conduct reflect well on me and the Company? (4) Will
the course of action give the appearance of being unethical or illegal? (5) If publicly disclosed, will the course of action
discredit me or the Company? (6) If someone treated me the same way, would | be comfortable with such act? (7)
Am | properly protecting Confidential Information? (8) Would | be comfortable if the conduct appeared in the media?
(9) Am | properly protecting the Company’s or any Third Party’s Confidential Information from disclosure to improper
external or internal parties? If you answered “NO” to any of these questions, then don’t do it. You should utilize one
of our Reporting Channels and report the circumstances.                                     Exhibit 1, Page 126
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NONETHELESS, IF YOU FIND YOURSELF SAYING OR HEARING THE FOLLOWING WORDS:

    /\         “Well, maybe just this once”/“Nobody will ever know” /“It doesn’t matter how it gets done, as long as it
     WL,       gets done”/“Everyone does it”/“What’s in it for me?”/“We always did it this way”/“Don’t contact the
               Compliance Email”/“Remember, we didn’t have this conversation,”

YOU SHOULD TAKE A STEP BACK AND CAREFULLY CONSIDER THE SITUATION BECAUSE OFTENTIMES THE
CIRCUMSTANCES THAT ELICIT THESE WORDS CONSTITUTE MISCONDUCT, VIOLATE THIS CODE, LAWS, OR OUR
POLICIES.

D          Q: AFTER COMPLIANCE TRAINNING, | WAS CONCERNED THAT AN INVESTOR PROTOCOL MAY BE INCORRECT.
 «1        TOLD MY MANAGER ABOUT MY CONCERNS AND SHE TOLD ME THAT “THIS IS HOW WE DO THINGS HERE”
AND WALKED AWAY; WHAT SHOULD | DO? A: Use one of our Reporting Channels that don’t involve your direct
Manager and voice your concern.

PD  Q: MY MANAGER ASKED ME TO WORK OFF THE CLOCK BECAUSE HE WAS NOT MEETING OUR HR BUDGET
 «FOR THIS QUARTER; HE TOLD ME HE WOULD MAKE IT UP TO ME NEXT QUARTER; WHAT SHOULD | DO? A:
This is both a Policy violation and a Laws violation. Your Manager is expected to exemplify our Compliance Mandate,
not violate it. In essence you are being asked to work for free. In the future, you could bring a complaint against the
Company for wage Laws violations; these circumstances amount to Misconduct on the part of your Manager. Use
one of our Reporting Channels to speak up.

V. CORE VALUE — WE PROMOTE A SAFE WORK ENVIRONMENT:
     We promote a safe work environment for our Personnel. Our safety Policies have been developed to safeguard
everyone from potential workplace hazards. We must all become familiar with and understand how these Policies
apply, for example, to your specific Duties and Responsibilities. Our Personnel should be familiar with, and follow, all
our safe workplace guidelines and seek advice if they have any safety question or concern and in all cases promptly
report any accident or unsafe condition to Management. For additional guidance, see our HR Policies.

     We foster the kind of environment where (at all times) people should feel safe and are treated with courtesy and
professionalism. Accordingly, we promote a workplace that is positive, creative, and rewarding. An environment that
promotes individual expression, innovation, and achievement. As part of our commitment to safety in the workplace,
our Personnel — and any person who works with us — is not permitted to use, possess, or be under the influence of
alcohol or illegal drugs during work hours or on Company property.

VI. CORE VALUE — WE TREAT EVERYONE RESPECTFULLY:
     Everyone working at our Company should feel welcomed, supported, and inspired to succeed. We care about,
and are concerned for, the health and well-being of our Personnel. Indeed, every one of us should rightfully expect
to experience a professional environment free from intimidation and harassment. To promote such an environment,
we define harassment broadly and prohibit its many forms. Without limitation, harassment includes offensive
remarks, unwelcome advances, requests for sexual favors, inappropriate jokes, or ethnic, racist, or sexual slurs.

     We treat everyone with respect and dignity — and we encourage input from everyone on ways to enhance the
inclusive and diverse atmosphere of our workplace. Moreover, we promote a workplace that is free from disruptive
conduct by anyone. Our respect for people is demonstrated in what we do and how we act towards everyone we
encounter in our work. To meet our commitments to one another and to meet our commitments in the marketplace
— and to attract, cultivate and retain talented individuals — it is vital to have a work environment built on mutual
trust, respect, and the principles embodied in this Code. We must treat everyone well and equitably and we never
take advantage of others through manipulation, misrepresentation, or concealment.

PD      Q: | RECEIVED AN EMAIL WITH AN OFFENSIVE JOKE, IS THAT HARASSMENT? A: Offensive material sent through
  =     Company Data and Information Systems (“CDIS”) have no place in our workplace (regardless of intended
recipient). You should contact our HR or Compliance Function to discuss this matter. Even if your coworker did not
intend to be offensive, our Core Value is that we are always respectful and considerate of others.
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 4        NOTE: Our HR Policies contain further guidance on Sexual Harassment, Harassment, Reporting Channels, and
   “F%    Dispute Resolution. Nonetheless, respectively in the preceding circumstances you also (a) may respond
 directly to the co-worker, notifying him/her that you found the matter offensive/inappropriate, to stop the behavior
 in the future, and advise that you will escalate the matter if it continues; and (b) are always free to immediately and
 clearly communicate to the individual your disinterest in, or offense taken, with regard to any such conduct.

 VII.CORE VALUE — WE PROMOTE EQUAL OPPORTUNITY:
      Under our Compliance Mandate, we promote and provide an equal opportunity environment for all Personnel.
 We prohibit discrimination based on race, color, religion, creed, age, sex, national origin, gender identity or
 expression, sexual orientation, disability, marital status, veteran or military status, genetics or citizenship status, and
 any other legally protected status. Accordingly, we base employment decisions only on business needs, skills,
 experience and relative work performance.

  7     Q:   WHAT SHOULD   | DO IF | BELIEVE | WAS PASSED UP FOR A PROMOTION BECAUSE OF MY AGE?A: Our Policies
   **   require that employment decisions be made without regard to a candidate’s age. If you conclude in good faith
that you were treated unfairly, contact the HR or Compliance Function for assistance. Our standard is straightforward,
all HR Function related decisions and practices, including recruitment, hiring, placement, promotion, demotion,
transfer, training and discipline will be made and administered solely on the basis of the attendant facts; for example,
individual experience, merit, performance and other legitimate job-related qualifications. We are proud of our
commitment to maintaining a diverse workforce and will not take adverse action or retaliate based on any protected
status. Our HR Policies contain further guidance on Equal Employment Opportunity, Diversity, Reporting Channels,
 and Dispute Resolution.

               — WE REPORT QUESTIONS, CONCERNS, AND MISCONDUCT:
VIII. CORE VALUE
     Itis up to each of us to report questions and concerns, for example, if we believe that any operations or business
action or omission or result is unclear. Even more so, it is up to each of us to challenge and report any suspected
violation of Laws or the Code, HR Policies, or our Policies; in short, any kind of Misconduct. We expect that everyone
will comply with our Affirmative Duty to Report Misconduct Policy.

     We must all respect the fact that asking questions and reporting concerns, complaints and Misconduct means
that we actively pursue clarity about our choices and actions and promote our Compliance Mandate. This helps
everyone to identify problems and gives us all the opportunity to address, investigate and correct not just Compliance
Mandate matters. When in doubt about the right choice or potential violation, you are always encouraged to seek
out advice or make a report. But, in cases of Misconduct, you are required to do so.

     If you become aware of a situation that violates or may violate Laws or the Code, HR Policies, or our Policies,
there are two options for making a report (“Reporting Channels”). Depending on your level of comfort, the following
Reporting Channels are at your disposal:

ip      Discuss the issue with your Manager, Management, or HR or Compliance Function representative.

       Send an email to our Compliance Email.

      For additional guidance, see the HR Policies’, among others, Dispute Resolution Policy, Affirmative Duty to Report
 Misconduct, and Non-Retaliation/Whistle Blower Policy.

    We take Code, Laws, and Policy violation (and any kind of Misconduct) reports seriously and we respond to them
through follow-up steps including investigation, remediation, and when warranted, corrective action. These steps are
designed to address compliance issues, learn from mistakes, and avoid recurrence of problems. Raising a concern
regarding any noncompliance reinforces the Company's commitment to act ethically in all aspects of our business
and supports our culture of compliance. Your actions do make a difference!

 @-      NOTE: The Compliance Function oversees and investigates Code, Laws, and Policy violations and most types
 “=      of Misconduct. The Company's Managers may not conduct any independent investigation regarding any
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 alleged violation or Misconduct. Nonetheless, everyone involved in an investigation may be asked (and in some cases
 are required) to cooperate. In all cases, everyone involved will maintain the investigation’s confidentiality. Raising a
 concern regarding any noncompliance reinforces the Company's commitment to act ethically in all aspects of our
 business and fosters a culture of compliance. Your actions do make a difference!

 a      Q: WHAT     IF | REPORT A CONCERN       BUT NEVER     HEARD   ANYTHING      FURTHER? A: Contact the Compliance
  “      Function to confirm that the report was received and the issues addressed. Some matters may take longerto
 investigate and resolve, but generally, you can expect to receive some form of update and final resolution. While all
 reports will be reviewed and acted upon, some aspects of the investigation or relevant information (e.g., due to
 privacy, confidentiality, or severity) may not be appropriate to share with the person who reported the Misconduct.

 D      Q: WHAT HAPPENS IF | AM UNSATISFIED WITH THE RESOLUTION REGARDING A COMPLAINT | REPORTED? A:
   %    There may be circumstances when the Compliance Function has investigated and addressed a situation which
 does not result in a resolution you would have preferred, or where J&J has determined the concern is not contrary
 to the Code, Policy or Laws. If you continue to have concerns after a resolution has been instituted, please report
 your concerns back to the Compliance Email or Compliance Function for additional review and response.

 D      Q: WHAT IF SOMEONE DELIBERATELY MAKES A FALSE REPORT AGAINST ME? A: All investigations are handled
  %s   confidentially, professionally and objectively. Making an intentional false accusation is a serious matter that
 may lead to disciplinary action, up to and including, termination of employment.

 D      Q: MY MANAGER           INSTRUCTED ME TO DO SOMETHING THAT | BELIEVE MAY BE ILLEGAL OR MISCONDUCT
  s     BUTI AM AFRAID SHE WILL MAKE MY JOB HARDER IF | REFUSE, SHOULD | STILL REPORT MY CONCERN? A:
 While your Manager is generally the person with whom you will discuss          compliance questions and concerns, if their
 instruction worries you, then contacting the Compliance Function is one      option; remember, our Compliance Function
 retains independent objectivity to investigate and remediate these             types of matters. Another option is the
 Compliance Email. When reporting through the Compliance Email, you            will have the assurance of knowing that our
 Compliance Function is looking into the situation and that, in all cases,    any retaliation by your Manager (or anyone
 else) will not be tolerated.

 v=.     NOTE: We note that the Compliance Email may not be the best Reporting Channel for certain matters,
  “=    including: (1) wages or benefits questions; (2) general questions, like parking or Facility issues; (4) computer
 or phone problems; or (5) general personal issues, like calling in sick. For these types of matters, contact the
 Company's HR Function or the IT Function.

~~       NOTE: In some cases (and to assist in the Compliance Functions review) the Reporting Person is encouraged
 “T°     to identify themselves. However, anonymous reports will also be accepted and investigated to the extent
possible. Remember that every reasonable effort will be made to treat the identity of anyone reporting a potential
violation as confidential (noting that to the extent possible, this is subject to and consistent with the circumstances
which may include our business practices).

 IX. CORE VALUE — WE DO NOT RETALIATE:
     We have     a zero-tolerance policy against any form of retaliation. No one at our Company may retaliate against
 anyone who     has raised any kind of operational, legal, or ethical concern or that cooperates with any investigation or
 remediation.    Everyone must understand that retaliation is itself Misconduct and is deemed to be a violation of Laws.
 Nonetheless,    retaliation that may result in liability and penalties.

     We respect Laws and our Code and therefore no one may seek revenge against, or even try to “get even,” with
anyone who makes a good faith report, regardless of who is implicated. We take any retaliation allegation very
seriously, and if it occurs, it will result in discipline up to and including termination of employment. All acts constituting
 retaliation must be reported to Management, our HR Function, or our Compliance Function.

 PD     Q: | CONCLUDE THAT | HAVE EXPERIENCED RETALIATION?A: You should report the matter because J&J strictly
  &     forbids any retaliation against any person who reports a concern. Reports or complaints made in Good Faith
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will not expose you to any sanction, regardless of whether the underlying facts prove to be correct.

        NOTE: “Retaliation” can sometimes be subtle or difficult to spot. Some examples include: changes in
“T°     responsibilities ¢ rudeness or getting the “cold shoulder” ¢ demotion * denial of vacation requests without
justification e exclusion from professional development opportunities or special projects. While the preceding
examples may not always indicate retaliation, if you are concerned that a negative change you experience at work is
connected to having spoken up, we want you to speak up again and use a Reporting Channel.

©       NOTE: “Good Faith” does not mean being correct about potential Misconduct, it means a reasonable belief
“F"      that the information you report is true. Our Company’s HR Policies have further guidance on our Dispute
 Resolution Policy, Affirmative Duty to Report Misconduct, and Non-Retaliation/Whistle Blower Policy.

 D       Q: SHOULD | REPORT A CIRCUMSTANCE THAT | BELIEVE IS HARASSMENT FROM MY MANAGER WHEN                        | FEEL |
 4    MAY LOSE MY JOB? A: As a valued member of our Company, you are entitled to work in an environment free
from intimidation, harassment, or hostile or offensive behavior. You can use a Reporting Channel but nonetheless,
you may contact the HR Function or the Compliance Function to discuss the matter.

X. CORE VALUE — WE AVOID CONFLICTS OF INTEREST:
    Your everyday decisions and acts have an impact on the Company. For this reason, you must make each decision
without conflict, objectively, and in the Company's (not your own) best interest.

    Generally, a Conflict of Interest exists when a Company employee's private interests interfere with the
Company's interests. In short, your working decisions and acts should be based on the Company's needs, rather than
(without limitation) your potential personal gain or the interests of your family, friends or any Third Party.

    Each of us is expected to use good judgment and avoid situations that can lead to a conflict or even the
appearance of a conflict. You must disclose any activity or relationship that may:

               COMPETE WITH ANY OF COMPANY'S BUSINESS ACTIVITIES

     &         ENTAIL PROVIDING SERVICES TO A COMPETITOR

               INTERFERE WITH YOUR WORK DUTIES AND RESPONSIBILITIES

               CONFER AN INAPPROPRIATE PERSONAL BENEFIT TO YOU, YOUR FAMILY, OR ANY THIRD PARTY

    If competing actions, interests, or relationships make it difficult to perform your work objectively and effectively,
you must disclose the potential Conflict of Interest to Management. Moreover, you must recuse yourself from
circumstances where a conflict could impact your judgment.

      Any questionable activity should be disclosed to Management as soon as you become aware of it. This is an
 ongoing responsibility for all J&J Personnel, agents, and contractors. Failure to disclose may result in disciplinary
 action, up to and including, termination of employment or association.

  ©        NOTE: While some circumstances — like (1) acting as a broker, finder, or go-between, any of which may also
  A        benefit a Third Party in transactions involving the Company, or (2) receiving improper personal benefits as a
result of your position with the Company — constitute a Conflict of Interest and maybe Misconduct, it is impossible
to list all the situations that might signal its potential.

              An often effective way to determine whether an activity present with or creates a Conflict of Interest is to
              ask the following questions: (1) Does the activity interfere (or give the appearance of interfering) with the
              Duties and Responsibilities that you perform at, or owe to, J&J? (2) Are you, a member of your family, or
 a Third Party receiving an improper advantage because of your position with J&J? (3) Does the activity compete
 against J&J's interests and may separately violates Laws? If you answered “YES” to any of these questions, the activity
 may indicate a conflict of interest. You should contact the Company's Management.

    Our team members owe J&J a duty to advance the Company's legitimate interests when opportunities arise.
Accordingly, our Personnel may not directly or indirectly take for themselves any opportunity that arises through
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their position at the Company. Also, our Personnel may not personally profit from any use or diversion of, without
limitation, the Company's Assets, including its Company Information.

D      Q: IS IT OK TO HAVE A SECOND JOB (MOONLIGHT)? A: Outside employment could                  pose a Conflict of Interest.
  «    You should disclose ali relevant facts to your Manager or the Compliance Function.         After consultation and the
situation has been evaluated, only then will it be determined whether or not the outside           activity/job does presents
with a conflict in the performance of your Duties and Responsibilities; i.e., it is considered    a Conflict of Interest.

 D      Q: WHAT       IF | OPERATE      A SMALL    BUSINESS   FROM   HOME    AND   MY   MANAGER    AND    THE   COMPLIANCE
  %   FUNCTION HAVE INFORMED ME THAT THE BUSINESS DOES NOT REPRESENT A CONFLICT OF INTEREST, IS IT
 OKAY FOR MY CUSTOMERS TO LEAVE MESSAGES ON MY COMPANY VOICEMAIL? A: No. Even though there is no
 Conflict of Interest, you have an obligation to use Company CDIS (including email and voicemail) and other Assets
 only for Company-related business. Our Personnel are not permitted to use any J& Asset to support, without
 limitation, a second job, self-employment venture, or consulting effort.

  ©       NOTE: When reporting a potential conflict situation, you must truthfully disclose all relevant facts and
    circumstances (including your identity). Whether approval is granted rests with Management's sole
 discretion and will depend on Management's assessment of the particular situation. Any approval granted will be
 limited to the particular facts and circumstances disclosed. The Company retains the right to prohibit, place
 restrictions on, or require termination of any activity or relationship determined to create an actual or potential
 conflict of interest. In any case, you have a continuing obligation to report promptly any material changes in the facts
 and circumstances of an approved conflict situation. The Company must be allowed to reassess any conflict matter
 on a timely basis.

XI. CORE VALUE — WE PROTECT OUR COMPANY'S ASSETS AND REPUTATION:
     Through our work, we are the caretakers of our Company. It is our responsibility to take all appropriate actions
to use and protect J&J’s Assets with care and ensure their efficient and proper use for all legitimate business purposes.
Indeed, we must all use good judgment to ensure that our Company's Assets are not lost, stolen, misused, or wasted.

      Our Company's reputation          is one of its greatest Assets. We are each responsible for enhancing and protecting
 our Company's reputation. For          this reason, we are each personally accountable for any views or content published
 or shared with people outside           the Company. Please remember, because our success will always be tied to our
 reputation, it is up to all of us to    bolster and protect it, act with the upmost of care, and always do the right thing.

      Always remember that Third Parties routinely provide us with sensitive or confidential information (“Third Party
 Information”) that we use in our operations. We are obligated to protect these Third Party assets as we would J&J’s
 Assets, making sure to use them only for their designated business purposes and to protect them from theft, loss or
 waste.

 A        NOTE: (A) “Assets” include Company “Property” (e.g., Intangible Assets like “Company Information” and Good
  “F*      Will and the Physical Assets that we every day, our office supplies, and our Company Data and Information
 Systems (“CDIS”), noting that Company Revenue/Funds is deemed to be a Company Asset); (B} “Company
 Information” includes Confidential Information, Proprietary Information, Company Data & Information (“CDI”),
 Intellectual Property, Trade Secrets, Official Records, and Know How.

       The Company's Assets are to be used only for the Company's legitimate business activities. Personnel may not
 use Company Assets for personal reasons except as permitted by Company Policies or otherwise approved in
 advance by their Manager. The misuse or misappropriation of Company Assets, the provision of anything of value to
 any party not in accordance with Company policy (or other appropriate authorization), and the retention of any
 benefit that belongs to the Company from any party with whom the Company has business or other dealings are
 strictly prohibited. Nonetheless, the Company's Assets must not be taken out of our Facility unless necessary to
 perform Duties and Responsibilities, however, any such action must always be pre-approved by Management and in
 some cases by the Compliance Function. If an Asset is removed from the Company's Facility for business purposes
 consistent with our Policy, our Personnel must return the Asset to the Facility as soon as the Asset is no longer needed
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for business purposes.

         Q:; CAN | DOWNLOAD    INTERNET SOFTWARE        USING MY COMPANY        ISSUED CDIS? A: Accessing the Internet
  %s   creates the possibility of Malware being introduced to our CDIS/CDI. This can lead to Security Incidents and
Security Breaches and generally, the compromise of Confidential Information and Company Information. Separately,
this may result in the disruption of CDIS network performance; e.g., system failures. Any Software utilized by
Personnel on their Company CDIS Asset must be authorized by a Manager and downloaded/installed only by our IT
Function. Company Information/CDI may not be maintained on any personal device unless special circumstances
apply, and when advance approval is received from your Manager and the Compliance Function. If you have any
question, use one of our Reporting Channels.

D      Q; CAN | USE MY WORK COMPUTER FOR PERSONAL USE? A: As a critical corporate Asset, we take steps to
 %     minimize risk to our CDIS and safeguard all Company Information. These measures will help maintain
confidentiality, provide data integrity, system availability, and User accountability and include the protection of Third-
Party Information. While certain job Duties and Responsibilities require Access to the Internet and the use of certain
Software, the inappropriate use of the Internet, email, and CDIS/CDI places our Company and others, including
Investors, at significant risk. Remember, Company provided CDIS/CDI device for your Use (e.g., desk phones, cell
phones, tablets, laptops, desktop computers, iPads, etc.) are important Company Assets and may only be used for
Company business.

 va.      NOTE: Anyone that works with us may not, under any circumstance, use Company CDIS Assets to Transact
  “T°   inappropriate material; e.g.,, media or web content, without limitation, of an inappropriate nature.
Transacting any such material or other inappropriate or discriminatory material via CDIS, is deemed harassment, and
will be addressed according to our Compliance Mandate. Personnel violations of Company Acceptable Use or
Harassment Policies may lead to disciplinary action up to and including termination. Any CDIS Transaction of content
that contains derogatory or inflammatory remarks about any individual's race, age, disability, religion, national origin,
physical attributes, or sexual preference is prohibited and can result in disciplinary action that may lead to
termination. The preceding prohibitions apply equally to any other electronic equipment, including personal devices
owned by the employee, if they are used (or the inappropriate material is Transacted) on Company time.

Xil. CORE VALUE          — WE COMPETENTLY TRANSACT CD! & THE INTERNET:
       Access to the Internet and Company Data and Information Systems (“CDIS”) may be made available to
Personnel for the purpose of carrying out the Company's legitimate business and incidental use. In the context of
social media where interactions are quick and dynamic and can become highly visible, careless communications can
pose a significant risk to our Company's reputation.

     As part of this Core Value, you must be mindful and appropriate in your communications and always protect all
Company Information, Third Party Information, Confidential Information, and our reputation. Particularly, you must
protect Confidential Information and abide by all J&J Core Values, Policies, and Laws online and offline (even when,
for example, if a relevant webpage, profile, or forum in which you are posting is listed as “private” or “closed”). We
are all responsible for employing careful strategies in all communications and protecting the Company.
                  ALWAYS REMEMBER: (1) Only authorized individuals may speak on J&J's behalf; (2) Never post
      V7.         anything on the Internet or otherwise that is inconsistent with our Core Values or Policies; (3) Use of
      ‘a          social media on CDIS during working time is permitted if the use is for pre-approved Company business
                  (you must disclose the nature of your anticipated business use and the content of your
communication with Management and obtain approval prior to each such use); (4) Respect copyright and similar
Laws and use Company Information only in compliance with Laws; (5) You may not create a blog or online group
related to Company (not including blogs/discussions involving wages or other terms and conditions of employment,
or protected concerted activity) without Management's advance approval; (6) Do not publish Company Information
without approval or authority; (7) Do not malign our Company, its Personnel or contractors or any Third Party on
social media; (8) Any public recommendation or endorsement about J&J's operations on any persenal social media
site or digital platform must also include a Disclosure that you work for J&J in the post itself (not simply in your bio or
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profile). Using a Disclosure in your bio or profile is recommended, but not sufficient. In all cases, you must ensure that
any statements about our Company are truthful and substantiated and do not violate any Core Value; (9) If you
become aware that a fellow employee has posted something you believe may violate our Core Values, this Code,
Laws, or any Policy, report it to, among others, our Compliance Function; (10) Social media is not a substitute to
report a concern about the Company, a worker or any other concern which should be reported to, for example, our
HR or Compliance Function under our Reporting Channels; (11) Social media is prime ground for hackers to collect
information on you that can be used to target the Company. Be careful of what you share online; (12) If you leave
the Company, please update your employment information on your profiles/social media.

PD     Q; | JUST READ A BLOG POST THAT UNFAIRLY CRITIZES THE COMPANY AND | KNOW IT IS NOT TRUE. SHOULD
  «©   1POSTAREPLY? A: You may not respond to any information posted publicly unless you are authorized to speak
on the Company's behalf. Report the matter to your Manager or the Compliance Function.

XIII. CORE VALUE — WE SECURE OUR COMPANY INFORMATION:
     Each of us must understand that our Company information is a valuable commodity. It is our Core Value that,
both inside and outside of the Company, each of us is required to safeguard the confidentiality of information about
our business, operations, Intellectual Property, Confidential Information, Proprietary Information, Trade Secrets,
Goodwill, and any information that relates to our Investors, Vendors, Personnel, agents, contractors, business
relationships and any other Third Party (i.e., the preceding is deemed to constitute “Company Information”).

     It is your duty to take precautions to avoid improper, inappropriate, illegal, or inadvertent disclosures of Company
Information in whatever electronic or physical form it may exist. Generally, you may only share Company Information
with Personnel who have a legitimate business “need to know” and only share the minimum necessary. Of course,
you may never give Company Information to our competitors, suppliers or outside contractors or other Third Parties
without proper authorization. We all must realize the sensitive nature of Company Information and be committed to
maintaining its confidentiality both through our words and our actions.

D     Q: | AM LEAVING TO WORK FOR ANOTHER COMPANY. DO MY CONFIDENTIALITY OBLIGATIONS CONTINUE
 =    AFTERI LEAVE?A: Yes, your obligation to protect Confidential Information continues. When your employment
ends, you  must not use, retain, or disclose Confidential Information you obtained or learned while forging with us
even if you created it.

 Av      NOTE: Company Information includes “Confidential Information” or any other information which might be of
£08      use to competitors (or disclosure of which may be harmful to the Company or any Third Party) including the
following sources and types of information, documents, data or materials: (A) Company's confidential and proprietary
information and trade secrets that cannot be obtained readily by Third Parties from outside sources including
business models, authorization forms, business relationship list(s) or information, Referral Sources and their business
relations, (B) legal opinions, (C) Company marketing materials, research or strategies, (D) concepts, ideas, plans,
strategies, analyses, and information related to past, present, or anticipated business, agreements, corporate
governing documents, or addenda, supplements or resolutions thereto, (E) confidential or proprietary information
regarding Vendors or contracts as between Company and Third Parties, (F) expenses or financial information
including pricing, revenue and profit projections, revenue and profits actually generated, (G) technical or other
confidential information regarding the Company's business, processes, methods of operation, or procurement
procedures, (H) information regarding the Company's Personnel, HR Policies, Policies, procedures, or Compliance
Program, (I) information regarding members, partners, owners, or individuals or entities that the Company does or
may seek to contract with or that are involved in any way with the Company's business, (J) databases, commercial
agreements and details of ongoing commercial negotiations, development tools or techniques, training procedures,
training techniques, or training manuals, or (K) confidential information and other business information disclosed to
the employee by the Company, either directly or indirectly, in writing, orally, or by drawings or observation.

XIV. CORE VALUE            — WE SECURE EVERYONE'S PRIVACY AND INFORMATION SECURITY:
      When a Third Party provides information to us, we have a responsibility to safeguard it and use it appropriately.
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We may only share the information         with   others who have a business need to know it and are authorized      to receive
it. Accordingly, it is our Core Value    that,   both inside and outside of the Company, each of us is required      to strictly
safeguard the confidentiality of all     Third    Party Information. It is your duty to take precautions to avoid   improper,
illegal, or inadvertent disclosures of   Third   Party Information in whatever electronic or physical form it may   be found.

     Generally, you may only Transact Third Party Information with Personnel who have a legitimate business “need
to know” and only share the “minimum necessary.” Of course, you may never give Third Party Information or any
Confidential Information to any person or entity without proper authorization. We all must realize the sensitive
nature of Confidential and Third Party Information and be committed to maintaining its confidentiality both in our
words and our actions. We do not sell or obtain any type of Third Party personal, confidential or private information
without proper authorization and we protect everyone's personal and sensitive information from unauthorized
disclosure and use.

 XV. CORE VALUE — WE COMPLY WITH LAWS AND POLICIES:
     Every J& employee and contractor is expected to adhere to all Laws and our Code, Policies, HR Policies and
Compliance Program. This is a fundamental expectation and condition of employment at or association with our
Company. Our Policies, HR Policies and Compliance Program cover important aspects of our operations, including
corporate compliance, human resources, and Company Data and Information Systems (“CDIS”). They are all in place
to help ensure that we comply with Laws governing our business and its operations. They enable us to detect, correct,
and prevent non-compliant activities including Misconduct. Please remember, meeting our commitments to the
marketplace and our success are always tied to our compliance with Laws and our Policies. We act with the upmost
of care and we always do the right thing.

XVI. CORE VALUE — WE ACCURATELY TRANSACT OUR AND OUR INVESTORS’ RECORDS:
       Our Company measures our business operations accurately and without omissions. Accordingly, our Company's
public statements, financial records, internal and external communications, and all other documentation (collectively,
each such memorialization is considered to be a Company “Official Record”) must accurately reflect the facts,
substance, and context of our actions. Therefore, when we measure or describe our Company's successes, failures,
and routine operations, all facts must be accurately represented in our Official Records with sufficient substance and
context so that internally we (and externally any Third Party, including our Investors and any Government) may
understand the true nature of our activities or transactions.

     In short, our Company's Official Records must conform to all applicable industry, accounting and professional
standards, Laws, as well as our Company's Policies and procedures. For example, when we report or transmit Official
Records — such as (1) investment or payment information, or (2) regarding any item of value provided to Third Parties
— the information must be complete and accurate.

    Our Company is committed to ensuring that we provide accurate information in our Official Records to allow
Governments and, as relevant, Investors and any other Third Party to make informed decisions. Our Company's high
standard for documentation also extends to the exacting level of detail that we expect from any Third Party, including
any Referral Source.

 ©        NOTE: Collectively or individually, any Company Information memorialization (and whether in physical or
  ="      electronic form) is deemed under our Compliance Mandate to be a Company “Official Record.”

     Generally, our Personnel must ensure that our financial records and accounts — as                   well as supporting
documentation for which they are responsible — accurately and completely reflect J&)'s                    actual operations,
transactions and other activities. For this reason, J&J has a strict zero-tolerance policy against any   form of falsification
or deception in connection with anyone’s Transaction of Company Official Records or as may be             otherwise relevant
to the Company's books, records, accounts or entries therein and whether by alteration, destruction, omission, or
false or misleading recording.
       Nonetheless, our transactions and other activities must be recorded as necessary and appropriate to permit
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preparation of financial statements in conformity with generally accepted accounting principles and other applicable
rules, regulations and criteria, and to ensure full accountability for all Company Assets, liabilities and transactions. All
Company Assets, liabilities, receipts and disbursements must be accurately and completely recorded in the regular
books, records and accounts of the Company. No undisclosed or unrecorded funds, Assets or accounts may be
created or maintained, nor any undisclosed or unrecorded payments received or made, regardless of the purpose.

      All payments made on Company's behalf must be in accordance with applicable legal and regulatory
requirements and the Code and other Company Policies and accompanied by appropriate and accurate supporting
documentation. In addition, no payment on J&J’s behalf may be approved or made with the intention, understanding
or knowledge that any part of the payment is to be used for any purpose that is inconsistent with the purpose(s)
described in the supporting documentation. All Personnel with responsibility for preparing and maintaining J&J’s
financial records must strictly comply with the Company's internal accounting and financial Policies.

XVI. CORE VALUE            — WE PROTECT AND RETAIN OUR OFFICIAL RECORDS:
     Each of us is responsible for the integrity and accuracy of our Company's Official Records. This is required not
only to comply with Government regulatory and legal requirements but also to ensure Official Records are available,
for example, to support our business practices at any time. Accordingly, our Official Records must be maintained and
stored in a consistent and reliable manner so as to comply with the requirements of Laws as well as to provide for
effective operations.

     No one may alter or falsify information on any Official Record. Records must never be destroyed to deny any
Third Party, including Governments, any information that, for example, may be relevant to a Government Inquiry or
other function. Similarly, Official Records relevant to any potential or pending administrative, civil or criminal
proceeding or matter may not be destroyed to deny any relevant Third-Party’s rightful request for information.
“Inquiry” is read to be inclusive of any judicial or other Government proceeding or process (“Process”).

     Official Records are maintained in accordance with Laws and our Document Retention Policy, which includes
specific retention schedules. Official Records include “Company Data and Information” (“CDI”) and paper documents
(such as letters and Investment documentation) and any of which may be found on our CDIS or any other medium
that contains information about the Company or its business activities.

      It is paramount to retain and destroy Official Records only according to our Document Retention Policy. No one
may remove or destroy records prior a specified date without first obtaining permission as outlined in the Company's
Policy. Under no circumstance may any J&J employee Transact the information of a colleague or any other individual
or entity's information to personally benefit themselves (e.g., perpetrate identity theft). If you believe or know that
any sort of improper or unauthorized Transaction of any Official Records or any other Company Information has
occurred, immediately report it.

 ©     NOTE: “Company Data & Information” (“CDI”) is a Company Asset and means all external and internal
  ~    electronic data and information, including without limitation, files, documents, e-mails, communications,
messages, memoranda, or any other transmissions of data or information including any other Company Information
whether Transacted directly or indirectly by, from, or through CDIS or otherwise Transacted by any Company
employee or, as relevant to Company, any Third Party. ALL CD! is deemed to constitute Official Records.

XVIII. CORE VALUE           — WE TRANSPARENTLY COOPERATE WITH THE GOVERNMENT:
      In relation to any part of our operations, federal and state Government agencies may conduct, among others,
inquiries or investigations (an “Inquiry”). Regardless of the reason for the Inquiry, we are respectful when working
with Government representatives, we respond with openness and accurate information, and we cooperate with all
legal requests.

      Our Core Value in responding to any Inquiry is that we never conceal, destroy, or alter information (in whatever
form it may exist), we do not directly or indirectly obstruct or delay, and we never lie or make misleading statements.
If you have any doubt about the accuracy, responsiveness, or propriety of the information that you may be producing
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regarding an Inquiry, check with our Compliance Function or, if the Company has engaged legal counsel on the
matter, do not produce anything inconsistent with their instruction. Of course, you may not attempt to persuade or
assist a Company employee, or any other person, to violate any aspect of our Inquiry Core Value.

     Finally, you must honor all “Holds” that are placed on our normal document destruction procedures when an
Inquiry or Process is pending. You must maintain the “Hold” until you are instructed in writing by the Compliance
Function or its designee that it can be released. Any act violating our Inquiry Core Value will result in disciplinary
action, up to and including termination.

      If you are approached by any person identifying as a Government representative, contact our Compliance
Function before responding or providing any information. Our Compliance Function will assist you in following proper
procedures for cooperating with any Inquiry. You should not feel pressured to talk to a Government official or
investigator without first contacting our Compliance Function. Generally, our Compliance Function will consult with
any employee who is contacted in connection with any Inquiry. Request the official or investigator's contact
information and inform her that you need to contact the Compliance Function and that someone from the Company
will get back to them as soon as possible.

©       NOTE: No part of the preceding (or any Company Policy) may be construed to prohibit or restrict anyone from
  =     truthfully reporting instances of Misconduct or any illegal activity of any nature to any Government (or law
enforcement function) separately or before reporting under the Company's Affirmative Duty to Report Misconduct
Policy.

XIX. CORE VALUE — WE PERFOM OUR DUE DILIGENCE IN FINANCIAL OPERATIONS:
    Our Company and its affiliates are committed to complying with all anti money laundering Laws. For this
reason, we have established our Anti-Money Laundering (“AML"} policy. The objective of the AML Policy is
to ensure that money laundering and terrorism financing risks identified by J&J are appropriately reported,
addressed and mitigated. In short, as part of our Compliance Mandate, our AML Policy is meant to protect
our reputation and avoid even the perception of involvement in the illegal receipt of funds from Investors
or otherwise.

      The AML Policy will be implemented as a system of internal controls designed to facilitate our Company’s
due     diligence, oversight and audits relevant to applicable AML Laws and as part of our Investor
documentation.     As part of our internal controls, we implement:

           (1) Written internal control documentation forms and systems of internal controls designed to
           facilitate ongoing compliance with applicable AML Laws; (2) An Investor due diligence
           documentation system that incorporates individual and entity identification and verification/know
your customer principles; (3) An AML Risk Assessment Policy and enhanced due diligence on any Investor
that may be assessed as higher risk; (4) Monitoring and reporting of suspicious activity to appropriate
regulatory authorities or as further advised by our legal counsel; (5) AML training for appropriate Personnel;
and (6) proper record keeping in accordance with required or advisable legal and business standards.

     NOTE: The Company may revise its AML Policy from time to time to address the marketplace and any
  1
 Sm


 “F"     technology advancements {e.g., blockchain technology) and as necessary to ensure that our due diligence
practices remain effective and current. In accordance with appropriate industry standards, J&J will remain vigilant in
its AML Compliance Mandate.

D      Q: WHAT IS DUE DILIGENCE AS RELATED TO QUR INVESTORS? A: As it relates to our Investors, Due Diligence
  %    refers to our activities in ensuring that we certify our Investors. In short, that our Investors are who they say
they are and that any funds invested are Bona Fide/consistent with AML Laws. This standard is primarily incorporated
into our subscription agreements and investor questionnaires. In practice, this means that, among other factors, we
properly identify our Investors through their provision of proper documentation, among other certifications.
Moreover, we secure our prospective Investor's information and assign a compliance assessment to the Investor
based on our AML compliance standard; i.e., when potential AML Red Flags are identified.
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 D      Q: WHAT DO WE DO WITH ANY AML RED FLAG CIRCUMSTANCE? A: In AML Red Flag circumstances, we act
  %     and perform further due diligence before a potential relationship with an Investor inures to the Company. For
 example, we seek additional identification and source of funds or source of wealth information from our potential
 Investors. In all cases that present with AML Red Flag circumstances, we will subject our Investor to ongoing
 monitoring procedures.

        NOTE: As part of our ALM Red Flag Compliance Mandate, we remain vigilant of the potential of Investor
 ’
  =     “hidden beneficial owners.” For example, relevant to AML Red Flag circumstances, an individual or entity may
rely on a variety of structures to hide the beneficial owner of funds or assets. Specifically, we note that a potential
investor not meeting our AML Compliance Mandate may attempt to launder money using one of a number of
vehicles designed to obscure or disguise the beneficial ownership of assets or Investment Principal
transferred to the Company. In these types of circumstances, we evaluate the vehicle’s principals, obtain
 and review financial statements or audits, verify the sources of funds or wealth, evaluate contributors or
grantors, and conduct reference checks.

 ZA\       THE FOLLOWING CONSTITUTE BENEFICIAL OWNER AML RED FLAGS AND SHOULD BE IDENTIFIED AS
/22\
AS         RELATED TO ANY POTENTIAL OR RECURRING INVESTOR:

(1) TRUSTS; noting that assets placed in a trust may be paid out without justification of wealth or funds
sourcing; (2) SHELL COMPANY; an entity that does not present with active business operations or assets; set
up to achieve specific objectives; e.g., reducing tax liabilities or legal risks, or raising capital. Oftentimes used
to launder money, circumvent sanctions, or hide beneficial ownership from law enforcement; (3) FRONT
COMPANY; generally, a functioning company presenting with legitimate business characteristics, but serving
to disguise and obscure illicit financial activity, including laundering funds (e.g., double or multiple invoicing
as a form to repatriate offshore funds); (4) NON PROFITS/CHARITIES; noting that these may be cash driven
organizations; (5) BEARER BONDS; noting that possession establishes ownership; or (6) BLOCKCHAIN
TECHNOLOGY.

2      Q: WHAT SHOULD | DO IF, AS PART OF OUR SUBSCRIPTION DOCUMENTATION, AN INVESTOR SETS OUT A
  «4   CAYMAN ISLANDS ENTITY? A: In AML Red Flag circumstances, we act and perform due diligence before any
further relationship with an Investor inures to the Company. Our Due Diligence activities will include requesting all
 incorporation    documents,bank statements, or recently filed business accounts, among other verification
steps. In general, you can always ask for documentation as to a source of funds or wealth (i.e., confirming
the source such as a sale of a house, the sale of shares, receipt of a personal injury award, a bequest from
an estate or a win from gambling activities).

         Q: AN INVESTOR WANTS TO INVEST IN BEARER BONDS OR CASH, WHAT SHOULD | DO? A: This is an AML Red
         Flag circumstances; our Investors may not invest with bearer bonds. Report this to our Compliance Function.

 D       Q: | HAVE REVIEWED A POTENTIAL INVESTOR'S DOCUMENTATION AND IT IS NOT AS DETALIED AS REQUIRED,
  %     WHAT SHOULD | DO? A: There may be circumstances that may not present with AML Red Flags because some
 people do not retain detailed records; that is, slack documentation does not always mean that an AML Red
 Flag is afoot. Look at the totality of the circumstances and if there is any other information that makes you
 suspicious. Memorialize these facts and seek advice from Management.

 XX.             — WE PROHIBIT IMPROPER OR ILLEGAL INDUCEMENTS:
        CORE VALUE
      Everyone we encounter should be able to rely on us without concern that their or our independent judgment
 has been improperly influenced by improper or illegal incentives. Accordingly, it is never permissible to offer or
 provide anything that directly or indirectly benefits any Third Party, including any Referral Source, any of which is
 intended to secure business or a business advantage for our Company. Our general Compliance Mandate is that
 anything we may offer any Third Party must be pre-approved by our Compliance Function in conjunction with legal
 counsel approval.

       Similarly, it is not acceptable to offer or provide anything of value as a “reward” for any past or existing Third
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Party relationship with our Company. Everyone at our Company must proactively manage Third Party relationships
(including Investors, Referral Sources, Vendors, suppliers, marketers, distributors, consultants, or promoters) to
ensure that, for example, services performed on our Company's behalf are consistent with our Policies and Laws.

     We enter into and manage Third Party relationships mindfully and with due diligence. If we are the recipient          of
any Third Party relationship service, we only pay Fair Market Value and we always accurately document payments            to
Third Parties. If a Third Party Referral Source presents with any unethical or illegal circumstance, we will not          do
business with such Third Party. In short, we will only do business with a Referral Source which relationship meets        all
ethics, operations, and licensing matters germane to, or that governs, the Referral Source.

     Nonetheless, our Company reimburses our Personnel for all pre-approved, reasonable, and necessary business
expenses. Bona Fide business expenses are acceptable. These include legitimate expenses during the normal course
of business. These expenses must be within reason and on par with general practices and local customs. If you are
aware of any inappropriate expenditures that are being allocated, gifted, swapped, charged, invoiced, or billed to
Company or regarding any Company business activity, this may constitute Misconduct and you must report it to
Management.

     A. GIFTS. The offering, giving or receiving of Gifts (see further guidance later in this Code) may be occasionally
encountered in our operations. However, there is a fine line that should not be crossed, and it is not always easy to
identify. While giving a Third Party Referral Source/referral business relationship a weeklong vacation to a tropical
island (which Gift is not pre-approved by the Company) may constitute Misconduct, the offering, giving or receiving
of other “Gifts” can also be a violation of our Code — or in some cases, Laws — and often, without our Personnel
even realizing that they have committed a violation.

     Our Policy at J&J, we do not directly or indirectly seek, accept, offer, promise, or give anything of value from or
to any person or entity as a condition or result of doing business with our Company. Of course, Gifts in money or cash
equivalent in any amount are prohibited in all circumstances. The occasional exchange of Gifts either of nominal value
with employees of other organizations may be appropriate unless the recipient's employer forbids the practice.
Remember, any courtesy you extend must comply with our Compliance Mandate and the policies of the recipient's
organization. Anyone that we do business with should be informed of, and understand, our Policy as well.

      A. J& EMPLOYEE GIFTS. Our Company may provide a Gift reward or recognition (e.g., a Gift card or bonus) to
an employee for exemplary service. Gifts provided to Personnel are considered taxable income and must be reported
as such. Contact our HR Function for guidance.

     B. VENDORS, SUPPLIERS, BROKERS, AGENTS. J&) employees may accept occasional, unsolicited, and
reasonable business meals from actual or prospective suppliers of goods and services, agents, brokers, or other Third
Parties (e.g., “Vendors”) if the following requirements are met: (1) The Vendor or prospective Vendor providing the
meal or entertainment attends the event with the Company employee; (2) The value of the meal or entertainment
is modest as judged by local standards; (3) The venue is conducive to informational communication and includes or
is contiguous to legitimate business discussions. Of course, the facts and circumstances relevant to the preceding
must be transparently disclosed to Management and otherwise properly accounted for in our Official Records.

?      Q: MAY | ACCEPT A GIFT FROM A VENDOR/SUPPLIER? A: This depends on the nature and value               of the Gift. If it
  =    is expensive or not considered modest, you may not accept the Gift. You must return the Gift         to the Vendor
explaining that the Company's policy does not permit expensive Gifts. If the amount of the Gift            is modest and
considered reasonable, it may be accepted. If the nature of the Gift permits (e.g., box of cookies), the    best approach
is to share it with your co-workers. Transparency is the key element in either circumstance.               That is, notify
Management and if you have further questions, contact the Compliance Function.

 PD    Q: WHAT SHOULD | DO IF | RECEIVE A GIFT THAT IS KNOW IS INAPPROPRIATE? A: Return the Gift with a polite
       explanation that J&J policy prohibits you from accepting such generosity noting that this circumstance may
present with a Conflict of Interest otherwise prohibited. In some circumstances, other alternatives may be
considered, such as displaying the Gift in a public area or donating it to a charity. In any case, you should consult with
Management or use a Reporting Channel to inform the Compliance Function.                  Exhibit 1, Page 138
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 Sof    NOTE: Travel or lodging in connection with a meal or entertainment sponsored by a Vendor or prospective
  ="    Vendor is strictly forbidden. The expenses for business meals and entertainment for any employee's spouse,
partner, significant other, or any other guest of the employee are similarly not allowed.

       C.    POTENTIAL REFERRAL SOURCES AS MAY BE RELEVANT TO OUR OPERATIONS. Our Company is committed
to following the highest ethical standards and complying with Laws. Any Gift or token of appreciation involving Third
Parties who are in a position to (directly or indirectly) enter into any agreement with the Company or otherwise refer
any business to the Company — must be undertaken in accordance with all Laws and our Policies.

     Consistent with our Policies, and as approved by our Management or Compliance Function, J& Personnel may
conduct development, promotional, and other business meetings or conferences involving Third Parties to discuss
J&J and its operations. Generally, any such setting should be conducive to effective transmission of knowledge. In
appropriate circumstances, modest meals in connection with Compliance Function approved programs may be
provided if same are subordinate in time and focus to the program and similarly, regarding reasonable travel and
lodging matters.

                We conservatively respect the fact that our Company's business interactions with Third Parties may
                involve the presentation of business information and that such exchanges may be productive and efficient
O               when conducted in conjunction with meals. Accordingly, modest meals may be provided as an occasional
                business courtesy, but always subject to reporting to the Compliance Function, this Code’s guidance on
                Gifts, and pursuant to Management's pre-approval.

D      Q: MAY WE PROVIDE A CATERED LUNCH DURING A MEETING WITH A MAJOR J&J THIRD PARTY RELATIONSHIP,
       e.g, AVENDOR? A: It is acceptable to provide lunch if offered consistent with the letter and spirit of our Gift
policy and if it otherwise complies with the value guidelines for what is considered acceptable.
yn          Q MAY
                TAKE ATHIRD PARTY OUT FOR A BUSINESS MEAL? A: Generally, it is permissible to take a Third Party
 #    for a business meal. Always check with Management or the Compliance Function for policy requirements and
monetary limits. If you have any question, you are expected to report under the Reporting Channels.

D           Q: MAY | ACCEPT A VENDOR'S LUNCH OFFER OR SOCIAL OUTING INVITATION?A: Personnel should decline
 &     even the smallest of Gifts. If declining would be perceived as impolite and may cause harm to a business
relationship, you may accept the Gift subject to Company approval and in all cases you must nonetheless report same
under our Reporting Channels.
D           Q; MAY | ACCEPT EXPENSE REIMBURSEMENT IF | SPEAK TO A GROUP OR AT A PROFESSIONAL MEETING? A:
   «+   You should obtain pre-approval from your Manager for related engagement expenses. J&J policy requires that
all Third Party relationships be treated fairly and impartially. Therefore, you may not accept anything from a Third
Party relationship that could suggest even the appearance of favoritism or Improper Remuneration. Normally, it is
inappropriate to accept payment of expenses from any Third Party to speak, for example, at conferences. On the
other hand, it may be permissible to accept reimbursement for expenses from associations and professional groups
because they are not Vendors and would not be using the speaking invitation to gain favorable treatment.

              — WE PROHIBIT CONFLICT, IMPROPER, AND ILLEGAL REMUNERATION:
XX|. CORE VALUE
    Our daily work decisions must be based on an impartial and objective assessment of each situation, without being
influenced by Gifts that may have the effect of, directly or indirectly, impairing our Personnel’s or any Third Party’s
independent judgment or worse, violate Laws.

    Accordingly, J&J Personnel may not accept (or offer) any Gift that compromises {or might be perceived to
compromise) our, our representative’s, or a recipient’s ability to make an objective and fair business decision or, in
any case, that might otherwise be perceived by anyone as unfairly influencing a business transaction. The preceding
standard applies whether or not the act is contrary to Laws.
    Every Third Party with whom we interact (including existing or potential Investors, Third Parties, Vendors, or any
Government representative) must make objective and impartial decisions without inappropriate interference.
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Accordingly, in or through any business interaction with any Third Party and anywhere, it is our Core Value that J&
 representatives may not offer, give or receive any conflicted, improper, or illegal remuneration.

       In all business interactions we must use the following criteria to guide our judgment:
                If a gift, fee, loan, service, entertainment,   favor, payment,   commission,   remuneration   or, without
              limitation, any other thing of value (collectively, a “Gift”) is received, provided or offered, directly or
              indirectly, in order to obtain favorable treatment or other improper advantage in a business transaction
             or germane to any referral of Investors, directly or indirectly applicable to Company or any Third Party,
then it is deemed under our Compliance Program to be conflict, improper or illegal remuneration (collectively,
“Improper Remuneration”). J&) has a zero-tolerance policy against offering, providing, or accepting Improper
Remuneration.

        NOTE: Our Compliance Mandate deems a “commission” to constitute a Gift. If unapproved by the Company,
 al
      Y.
 "="    any such commission is deemed to be Improper Remuneration and is strictly prohibited. Discuss this matter
with our Compliance Function.

               GUIDANCE     ON   THE   USE   OF   COMPANY       ASSETS   (INCLUDING   COMPANY     REVENUE/FUNDS)      FOR
  a            BUSINESS GIFTS TO NON-REFERRAL SOURCES. Gifts may be extended to Non-Referral Source Third
  = =          Parties on Company expense provided that such Gift strictly complies with the following criteria, that the
              Gift is: (1) reasonable and not excessive, in nature, frequency or value; (2) made in connection with the
conduct of legitimate business or other Company activity; (3) in accordance with all Laws, customary business
practice in the governing jurisdiction of both the Company and the Referral Source and in addition consistent with all
ethics, operations, and licensing matters germane to or that governs the Referral Source, and Company's Policies; (4)
properly pre-authorized and properly reported and recorded; and (5) would not embarrass the Company should the
Gift be made public or in any case be construed as Improper Remuneration; (6) does not involve the giving of cash or
cash equivalents such (e.g., gift certificates).

               GUIDANCE     ON   THE   USE   OF   COMPANY       ASSETS   (INCLUDING   COMPANY     REVENUE/FUNDS)      FOR
   DE          BUSINESS GIFTS TO POTENTIAL REFERRAL SOURCES. Gifts may be extended to potential Referral
   i i         Sources on Company expense provided that the value of the Gift is otherwise consistent with all Laws,
               customary business practices, and Company's Policies. Any Gift cost germane to Referral Sources must
 be reported and strictly accounted for in Company's accounting, financial, and other Official Records. Any Gift to a
 potential Referral Source must be pre-approved by the Compliance Function.

ay.     NOTE: (1) cash or cash equivalents such (e.g., gift certificates) to Referral Sources are prohibited under all
 “=     Circumstances; (2) non-cash Gifts to Referral Sources are prohibited unless approved by the Compliance
Function; (3) Gifts to Referral Sources may only be made in connection with the conduct of legitimate business or
other activities for or on behalf of the Company; (4) Gifts to Referral Sources must be in accordance with Laws,
customary business practices, J&J’s Policies, and in addition, all Laws or regulatory standards governing the Referral
Source/consistent with all ethics, operations, and licensing matters germane to, or that governs, the Referral Source.

      SIL,     GUIDANCE     ON   THE   USE   OF   COMPANY       ASSETS   (INCLUDING   COMPANY     REVENUE/FUNDS)      FOR
               BUSINESS GIFTS TO OR FROM GOVERNMENT REPRESENTATIVES. (1) J&J Personnel may not offer any
  Fi ia       Gift — no matter how small the value — to any Government representative in the course of conducting
J&J business; and (B) except as otherwise approved by Company's Management, the Company will make no
corporate political contributions (even where such contributions may be legal) but encourages Personnel to
participate in community affairs and to exercise citizenship responsibilities.

 ay.     NOTE: In addition to the preceding guidance, always consider     the following questions and seek guidance from
  "¥%    our Compliance     Function  if your action or response  is not clear: (1) Is this interaction with a Government
 representative? (2) Is the benefit of minimal or token value, does it occur infrequently? (3) Does any exchange impose
 or create any perception of obligation on either party? (4) Does the exchange create obligation or embarrassment

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on the giver or recipient? (6) Is the exchange common to business relationships? (7) Will it stand up to any public
scrutiny?

XXII. CORE VALUE — WE COMPLY WITH THE FTC IN THE MARKETPLACE:
     To the extent that we communicate in the marketplace and provide Third Parties Company Information and
materials, we recognize that SEC and consumer protection laws apply, for example, to in person or online operations.
We understand that the internet sphere is never static, accordingly, we conduct our communications in appreciation
of emerging online or technology developments and always in compliance with Laws. In short, we understand that
SEC and consumer protection Laws apply to all mediums, including online platforms like social media. And we always
remember that prohibitions on “unfair or deceptive acts or practices” includes online communications, but
moreover, extends to all marketing and sales activity.

     Accordingly, whether online or otherwise, our marketing and sales Core Value is that our Company will act
consistent with all Laws. This means that we compete in the marketplace free of deception and unfair practices. We
do not communicate in a manner that confuses Third Parties, including Investors. For these reasons, our Company
will only publish truthful communications and incorporate such disclosures, qualifiers, and limitations (“Disclosures”)
that may be required or advisable. All Disclosures will be “Clear and Conspicuous.”

     Generally, we do not “bury” Disclosures. We prominently display our Disclosures so that they become
unavoidable, including paying attention to the size, font, color, and relative relationship to the communication
generally — that is, we review the communication as a whole and determine whether the Disclosure is sufficiently
effective in consideration of other communications components, like text type and size, links, sounds or graphics,
among others, and any of which may serve as a detractor to any Third Party.

            A. “CLEAR AND    CONSPICUOUS.”  To be Clear and Conspicuous, we are mindful that our Disclosures be
consistently placed in proximity to ‘triggering” express or implied claims (we do not hide or minimize our Disclosures).

  (« )       WE CONSIDER THESE FACTORS: (1) Disclosures to an express or implied claim will be presented in
  A         proximity to the claim; (2) the Disclosure will be prominent and unavoidable; (3) whether any part of our
            communication is deficient considering the communication as a whole and whether the communication
distracts from any Disclosure; (4) whether a Disclosure should be repeated in a communication and duplicated in
other locations of our online or other presence; and (5) whether our Disclosures are adequately understood by the
intended recipient; e.g., is the Disclosure of such low volume or presented as such a speed so as to lessen its intended
impact on the listener.

 -@)-        NOTE: A Disclosure cannot “cure” a false express or implied claim. It can be used to clarify, but not contradict
  =          aclaimin a communication.

                FOR A DISCLOSURE TO BE CLEAR AND           CONSPICIOUS IN A COMMUNCATION            IT MEANS THAT: (1) we
            physically place the Disclosure close to the triggering claim; (2) we understand how varied platforms or
            devices utilized by consumers may work against our Disclosures; and (3) if a Disclosure is ever space-
constrained, we will seek expert and legal advice germane to the propriety of linking such Disclosure to a separate
communication, if any — noting that in such circumstances when we use a hyperlink to a Disclosure, the link shall be
obvious and consistent with the Clear and Conspicuous standard.

 A      NOTE: AThird Party should never have to search or scroll to access Disclosures. When scrolling is unavoidable,
 “=     we will consult with legal experts and we will use visual or textual cues to direct and encourage the reader to
find Disclosures. As part of our effort, we will seek to be informed regarding such behavior and technology matters
relevant to consumer access and utilization; for example, where does the consumer’s attention get drawn to and
what do consumers tend to ignore.

        A        If a Disclosure is necessary for a communication to be fair, not deceptive, and consistent with Laws and
      fd)        it is impossible to make a Disclosure “Clear and Conspicuous,” then we will not publish the
                 communication and will not allow a Third Party to do so on our behalf. If a communication platform or
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medium is not conducive to “Clear and Conspicuous” Disclosures, then we will not use that platform or medium.

    We take our communications Disclosure duties as paramount to our operations. We know that Clear and
Conspicuous Disclosures in our communications benefit Third Parties including our Investors. Meeting these
standards bolsters confidence, benefits our Company, and keeps us compliant with Laws.

        B. “TESTIMONIALS AND ENDORSEMENTS.” The FTC Act regulates endorsements (e.g., generally industry
experts) and testimonials (e.g., generally Third Parties) in any platform or medium through which we communicate.
In all contexts, we are subject to liability for: (1) false or unsubstantiated claims made through T&E’s, or (2) failing to
disclose “Material Connections.” If we have a “Material Connection” to the source of any T&E communication —
whether such T&E was created (a) by Personnel, or (b) any Third Party, and by whomever or however communicated
— such communication will disclose the Material Connection consistent with Laws and our Code and we will ensure
that the relevant individual or entity endorser likewise complies. These standards apply to any person which may
communicate any aspect of our operations to a Third Party, but nonetheless, may never otherwise violate Laws
(including as germane to the provision of any investment or financial advice, which is strictly prohibited).

 ©       NOTE: When a significant minority of Third Parties do not understand a Material Connection between J&J and
  any person that communicates with such Third Party in any direct or indirect way, a Clear and Conspicuous
Disclosure must be implemented. It is crucial to remind everyone that no one except our Company officers may in
any way communicate with Investors and that we do not and will never act or otherwise serve as investment or
financial counselors for anyone. If a Third Party so communicates in violation of our Core Values, it shall be deemed
to be contrary to Laws and it must be reported.

 ©      NOTE: Remuneration can take many forms. It can be in the form of any Gift or other benefit, including,
        privileges, special access, prizes, or any other type of “freebie.”

XXIII. CORE VALUE — WE PROMOTE FAIR TRADE AND ENTERPRISE:
     In the course of our business operations, we maintain a level playing field. This means that we promote principles
of fair and open marketplace dealings and communications. We know that any unfair advantage in our business
operations translates to negative disruptions to competition and lead to negative consequences, for example, to our
reputation.

     Accordingly, it our policy that business decisions — including determining prices, pricing policies, terms, the
markets or lines of business to compete in and the Vendors, supplies or any Third Party with whom J&I does business
— be made on an independent basis, considering all relevant factors, including the Company's costs and profit
objectives, prevailing market conditions, competitive prices and other relevant factors and information, and always
in compliance with all Laws.

     We will not: (A) enter into agreements or other understandings with industry competitors to fix terms of services
or prices; (B) boycott any Third Party; (C) disparage our competitors or misrepresent the value or correctness of their
services or products; or (D) trade or allocate territories or Investors or engage in other activities that that
anticompetitive or involve exclusive dealing.

 D    Q: AM | ALLOWED TO GATHER INFORMATION ABOUT THE MARKETPLACE, FOR EXAMPLE, ABOUT OUR
  £   COMPETITORS AND THEIR PRODUCTS, SERVICES OR TRANSACTIONS? A: Yes; but we note that there are ethical
       limits that you must not cross when Transacting in any Third Party Information, especially about (or potentially
belonging) to a competitor. Act consistent with the following guidance:

             (1) it is ok to gather information from public sources; i.e., published articles, advertisements, brochures,
            other non-proprietary/non-confidential materials, surveys by consultants and conversations with Third
            Parties, but not if such survey, conversation or activity is likely to suggest at all or to anyone that we are
attempting to (a) conspire with our competitors, using for example a Third Party as an intermediary, or (b) gather
information in breach of a Third Party's nondisclosure agreement with a competitor or through other wrongful
means; or (c) elicit any Confidential, Proprietary or other Third Party Information that, if we become a holder of,
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 violates any Third Party’s pecuniary, beneficial or other proprietary right under Laws or as otherwise contrary to our
 Code or Policies. If you ever improperly come across information about a competitor or regarding any Third Party or
 Referral Source contrary to the preceding or Laws/Code of Ethics, you must use a Reporting Channel and identify any
 source of such information; (2) we will not acquire a Third Party's or a competitor's confidential, trade secret or other
 proprietary information through unlawful means (e.g., theft, spying, bribery) or breach of a Third Party's or
 competitor's rights under a nondisclosure agreement with any person or entity; (3) If you have any inkling that
 information you are being offered was not lawfully received by the party in possession, you must refuse to accept it.
 If you receive any competitive information anonymously or that is marked “confidential,” do not review it. Use a
 Reporting Channel to visit with our Compliance Function immediately. The improper receipt or use of a Third Party's
 competitive information could subject the Company, and you individually, to criminal and civil liability. When in doubt,
 speak up.

 XXIV. CORE VALUE — WE ARE ACCOUNTABLE FOR VIOLATIONS OR MISCONDUCT:
      Consistent with your acknowledgment to this Code, you are expected to read, understand, and abide with the
 Code, our Core Values, Laws, HR Policies, Company's Compliance Program, and all other Company Policies.
 Accordingly, any claims of ignorance, good intentions, or poor judgment will never constitute an excuse for non-
 compliance.

                 CORRECTIVE ACTION RELATED TO ANY NON-COMPLIANCE (OR MISCONDUCT) MAY                             INCLUDE
                 DISCIPLINARY ACTION UP TO AND INCLUDING TERMINATION AND LEGAL ACTION FOR:

                  (A) Authorization of, or participation in, any violation of our Compliance Mandate or any Misconduct;
                 (B) Improper refusal to cooperate in any Laws, Code or Policy violation or Misconduct investigation;
 (C) Failure by a violator’'s Manager to detect or report a violation or Misconduct (e.g., in cases of inadequate
 supervision on the part of the Manager); (D) Reporting a matter that is knowingly false or intended to, without
 limitation, intimidate or retaliate against anyone; (E) Any instance of retaliation — including by intimidating,
 threatening, harassing or maligning any person who has in good faith reported a concern or complaint, or a Code,
 Laws or policy violation, or any Misconduct.




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              PLEASE REMEMBER THAT:



              COMPLIANCE IS EVERYONE'S RESPONSIBILITY.



             THE CODE OF ETHICS IS JUST ONE OF THE COMPLIANCE
             RESOURCES AVAILABLE TO YOU.


              IF YOU HAVE ANY QUESTION (OR ARE UNSURE ABOUT
              ANY CORE VALUE OR ANY OTHER POLICY) CONTACT
              YOUR MANAGER OR OUR COMPLIANCE FUNCTION,
              HR FUNCTION, OR COMPLIANCE EMAIL OR THE
              COMPANY'S PRESIDENT.




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                                                   RESOURCES

I.    CONTACT INFORMATION:

    A. MANAGER — The best place to start if you have questions on how our Code applies to you is with your
immediate Manager.

     B. COMPLIANCE FUNCTION - The Compliance Function is a corporate resource available to address your
questions or concerns about our Company's Core Values and standards of conduct: (1) Email any compliance
related question or concern to our Compliance Email.

ll.   OTHER RESOURCES:

Policies - Refer to our all our Policies including the HR Policies and any stand-alone Policies.

Employment related questions - Contact Company's Human                Resources    Function for concerns    involving
employment conditions, Management and/or other Personnel.

lll. GLOSSARY:
“Access” means to appropriately or with permission obtain, examine or retrieve data or information or the
ability or the means necessary to Transact, without limitation, CDIS, CDI, Official Records, Confidential
Information, or Company Information.

“Access Control” means control of (or restrictions to) Access of the means necessary to obtain, examine or
                 |”




retrieve data or information or Transact, without limitation, CDIS, CDI, Official Records, Confidential Information,
or Company Information.

“Assessment(s)” means the evaluation or estimation of the nature, quality, or ability of Company Personnel and
their provision of service to the Company as periodically and regularly documented. An Assessment is meant to
review Personnel performance pursuant to consistent standards for such Assessments. Adherence to Policies,
Laws and any other regulatory requirement constitute some of the measures of Assessments. “Security
Assessment(s)” means and relate to the evaluation and estimation of the nature and quality of the Company's
Policies and security or privacy standards and controls all of which are measured to establish that same are
correctly implemented and as implemented, are effective. “Risk Assessment(s)” means and relates to the
identification, evaluation and estimation of the nature and quality of risks that the Company may face in relation
to its Laws compliance, Policies and other compliance related matters. Assessments and Security
Assessments/Risk Assessments/Risk Analyses are overseen, documented and respectively managed under the
Company's Performance Management Program and its Compliance Function.

“Assets” include Intangible Assets like “Company Information” (whether in physical, electronic, or other form,
including CDI) and Good Will and the Physical Assets that we use in our operations and, without limitation,
Company's Facilities and CDIS.

“Code” or “Code of Ethics” means the Company's Code of Ethics and Business Conduct.

“Compliance Certification” means such Company Personnel or any Third Party acknowledgment, certification,
or other memorialization of compliance, without limitation, germane to the Code of Ethics, HR Policies, Policies,
or Laws. Examples include, without limitation, Personnel training attendance acknowledgments, compliance
warranties and certifications, conflict of interest forms, Code of Ethics acknowledgment.

“Company Data and Information Systems” (“CDIS”) means, without limitation, all Company computing,
communication and information technology Assets and Company's equipment, devices, computers, systems,
servers, networks, Software, Hardware, websites, databases, smartphones, tablets, computer systems,
computing resources, resources, databases, voice mail resources, messaging resources, hard drives, removable
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 media, thumb drives, external hard drives, intranet resources, internet, or any other data, information, or
 communication Asset or system (and including the means to Access CIDS, e.g., passwords and other Access
 authentication requirements). CDIS is a Company Asset.

 “Company Data and Information” (“CDI”) means all external or internal/physical or electronic data/information,
 including   without   limitation,   files,     documents,     e-mails,     communications,     memoranda,    messages     or
 transmissions of data/information of any kind or any other aggregation of data or information including
 Confidential information, Official Record, Intellectual Property, Proprietary Information, Company Information,
 Know How and Trade Secrets, whether Transacted directly or indirectly by, from, or through CDIS or otherwise
 Transacted by Company Personnel or, as relevant to Company, germane to (or by) any Third Party. CDI is a
 Company Asset (and in most cases) constitutes a Company Official Record.

 “Company     Information”    includes        Confidential   Information,    Proprietary   Information,   Company   Data   &
 Information (“CDI”), Intellectual Property, Trade Secrets, Official Records, and Know How.

 “Confidential Information” means (in addition) information that the Company has or will develop, acquire,
 create, compile, discover or own, that has value in or to the Company's business which is not generally known
 and which the Company wishes to maintain as confidential. Company Confidential Information includes both
 information disclosed by the Company to our Personnel or others, and information developed or learned by our
 Personnel, contractors, or others, during the course of their association with Company. Company Confidential
 Information also includes all information of which the unauthorized disclosure could be detrimental to the
 interests of Company, whether or not such information is identified as Company Confidential Information. By
 example, and without limitation, Company Confidential Information includes any and all non-public information
 that relates to the actual or anticipated business or products, research or development of the Company, or to
 the Company's technical data, trade secrets, or know-how, including, but not limited to, research, product plans,
 or other information regarding the Company and markets therefor, business relationships (including, but not
 limited to, Investors or business relations of the Company with which our Personnel, contractors or others have
 contact with or otherwise become aware of, developments, processes, formulas, technology, designs, drawings,
 Hardware configuration information, marketing, finances, and other business information disclosed by the
 Company either directly or indirectly in writing, orally or by drawings or inspection of premises, parts,
 equipment, or other Company Assets. Notwithstanding the foregoing, Company Confidential Information will
 not include any such information which (1) was publicly known or made generally available prior to the time of
 disclosure by Company; (2) becomes publicly known or made generally available after disclosure by Company
 through no wrongful action or omission by our Personnel, contractors or others; or (3) is in our Personnel,
 contractors or others’ rightful possession, without confidentiality obligations, at the time of disclosure by
 Company as shown by then-contemporaneous written records.

 “Facility” or “Facilities” means any real property (including all offices, operations facilities, buildings, fixtures or
 other improvements located thereon) now or in the future owned, leased, supervised, operated or used by the
 Company or any of its affiliates wherein (or germane to) the Company or its Personnel conducts any business
 or operations. Broadly in relation to any of our Company operations, “Facility” includes in relation to Company,
 without limitation, all Workstations (e.g., desks and cubicles) offices, reception areas, waiting rooms, hallways,
 and any other discrete physical location within the Facility.

 “Government” means any international, domestic, federal, national, state, county or municipal or other local
 government, any subdivision, department, office, service, agency, commission, or authority thereof including
 the judiciary, or any quasi-governmental body exercising any regulatory authority or any other authority
 exercising authority over Laws, whether civil or criminal.

 “HR Function” means any and all Company Personnel or external individuals or entities responsible for the
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 development, maintenance, support and other business operational aspects germane to Human Resources and
 employment matters within or for the Company and will (as contextually relevant) include the HR Function’s,
 without limitation, HR Policies, Personnel/Human Resources Files, Performance Management Program, and
 CDIS/CDI.
 “Intellectual Property” means (1) all inventions (whether patentable or unpatentable and whether or not
 reduced to practice), all improvements thereto, and all patents, patent applications, and patent disclosures,
 together with all reissuances, continuations, continuations-in-part, revisions, extensions, and reexaminations
 thereof, (2) all trademarks, service marks, trade dress, logos, trade names, and corporate names, together with
 all translations,    adaptations,    derivations,   and    combinations    thereof and    including all goodwill   associated
 therewith, and all applications, registrations, and renewals in connection therewith, (3) all copyrightable works,
 all copyrights, and all applications, registrations, and renewals in connection therewith, (4) all mask works and
 all applications, registrations, and renewals in connection therewith, (5) all trade secrets and confidential
 business information (including ideas, research and development, know-how, formulas, techniques, technical
 data, specifications, business relationships lists and information, pricing and cost information, and business and
 marketing plans and proposals), (6) all CDI (including data and related documentation), (7) all other proprietary
 rights, and (8) all copies and tangible embodiments thereof (in whatever form or medium).

 “Inquiry” as consistent with Company Code of Ethics, means any Government, without limitation, inquiry,
 investigation, demand, visit, subpoena, civil investigative demand, or audit any of which may consist of requests
 of information or any examination of any aspect of Company's operations, CDIS, CDI, Company Information or
 Official Records.

 “IT Function” means any Personnel individuals (or as may be relevant external Vendor) responsible for the
 development, maintenance, support and other function related to “Information Technology” (including CDIS
 and CDI) within or relevant to the Company.

 “Know    How”       means   all Company     technical     information,   know-how   and   data,   discoveries, trade secrets,
 specifications, instructions,       processes, formulae,      materials, expertise and other technology applicable to
 Company's operations.

 “Laws” means all applicable international, supranational, nation state, and United States federal, state, local, or
 municipal law including as to each of the preceding their common law, constitutions, statutes, codes, treaties,
 proclamations, judicial precedents, judicial authorities, regulatory policies, judgments, settlements,
 conventions, directives, requirements, writs, orders or consents, regulations, rules, injunctions, decrees or
 awards that are or have been issued, enacted, adopted, passed, approved, promulgated, made, implemented
 or otherwise put into effect by or under the authority of any Government, including their interpretation or
 administration by any Government agency, including courts, charged with their enforcement, interpretation or
 administration and all applicable administrative or judicial orders, directed duties, requests, licenses,
 authorizations and permits of, and agreements with, any Government.

 “Malware” is the contraction for “malicious software” and generally consists of computing code or programs
 designed to damage computing systems (like Company’s CDIS) noting that the term Malware will refer to and
 consists of (among other things) viruses, worms, trojan horses, ransomware attacks, system intrusions, and
 spyware.
 “Management” means the Company's executive managers including as relevant, any Company officer.

 “Manager” means such supervisor/manager level Personnel tasked with the responsibility for the Personnel
 assigned to work under their oversight, training and management, and to whom such Personnel report.

 “Misconduct” means any violation or potential violation of any Laws, or any Company Policy, whether stand
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alone or as may be found in the Company HR Policies, Code of Ethics or otherwise, or any other type of improper
or unprofessional behavior.

“Official Record” means, without limitation, all Company Information whether relating to Company's
operations, Assets, or business matters and includes all data, information, books, files, and records of the
Company, including Facility, corporate and operating records, correspondence, tax returns, and logs and other
records and whether consisting or paper or electronic format and whether it is CDI or Transacted in CIDS.

“Personnel”    means our workers and workforce and includes Management                      and all Company    executives,
Managers,     officers,   agents,   employees,   volunteers,   trainees,   and   other   persons   whose   conduct   in the
performance of work for Company is under the direct control of the Company. The term Personnel will be
deemed to include any contractor that provides services to the Company. Instances in this Code of Ethics of
either “worker” or “employee” will be deemed to mean “Personnel.”

“Proprietary Information” means all Company Information or Official Record developed or acquired by the
Company or any of its affiliates that has not been specifically authorized to be disclosed including, but not limited
to, the following items and information relating to the following items: (1) all Intellectual Property and
proprietary rights of the Company (including, without limitation, the Intellectual Property), (2) CDIS processing
systems and techniques, inputs and outputs (regardless of the media on which stored or located) and Hardware
and Software configurations, designs, architecture and interfaces, (3) business research, studies, procedures
and costs, (4) financial data, (5) operations methods, (6) marketing data, methods, plans and efforts, (7) the
identities of actual and prospective Third Party business relationships, (8) the terms of contracts and agreements
with, the needs and requirements of, and the Company's or its affiliates’ course of dealing with, actual or
prospective operational relationships, (3) Personnel information, (10) Vendor Third Party information, and (11)
information received from Third Parties subject to obligations of non-disclosure or non-use. Failure by the
Company or its affiliates to mark any Proprietary Information as confidential or proprietary will not affect its
status as Proprietary Information.

“Process” means any legal or judicial action, appeal, document instrument or other writing issued, filed or
recorded to pursue a claim against person or property, exercise jurisdiction, enforce a judgment, fine a person,
put a lien on property, authorize a search and seizure, arrest a person, incarcerate a person or direct a person
to appear, perform or refrain from performing a specified act and without limitation includes a complaint,
decree, demand, discovery request, indictment, injunction, judgment, lien, motion, notice, order, petition,
pleading, sentence, subpoena, summons, warrant or writ.

“Program” means the Company Corporate Compliance Program and all Program constituent components,
Policies and procedures, standards, and guidance.

“Referral Source” means any Third Party individual or entity that refers any business to the Company, either
directly or through such Referral Source’s employees or agents and includes when a Referral Source is an
Investor or otherwise directly or indirectly affiliated with an Investor, or as may be germane to any Third Party
Beneficiary Insurance Settlement Agreement, or any of which may relate to the Company's operations.

“Security Awareness” means and refers to the knowledge, training, attitude, conscientiousness, and effort the
Company's Personnel put forth regarding the protection of Company Assets, CDIS, CDI, Confidential Information
and Company Information. The Company requires Security Awareness training and reinforcement for all
Personnel. Security Awareness (Assessments) are overseen, memorialized and managed under the Company's
Performance Management Program.

“Software” means a set of instructions/computing language that directs a computer/Hardware to perform tasks
and includes, without limitation, the following terms: computer software, applications, utilities, operating
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 systems, courseware, shareware, and other computer language products or services. Software is an included
 component of CDIS.

 “Third Party” means any outside person or entity and includes as germane to Company: Investors, consultants,
 agents, independent contractors, Vendors, suppliers, business relationships, partners, and affiliates. This
 definition will include as contextually relevant, any Government agency, department, commission, association
 or other pertinent governing, body having direct or indirect authority over the Company or its operations. Any
 Third Party’s data or information may be referred to as “Third Party Information.” Third Party Information will
 (as contextually relevant) include its Confidential Information.

 “Trade Secrets” means any and all information, including a formula, pattern, compilation, program, device,
 method, technique, or process that derives independent economic value, actual or potential, from not being
 generally known to the public or to other persons who can obtain economic value from its disclosure or use,
 and is the subject of efforts that are reasonable under the circumstances to maintain its secrecy. By way of
 illustration but not limitation, “Trade Secrets” includes without limitation information regarding plans for
 research, development, current and new services or products, marketing and selling, business plans, budgets
 and unpublished financial statements, licenses, prices and costs, production and as appropriate, Confidential
 Information, Third Party Information, Intellectual Property and Know How.

 “Transacts” or to “Transact” or (and contextually, “Transacted/Transaction”) means: access, accesses,        accessed,
 administer, administers, administered, analyze, analyses, analyzed, collect, collects, collected,             compile,
 compiles, compiled, compose, composes, composed, create, creates, created, creation, disclosure,              disclose,
 discloses, disclosed, deliver, delivers, delivered, edit, edits, edited, modify, modifies, modified,          process,
 processes, processed, read, revise, revises, reviews, reviewed, send, sends, sent, store, storing, stores,   transmit,
 transmits, transmitted, use, uses, used, using, utilize, utilized, or utilized.

 “User” means any Company Personnel, and as relevant, without limitation, independent contractors, temporary
 workers, consultants, agents, and Vendors who directly or indirectly Transact CDIS or CDI.

 “Vendor” means any person or entity that provides or facilitates the direct or indirect provision (or that seeks to
 enter into a relationship with the Company regarding same) to Company of any service or product germane to
 which Vendor, without limitation, may be a dealer, distributor, seller, merchant or other type of supplier of
 services or products.

 “Workstation(s)” means generally any identifiable portion of any Facility or otherwise where Company's
 Personnel perform any duty or responsibility germane to Company’s business/operations (e.g., desk, cubicle,
 work area); Workstation will also refer to CDIS equipment/devices located at Workstations or elsewhere or that
 are used directly or indirectly by Personnel to fulfill their Duties and Responsibilities




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                    CODE OF ETHICS AND BUSINESS CONDUCT
                              COMPLIANCE CERTIFICATION
                                   ACKNOWLEDGMENT
 | ACKNOWLEDGE AND CERTIFY BY MY SIGNATURE BELOW THAT:

 | HAVE BEEN PROVIDED A COPY OF J AND J PURCHASING, LLC'S (“J&J” OR “COMPANY”) CODE OF ETHICS AND
 BUSINESS CONDUCT (THE “CODE").

 IT IS MY RESPONSIBILITY TO FULLY READ, UNDERSTAND, AND COMPLY WITH: (A) THE CODE AND TS POLICIES,
 GUIDANCE, AND STANDARDS (OUR “CORE VALUES”), AND (B) ALL OTHER J&J POLICIES, PROCEDURES,
 STANDARDS, GUIDELINES, AND DIRECTIVES (COLLECTIVELY, IN THIS CODE AND AS MAY BE FOUND ELSEWHERE,
 OUR “POLICIES”).

| WILLAT ALL TIMES ACT IN ACCORDANCE WITH ALL FEDERAL, STATE, LOCAL AND APPLICABLE INTERNATIONAL
AND FOREIGN NATION LAWS, STATUTES, RULES, AND REGULATIONS (COLLECTIVELY, IN THIS CODE AND
ELSEWHERE, “LAWS”).

 | HAVE A CONTINUING OBLIGATION TO IMMEDIATELY REPORT ANY ACTUAL OR SUSPECTED CODE, LAWS, OR
 POLICY VIOLATION OR ANY MISCONDUCT TO MY MANAGER OR THE COMPANY'S MANAGEMENT, HR
 FUNCTION, COMPLIANCE FUNCTION, AND/OR THROUGH THE COMPLIANCE EMAIL.
 MY VIOLATION OF THE CODE, LAWS, OR POLICIES MAY RESULT IN CORRECTIVE ACTION           UP TO, AND
 INCLUDING, IMMEDIATE TERMINATION OF EMPLOYMENT OR ASSOCIATION TO COMPANY.

THE CODE AND POLICIES MAY BE REVISED AT ANY TIME AND, IN SUCH A CASE, THE COMPANY WILL NOTIFY
ME AND PROVIDE ME WITH A REVISED CODE AND POLICIES.
ONLY A DULY AUTHORIZED COMPANY REPRESENTATIVE MAY ISSUE ANY REVISION OF THE CODE, OUR CORE
VALUES, OR OUR POLICIES.




 PRINTED NAME




 SIGNATURE



—————————————e
                                      202
 DATE SIGNED




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                       EXHIBIT D
               INVESTOR QUESTIONNAIRE




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                     J AND J PURCHASING, LLC
              CONFIDENTIAL INVESTOR QUESTIONNAIRE
IN CONNECTION WITH THE PROPOSED ISSUANCE BY J AND J PURCHASING, LLC OF UP TO
FIVE (5) PARTIAL BENEFICIAL INTERESTS THAT WILL BE HELD BY INVESTOR GERMANE TO
COMPANY'S PURCHASE(S) OF INSURANCE SETTLEMENT AGREEMENTS               UNDER A
PURCHASE CONTRACT BETWEEN COMPANY AND CERTAIN THIRD-PARTY INSURANCE
SETTLEMENT AGREEMENT BENEFICIARIES, IN MINIMUM AMOUNTS AND IN INCREMENTS
OF EITHER $80,000.00 OR $100,000.00 (THE “INSURANCE SETTLEMENT AGREEMENT
PURCHASE AMOUNT(S)"), INA TRANSACTION INTENDED TO QUALIFY UNDER SECTION 4(2)
OF THE SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES ACT’), AND RULE 506
OF REGULATION D PROMULGATED HEREUNDER, AS AN OFFERING OF SECURITIES
EXEMPT FROM THE REGISTRATION REQUIREMENTS OF THE SECURITIES ACT, THE
SUBSCRIBER PROVIDES THE COMPANY WITH THE INFORMATION SET FORTH BELOW AND
CERTIFIES THAT SAME IS ACCURATE IN ALL RESPECT.
SUBSCRIBER UNDERSTANDS THAT COMPANY WILL FULLY RELY ON THE INFORMATION
FURNISHED BY SUBSCRIBER AND THAT COMPANY WILL EITHER: (A) NOT DO ANY
INDEPENDENT INVESTIGATION TO VERIFY OR FALSIFY ANY PROVIDED INFORMATION; OR
(B) PROCEED TO SEEK ADDITIONAL INFORMATION AND CERTIFICATIONS FROM
SUBSCRIBER CONSISTENT WITH COMPANY'S COMPLIANCE PROGRAM, CODE OF ETHICS
AND BUSINESS CONDUCT, AND ITS POLICIES AND PROCEDURES.
The Subscriber represents that the information presented herein and in the Subscription Agreement is
complete, true, and accurate as of the date indicated and the Subscriber agrees to notify the Company
immediately of any change in any such information that occurs prior to (or during or after) any investment under
this offering.
The information disclosed below shall be held as strictly confidential by the    Company under our compliance
program/code of ethics and business conduct and will not be disclosed to any     person except to the Company's
President, the Investor, their respective counsel, or such other party as the    President deems appropriate to
establish, among others, the availability of an exemption from registration of   the Partial Beneficial Interests
under the Securities Act and applicable state securities and other laws.
                                 ALL ITEMS MUST BE FULLY COMPLETED
1. FULL NAME OF THE SUBSCRIBER:                               . | VERIFY THAT THE
PHOTOCOPY OF THE STATE OR FEDERALLY ISSUED IDENTIFICATION THAT | SUBMIT WITH THIS
QUESTIONAIRE CONSTITUTES A TRUE AND CORRECT COPY OF SAME.

 | AM A RESIDENT OF:

 ADDRESS:

 BANK OR FINANCIAL INSTITUTION — SOURCING OF FUNDS
 FOR INVESTMENT — NAME:

 BANK OR FINANCIAL INSTITUTION — SOURCING OF FUNDS
 FOR INVESTMENT  — ADDRESS:



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                                                             EXEMPTED UNDER SECTION:




4.     ENTITY DUE DILIGENCE INFORMATION:




                                                             PUBLICLY TRADED
                                                             PRIVATELY HELD
                                                             PARTNERSHIP          [1]



                                                                 ( )YES            ( NO

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5.   DUE DILIGENCE VERIFICATION AND INFORMATION?




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6. HAVE YOU RELIED UPON THE ADVICE OF OTHERS WHEN                         EVALUATING THE MERITS AND RISK
OF THIS INVESTMENT?
    ( )Yes               ( YNo
     Note: You should answer the above in the affirmative only if you have presented this investment to others
who in turn have analyzed the investment in depth on your behalf and who, in making such an analysis, were
familiar with and took into consideration your financial position and investment objectives, whether or not such
third party is properly registered under applicable Laws to serve in such financial advice or investment advice
capacity. Do not answer the above in the affirmative if you have merely described the investment to others in
broad generalities and sought their advice more on a social (as opposed to a professional) basis.
     Note: You acknowledge and certify if you answer the above in the negative that the Company and any
affiliated individual has not provided you with any sort of financial or investment advice or service; noting that no
one at the Company is allowed to do so under its Compliance Program and as consistent with the fact that no
such individual is registered or allowed to so provide investment or financial advice under applicable Laws.
7. IF YOUR ANSWER          TO QUESTION 4 IS “YES,” PLEASE            IDENTIFY SUCH       ENGAGED      PURCHASER
REPRESENTATIVE.

| NAME:

8. HAVE ALL QUESTIONS THAT YOU OR YOUR PURCHASER          REPRESENTATIVE(S)                                    HAVE
REGARDING ALL RISKS BEEN ANSWERED TO YOUR FULL SATISFACTION?
    ()Yes                ( )No

 IF NOT, PLEASE SET FORTH HERE ANY SUCH QUESTION:




9. HAVE ALL QUESTIONS THAT YOU OR YOUR PURCHASER REPRESENTATIVE(S), IF ANY, MAY
HAVE   CONCERNING   THE  PROPOSED  INVESTMENT BEEN  ANSWERED    TO YOUR     FULL
SATISFACTION?
    ()Yes                ( )No

 IF NOT, PLEASE SET FORTH BELOW ANY SUCH QUESTION




10. IF YOU SHOULD CHOOSE TO INVEST UNDER THIS OFFERING, IS IT YOUR OPINION THAT YOUR
PRESENT FINANCIAL POSITION IS, AND IS EXPECTED TO CONTINUE TO BE, SUCH AS TO ENABLE
YOU:
 TO BEAR THE ECONOMIC RISK OF LOSING ALL OF THE INVESTMENT?                                     ( YYES ( )NO
 TO BEAR THE ECONOMIC BURDEN OF HAVING ALL SUCH FUNDS                                           ( )YES ( )NO
 CONFINED TO AN ESSENTIALLY ILLIQUID INVESTMENT FOR A PERIOD OF
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OVER THREE MONTHS AND SUBJECT TO THE UP TO 30 DAY TIME PERIOD
                EXERCISE OF THE RIGHT OF REDEMPTION OF THE
SUBSEQUENT ANYCIPA
INVESTMENT PRIN    L?



11. | CERTIFY THAT | AM ACQUIRING THE PARTIAL BENEFICIAL INTEREST AS A PRINCIPAL, FOR
INVESTMENT, AND NOT WITH A VIEW TO RESALE OR DISTRIBUTION AND THAT ALL
REPRESENTATIONS MADE BY ME IN THIS INVESTOR QUESTIONNAIRE AND THE SUBSCRIPTION
AGREEMENT ARE TRUE, ACCURATE, AND CORRECT IN ALL RESPECTS AND MAY BE FULLY RELIED
UPON BY THE COMPANY. | HAVE NOT ACTED AS A FINDER, AND IF | MAY BE DEEMED TO BE A
FINDER AT ANY TIME BY ANYONE, | NONETHELESS CERTIFY HEREBY THAT | HAVE PROVIDED NO
INVESTMENT OR FINANCIAL ADVISE TO ANYONE AT ANY TIME AND HAVE NOT VIOLATED ANY
SECURITIES OR INVESTMENT LAWS OR REGULATIONS, WHETHER STATE OR FEDERAL.
12. | CERTIFY THAT | HAVE NEVER ACTED DIRECTLY OR INDIRECTLY AS A FINANCIAL OR
INVESTMENT ADVISOR GERMANE TO ANY THIRD PARTY AT ANY TIME AND WILL NOT DO SO IN THE
FUTURE UNLESS | AM LEGALLY ALLOWED TO DO SO UNDER ALL APPLICABLE LAWS AND
REGULATIONS. | FURTHER CERTIFY THAT ANY INVESTMENT | MAKE IN BENEFICIAL INTERESTS OR
FUNDS THAT | TRANSFER GERMANE TO THIS OFFERING ARE SOURCED SOLELY AS CONSISTENT
WITH MY REPRESENTATIONS AND WARRANTIES UNDER THIS INVESTOR QUESTIONNAIRE,
SUBSCRIPTION AGREEMENT AND OTHERWISE, AND WHETHER AS RELEVANT TO MY CERTIFIED
STATUS AS AN ACCREDITED INVESTOR OR OTHERWISE, MY CERTIFICATIONS REMAIN TRUE AND
ACCURATE THAT ANY SOURCE OF INVESTMENT FUNDS FOR BENEFICIAL INTERESTS ARE
COMPLIANT WITH ALL OF MY REPRESENTATIONS AND WARRANTIES MADE HEREIN AND ALL OF
WHICH ARE CONSISTENT WITH THE SUBSCRIPTION AGREEMENT AND THE COMPANY'S CODE OF
ETHICS AND BUSINESS CONDUCT. | WARRANT TO COMPANY THAT ANY FUNDS OR AMOUNTS THAT
| TRANSFER TO COMPANY FOR INVESTMENT IN BENEFICIAL INTERESTS SHALL BE CONSISTENT
WITH ALL, WITHOUT LIMITATION, ACCREDITED INVESTOR STATUS AND ANTI-MONEY LAUNDERING
WARRANTIES AND CERTIFICATIONS THAT | MAKE IN THIS OR ANY OTHER DOCUMENT. | WARRANT
THAT ANY FUNDS, HOWEVER OR FROM WHEREVER SOURCED, THAT | TRANSFER TO THE
COMPANY SHALL ONLY BE SOURCED AND ORIGINATE FROM, AND AS CONSISTENT WITH MY
STATUS AS, AN ACCREDITED INVESTOR AND THAT DIRECTLY OR INDIRECTLY, HOWEVER
SOURCED, THE ACCREDITED INVESTOR IS IN COMPLIANCE WITH ALL ANTI MONEY LAUNDERING
STANDARDS, WARRANTIES AND CERTIFICATIONS SET OUT AS A CONDITION OF THIS OFFERING,
AND FURTHER ALL OF WHICH | WILL TRANSPARENTLY DISCLOSE TO THE COMPANY IF ANY ACTION
BY ME, OR FACT OR CIRCUMSTANCE, DEVIATES FROM THE PRECEDING STANDARDS.
13. | UNDERSTAND AND AGREE THAT THE PARTIAL BENEFICIAL INTERESTS OR ANY INVESTMENT
OPPORTUNITY AVAILABLE HEREUNDER HAVE NOT BEEN REGISTERED UNDER THE SECURITIES
ACT OR UNDER ANY APPLICABLE STATE SECURITIES LAWS AND THAT THE COMPANY HAS NOT
MADE ANY COMMITMENT TO REGISTER SAME UNDER ANY CONDITIONS OR TO FILE REPORTS WITH
THE SECURITIES AND EXCHANGE COMMISSION OR ANY OTHER FEDERAL OR STATE GOVERNMENT
AGENCY OR TO MAKE ANY OTHER ACTION WHICH WILL ENABLE ME TO TRANSFER ANY PARTIAL
BENEFICIAL INTEREST UNDER THE OFFERING.
14. | UNDERSTAND THAT THE CAUSES OF ACTION OR LIABILITY CIRCUMSTANCES IMPLICATED OR
RELEVANT TO ANY INSURANCE SETTLEMENT AGREEMENT INTEREST THAT IS PURCHASED BY
COMPANY THROUGH A PURCHASE CONTRACT, DO NOT INVOLVE ANY PENDING LAWSUIT OR
OTHER COURT PROCEEDING. SUCH CONTROVERSY IS NOT BEING PROSECUTED OR DEFENDED
IN ANY COURT PROCEEDING WITH THE CONTROVERSY BEING SETTLED THROUGH THE
INSURANCE SETTLEMENT AGREEMENT THAT IS BEING PURCHASED.
15.1 AGREE TO HOLD THE PARTIAL BENEFICIAL INTEREST FOR AT LEAST THREE MONTHS AND FOR
A PERIOD OF AT MOST 90 DAYS SUBSEQUENT MY EXERCISE OF ANY RIGHT OF REDEMPTION AS
CONSISTENT WITH MY SUBSCRIPTION AGREEMENT AND THE TERMS OF THE COMPANY
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OPERATING AGREEMENT.
16. | HEREBY CERTIFY THAT | HAVE FULLY REVIEWED THE COMPANY OPERATING AGREEMENT
AND ANY AMENDMENTS OR SUPPLEMENTS THERETO (THE “COMPANY OPERATING AGREEMENT")
AND | ACCEPT AND ADOPT ALL TERMS AND PROVISIONS OF THE COMPANY OPERATING
AGREEMENT. SPECIFICALLY, | UNDERSTAND THAT (A) THE TRANSFER OR REDEMPTION OF THE
INVESTMENT PRINCIPAL GERMANE TO THE PARTIAL BENEFICIAL INTERESTS IS RESTRICTED BY
THE TERMS OF THIS OFFERING AND PURSUANT TO THE DISCRETION GRANTED TO THE COMPANY
PURSUANT ITS OPERATING AGREEMENT.
17. | UNDERSTAND AND RECOGNIZE THAT INVESTMENT IN THE COMPANY INVOLVES SIGNIFICANT
FINANCIAL AND LEGAL RISKS AND | HAVE TAKEN FULL COGNIZANCE OF AND UNDERSTAND ALL OF
THE RISK FACTORS RELATED TO THE ACQUISITION OF THE PARTIAL BENEFICIAL INTERESTS AND
RELATIONSHIP TO THE COMPANY.
18. I (AND MY FINANCIAL, TAX, INVESTMENT, AND LEGAL ADVISORS) HAVE BEEN GIVEN SUFFICIENT
OPPORTUNITY TO INSPECT ALL DOCUMENTS, BOOKS AND RECORDS OF THE COMPANY
(INCLUDING WITHOUT LIMITATION, ANY UNAUDITED FINANCIAL STATEMENTS OF THE COMPANY, IF
ANY) TO CONDUCT AN INDEPENDENT INVESTIGATION OF THE FACTS AND LAWS AND
EXPECTATIONS DISCLOSED AND DESCRIBED IN THIS OFFERING AND THE COMPANY OPERATING
AGREEMENT, THE PRIVATE PLACEMENT MEMORANDUM, AND THE SUBSCRIPTION AGREEMENT.
19. | CERTIFY THAT COMPANY AND ITS REPRESENTATIVES HAVE NOT DENIED ME ANY ACCESS TO
ANY DOCUMENT OR OTHER INFORMATION THAT | HAVE REQUESTED BEFORE SIGNING THIS
DOCUMENT OR ANY OTHER DOCUMENT ANY OF WHICH MAY BE RELEVANT TO MY INVESTMENT
UNDER THIS OFFERING.
20. | CERTIFY THAT | HAVE ALSO BEEN GIVEN THE OPPORTUNITY TO ASK QUESTIONS OF THE
COMPANY'S     REPRESENTATIVES   CONCERNING   ANY AND    ALL ASPECTS  OF COMPANY
OPERATIONS, AS WELL AS THE TERMS AND CONDITIONS GERMANE TO THE PARTIAL BENEFICIAL
INTERESTS.
21. 1 CERTIFY THAT NO DISCREPANCY EXISTS BETWEEN ANY ORAL REPRESENTATION BY ANY
COMPANY REPRESENTATIVE AND THE INFORMATION PROVIDED IN THE COMPANY OPERATING
AGREEMENT, THE PRIVATE PLACEMENT MEMORANDUM, OR THE SUBSCRIPTION AGREEMENT.
22.1 CERTIFY THE FACT THAT | HAVE BEEN ADVISED TO CONSULT WITH MY OWN TAX,
INVESTMENT, AND FINANCIAL COUNSEL AND ATTORNEY IF | SO CHOOSE PRIOR TO ENTERING THE
SUBSCRIPTION AGREEMENT AND EXECUTING THIS QUESTIONNAIRE, AND THAT | WAS AFFORDED
SUFFICIENT TIME TO UNDERTAKE AND DID SO CONSULT WITH MY TAX, INVESTMENT, AND
FINANCIAL COUNSELOR AND ATTORNEY.
23. | CERTIFY THAT | WILL ABIDE BY ALL RELEVANT FEDERAL AND STATE LAWS REQUIREMENTS
AND     ALL  SUBSCRIBER'S    REPRESENTATIONS,   WARRANTIES  AND   COVENANTS   IN THE
SUBSCRIPTION AGREEMENT AND THIS INVESTOR QUESTIONNAIRE.
24. | CERTIFY THAT | AM NOT AWARE AND HAVE NO DIRECT OR INDIRECT KNOWLEDGE THAT ANY
FUNDS TRANSFERRED TO COMPANY UNDER THIS OFFERING ARE SUBJECT TO, AMONG OTHERS,
FORFEITURE     OR ARE     SOURCED  IN ANY WAY     INCONSTENT   WITH  MY WARRANTIES,
REPRESENTATIONS AND CERTIFICATIONS THAT | MAKE HEREIN. NO LOCAL, STATE OR FEDERAL
GOVERNMENT AGENCY, COURT OR ANY OTHER SUBDIVISION OR BRANCH HAS LAID CLAIM TO ANY
PART OF ANY FUNDS TRANSFERRED TO COMPANY UNDER THIS OFFERING. NO LOCAL, STATE OR
FEDERAL GOVERNMENT AGENCY, COURT OR ANY OTHER SUBDIVISION OR BRANCH MAY LAY A
CLAIM TO ANY PART OF ANY FUNDS TRANSFERRED TO COMPANY UNDER THIS OFFERING AS
BEING VIOLATIVE OF ANY ANTI MONEY LAUNDERING NATIONAL OR INTERNATIONAL LAWS OR
REGULATIONS OR STANDARDS, OR DIRECTIVE OR OTHERWISE.
25. 1 CERTIFY MY UNDERSTANDING THAT UNDER THE COMPANY'S COMPLIANCE PROGRAM, | MAY
OR WILL BE SUBJECT TO VARIOUS DUE DILIGENCE MATTERS AND INQUIRIES AS TO THE SOURCE
OF THE FUNDS | TRANSFER TO THE COMPANY UNDER THIS OFFERING AND THAT SAME IS
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CONSISTENT WITH ALL NATIONAL AND INTERNATIONAL LAWS REGARDING                          MONEY LAUNDERING
AND ANY ATTENDANT RESTRICTION GERMANE TO SAME.
26. PLEASE ANSWER THE FOLLOWING QUESTIONS (AND IF YOU ARE AN ENTITY, PLEASE INDICATE
THE NAME OF THE RELEVANT OWNER OR BENEFICIARY OF THE ENTITY AND RESPOND WITH
RESPECT TO SUCH OWNER OR BENEFICIARY):

 IF YOU ARE AN ENTITY, DO YOU AGREE TO
 DESIGNATE   THE  UNDERSIGNED   AS THE
 INVESTOR REPRESENTATIVE AS GERMANE TO
 TERMS AND CONDITIONS OF THE COMPANY
 OPERATING AGREEMENT AND AS SIGNATORY
 FOR THE SUBSCRIBER IN THE SUBSCRIPTION
 AGREEMENT?



 IF YOU ARE AN ENTITY, DO ALL OWNERS,
 INVESTORS,   SHAREHOLDERS     OR    ANY
 PERSON OR ENTITY HOLDING AN INTEREST IN
 THE SUBSCRIBER AGREE TO DESIGNATE THE
 UNDERSIGNED     AS     THE    INVESTOR
 REPRESENTATIVE   AS  GERMANE    TO THE
 TERMS AND CONDITIONS OF THE COMPANY
 OPERATING   AGREEMENT     AND  AS   THE
 SIGNATORY FOR THE SUBSCRIBER?

27. IF YOU OWN AN INTEREST OR ARE ENGAGED IN A BUSINESS OR OTHER ACTIVITY THAT
COMPETES WITH THE PARTIAL BENEFICIAL INTERESTS, OR THE COMPANY OR ITS BUSINESS OR
OPERATIONS, PLEASE DESCRIBE SUCH INTEREST/BUSINESS OR ACTIVITY:




28. | CERTIFY THAT AN INVESTMENT IN THE COMPANY WILL NOT CONSTITUTE A VIOLATION OF ANY
AGREEMENT TO WHICH | AM A PARTY (E.G., PARTNERSHIP, SUBSCRIPTION AGREEMENT, NON-
COMPETITION AGREEMENT, ETC.).
    ()Yes               ( )No
This Statement is made effective as of the ___ day of                     , 202

                                        [Subscriber/Potential Investor]




THE PROSPECTIVE INVESTOR REPRESENTS, CERTIFIES AND WARRANTS TO THE COMPANY THAT
THE INFORMATION CONTAINED IN THIS INVESTOR QUESTIONNAIRE IS ACCURATE, TRUE AND
COMPLETE, AND UNDERSTANDS THAT THE COMPANY HAS NOT MADE AND WILL NOT MAKE AN
OFFER OF ANY PARTIAL BENEFICIAL INTERESTS TO THE SUBSCRIBER UNTIL IT HAS RECEIVED AND
REVIEWED THIS INVESTOR QUESTIONNAIRE, AND ONLY THEN IF THE COMPANY DETERMINES THAT
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SUCH AN OFFER MAY BE MADE WITHOUT VIOLATING ANY FEDERAL OR STATE SECURITIES LAWS
OR ANY ANTI MONEY LAUNDERING LAWS OR ANY OTHER LAWS.
[IF A PURCHASER REPRESENTATIVE WAS NOT USED IN CONNECTION WITH THIS SUBSCRIPTION,
THEN INSERT “N/A”. IF A PURCHASER REPRESENTATIVE WAS USED IN CONNECTION WITH THIS
SUBSCRIPTION, THEN A “PURCHASER REPRESENTATIVE QUESTIONNAIRE" WILL BE PROVIDED TO
THE SUBSCRIBER FOR COMPLETION BY THE PURCHASER REPRESENTATIVE]




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